Appellate Case: 24-8013   Document: 010111048105         Date Filed: 05/13/2024      Page: 1



                              No. 24-8013
  __________________________________________________________________

               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE TENTH CIRCUIT

               CAROL W. GARRETT AND TERRY LEE GARRETT

                               Plaintiff – Appellants,

                                         vs.

                           WELLS FARGO BANK, N.A.


                               Defendant – Appellee.

               ____________________________________________

    On Appeal from the United States District Court for the district of Wyoming,
                The Honorable Judge Scott W. Skavdahl Presiding
                        Case No. 1:24-CV-00007-SWS


             BRIEF OF APPELLANT CAROL W. GARRETT AND
                        TERRY LEE GARRETT

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 Attorney for Petitioners – Appellants

 ORAL ARGUMENT IS NOT REQUESTED




                                                                          Appellant's Appendix
                                                                                 Page 1 of 281
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024      Page: 2



                                   APPENDIX
                              TABLE OF CONTENTS
 DISTRICT COURT DOCKET SHEET………………………………………………...3

 ECF Doc. 1 - NOTICE OF REMOVAL………………………………………………...6
 ECF Doc. 2 - SUMMONS AND COMPLAINT…………………………………….108
 ECF Doc. 3 - ORDER OF REMOVAL……………………………………………….199
 ECF Doc. 4 - MOTION TO DISMISS………………………………………………..202
 ECF Doc. 8 - RESPONSE IN OPPOSITION……………………………………….217
 ECF Doc. 9 - REPLY…………………………………………………………………...257
 ECF Doc. 10 - ORDER…………………………………………………………………269




                                                                    Appellant's Appendix
                                                                           Page 2 of 281
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024      Page: 3




                   District Court
                   Docket Sheet




                                                                    Appellant's Appendix
                                                                           Page 3 of 281
       Appellate Case: 24-8013             Document: 010111048105                Date Filed: 05/13/2024          01120344526728
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                                ECF Doc 1

          Notice of Removal




                                                                    Appellant's Appendix
                                                                           Page 6 of 281
              Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 1 of 98
Appellate Case: 24-8013           Document: 010111048105         Date Filed: 05/13/2024         Page: 7



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 Telephone: 307.778.4200
 Facsimile: 307.778.8175
 INSutphin@hollandhart.com
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 ATTORNEYS FOR DEFENDANT
 WELLS FARGO BANK, N.A.                                                          Margaret Botkins
                                                                                  Clerk of Court
                           IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF WYOMING


 CAROL W. GARRETT AND TERRY LEE
 GARRETT,

                   Plaintiffs,
                                                                          24-CV-7-SWS
                                                       Civil Action No. _______________
           v.
                                                      (Removed from the District Court of the
 WELLS FARGO BANK, N.A.,                              Ninth Judicial District in and for Teton
                                                      County, State of Wyoming at Civil Action
                   Defendant.
                                                      No. 2023-CV-18974)




                                         NOTICE OF REMOVAL

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and

 U.S.D.C.L.R. 81.1, Defendant Wells Fargo Bank, N.A. (Wells Fargo), through undersigned

 counsel, hereby gives Notice of Removal of the above-captioned case to the United States

 District Court for the District of Wyoming. Removal is warranted under 28 U.S.C. § 1441(b)

 because this is a diversity action over which the Court has original jurisdiction under 28 U.S.C. §

 1332. In support of this Notice of Removal, Defendant states as follows:

                                                THE ACTION

         1.       On or about October 10, 2023, Plaintiffs Carol W. Garrett and Terry Lee Garrett


                                                                                    Appellant's Appendix
                                                                                           Page 7 of 281
             Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 2 of 98
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024          Page: 8



 commenced this litigation by filing a Complaint against Wells Fargo in the District Court of the

 Ninth Judicial District in and for Teton County, State of Wyoming as Civil Action No. 2023-CV-

 18974. (See Complaint attached hereto as Exhibit A)

        2.       Plaintiffs’ Complaint asserts claims regarding an alleged wrongful foreclosure

 under W.S. § 34-4-103(a)(iii) - failure to record assignment, alleged wrongful foreclosure under

 W.S. § 34-4-103(a)(iv) – failure to notify occupant, and alleged breach of the implied covenant

 of good faith and fair dealing. (Exhibit A)

        3.       On or about November 17, 2023, Plaintiff served Wells Fargo, a Delaware

 corporation, through a registered agent.

        4.       On December 7, 2023, Plaintiffs and Defendant agreed to extend the pending case

 deadlines. Wells Fargo filed an Unopposed Motion for Extension of Time to respond to

 Plaintiffs’ Complaint to January 8, 2024. (See Motion attached hereto as Exhibit B). The State

 District Court granted Defendant’s Motion on December 8, 2023, resetting the pending case

 deadlines to January 8, 2024. (See Order attached hereto as Exhibit C).

                           PARTIES, JURISDICTION, AND VENUE

        5.       28 U.S.C. § 1441 establishes when an action is removable. Section 1441(a) states

 that “any civil action brought in a state of which the district courts of the United States have

 original jurisdiction, may be removed by the defendant or the defendants, to the district court of

 the United States for the district and division embracing the place where such action is pending.”

 28 U.S.C. § 1441(a).

        6.       This Court’s subject matter jurisdiction, and Wells Fargo’s basis for removal, is

 founded upon 28 U.S.C. § 1332, which states, in relevant part, that “[t]he district courts shall

 have original jurisdiction of all civil actions where the matter in controversy exceeds the sum or

 value of $75,000, exclusive of interest and costs, and is between – (1) citizens of different States;


                                                   2                                  Appellant's Appendix
                                                                                             Page 8 of 281
             Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 3 of 98
Appellate Case: 24-8013        Document: 010111048105             Date Filed: 05/13/2024          Page: 9



 [or] citizens of a State and citizens or subjects of a foreign state.” 28 U.S.C. § 1332.

        7.       As alleged in their Complaint, Plaintiffs are residents of the State of Florida. (See

 Exhibit A &RPSODLQW၁ 1)

        8.       Defendant Wells Fargo is a Delaware corporation with its principal place of

 business in South Dakota. Accordingly, Defendant Wells Fargo is a citizen of South Dakota and

 Delaware for purposes of determining diversity under 28 U.S.C. § 1332(c)(1).

        9.       Therefore, this action involves “citizens of different States.” See 28 U.S.C. §

 1332(a)(1)-(2). Because Plaintiffs are Florida citizens and no other named defendant is a citizen

 of either South Dakota or Delaware, complete diversity exists, and removal of this action is

 proper under 28 U.S.C. § 1441(b).

        10.      Although the Complaint does not detail the amount of damages Plaintiffs seek, it

 is facially apparent that the amount in controversy in this case exceeds $75,000, exclusive of

 interests and costs, based on Plaintiffs’ allegation that they have been deprived of at least $2.1

 million. (Exhibit A &RPSODLQW၁ 49) This is clear given the nature of Plaintiffs’ claims, and the

 fact that Plaintiffs are seeking, among other things, compensatory, statutory, punitive, and

 exemplary damages. See 28 U.S.C. § 1332(a).

        11.      Further, even when a plaintiff does not explicitly allege damages in excess of the

 jurisdictional limit, “the amount in controversy is determined by examining contested factual

 assertions in the case that make it possible that at least [$]75,000 dollars is at issue.” Carbaugh

 v. Home Depot U.S.A., Inc., No. 13-CV-02848-REB-MEH, 2014 U.S. Dist. LEXIS 100115, *3

 (D. Colo. July 23, 2014) (citing McPhail v. Deere & Co., 529 F.3d 947, 954-55 (10th Cir.

 2008)). “A complaint that presents a combination of facts and theories of recovery that may

 support a claim in excess of $75,000 can support removal.” McPhail, 529 F.3d at 955-956. “The

 amount in controversy is not proof of the amount the plaintiff will recover. Rather, it is an


                                                   3                                   Appellant's Appendix
                                                                                              Page 9 of 281
               Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 4 of 98
Appellate Case: 24-8013         Document: 010111048105            Date Filed: 05/13/2024          Page: 10



  estimate of the amount that will be put at issue in the course of the litigation.” Id. at 956. Here,

  the face of Plaintiffs’ Complaint makes clear that the amount in controversy is more than

  $75,000. Accordingly, the amount in controversy exceeds the sum or value of $75,000.00,

  exclusive of interests and costs. See 28 U.S.C. § 1332.

          12.      This court has original jurisdiction under 28 U.S.C. § 1332 for the reasons set

  forth above.

                                   PROCEDURE FOR REMOVAL

          13.      As required by 28 U.S.C. §§ 1446(a) and 1441(a), this Notice of Removal is being

  filed in the United States District Court for the District of Wyoming because it is the United

  States District Court for the district and division within which the State District Court action

  being removed is pending.

          14.      28 U.S.C. §§ 1446 establishes the time frame and procedure to properly effectuate

  removal. 28 U.S.C. §§ 1446(b) provides that “[t]he notice of removal of a civil action or

  proceedings shall be filed within thirty days after the receipt by the defendants, through service

  or otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such

  action or proceeding is based.” The Parties to this action agreed to extend all pending deadlines

  as of December 7, 2023, for thirty days, up to and including January 8, 2024. Thus, this removal

  is timely.

          15.      Pursuant to 28 U.S.C. § 1446(d) and U.S.D.C.L.R. 81.1, a copy of the Notice of

  Removal will be filed contemporaneously with this filing in the District Court of the Ninth

  Judicial District in and for Teton, Wyoming in the form attached as Exhibit D. That filing serves

  as written notice to all adverse parties and effects removal in accordance with 28 U.S.C. §

  1446(d).

          16.      This Notice of Removal is signed pursuant to Rule 11 of the Federal Rules of


                                                    4                                   Appellant's Appendix
                                                                                             Page 10 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 5 of 98
Appellate Case: 24-8013       Document: 010111048105             Date Filed: 05/13/2024              Page: 11



  Civil Procedure, as required by 28 U.S.C. § 1446(a).

         17.     A completed Civil Cover Sheet is being filed with this Notice of Removal and all

  appropriate fees are being submitted herewith.

         18.     By virtue of this Notice of Removal and the Notice filed in the State District

  Court, Wells Fargo does not waive any rights to file any other motions permitted by the Federal

  Rules of Civil Procedure.

         WHEREFORE, Wells Fargo hereby removes the action now pending in the District

  Court of the Ninth Judicial District, Teton County, Wyoming, Civil Action No. 2023-CV-18974,

  to the United States District Court for the District of Wyoming, which shall assume full

  jurisdiction over this action as provided by law, and Defendant Wells Fargo respectfully requests

  that this action proceed herein. A proposed Order on Removal is submitted herewith.

         Dated this 8th day of January 2024.




                                           Isaac
                                           IIs
                                             ssaa
                                               aaaac N. Sut
                                                        Sutphin,
                                                          tpphhiin
                                                                 n, P.
                                                                    P
                                                                    P.C.
                                                                       C. (Wyo. State Bar #6-3711)
                                            HOLLAND      D & HART LLP
                                            2020 Carey Avenue, Suite 800
                                            P.O. Box 1347
                                            Cheyenne, WY 82003-1347
                                            Telephone: 307.778.4200
                                            Facsimile: 307.778.8175
                                            INSutphin@hollandhart.com

                                           ATTORNEYS FOR DEFENDANT
                                           WELLS FARGO BANK, N.A.




                                                   5                                     Appellant's Appendix
                                                                                              Page 11 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 6 of 98
Appellate Case: 24-8013         Document: 010111048105         Date Filed: 05/13/2024         Page: 12



                                CERTIFICATE OF SERVICE
         I hereby certify that on January 8, 2024, I served the foregoing by via email and by

  placing a true and correct copy thereof in the United States mail, postage prepaid and properly

  addressed to the following:

                 J. Austin Dunlap
                 Austin Dunlap Law
                 P.O. Box 4803
                 Jackson, WY 83001
                 austindunlap@gmail.com




                                                  6                                 Appellant's Appendix
                                                                                         Page 12 of 281
          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 7 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 13




                      EXHIBIT A




                                                                    Appellant's Appendix
                                                                         Page 13 of 281
                   Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 8 of 98
  Appellate Case: 24-8013                 Document: 010111048105                     Date Filed: 05/13/2024                Page: 14




~/J.
csc                                                                                                                     DB2 / ALL
                                                                                                     Transmittal Number: 28028067
Notice of Service of Process                                                                            Date Processed: 11/17/2023

Primary Contact:           WF West - WF Bank
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       Wells Fargo Bank, N.A.
                                              Entity ID Number 2013649
Entity Served:                                Wells Fargo Bank, N.A.
Title of Action:                              Carol W. Garrett vs. Wells Fargo Bank, N.A.
Matter Name/ID:                               Carol W. Garrett vs. Wells Fargo Bank, N.A. (14873679)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Teton County District Court, WY
Case/Reference No:                            2023-CV-18974
Jurisdiction Served:                          Wyoming
Date Served on CSC:                           11/17/2023
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Sayer Law Group, P.C.
                                              307-690-8568
Client Requested Information:                 Matter Management User Groups: [Service of Process]
                                              Routing Rules (CSC): R1663
                                              Classification: Standard

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                                 Appellant's Appendix
                                                                                                                      Page 14 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 9 of 98
Appellate Case: 24-8013          Document: 010111048105         Date Filed: 05/13/2024         Page: 15

                                                                           SERVICE COPY
             IN THE DISTRICT COURT OF THE NINTH JUDICIAL DISTRICT

                         WITffiN AND FOR TETON COUNTY, WYOMING



  CAROL W. GARRETT AND                          )
  TERRY LEE GARRETT                             )
                                                )
          Plaintiffs,                           )
   v.                                           )
                                                )
   WELLS FARGO BANK, N.A.                       )
                                                )
          Defendant.                            )

                                               SUMMONS

  TO:     Wells Fargo Bank, N.A.
          Corporation Service Company
          1821 Logan Ave
          Cheyenne, WY 82001 USA

          YOU ARE HEREBY SUMMONED and required to file with the clerk and serve upon
  Petitioner's attorney and answer to the Plaintiffs' Complaint and Jury Demand, which is herewith
  served upon you, within twenty (20) days after service of this Summons upon you, exclusive of
   the day of service. (If service upon you is made outside of the State of Wyoming, you are required
   to file and serve your answer to the Petition within thirty (30) days after service of this Summons
  upon you, exclusive of the day of service.) If you fail to do so, judgment by default will be taken
  against you for the relief demanded in the Complaint.

          DATED this 10th day of October 2023.




  J. Austin unlap - Counsel/or the Plaintiff
  Wyoming State Bar# 7-4586
  P.O. Box 4803
  Jackson, WY 83001
  Telephone (307) 690-8568
  austindunlap@gmail.com


                                                                                                  I
                                                                                     Appellant's Appendix
                                                                                          Page 15 of 281
          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 10 of 98
Appellate Case: 24-8013     Document: 010111048105         Date Filed: 05/13/2024       Page: 16


  J. Austin Dunlap
  WSB 7-4586
  PO Box 4803
  Jackson, WY 83001                                                FILED 1!! .S-f~
  Tel. 307-690-8568
  Fax 307-316-8101
                                                                   OCT 1O 2023
  austindunlap@gmail.com                                           DISTRICT COURT
  Attorney for Plaintiffs                                       9TH JUDiCIAL DISTRICT
                                                               TETON COUNTY WYOMING

        IN THE DISTRICT COURT OF THE N1NTH JUDICIAL DISTRICT

                     WITHIN AND FOR TETON COUNTY, WYOMING



  CAROL W. GARRETT AND                    )
  TERRY LEE GARRETT                       )
                                          )
         Plaintiff~,                      )
  v.                                      )
                                          )
  \¥ELLS FARGO BANK, N.A.                 )
                                          )
         Defendant.                       )



             PLAINTIFFS' COMPLAINT AND JURY DEMAND
        COMES NOW, Cru.·ol W. Garrett and Terry Lee Garrett, husband and wife,

  by and through their attorney, J. Austin Dunlap, for their cause of actions and

  claims of relief against the Defendant, hereby state and allege as follow:

                                       I. PARTIES
        1.      Plaintiffs Carol Garrett and Terry Garrett are residents of Florida and

 were owners of real property in Jackson, Teton County, Wyoming commonly known

 as 1045 Upper Cache Creek Drive.



                                 Garrett v. Wells Fargo Bank
                                 Complaint and Jury Demand
                                         Page 1 of 10

                                                                              Appellant's Appendix
                                                                                   Page 16 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 11 of 98
Appellate Case: 24-8013    Document: 010111048105            Date Filed: 05/13/2024     Page: 17




          2.   Defendant Wells Fargo Bank, N.A., ("Wells Fargo") is a c01·poration

  organized under the laws of South Dakota, and doing business in Teton County,

  Wyoming with offices at 50 Buffalo Way, Jackson_, Teton County, Wyoming, and 110

  Center Street, Jackson, Teton County, Wyoming.

          3.   It is upon information and belief that Wells Fargo acquired the

  Garretts' mortgage for the property commonly known as 1045 Upper Cache Creek

  Drive, Jackson, Teton County, Wyoming from First Union National Bank of

  Delaware, the original lender.

                           II. JURISDICTION AND VENUE
          4.   Plaintiffs incorporate by reference all statement and allegations above.

          5.   This Court has personaljurisdiction over the parties consistent with

  W.S.§ 5·1·107.

          6.   Pursuant to W.S. §5·9·128(a)(i), the damages caused by the.events

  complained of herein are in excess of $50,000.00, thus placing original jurisdiction

 of this matter within this Coui·t.

          7.   Pursuant to W.S. §l ·5·10l(a)(i), venue in the Ninth Judicial District

  Court in Teton County, Wyoming is proper because that is the coUb.ty in which the

  subject property is located, and the acts and omissions complained of herein

 occurred.

                        ill. FACTS COMlVION TO ALL CLAIMS
          8.   Plaintiffs incorporate by reference all statements and allegations

 above.

                                   Garrett v. Wells Fargo Bank
                                   Complaint and Jury Demand
                                           Page 2 of 10
                                                                              Appellant's Appendix
                                                                                   Page 17 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 12 of 98
Appellate Case: 24-8013     Document: 010111048105          Date Filed: 05/13/2024     Page: 18




          9.     In 2001, Carol and Terry Garret built a single·family residence at 1045

  Upper Cache Creek Drive, Jackson, Wyoming.

          10.    Terry Garrett is a Vietnam War combat veteran who is wheelchair

  bound and legally blind due to his injuries suffered in the Vietnam War.

          11.    The home they built in Jackson was wheelchair accessible and built to

  accommodate Terry's needs.

          12.    The home was partially financed through a mortgage dated July 31,

  2001, from First Union National Bank of Delaware ("Mortgagor" or "Lender'')

  (Exhibit 1).

          13.    The Garretts had a tenant, Michael Melf, living in the house in July

  2023.

          14.    Mr. Mel£ returned home one day in July 2023 to find his neighbors,

  Mike Mason and Nancy Watkins outside -they share a common drive way with the

  Garretts.

          15.    The neighbors indicated that a stranger had been at the Garrett

  residence earlier in the day, and the stranger indicated that he had purchased the

  home at 1045 Upper Cache Creek Drive.

          16.    The neighbors contacted the Garretts directly by phone.

          17.    This is how the Garretts and Mr. Melf, the legal tenant, found out

  about the foreclosure sale.

          18.    The Teton County Sheriff's Office conducted a foreclosure sale for 1045

  Upper Cache Creek Drive on March 16, 2023.

                                  Garrett v. Wells Fargo Bank
                                  Complaint and Jury Demand
                                          Page 3 of 10
                                                                             Appellant's Appendix
                                                                                  Page 18 of 281
            Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 13 of 98
Appellate Case: 24-8013      Document: 010111048105          Date Filed: 05/13/2024     Page: 19




           19.   The Teton County Sheriffs Office received an Affidavit of Service of

  W1·itten Notice of Intent to Foreclose Mortgage from Defendant1s representative C.

  Morgan Lasley, Esquire of the Sayer Law Group, P.C.

           20.   0. Morgan Lasley affirmed that w1·itten notice of intent to foreclose by

  advertisement and sale had been served upon the record owner and the person in

  possession by certified mail, retlll'n receipt requested, mailed to the last known

  address of the record owner, and the pe1·son in possession. (See Exhibit 2).

           21,   A Certificate of Purchase was also issued March 23, 2023. (Exhibit 3).

           22.   After the tolling of the redemption period, a She1•iffs Deed was issued

  on July 19, 2023. (Exhibit 4).

           23.   Sometime in August, the Garretts neighbors encountered one of the

  new purchasers at the propel"ty, being the first time Mr. Melf or Petitione1·s became

  aware of any foreclosure :proceedings involving the 1045 Upper Cach Creek Drive

  house.

           24.   Upon information and belief, the Garrett's outstanding balance on the

 Mol"tgage was app1·oximately $76,500.00.

           25.   The home at 1045 Upper Cache Creek Drive appraised for

 $2,900,000.00. (See Exhibit 5).

        26.      The highest bid at public auction was $825,000.00 by John Caldwell

 and Joan Schank. (See Exhibit 3).




                                   Garrett v. Wells Fargo Bank
                                   Complaint and Jury Demand
                                           Page 4 of 10
                                                                              Appellant's Appendix
                                                                                   Page 19 of 281
            Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 14 of 98
Appellate Case: 24-8013      Document: 010111048105         Date Filed: 05/13/2024       Page: 20




           27.   Defendant Wells Fargo failed to follow the statutory requirements in

  recording the assignment and giving their notice of foreclosure resulting in the

  Garretts being damaged in excess of $2.1 million.

           28.   The Garretts' total damages is an amount that will be -proven at trial.

                                         IV. CLAIMS

      COUNT I • WRONGFUL FORECLOSURE UNDER W.S.§ 34·4·103(a)(iii) -
                   FAILURE TO RECORD ASSIGNMENT

           29.   Plaintiffs incorporate by reference all statements and allegations

  above.

           30.   W.S. §34·4· 103(a)(ili) requires 41[t]hat the mortgage containing the

  power of sale has been duly recorded; and if it has been assigned, that all

  assignments have been recorded."

           31.   The Garretts entered into a mo1-tgage agreement with First Union

  National Bank of Delaware and not Defendant. (Exhibit I).

           32.   The assignment from First Union National Bank of Delawa1·e to

  Defendant is not recorded in the Teton County Records as evidenced by the Title

  Commitment provided by Northern Title. (See Exhibit 6).

          33.    Defendant has failed to follow the statutory requirements in W.S. §34·

  4·103 and Plaintiffs have suffered substantial economic damages as a result.


     COUNT II · WRONGFUL FORECLOSURE UNDER W.S. §34·4·103(a)Civ) -
                    FAILURE TO NOTIFY OCCUPANT

          34.    Plaintiffs incorporate by reference all statements and allegations

 above.
                                  Garrett v. Wells Fargo Bank
                                  Complaint and Jury Demand
                                          Page 5 of 10
                                                                              Appellant's Appendix
                                                                                   Page 20 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 15 of 98
Appellate Case: 24-8013     Document: 010111048105             Date Filed: 05/13/2024     Page: 21




         35.   Michael Melf was the legal tenant of 1046 Upper Cache Creek Diive

  and had been for the previous 12 years.

         36.   It is reasonable to assume that the legal occupant has a different
  address than the legal owner of the property.

        37.    Defendant made no effort to distinguish addresses between the owner

  and the occupant as set forth in his affidavit below. The notice for the occupant was

  sent to the address of 1·ecord of the owner.

        38.    The United State Postal Service does not deliver mail to 1045 Upper

  Cach Creek Drive as further evidenced by the tracking notations on the certified

  mailings.

        39.    Michael Melf did not receive notice of intent to foreclose as required by

  W.S.§ 34·4·103(a)(iv).

        40.    Defendant asserted the following:

        That written notice of intent to foreclose the Mortgage by advertisement
        and sale has been served upon the record owner and the person in
        possession by certified mail, return receipt requested, mailed to the last
        known address of the record owner and the person in possession at least
        ten (10) days before commencement of the first publication of the notice
        of the foreclosure sale as follows and that a copy of the published
        Foreclosure Sale Notice was mailed, certified mail, return receipt
        requested to all parties as required by Wyoming Statutes, before the
        notice was published as follows:...

        41.    Defendant lists a tracking number for certified mailings to the

 "Current Occupants": 9489009000276449884146 for its Notice of Intent to

 Foreclose.



                                 Garrett v. Wells Fargo Bank
                                 Complaint and Jury Demand
                                        Page 6 of 10
                                                                                Appellant's Appendix
                                                                                     Page 21 of 281
            Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 16 of 98
Appellate Case: 24-8013      Document: 010111048105         Date Filed: 05/13/2024     Page: 22




           42.   The United States Postal Service tracking information for

  certified mail no. 9489009000276449884146 sent on December 8, 2022, to the

  "current occupants" at 1045 Upper Cache Creek Drive states '1nsufficient

  Address" on December 151 2022 (emphasis added).

           43.   The mailing was returned to the original sender undelivered.

           44.   Defendant lists a tracking numb.er for the "Cur.rent Occupants'':

  9489009000276449867972 fo1· its Foreclosw·e Sale Notice.

           45.   The United States Postal Service tracking information for

  certified mail no. 9489009000276449867972 sent on January 30, 2023, to the

  "current occupants" at 1045 Upper Cache Creek Drive neve1· anive.d in

  Jackson, Wyoming.

           46.   Defendant has failed to follow the statutory requirements in W.S. §34·

  4·103 and Plaintiffs have suffered substantial economic damages as a result.


                          COUNT THREE -
    BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

           47.   Plaintiffs incorporate by reference all statements and allegations

  above.

           48.   Plaintiff entered into a mortgage agreement on July 31, 2001.

           49.   Defendant's actions have deprived Plaintiff of approximately $2.l

 million in an effort satisfy its $76,000 loan.

           50.   Defendant's failure to record the assignment of the mortgage and

 failure to notify the current occupant of the intent to foreclose as statutorily

                                  Garrett v. Wells Fargo Bank
                                  Complaint and Jury Demand
                                          Page 7 of 10
                                                                             Appellant's Appendix
                                                                                  Page 22 of 281
            Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 17 of 98
Appellate Case: 24-8013      Document: 010111048105          Date Filed: 05/13/2024     Page: 23




  required are breaches of community standards of decency, fairness, and

  reasonableness.

           51.    Defendants breach of the implied covenant of good faith and fair

  dealing has resulted in Plaintiffs suffering substantial economic damages.

                                   PUNATIVE DAMAGES

           52.   Plaintiffs incorporate by reference all statements and allegations

  above.

           53.   At all relevant times, Defendant acted outrageously with willful and

  wanton misconduct.

           54.   Defendant's failure to perform the basic statutory requirements were

  in reckless disregard of the consequences and Defendant knew or should have

  known the significant harm their actions caused.

           55.   Defendant failed to follow the basic statutory requirements.

           56.   Defendant disregard of the statutory requirements 1·esulted in

  deprivation to the Plaintiffs of at least $2.1 million to satisfy a $76,000 loan.

        57.      In addition, Plaintiffs lost their 11ome of 21 years that had been

 specifically designed and built for Terry Garrett's needs.

                       PRAYER FOR RELIEF AS TO ALL CLAIMS

        WHEREFORE, tbe Plaintiffs respectfully requests this Honorable Court enter
 judgment:

        A.       Declaring that the conduct of Defendant was in violation ofW.S. §34·4·
  103 for failing to record the assignment and failing to give proper notice to the
 occupant;
                                  Gar1·ett v. Wells Fargo Bank
                                  Complaint and Jury Demand
                                           Page 8 of 10                       Appellant's Appendix
                                                                                   Page 23 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 18 of 98
Appellate Case: 24-8013       Document: 010111048105            Date Filed: 05/13/2024     Page: 24




         B.       Rescinding the foreclosure sale and restoring ownership of 1045 Upper
  Cache Creek Drive to the Plaintiffs;
         C.       In the alternative, award Plaintiffs their damages in an amount to be
  pToven at trial;
         D.       Awarding Plaintiff their costs, expenses of bringing this action; and
         E.       Awarding Plaintiff punitive and exemplary damages against Defendants
  in order to punish Defendants fo1· engaging in such conduct so as to intentionally fail
  to follow the statute and recklessly deprive Plaintiff of their property, and in order to
  deter Defendant and others similarly situated to Defendants form engaging in
  wrongful foreclosures; and
        F.        Granting Plaintiff such other and further relief as the Court deems just
  and property.


                                       JUE,Y DEMAND

        Attached is a demand for a twelve-person jU1·y.




                                                       ..,,tJ
        RESPECTFULLY SUBMITTED this )1J_ day of October 2023.




                                             P.O. Box 4803
                                             Jackson, WY 83001
                                             Counsel for the Plaintiffs




                                   Garrett v. Wells Fargo Bank
                                   Complaint and Jury Demand
                                           Page 9 of 10
                                                                                 Appellant's Appendix
                                                                                      Page 24 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 19 of 98
Appellate Case: 24-8013    Document: 010111048105            Date Filed: 05/13/2024     Page: 25



       IN THE DISTRICT COURT OF THE NINTH JUDICIAL DISTRICT

                 WITHIN AND FOR TETON COUNTY, WYOMING

                                                                                FJLED1/. 1s;l?7,     1



  CAROL W. GARRETT AND                     )                                    OCT t O 2023
  TERRY LEE GARRETT                       )
                                                                               DISTRICT COURT
                                          )                                 9TH JUDICIAL DISTRICT
        Plaintiffs,                        )                               TETON COUNTY WYOMING
  v.                                       )     }o J ?J.. t V ~ I t? 7 L/
                                           )
  WELLS FARGO BANK, N.A.                  )
                                          )
        Defendant.                        )


                                    JURY DEMAND

                                 DEMAND FOR JURY

        The Plaintiffs demand a trial by jury of twelve peers on all issues so triable.



                                                -..) ~ ;z==::-
                                          J. Austi;D~J
                                          WSB 7·4p
                                          P.O. Bof 4803
                                          Jackson, WY 83001
                                          Counsel for the Plaintiffs




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                                Complaint and Jul'y Demand
                                         Page 10 of 10


                                                                              Appellant's Appendix
                                                                                   Page 25 of 281
                          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 20 of 98
Appellate Case: 24-8013                                        Document: 010111048105                          Date Filed: 05/13/2024                         Page: 26

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                                  After Recording, Mall To:                                Prepared By:                  ··rAtlil Cllllmthn.l
                                  Flrst Union Natfonal Bank of Delaware                    First Union National Bank of Delaware
                                  C/O Service Center                                       C/O Service Center
                                  Internet Safes Support (SC 39 only) NC6510               Internet Sales SupAort (SC 39 only) NC6510
                                  8740 Research Dr. - t st Floor                           8740 Research Dr. - 1st Floor
                                  Charlotte, NC 28262                                      Charlotte, NC 28262

                                  Account Number: 4386579010234457/300069655                              Parcel Numberi9..~.       41~11.r?H-'t-0~ -o Ir
                       r:---'-''-'=-----&.~/ 7

                                                                            MORTGAGE

                                  THtS MORTGAGE Js n,ade this day July 31, 2001, between the Mortgagor, CAROL W GARRETT,
                                  MARRIED and TERRY LEE GARRETT,                 HER HUSBAND, TENANTS BY THE ENTIRETY and
                                  CLARA WALSH,          SEPARATED whose malling address Is the property address (herein "Borrower"},
                                  and the Mortgagee, First Union National Bank of Delaware, a national banking associaHon organfzed and

               ------             exlsUng under the laws of the United Slates of America, whose address f-S One Rodney Square, 920 Klng
                                  Street, Wllmlngton, DE 19801 (herein "Lender").

                  ---
                ,..
                                  WHEREAS, Borrower Is Indebted to Lender in the prtnclpal sum of U.S. $75,000.Q0, which indebtedness is
                g::               evidenced by Borrower's Note dated July 31, 2001 and extensions. modifications and renewals thereof

          .... -   .........-.
                   ;:             (11ereln "Note"), providing for monthly Installments ofprincipal and Interest, with the balarice of lndebtedness,
                                  ifnot sooner paid, due and payable on July 30, 2021 .
          o..,_
          Si .= !:   TO SECURE lo lender the repayment of the indebtedness evidenced by the Note, with Interest thereon; the
   ~ ;; :: ~         payment of all other sums, with Interest thereon, advanced In accordance herewith to protect the security of
   ::i ~ '9 ii ~this Mortgage; and the performance of the covenartts and agreement$ of Borrower herein contained,
   : S : 8 IBorrower does hereby mortgage, grant and convey to Lender, wrth power of sale, the following described
   g., .,. g property localed fn t h e ~ S t a t e of WYOMING:
   .) ...... -
        §~~=                                                    ~
                                                                   I
   1:: 5 :: .; !:!                                         SEE ATTACHED SCHEDULE A
   :z t; ~.;...,
   :i!=!N~=
   ';". ".': :: ~ ::.vhich has the address of 1045 UPPER CACHE CREEK ORNE, JACKSON, WY 83001 and Parcel No.
    ~ :: 5 e- 9---- (herein "Property Address");
    s:1     ~            ......
     :!::g.="'""
    .,, .,, "" "' '"'rOGETHER with all the improvements now or hereafier erected on the property, and all ea·sements, rights,
                     appurtenances and rents all of which shall be deemed fo be and remain a part of the property covered by this
                     Mortgage; and all of the foregoing, together with said property (or the leasehold estate if this Mortgage Is on
                     a leasehold) are hereinafter referred to as lhe "Property.•

                                 Any Rider ("Rider") attached hereto and e,cecuted of even date Is incorporated herein and the
                                 covenant and agreements of the Rider shall amend and supplement the covenants and
                                 agreements of this Mortgage, as If the Rider were a part hereof.

                                 Borrower covenants that Borrower fs lawfully seized o! the eslate hereby conveyed and has the right to
                                 mortgage, grant and convey the PropeftY, and that the Property is unencumbered, except for encumbrances
                                 of record. Borrower covenants that Borrower warrants and WIii derend generally the UUe to the Property
                                 against all claims and demands, subject to enoumbrances of record.

                                 UNIFORM COVENANTS. Borrower and Lender covenant end agree as follows:

                                  1. Payment of Principal and Interest. Borrower shall promplly pay when due the principal-and Interest
                                 indebtedness evidenced by t11e Note. 1111S Mortgage secures payment of said Note according to Its terms,
                                 which are Incorporated herein by reference.

                                  2. Prior f,1ortgages and Deeds of Trust; Charges; Liens. Borrower shall perform all of Borrower's
                                 obligations, under any mortgage, deed of trust or other security agreement with a lien Which has priority over
                                 this Mortgage, .Including Borrower's covenants to ma~e payments when due. Borrower shall pay or cause to
                                 be paid at! taxes, assessments and other charges, fines and impositions attributable to the Property which
                                 may attain a priority over this Mortgage, and leasehold payments or ground rents, if any.

                                  3. Hazard Insurance. a) Borrower shall keep the lmprovements now existing or hereafter erected on lhe
                                 Property Insured against Joss by lire, hazards Included wflhfn Iha term •extended coverage", and any other
                                 hazards, including floods or flood, for which Lender requires Insurance. This insurance shall be maintained
                                 fn the amounts and for the periods that lender requires. The Insurance carrier provld[ng the insurance shall
                                 be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld. If Borrower
                                 falls to maintain coverage described above, Lender may, at Lerider's option, obtain coverage to protect
                                 Lender's rights In tile Property in accordance with paragraph 5.

                                 WVMartl)BijO                                         Page 1               Loan Numben 963 !l881338907/300069555
                                 231338wymtg (Rev 06, 11-00)                                                                                     Appellant's Appendix
                                                                                   Exhibit l                                                          Page 26 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 21 of 98
Appellate Case: 24-8013                 Document: 010111048105                                 Date Filed: 05/13/2024                      Page: 27




                                                                                              Include a standard mortgage
           (>) Alf Insurance pollc1es and renewals shall be acceptable to Lender and shaJ
                                  have  the right to  hold the pollclas and renewals .  If Lender   requires, Borrower shall
           clause. Lender shall
                                                  of paid premium   s and renewal notices.   In the  event of loss, Borrower
           prompUy give to Lender an receipts
                                                                                     fTlay make proof of toss If not made
           i,hall gjve prompt notice to the fnsunnce camer and lender. Lender
           prompUy to Borrower .

                                                                                 Insurance proceeds shall be applied lo
           c) Unless Lender and Borrower olherwlse agree in writing,
                                                                                    or repair is economically feasible and
           restoratfon or repair of the Property damaged, if the restoration
                     security Is not lessened  . If the restoration  or  repair  Is not economlcally feasible or lender's
           Lender's
                                       , the Insuranc e proceeds   shall be applied   lo the sums secured by this Security
           security would be lessened
                                                                e><cess   paid  to  Borrowe  r. If Borrower abandons the
           Instrument, wheiher or not then due, with any
                                                                                   that the insurance carrier has offered to
           Property or does not answer within 30 days a notice from Lender
                                                                                          may use the proceeds lo repair or
           setUe a claim, then Lender may col!ect the Insurance proceeds. Lender
                                                  secured   by this Security   Instrume  nt, whether or not then due. The
           restore the Property or to pay sums
           30-day period will begin when the notice is given.
                                                                                              or complete dest!\Jction or damage
           d) Except as provided In subparagraph 3(e) below, should partial
                                                                                           all lns(rume nls evidencing insurance
           occur to the Property, Borrower h!ueby agrees that any and
                                                                                               n, shall be placed In a non-interest
           proceeds received by Lender as a resull of said damage or destructlo
                             account     with  Lender.     At  Lender's  discretion  ,  Lender     may release some or an of the
           beartng escrow
                                                      r presents   lender  with  a receipt(s   ), invoice(s ), wr!Uen estlmates(s) or
           proceeds from escrow after Borrowe
                                                                            to the  repair   and/or  improvem    ents or the Property
           other document(s) acceptable to Lender which relates
                     y  as a result   of said  damage    and/or   destructi on.  Absent     an agreement to the contrary. Lender
           necessar
                                                                                                held In the escrow account My
           shall not be required to pay Borrower any Interest on the proceeds
                                                              repairs  and/or  Improvem     ents   have been made to the Lender's
           amounts remaining In the account a~er an
                                                                                              of Trust, Deed to Secure Debt, or
           satisfaction, shall be applied to tho sums secured by this Deed
                                                                                        endorsing all, checks, drafts and/or other
           Mortgage. Borrower further agrees IP cooperate with Lender by
                                      g insuranc  e proceeds    ; and   any  necessar    y documents. Should Borrower fall to
           Instruments evidencin
                                                              execul/on   within  thirty  (30) days arter Lender sends borrower
           provide any required endorsement and/or
                                                                                            e proceeds, or documenl(s) requiring
           notice that Lender has received an 'nstrument evidencing insuranc
                     's signature ,  Borrowe   r here!>y  authottze  s Lender   to endorse     said instrument and/or document(s)
           Borrower
                                    and   collect and  apply  said  proceeds   at Lender's    option,  either to restoration or repair
           on Borrowers behalf,
                                                              Deed   of Trust,  Deed   lo  Secure   Debt,  or Mortgage. It ts not the
           of Iha Property or to sums seoured by this
                                                                                                  endorsement or execution of an
           Intention of either party that this escrow provision, end/or Lcoder's
                                                                                         fiduciary or agency relatlonship between
           instrument(s) and/or document(s) on behalf of Borrower create a
           Lender and Borrower      .                     •

                                                                                       n of proceeds to principal shall not
           e) Unless lender and Borrower otherwise agree in writing, any applicatio
                               the due date of the monthly  payments  referred to In paragrap h 1 or change the amount of
           extend or postpone
                                             h 15 the Property  Is acquired by Lender.  Borrower  's right to any insurance
           the payments. If under paragrap
                                                                                to the acquisition shall pass to Lender to
           pollcles and proceeds resulting rrom damage to the property prior
           the extent of the sums secured by this Security Instrument.
                                                                                       Condom iniums; Planned Unit
            4.    Preservation and Maintenance -of Property: Leaseholds;
                     ments.  Borrowe   r shall keep  the Property In good repair and shall not commit waste or permit
           Develop
                                                                                 provisions of any lease if this Mortgage
           impairment or deterioration of the Property and shall comply with the
                                                            In a condomin ium  or a planned unit development, Borrower
           is on a leasehold. If this Mortgage is on a unit
                                                                               or covenants creating or governing I.he
           shaP perfocm all of Borrower's obligations under the declaration
                                                                                   s of I.he condominium or planoed unit
           condominium or planned unlt developmen~ the by-laws and regulation
           development, and constituent documen     ts.

                                                                                the covenants and agreements contained
             5. Protectio n of Lender's Security. If Borrower faffs to perfom'l
                                    any action or proceeding  Is commenc ed   which materially affects Lender's Interest In
            In this Mortgage, or If
                                                      option.  upon noUce   to Borrower , may make such appearances,
            the Property, then Lender, at Lender's
                                                                                  such acllons as Is necessary to protect
            disburse such sums, including reaso,able attorneys' fees, and take
            Lender's Interest.
                                                                              5, with Interest thereon from the date of
            My amounts disbursed by Lender pursuant lo this paragraph
                                                                                of Borrower secured by this Mortgage.
            disbursal, at the Note rate, shall become additional Indebtedness
                                  Lender   agree to other terms of payment. such  amounts shall be payable upon notice
            Unless Borrower and
                                                g payment   thereof. Nothing containe d In this paragraph 5 shall require
            from Lender lo Borrower requestin
            Lender to Incur any expense or take any action hereunde   r.

                                                                                   le enlries upon and Inspections of the
             6. Inspectio n. Lender may mal<e Of' cause to be made reasonab
                                                                                    such Inspection specifying reasonable
            Property, provided that Lender shall give Borrower notice prior lo any
            cause therefore related lo Lendefs lntareslin the Property.

                                                                                  damages, dir,icl or consequenllal, In
             7. Condem nation. The proceeds of any award or cfalm for
                     n with any condemnatlon or other taking of the Property. or part thereof, or for conveyance in lleu of
            coMeclio
                                                                                     to the tenns of any mortgage, deed
            condemnation, are hereby assigned and shan be paid to Lender subject

                                                                      Page 2                 L0311 Nwnt>er: 86J 88813389071300069655
            WY Mortgage
            231336 wymto (Rev oe. 11-00)
                                                                                                                                 Appellant's Appendix
                                                                                                                                      Page 27 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 22 of 98
Appellate Case: 24-8013                   Document: 010111048105                         Date Filed: 05/13/2024                    Page: 28



            of trust or other security agreement wUh a flan which has priority over this Mortgage.

            8. Borrower Not Released; Forbearance By Lender Not a Waivor. The Borrower shall remain liable ror
           full payment of the principal and interest on the Nole (or any advancement or obligation) secured hereby,
           notwithstanding any of the following: (a) the sale of all or a part of !he premises, (b) the assumpUon by
           another party of the Borrower's obligations hereunder, (c) the forbearance or extension of time for payment
           or performance of any obllgation hereunder, wJieU,er granted to Borrower or a subsequent owner of the
           property, and (d) the release of all or any part of !he premises securing said obligations or the release of any
           party who assumes payment of the same. None of the foregoing shall In any way affect the full force. and
           effect of the lien of thlS Mortgage or Impair Lender's right to a deficiency judgment (In the event of
           foreclosure) against Borrowet or any party assuming the obligations hereunder, to the extent pem,IUed by
           appHcabte law.

           Ally forbearance by Lender In exercising any right or remedy hereunder or otherwise afforded by appf!cable
           taw, shall not be a waiver of or preclude the exercise or any such right or remedy.

           '9. Successors and Assigns Bound; Joint and Several Llab'lflty; Co-signers. Borrower covenants and
            agrees that Borrower's obl!gatlons and fiabmty shall be Joint end several, However, any Borrower who co-
            signs this Security Instrument but does not e><ecute the Note (a "co-signer"): (a) Is co-signing this Security
            Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the terms of this
            Security Instrument; (b) is nol personally obligated to pay the sums secured by this Security Instrument; and
            (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any
            accommodations with regard to the terms or this Security lnslrument or the Note without the co-signer's
            consent.

           Subject lo the provisions or Section 14, any Successor In Interest of Borrower who assumes Borrower's
           obltgallons under this Security Instrument In Writing, and Is approved by Lender, shall obtain all of Borrower's
           rights and .benefits under this Security Instrument. Borrower shall not be released from Borrower's
           obligations and l!ab~ity under this Security Instrument unless Lender agrees to such release in writing. The
           covenants and agreements of this Security Instrument shall bind and benefit the successors and assigns of
           Lender.

           10. Notice. Except for any notice required under applicable law to be given In another manner, (a} any
           notlca to Borrower provided for in this Mortgage shall be given by delivering it or by maifing such notice by
           first class mall addressed to Borrower or the current owner at the Property Address or at such other address
           as Borrower may designate ln writing by noUce IO Lender as provided herein, and any other person
           personally liable on this Note as these person's names and addresses appear In the Lender's records at the
           time of giving notice and (b) any notice to Lender shall be given by first class ma!I IO Lender's address stated
           herein or to such other address as lender may designate by notice to Borrower as provided herein. Arly
           notice provided ror In this Mortgage shall be deemed to have been given ta Borrower or Lender when given
           In the manner designated herein.

           11. Governing Law; Severability. The state and focal laws applicable to this Mortgage shall be the laws of
           the Jurisdiction In whlch the Property is localed. The foregoing sentence shall not 1/mlt the applicability of
           Federal law to this Mortgage. In the event that any provision or clause of this Mortgage or the Note con"lcts
           with applicable law, such conflicts shall not affect other provlsions of this- Mortgage or the Note which can be
           given effect without the conflicting provision, and to this end the provisions of this Mor1gage and the Note are
           declared to be severable. As used herein •costs•, "expenses" and •attorneys' fees" Include all sums to the
           extent not prohibited by applicable law or limited herein,

           12. Borrower's Copy. Borrower shall be furnished a confonned copy of the Note, this Mortgage and
           Rider(s) al the time of exacullon or after recordallon hereof.

           13. Rehabilitation Loan Agreement, Borrower shall fulfill all of Borrower's obllgal!ons under any home
           rehabilitation, lmprovemen~ repair or other loan agreement which Borrower enters into with Lender. Lender,
           at Lender's option, may require Borrower to execute and deliver to Lender, in a form acceptable lo Lender,
           an assignment of any rights, claims or defenses which Borrower may have against parties who supply labor,
           materials or services In connecl!on with improvements made lo the Property.

           14, Transfer of the Property or a Benoflclal Interest In Borrower, Assumption. As used in !his Section
           14, "Interest in the Property" means any legal or beneficfal interest ln the Property, fnc!udlng, but nol llmited
           to, those beneficial interests transferred In a bond for deed, contract for deed, installment sales contract or
           escrow agreement, the intent of Wflich is the transfer of Utle by Borrower at a future date to a purchaser.

           If all or any part of the Property or BnY Interest In the Property 1s sold or transferred (or If Borrower Is not a
           natural person and a beneficial, Interest in Borrower ls sold or transferred) without Lender's prior written
           consent, Lender may require lmmedlale payment ln full of all sums secured by this Security lnstrumel'\I.
           However, this option shall not be e><ercised by Lender ifsuch exercise is prohibited by federal law.

           If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall proVide a


           WYMarigaoe                                           Pa.ge 3              Loan Number: 963 8881338907/S00069555
           231336 wymtg (Rev 08, 11-QO)                                                                                  Appellant's Appendix
                                                                                                                              Page 28 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 23 of 98
Appellate Case: 24-8013                Document: 010111048105                            Date Filed: 05/13/2024                    Page: 29



                                                                                                                  which
           period of not less than 30 days from the date the notloe Is given In accordance with Secuon 10 within
                                                                                                                pr1or to
           Borrower must pay all sums secured by this SecurUy Instrument. If Borrower falls to pay these sums
                                                                                                                 further
           the expiration of this period, Lender may Invoke any remedies by this Security Instrument without
           notl<:Q or demand  on Borrower.

           NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as foUows:

           15. Default; Acceleration ; Remedies. Upon Borrowers breach of any covenant or agreement of
                                                                                                                       Note
           Borrower In this entire Mortgage, Including the covenants to pay When due any sums under 1he
                                                                                                                    by this
           secured by this Mortgage, Lender, at Lender's option, may declare all of the sums secured
                                                                                                                    of such
           Mortgage to be Immediately due and payable wlfl'lout demand or noUce, notice of the exercise
                                                                                                                     Lender
           option being hereby expressly waived. Lender may Invoke the power of sate hereby granted.
                 have  the right  to enter upon  and   take  possession    of the  property  hereby  conveyed  and  after or
           shaH
                                                                                                                        first
           without taking such possession shan have the right to self the same al public auction for cash, after
           giving notice of lhe lime, place and terms of such sale by publfcatlon once a week for three consecutive
           weeks prior lo said sale, In some newspaper published In said county. and upon payment of the purchase
                                                                                                                          for
           money, the Lender, or owner of the debt and Mortgage, or auctioneer, shall execute to the purchaser
           and In the name of the Mortgagors, a good and sufficient deed to the property sold; the Lender shall apply
           the proceeds of said sale: first, to the expense of adve111s1ng, selflng and conveying said propeny,
                                                                                                                       been
           including a reasonable allomey's fee; second, lo the payment of any amounts that may have
                                    then be necessary    to expend    in paying insurance,  taxes  and other encombrance   s,
           expended or that   may
           with interest thereon; third, to the payment In full of the princfpal Indebtedness and Interest thereon.
                                                                                                                   shall be
           whether the same shall or shall not have fully matured at the date of said sate, but no Interest
                     beyond   the   date of said sale;  and   fourth,  the balance  If any,  shall be paid over to the  said
           oollected
                                                                                                                    may bid
           Borrowers or to whom ever then appears of record to be the owner or said property. The Lender
           and become the purchaser of the mortgaged property al any foreclosure sale hereunder.

           16. Borrower's Right to Reinstate. Notwithstanding Lender's acoeleraUon of the sums secured by lhls
                                                                                                                 this
           Mortgage, Borrower shall have the right to have any proceedings begun by Lender to enforce
                                                                                                                this
           Mortgage discontinued lf: (a) Borrower pays Lender all sums which would be then due under
                                                                                                                  (b)
           Mortgage, tt,ls Note and Notes securing Future Advances, if any, had no acceleration occurred;
                                                                                                             in this
           Borrower cures all breaches of any other covenants or agreements of Borrower contained
                                                                                                                and
           Mortgage; (c} Borrower pays all reasonable expenses Incurred by Lender in enforcing the oovenants
                                                                                                                   In
           agreements of Borrower contained n this Mortgage, and in enforcing Lender's remedies as provided
           Paragraph 15 hereof, inctudlng, but not llmtted to, reasonable atlomey:i• fees; and (d) Borrower
                                                                                                              takes
                                                                                                            interest
           such action, as Lender may reasonably require to assure that the lien of this Mortgage, Lender's
           In the Property and Borrower's obligation lo pay the sums secured by this Mortgage shall continue
                                                                                                            secured
           unimpaired. Upon such payment and cure by Borrower, this Mortgage and the obllgaUons
           hereby shall remain In full force and effect as If no acceleration had occurred.

           17. Assignment of Ronts; Appointmen t of Receiver. As addlllonal security hereunder, Borrower hereby
           assigns to Lender the rents or the P1operty, provided that so long as Borrower Is not In default hereunder.
           Borrower shall, prior to acceleration under paragraph 15 hereof or abandonment or the Property, have
                                                                                                                   the
           right to collect and retain such rents as lhey become due and payable.

           Upon accelerallon end/or foreclosure under para.graph 15 hereof, or abandonment of the Property.
                                                                                                                the
           Lend«, ln person or by agent, shaU be entilled to enter upon, lake possession of end manage
                                                                                                          liable lo
           Property and to collect the rents of the property induding lhose past due. The Lender shall be
           account only for those renls actually received prior to foreclosure safe as provided In paragraph
                                                                                                               15,
                                                                                                             In the
           Lender shall not be liable to account to Borrower or to any other person ctafmfng any Interest
           Property for any rents received after foreclosure.

           18. Loan Charges. If the loan secured by this Mortgage is subject lo a law which sets maximum loan
                                                                                                                or to be
           charges, and that law Is finally interpreted so that the Interest or other loan charges collected
                                                                                                                 shall be
           collected in connection with the loan exceed permitted limits, then: (1) any such loan charges
                                    necessary  to  reduce  the  charge IO  the pennltted nm!I;  and (2) any sums  already
           reduced by the amount
                                                                                                                  choose
           collected from Borrower which exceeded permilted !mils will be refunded to Borrower. Lender may
                                                                                                                        to
           to make tnis refund by reducing the princlpal owed Under the Note or by malling a direct payment
                                                                                                                   Note.
           BorTOwer. If a refund reduces principal. the reduction wUI be treated as a partial prepayment under the

                                                                                                                    e[ther of
           19. Legislation. If. after the date hereof, enactment or expiration of appffcable laws have the effect
                      the provisions of the Note, the Mortgage   or any  Rider, unenforceabl e according  to their tenns,  or
           rendering
                                                hereby  uncolfectlble, as otherwise provided In this Mortgage  or  the Note,
           all or any part of the sums secured
           or of diminishing the value of Lendets security, then Lender, at Lenders opUon, may declare all sums
           secured by the Mortgage to be Immediately due and payable.

                                                                                                                  property
           20. Satisfaction. Upon payment ci ell sums secured by this Mortgage, the conveyance of the
                                                                                                                     shall
           pursuant to this Mortgage shall become null and void and Lender shall release this Mortgage. Borrower
                            recordallon, If any. Lender. at Lenders option, may allow a partlaf release of the Property on
           pay all costs of
           terms acceptable to Lender and Lender may charge a release fee.



           WYMO<lgage                                            Pag&4                Loan NUIT)bor. 963 8881 "8907/3000696 55
           231336 wymlg (flev 06, 11-00)                                                                                 Appellant's Appendix
                                                                                                                              Page 29 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 24 of 98
Appellate Case: 24-8013                Document: 010111048105                         Date Filed: 05/13/2024                   Page: 30



                                                                                     rights under and by Vfrtue or the
           21. Warver of Homestead. Borrower t!eteby releasing and waiving an
                                                                                       and courtesy in the Property.
           homestead exempHon laws of this State, and relinquishes all rights or dower

                                                                                              use, disposal, storage. or
           22. Hazardous Substances. Booower shall not cause or permit the presence,
                                                                                      not do, nor allow anyone else to
           release of any Hazardous Substances on or In the Property. Borrower shall
                                                                                      ntal Law. The preceding two
           do, anything affecting the Property that ls in vlolatloo or any Environme
                                                      use, or storage on the Property of small quantities of Hazardous
           sentences shall not apply to the presence,
                                                                                            uses and to maintenance of
           Substances that are generally recognized lo be appropriate to normal residential
           the Property.

                                                                                        claln1, demand, lawsuit, or other
           Borrower shall promptly give Lender written notice or any lnvesl!gat!on,
                                                                                                  the Property and any
           action by any govemmenlal or regulatory agency or private party Involving
                      s  Substanc  e     Environmental Law  of which  Booower      has   actual knowledge. If Borrower
           Hazardou                   Of
                                                                                         removal, or other remediation of
           learns, or Is notified by any governmental or regulatory authority, tllat any
                                                                                        shall promptly take all necessary
           any Hazardous Substance affecting the Property Is necessary, Borrower
           remedial acllons in accordance with Environmental Law.
                                                                                              s defined as toxic or
           As used In this paragraph 22, "Hazardous Substances" are those s1Jbstance
                                                                                       s: gasollne, kerosene, other
           h112:ardous subslances by Environmental Law and the following substance
                                                                                      , volatile solvents. malerlals
           flammable or toxic petroleum products, toxic pesticides and herbicides
                                                yde,   and  radioactive materials. As used fn this paragraph 22,
           containing asbestos or formaldeh
                                                                                        the Property Is located that
           "Erwfronmen!al law" means federal laws and laws of the Jurisdiction where
           relate to health, safely, or envlronmenlel protection.

                                   REQUES T FOR NOTICE OF DEFAULT AND FORECLOSURE
                                    UNDER SUPERIOR MORTGAGES OR DEEDS OF TRUST

                                                                                        or other encumbrance with a lien
           Borrower end Lender request the holder or any mortgage, deed of lrust
                 has  priority over this Mortgage  to give Notice to Lender, at Lendets  address set forth on page one of
           which
                                          under the superior encumbra  nce and  of any sale or other foreclosure action.
           this Mortgage, of any default




                                                                Pages               Loan Number: 963 8881338907/300069655
            WY Mortgage
            231336 W)'mtg lRcv 06. 11-00)
                                                                                                                     Appellant's Appendix
                                                                                                                          Page 30 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 25 of 98
Appellate Case: 24-8013                   Document: 010111048105                         Date Filed: 05/13/2024                   Page: 31



           IN WITNESS WHEREOF, Borrower has executed this Mortgage and adopted as his seal the word ('SSAL")
           appeartng beside his name.

           Signed. sealed and delivered In the presence of:




                    -~   ~
                     ........               ....M<=¢Jl....,,,_'-"'--_JSEALJ
                         Rv=-"'e~--A=R-RE-~~<t


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                 .,,,,.CLARAWALSH




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           STATE OF-W't'OMiNO f ~

           COUNTY OF           §aa,,me,
           Toe foregoing instrument was acknowle~:~rt.before me~ROL W G ~ .ind TERRY LEE
           GARRETT and CLARA WAL.SH , fhis '/f fday of          /     ,  .

           WITNESS my hand and officl


           Signature: C...~~~:;&;~....::,,e:.4 :::::::.~:..e.'.:4~'.!...:::=- (SEAL)

           My Commission Explres: /2-~?/-.___-__,_-'....._....,,.L-~---




           WY Moftgage                                                   Page$        Loan Numl>ar. 963 8881338907/300069655
           231336 wymt9 (Rev o~, 11-00)                                                                                 Appellant's Appendix
                                                                                                                             Page 31 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 26 of 98
Appellate Case: 24-8013               Document: 010111048105                         Date Filed: 05/13/2024                    Page: 32




                                     PRIME EQUITY LINE RIDER

           PEL Account NI.Imber; 438657901023 ~57


           THIS PRIME EQUITY LINE RIDER Is made this day July 31, 2001 and Is incorporated Into and shall be
           deemed to amend and supplement the Mortgage, Deed of Trust or Security Deed (the •security
           lnstrumenn of the same date given by the undersigned (the "Mortgagor') to secure the Prime Equity Line
           Agreement and Disclosure Statement executed by the Mortgagor of lhe same date (said Agreement is
           referenced In the Security Instrument and this Rider as "Note") to First Union Natrona! Bank of Delaware,
           (the "Lender") and covering the property described In the Security Instrument and located at


                                   1045 UPPER CACHE CREEK ORNE, JACKSON, WY 83001
                                                    Property Address


           ADDITIONAL COVENANTS
           In add!Uon to the covenants and agreements made In the Security Instrument, Mortgagor and Lender
           further covenant and agree to the following additional terms and condlllons:

           1.       Adjustable Rate
                   The Security Instrument seGures a Note that prov1des for changes in lhe Interest rate, es more
                   particularly described In said Note.

           2.       Amendments to the Securtty Instrument Maturity Date
                    The second paragraph on page one of the Security Instrument Is deleted In Its entirety and shall
                    read as follows:

                   "The Lender has made a loan to Mortgagor the maximum indebtedness at any one time shall not
                   exceed $75,000.00 which loan is an open-end llne of credit as evidenced by Mortgagor's Note
                   and extensions, modifications and renewals thereof which provides for obllgatory advances of all
                   or part of the loan proceeds from time to lime. subject to provisions In lhe Nole. The entlre
                   Indebtedness evidenced by the Note, If not 11ooner pald, will be due and payable on July 30,
                   2021."

                    Paragraph 20 or the Security Instrument shall be deleted In Its entirety and read as follows:

                    "When the balance of all outstanding sums including finance charges and other charges. If any,
                    secured by the Security Instrument Is zero, the Lender shall upon request of the Borrowe.r.
                    release the Security Instrument. Borrower will pay all recordallon costs, If any. Absent a request
                    from the Borrower, the Security Instrument shall remain In full force and effect for the term set
                    forth above. Lender, at lender's option, may allow a partial release of the Property on terms
                    acceptable to Lender and Lender may charge a release fee.•

           3.       Obligation to Lend
                    Lender Is absolutely oblfgated under the terms of the Note to make advances nol to exceed, at
                    any one lime in the aggregate, the amount stated In the Nole end Mortgagor hes agreed to repay
                    any advances under the terms of the Note. Lender's absolute obUgation to make advances to
                    Mortgagor under the Note ends when lender terminates tha right to make advances and
                    demands repayment of the outstanding obligation or prohibits additlonal extensions of credit
                    under the Note or the Security Instrument Nevertheless, lender may waive the right to terminals
                    or prohibit additional advances. If Lender does not terminate or prohibit additional advances,
                    Lender remains obligated to make advances to Mortgagor under Iha terms of the Nole. However.
                    that waiver does not bind Lender If the same or a different event occurs or is cont!nuing at a later
                    time.

           4.       Note Provisions • Conflict
                    In case of a conflict between the terms of the Note and Iha Security lnslrumet\t governing
                    remedies ot default or termination of advances, the terms of the Note shall control.




                                                               Paget                                                Appellant's Appendix
                                                                            Lo;in Number. 963 8881338907/438657901023'-'157
           WY PEL Rider
           231340 wyprid (Rov 04. 11-00)                                                                                   Page 32 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 27 of 98
Appellate Case: 24-8013                  Document: 010111048105                        Date Filed: 05/13/2024                  Page: 33




                                                                                                       In this Rider.
           By signing below, Mortgagor accepts and agrees to the terms and conditions contained




                    T~G~~                                             [SEAL]



                     CwJ       7;J. ~ 5 ' z / m A L J
                    CAROL W GARRETT


                  t~,1 1,;~ ,                                         (SEAL]
             ~LAR A WALSH




                                              (Space Below This Line For Acknowleclglr,g]

           STATE or W'(8MIPf9                 ~
           COUNTY OF          ,dk.iltfl,                   ) ss
                                                           )

           The foregoing instrument was acknow1'.;9J~t,.efore ~ERR Y LEE
                                                    Toay of      '
                                                                                            :WEJ"  .
                                                                                                         and CAROL W
           GARRETT and CLARA WAl.SH , this

           WITNESS my hand and offlclal seal


           Signature:                                                           (SEAL)




                                                                  Pago2                                               Appellant's
                                                                               Loan Number. 963 8881338007/4388S7Q010234457       Appendix
            WY PEL Rider
            2-31340 wyprid (Rey 04, 11--00)                                                                               Page 33 of 281
                                                                                                                                                    Appellate Case: 24-8013
                                                                                                                                                                              Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 28 of 98
                                                                                                                                                    Document: 010111048105
                                                     Legal Description
All that certain parcel of land situated in CITY OF JACKSON being known as All that certain property situated in CITY OF '
JACKSON in the counfy of TETON and state of WYOMING and being described in a deed dated 08/21/1986 and recorded                                ..
08/26/1986 inbook 180 page 562 among the land records of the county and state set forth above and referenced as follows: PART
OF LOT 9, RIDGE ADDffiON, PLAT 562 Parcel ID Number. 22-41-16-34-4-02-018 and being more fully descnbed in Deed
Book 180 Page 562 recorded on 08/26/1986 among tb.e land rewrds of TETON County, WY.
Parcel ID Number: 22-41-16-34-4-02-018




                                                                                                                                                    Date Filed: 05/13/2024
                                                                                                                                                    Page: 34
                                                                                                                        Appellant's Appendix
                                                                                                                             Page 34 of 281
                                                                          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 29 of 98
                                 Appellate Case: 24-8013                                                                        Document: 010111048105                                                                                          Date Filed: 05/13/2024                                             Page: 35

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         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 30 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 36
                                                       ·-·-·-·. ····- - - --------------..




                                                                    Appellant's Appendix
                                                                         Page 36 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 31 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 37




                                                                    Appellant's Appendix
                                                                         Page 37 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 32 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 38




                                                                    Appellant's Appendix
                                                                         Page 38 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 33 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 39




                                                                    Appellant's Appendix
                                                                         Page 39 of 281
                              Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 34 of 98
               Appellate Case: 24-8013                                          Document: 010111048105                                                     Date Filed: 05/13/2024                                                           Page: 40


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                   Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 35 of 98
          Appellate Case: 24-8013             Document: 010111048105        Date Filed: 05/13/2024     Page: 41



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                                                                                             Appellant's Appendix
                                                                                                  Page 41 of 281
          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 36 of 98
Appellate Case: 24-8013          Document: 010111048105                Date Filed: 05/13/2024                Page: 42

                                                                                GRANTOR: TETON COUNTY SHERIFF
                                                                                GRANTEE: CALDWELL, JOHN
                                                                                Doc 1056038 Filed At 15:21 ON 03tZ2fl3
                                                                                Maureen Murphy Teton County Clefk fees: 33.00
                                                                                By Kellie Dickerson Deput~ Cieri<
                                     CERTIFICATE OF PURCHASE

           !r Mary L. Faulkner, being duly sworn and of legal age, hereby certify that I am the Civil Process
       & Warrant Specialist in the Sheriff's Office.ofTeton County, Wyoming, and further state:


       1. I conducted a.public sale on the 1611' day of March, 2023, commencing at or aboutthe hour of 10:00
       a.m. on the front steps of the Teton County Courthouse, 1so·s. King Street, Jackson, Wyoming, for the
       property described below:

                   Beginning at the southeast comer ofsaid Lot 9, thence N0O degrees 12 minutes 14 seconds
                   W, 149.91 feet to a point; thence NSI degrees 13 minutes 19 seconds W, 84.46 feet to a
                   point; thence N66 degrees 53 minutes 11 seconds W, 73.0 feet to a point; thence S41
                   degrees 21 minutes 23 seconds W, 173 .0 I feet to a point; thence S67 degrees 42 minutes
                   35 seconds B, 267.84 feet to the point of beginning.
                   Property commonly known as I 045 Opper Cache Creel<. Drive, Jackson, WY.


       2. That such sale was conducted after an Affidavit of Service of Written Notice oflntent to Foreclose
      Mortgage was sent by certified mail, return receipt requested, to the last known ·address ofthe record
      owner and the person in possession of said property at least ten days prior to commencement ofthe first
      publication oftbe foreclosure sale notice, as shown by the affidavit attached hereto as Exhibit "A".


      3. That such sale was conducted after a Notice ofForeclosure Sale was published in a newspaper of
      general .circulation in Teton County, Wyoming, once per week for four cons,ecutive weeks, giving the
     . time, place and conditions of such sale as evidenced by the Attorney's Affidavit and Proof of
      Publication attached hereto as Exhibit "B".

      4. That the sum of $2969.26 is to be paid to The Sayer taw Group, P.C., the attorneys for the
      Mortgagee, as compensation for service actually rendered In the foreclosure proceeding, said attorneys
      having made an affidavit as required by the statutes ofthe State of Wyoming, a copy of said Affidavit
      ofAttorney attached hereto as Exhibit "C".


      5. The highest bidder at such sale was John Caldwell and Joan Schank ("Purchaser''), and the amount
      bid for the Foreclosed Property was $825,000.00 ("Purchase Price").


      6. Pursuant to Wyo. Stat.§ 1-18-102, the Purchaser is entitled to a deed for the Foreclosed Property
      at the expiration of the period of redemption unless the Foreclosed Property is redeemed prior to that




                                                                                       Exhibit 3
                                                                                                  Appellant's Appendix
                                                                                                       Page 42 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 37 of 98
Appellate Case: 24-8013            Document: 010111048105                   Date Filed: 05/13/2024       Page: 43




         date as provided by law. The period in which the Mortgagor bas the right to redeem the Foreclosed
         Property is three (3) months after the date of the foreclosure sale.




              DATED this 23nlday ofMarch, 2023.




                                               Matt Carr, Sheriff in and for .
                                               Teton Cotmty, State of Wyoming




                                               ML.Fuiner
                                               Civil Process & Warrant Specialist
                                               Teton County Sheriff'~ Office·




    STATE OF WYOMING)
                                       ) ss.
    COUNTY OF TETON)

    The foregoing instrument was acknowledged before me on the z3n1 day of March, 2023 by Maiy L. Faulkner
    as Civil Process & Warrant Specialist, in the Sheriffs Office of Teton County, Wyoming.


    (Seal, ifany)
               JILL CALI.AWAY
              NOTARY PUBLIC                                    Signature of notarial officer   ~
            STATE OF WYOMING
           COMMISSION 10: 140876
      Mi COMMISSION EXPIRES: 07/31/2028                           )if~ -hJ'-1                  -
                                                               Title of notaifai officer

   My commission expires:[-/~, f~<Y
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                                                                                               Appellant's Appendix
                                                                                                    Page 43 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 38 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 44




                                                                    Appellant's Appendix
                                                                         Page 44 of 281
                            Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 39 of 98
      Appellate Case: 24-8013                          Document: 010111048105                                                              Date Filed: 05/13/2024 Page: 45
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                                                                                                                                                                              Page 45 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 40 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 46




                                                                    Appellant's Appendix
                                                                         Page 46 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 41 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024   Page: 47
                                                                                       Appellant's Appendix
                                                                                            Page 47 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 42 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 48




                                                                    Appellant's Appendix
                                                                         Page 48 of 281
                           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 43 of 98
         Appellate Case: 24-8013                           Document: 010111048105                                    Date Filed: 05/13/2024                          Page: 49

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                                                                           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 44 of 98
                      Appellate Case: 24-8013                                                                                                             Document: 010111048105                                                                                                             Date Filed: 05/13/2024                                                                                                                                          Page: 50

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                                                                                                                                                                                                                                                                                                                                                                                                                 Page 50 of 281
          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 45 of 98
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024               Page: 51

                                                                       GRANTOR: TETON COUNTY SHERIFF
                                                                       GRANTEE: CALDWELL, JOHN
                                                                       Doc 1063792 Filed At 14:04 ON 07n,Of23
                                                                       Maureen Murphy Teton County Clerk fees; 15.00
                                        SHERIFF'S DEED                 By Kellie Dickerson Deputy Clerk


           KNOW ALL MEN BY THESE PRESENTS, that I, Mary L. Faulkner, being duly sworn
    and of legal age, hereby certify that I am Civil Process & Warrant Specialist for the Sheriff of
    Teton County, Wyoming, and that the Teton County, Wyoming Sheriff's Office conducted a
    public sale on the 16 day of Mard1, 2023, commencing at or about the hour of 10:00 a.m. on the
    front steps of the Teton County Courthouse, 180 South King Street, Jackson, Wyoming, of the
    property described below that was encumbered by a Mortgage dated July 31, 2001 (the
    "Mortgage"), given by Carol W. •Garrett, married and Terry Lee Garrett, her husband, tenants by
    the entirety and Clara Walsh ir~favor of First Union National Bank of Delaware ("Mortgagee''),
    recorded in the records of the Te~on County, Wyoming Clerk on August 24, 2001, as Instrument
    No. 0549832, in Book 432, at page 403 that encumbers th~ property described below (the
    "Foreclosed Property''):


           Lot 9A, The Ridge Subdi-✓ision.


           Property commonly knowo as l045 Upper Cache Creek Drive, Jackson, WY.



           On March 23, 2023, the Teton County, Wyoming Sheriffs Office issued a Certificate of
    Purchase for 1045 Upper Cache Creek Drive, Jackson, WY to John Caldwell and Joan Schank,
    which made the highest bid for the Foreclosed Property at the foreclosure sale. The Certificate
   of Purchase for the above property was recorded in the records of the Teton County, Wyoming
   Clerk as Document Number 1056038.

           All redemption periods for the Foreclosed Property have expired without the Foreclosed
   Property being redeemed, and John Caldwell and Joan Schank are, therefore, entitled to a deed to
   the Foreclosed Property.

          NOW, THEREFORE, KNOW ALL MEN BY THIS DEED, that I, Mary Faulkner, Civil
   Process & Warrant Specialist for the Sheriff of Teton County, Wyoming, in consideration of
   the premises, have granted and sold and do hereby convey to John Caldwell and Joan Schank,
   its successors and assigns, whose address is I 045 Upper Cache Creek Drive, Jackson, WY, the


                                                                                             Exhibit 4
                                                                                           Appellant's Appendix
                                                                                                Page 51 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 46 of 98
Appellate Case: 24-8013          Document: 010111048105              Date Filed: 05/13/2024      Page: 52




    Foreclosed Property, to have and to hold the described premises, with all appurtenances, to John
    Caldwell and Joan Schank, its successors and assigns, forever.

           IN WITNESS WHEREOF, the undersigned has caused this Sheriffs Deed to be executed
    and delivered on the 19th day of July 2023.

                                          Matt Carr1 Sheriff in and for
                                          Teton County, State of Wyoming




                                          By=' t J Z ~
                                          MaryL. fau
                                                              bJ, 'iadka..1
                                          Civil Process & Warrant Specialist
                                          Teton County Sheriffs Office




    STATE OF WYOMING                      )
                                          ) ss.
    COUNTY OF TETON                       )

    The above and foregoing Sheriffs Deed was acknowledged before me on the 19th day of July
    2023 by Mary Faulkner as Civil Process & Wa.nant Specialist for the Sheriff of Teton County.
    Wyoming.

    (Seal, if any)
    LYNDA KAYE RUDOLPH • NOTARY PUBLIC
      County ot   ~         State of
        Teton     ~ WyoJ11ing
    My Commission Expires;;,/a '4:,at.J
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                                                  Signate      ' 4er~ ~
                                                          of notarial~

                                                  AiM,l'\\"':>n-nbV< A~~\~\-4,d-
                                                  Title of notarial officer

    My commission expires: ;;;>/.> / ~'-{




                                                                                       Appellant's Appendix
                                                                                            Page 52 of 281
                 Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 47 of 98
Appellate Case: 24-8013            Document: 010111048105                                  Date Filed: 05/13/2024      Page: 53




                                                  SALIENT FACTS



            l. Physical Address:                          1045 Upper Cache Creek Dr
                                                          Jackson, WY 83001

           2. legal Description:                          Lot 9A, The Ridge
                                                          Teton County, Wyoming

            3. PION:                                       22-41-16-34·4·02·018

           4. Property Type:                              Single-Family Residential

           5. Site Area:                                  0.75 acres

           6. Owner of Record:                            Caldwell, John & Schank, Joan

           7. Date of Value:                              August 25 , 2023

           8. Inspection Date:                            August 25, 2023

           9. Signature Date:                             September 19, 2023

           10. Value:                                     Fair Market Value

           11. Estimated Value Opinion:                   $2,900,000




                                                                                                      Exhibit 5


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                                                                                                             Appellant's Appendix
                                                                                                                  Page 53 of 281
               Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 48 of 98
Appellate Case: 24-8013       Document: 010111048105                               Date Filed: 05/13/2024     Page: 54




                                       SUBJECT PROPERTY




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                                                                                                    Appellant's Appendix
                                                                                                         Page 54 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 49 of 98
Appellate Case: 24-8013         Document: 010111048105                                  Date Filed: 05/13/2024     Page: 55




                                         Teton Valley Appraisals
                                       PO Box 137 . V1ctor. ID 83455. 208_399.9099




     September 18, 2023


    Austin Dunlap
    Kearney, McWilliams & Davfs, PLLC
    PO Box 4803
    Jackson, WY 83001

     At your request, an Appraisal Report has been developed of the estimated fair market value of
     the home located at 1045 Upper Cache Creek Drive in Teton County, Wyoming, as of the
     effective date of August 25, 2023 for litigation purposes. Additional Intended Users .of this
     report include Carol & Terry Garrett.

     The research and analysis outlined in this report, resulted in an opinion of fair mat:ket value of
     the subject real estate, as of the effective date of the appraisal, August 25, 2023 of:

                              Two Mllllon Nine-Hundred Thousand Dollars
                                                   ($2,900,000)

    The stated value opinion has been prepared in accordance with IRS Form 8283 for noncash
    charitable contributions, subject to the stated scope of work, purpose of the appraisal,
    reporting requirements of this report form, certain assumptions and limiting conditions,
    certifications and the definition of fair market value. The attached appraisal presents summary
    discussions of the data, reasoning, and analyses used in the appraisal process to develop the
    opinion of value. Supporting documentation that is not provided with the report concerning the
    data, reasoning, and analyses is retained in the appraiser's work file.

    If you should have any questions regarding the attached appraisal report, please contact our
    office at (208) 399-9099. Thank you and we appreciate the opportunity to provide you with our
    appraisal services.



    Sincerely,


      ~~
    Gena Howald
    Certified Residential Appraiser




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                                                                                                         Appellant's Appendix
                                                                                                              Page 55 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 50 of 98
Appellate Case: 24-8013        Document: 010111048105                                Date Filed: 05/13/2024     Page: 56




     INTENDED USE AND INTENDED USER(S)
    The Imended Use of the appraisal is to develop a fair market value opinion of the real property
    located at 104S Upper Cache Creek Drive in Jackson, Wyoming as of August 25 1 2023 for
    litigation purposes. Additional Intended Users include Carol & Terry Garrett.

    SCOPE OF WORK
    An exhaustive volume of data is gathered and analyzed in order to derive at a supportable fair
    market value conclusion for the subject property. The appraiser has performed a complete
    visual evaluation of the property. The interior of the home is observed with the exception of
    attic and crawl space areas; as well as an observation of the subject exterior and yard and
    property boundaries, followed by reviewing the subject plat/survey map and the Teton County
    GIS. The subject property is measured. The measurements for the subject property comply with
    ANSI Standards 2765-2021 . The gross living area is considered all square footage contained
    within the existing structure based on exterior measurements . In an effort to determine the
    extent of the improvements made to the home over the years and the amount of associated
    depreciation, I have interviewed the original builder of the subject property, Michael Melf.

    The subject neighborhood is also observed in order to determine the characteristics and market
    appeal of the area in order to obtain the appropriate comparable sales and listing data.
    Comparable properties that are geographically, physically, functionally and economlcally similar
    to the subject property, reflecting current buyer and seller actions were researched and
    considered. If prior access to comparable properties was not obtained, an Inspection of the
    comparable from at least the street was performed, and the listing agent, selling agent or both
    were contacted in order to confirm the sale and to discuss the property and any terms or
    concessions associated with the sale. Appropriate adjustments (if any) were applied to the
    sales to reflect market reactions/conditions as of the effective date of the appraisal. The
    appraiser relies on closed sales information to develop an opinion of current market value;
    however, In a declining market or a market that Is not stable, active and pending sales
    information must also be considered as these properties portray current market activity, and
    indicate market trends.

    All Information, estimates and opinions furnished to the appraiser and contained in this report,
    are obtained from a variety of sources, which include the followlng: county records, Teton
    County Multiple List Service, real estate agents, colleagues, bankers, building contractors and
    property owners. These sources are considered reliable, and deemed to be true and correct.

    There are 3 approaches to determining the market value of an improved property: l) the Sales
    Comparison Approach 2) the Cost Approach and 3) the Income Approach. The Sales
    Comparison Approach is the most reliable methodology for determining market value in the
    current real estate climate. If any approach is not utilized, the reason for its ex clusion is
    summarized in the corresponding addendum.

    The appraiser is a member of the Teton MLS, which is the leading source of listed and sold
    properties throughout Teton County, Wyoming . The appraiser possesses the required
    geographic competency and extensive knowledge of the market, its varied housing segments
    and buyer profiles involving both the resort and non-resort properties throughout the Teton
    Valley market. Additionally, the appraiser has developed an extensive network of real estate
    professionals to include realtors , developers and builders to recognize evolving market trends
    and to accurately interpret and report buyer and seller behavior in the Jackson real estate
    market.




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                                                                                                      Appellant's Appendix
                                                                                                           Page 56 of 281
                 Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 51 of 98
Appellate Case: 24-8013         Document: 010111048105                               Date Filed: 05/13/2024     Page: 57




    HIGHEST AND BEST USE ANALYSIS
    Highest and Best Use is generally defined as: The reasonably probable and legal use of vacant
    land or an improved property that is physically possible, appropriately supported, and
    financially feasible and that results in the highest value.
    - The use of the real estate existing as of the date of the value is single-family residential.
    - The use of the real estate reflected in the appraisal is single-family residential.
    - The subject property is located in a neighborhood that exhibits residential improvements only,
    which reflect extensive remaining economic life, surrounded by established residential housing
    and subdivisions, and void of any commercial or Industrial development.
    - The zoning establishes the highest and best use of the land for residential use. The land as
    though vacant, is most suitable for a residential property, based both on its size and location in
    the market.
    - The highest and best use of the subject property is single-family residential.

    SUBJECT PROPERTY ANALYSIS
    Current Owner
    Caldwell, John & Schank, Joan

    3-Year Sales History/Current Listings
    Per Teton County Sheriff Deed #1063792, the subject transferred 07/20/2023 from Teton
    County Sheriff to Caldwell, John & Schank, Joan. A Certificate of Purchase of the subject
    property was documented on 03/22/2023 of the public sale of the subject property to the
    highest bidders John Caldwell and Joan Schank in the amount of $825,000.

    Legal Description
    lot 9A, The Ridge

    Plat Map No.
    00562

    Year Built
    1987

    Parcel Identification No.
    22-41-16-34-4-02-01 8

    2022 Taxes
    $9,865.00

   Site Size
   0. 75' acres

   Zoning
   NL-1

   Zoning Description
   General Intent: The intent of the Neig_hborhood Low Density-1 (NL-1) zone is to provide for
   places with enough open space and sufficient lot size to provide a predominance of landscape
   and yards over buildings. Buildings and development should be oriented to respect steep
   slopes, preserve open space, and provide for wildlife movement through the property. This
   zone is intended for Stable neighborhoods where increased residential density is not intended.
   Land Use: Single-family detached homes, accessory structures, and ARUs are the primary land
   uses.




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                                                                                                      Appellant's Appendix
                                                                                                           Page 57 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 52 of 98
Appellate Case: 24-8013         Document: 010111048105                                  Date Filed: 05/13/2024     Page: 58




     Description of the Land & Existing Site Impr ovements

     • Site - Conditions or External Factors
    The subject site size and characteristics are compatible with the neighborhood. The site
    has been through a lot split. It is irregular in shape and 0.75-acres in size. It is accessed via
    a shared asphalt driveway with the adjacent Lot 98. An official easement was recorded
    01/31/2020, per Easement Document #09904 14. The subdivision is located on a hillside
    and the lot is sloping with mature, forested trees surrounding the property and a filtered
    view of the Teton Mountain Range to the north. The subject is connected to the City of
    Jackson water and sewer. There is no lawn or landscaping. The sit e exhibits adequate
    drainage. Seasonal variations may occur, and subsurface drainage conditions are unknown.

    I have checked land records that are available through the Teton County Assessor's office
    online, for recorded adverse easements , encroachments, special assessments,
    enviro nmental conditions, slide areas, etc. t hat may affect the value of the subject, and no
    adverse documents were associated with the subject. Unless otherwfse noted, standard
    utility and right-of-way easements are insignificant to value.

    The appraiser did not observe t he presence of any hazardous material. The appraiser has
    no knowledge of the existence of such material(s) on or in the property. The appraiser,
    however, is not qualified to detect such substance(s). The value estimate is predicated on
    t he assumption that there are no adverse materials or environmental conditions associated
    with the property that t he appraiser could not observe that would cause a loss in value. No
    respons ibility is assumed for such conditions, or for ex pertl se or engineering knowledge
    required to discover them.              •

                                           SUBJECT PHOTOS




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                                                                                                         Appellant's Appendix
                                                                                                              Page 58 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 53 of 98
Appellate Case: 24-8013        Document: 010111048105                             Date Filed: 05/13/2024     Page: 59




    Dining Area




   Living Room, Photo #2




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                                                                                                   Appellant's Appendix
                                                                                                        Page 59 of 281
                 Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 54 of 98
Appellate Case: 24-8013         Document: 010111048105                           Date Filed: 05/13/2024     Page: 60




     Primary Bedroom




   Hall ¾ Bathroom




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                                                                                                  Appellant's Appendix
                                                                                                       Page 60 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 55 of 98
Appellate Case: 24-8013        Document: 010111048105                                Date Filed: 05/13/2024     Page: 61




     Bedroom




    Bedroom

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   Bathroom




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                                                                                                      Appellant's Appendix
                                                                                                           Page 61 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 56 of 98
Appellate Case: 24-8013        Document: 010111048105                             Date Filed: 05/13/2024     Page: 62




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                                                                                                   Appellant's Appendix
                                                                                                        Page 62 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 57 of 98
Appellate Case: 24-8013                                  Document: 010111048105                                                Date Filed: 05/13/2024                                                         Page: 63




                                                                     SKETCH PAGE ADDENDUM




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                                                                                                                                                                                   Appellant's Appendix
                                                                                                                                                                                        Page 63 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 58 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 64




                                                                    Appellant's Appendix
                                                                         Page 64 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 59 of 98
Appellate Case: 24-8013        Document: 010111048105                           Date Filed: 05/13/2024     Page: 65




                                   AERIAL MAP ADDENDUM




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                                                                                                 Appellant's Appendix
                                                                                                      Page 65 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 60 of 98
Appellate Case: 24-8013         Document: 010111048105                                 Date Filed: 05/13/2024     Page: 66




    DESCRIPTION OF PROPERTY BEING APPRAISED
    The subject is a 2,490sf, 2-story home with a 783sf. built-in garage below a 330sf unfinished
    attic. The home was constructed In 1987 and features original finishes throughout to include:
    Oak hardwood floors in the living room, vaulted tongue and groove wood ceilings and walls,
    pellet stove, Linoleum kitchen flooring, original Oak cabinets and Formica countertops, tile hall
    floors, tiled showers, carpeted upstairs bedrooms, combination electric baseboard and Cadet
    wall heat units, wood casement windows, hollow core interior doors.

    The home has been well maintained and features limited physical deprecation due to normal
    wear and tear. Major components associated with the home have yet to require replacement,
    and it appears any items of repair have been addressed in an ongoing basis. The estimated age
    of the home is less than its actual age.

    The attic space over the garage, is not finished. (See attached photo) Therefore, it is not
    included in the GLA. (gross living area)

    DESCRIPTION OF IMPROVEMENTS - PROPERTY CONDITION
    The home has been very well maintained and features limited physical depreciation due to
    normal wear and tear. The estimated effective age is less than its actual age at
    approximately 18 years. The home requires staining and the front deck is i n disrepair.

    DEPRECIATION
    Depreciation is a decrease or a loss in value due to any cause. The primary sources of
    depreciation include age, wear and tear, and/or market conditions. An appraiser determines the
    improvements actual age (the number of days or years that have lapsed since the completed
    construction of the improvement) and the effective age (the actual age minus the condition and
    utility of an improvement or building, whlch is based upon the appraiser's knowledge of market
    perceptions and judgement.) Effective age is relative to other properties that perform the same
    function.

    An appraiser must also take into account:
       • Curable Physical Deterioration (deferred maintenance items such as a hole in a door or
          cracked windows)
       • Incurable Physical Depreciation (short-lived items, components that are ex pected to have
          a shorter remaining life than the actual structure, such as roof coverings, floor
          coverings, appliances, etc. Long-lived items are expected to have the same remaining
          useful life as the actual structure such as wall studs, foundation, insulation, etc.)
       • Curable Functional Obsolescence is observed when a structure is deficient in something
          that is common throughout properties in a particular market area, or when a property
          possesses either a substandard item compared to other market properties or it may be
          defective and require an addition or modernization.
       • Incurable Functional Obsolescence involves greater costs to replace an unacceptable or
          outdated component of the structure than the anticipated increase in value (a deficiency
          or superadequacy).

    The subject property was originally constructed in 1987, possessing an actual age of
    approximately 36 years. I estimate the effective age of the home is approximately 18 years. 1
    did not observe any signs of curable or incurable physical depreciation or any functional
    obsolescence.




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                                                                                                        Appellant's Appendix
                                                                                                             Page 66 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 61 of 98
Appellate Case: 24-8013                 Document: 010111048105                                 Date Filed: 05/13/2024          Page: 67




     REPLACEMENT COST NEW-LESS-DEPRECIATION APPROACH TO VALUATION

                                         Units                          Price                       Cost
                       Montesano         ?,490sf •                      S425/sf                     Sl;0S8,2S0
                       Buliders                        -
                       Proctor           2,490sf                        $450/sf                     .$1, 120,500
                       Conitri.Jction
                       Averaqe RCN                                                                  $1 ,089 375

    Based on the lump sum depreciation rate of 18%, derived from Market Extraction and applying
    this rate to the average RCN ($1,089,375 x 18%-($196,088) = $893,288+$1,500,000 (land
    Value) suggests a fair market value of the home of approximately $2,393,288.

    AGE-LIFE METHOD
    This method estimates depreciation as a ratio between the effective age of an improvement and
    its total economic life, and is applied to the current cost of the improvements. Market research
    indicates the total economic life of properties similar to the subject can be up to 100+ years.
    Based upon my effective age estimate of approximately 18 years than depreciation would be as
    follows by dividing the estimated effective age by the estimated total economic life.

                 RCN                                                                                   $ 1 089 375
                 Less Total Depreciation (l 8/65=27%)                                                  $   -267,300
                 Denreciated Cost                                                                      $    822 075
                 Depreciated Site Improvements                                                         s    +10 000
                 Land Value                                                                            $ +l 500 000
                 Indicated Value of Depreciated Improvement by Age-Life Method                         $ 2,332,075


    LAND VALUE COMMENTS
    The following sales have been considered in developing an estimated value of the subject land.
    Per MLS 21-3068, sold 10/05/2021 (no market changes) located just below the subject property
    with the same NL· 1 zoning, sold a 1.41 -acre parcel with comparable views and mature trees for
    $2,495,000 or $40.62/sfto suggest a market value for the subject land of approximately
    $1,327,000.

    Per MLS 21 ·3069, a 1.00-acre lot immediately north of the subject in the subject neighborhood,
    elevated and with Teton views, sold 09/30/2021 for an estimated $2, 155,000. The sale price
    was not disclosed in the MLS, and the price is anecdotal. The lot was listed for sale 41 days at
    $2,395,000. The sale suggests a $/sf price of $49/sf to suggest a market value for the subject
    land of approximately $1 ,600,000.

    Additionally considered in the land value analysi~ is the more recent sale of MLS 22-1792 on
    08/26/2022 for $1,425,000. This 0.18-acre lot features similar zoning and build-out With Teton
    views. The sale price indicates a value floor for the subject vacant land.

   As of the effective date of the appraisal, averaging the above sales on Upper Cache Creek Drive.
   the subject has a current land value of approximately $1,465 ,000. The land value opinion ls
   rounded to $1.SM as not to indicate a higher degree of accuracy than should be associated with
   developing an estimated value opinion.




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                                                                                                                     Appellant's Appendix
                                                                                                                          Page 67 of 281
                   Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 62 of 98
Appellate Case: 24-8013                       Document: 010111048105                               Date Filed: 05/13/2024                 Page: 68




       SALES COMPARISON APPROACH

                          Subject                  Como Sale #1                          Como Sale#2                Comp Listing #3
      Address                   1045 Upper    730 Snow King Dr                    5 IO Cache Creek Dr           430 Henley Rd
                               Cache Creek    Jackson, WY                         Jackson, WY                   Jackson, WY
                               Jackson WY
     Sale Price                                       I $2.750 000                             I S4 066 380                      3 495 000
     Sales or
     Financing                                 None                               None                          Active listing
     Concesslon_s
     Date of Sale                             08/01/2023                          10/20/2022                    Active Listi no
     Locat ion                 Cache Creek    Snow Kfnq                           Cache Creek                   East Jackson
     Site                      32 670 sf      10 890 sf  0                        26 136 sf         0           6098 sf         0
     View                      Teton          Teton                               SUP Zone          -$S00 000   Teton
     Quality of
     Construction              Good           Good                                Superior          -$418,200   Good
     Actual Aoe                36             ·38                                 56                            26
     Condition                 Good            Superior      - $200 000           Good                          Uoorades         ·S l 50 000
     Gross Living
                               2 ,490sf        1,449 sf      +$364,350            2,788s f         -$81 ,950    2,333sf          0
     Area
     Rooms/Bed/Bath            s 3 3I         sI  3   I2                         sj2 j1.1                              I
                                                                                                                6 14 3.1
     Basement GLA              Osf            Osf                                1 130sf      ·$310 750         l 553sf      -$232 950
     Bed/Bath                  0        0     0              0                   2        12                    0            0
     Garaoe                    3-Car Garaoe   None           +S25 000            2-Car Garaae                   2-Car Garaae
     Adjusted Sale
     Price of Comos                                           $2 939.350                           $2 755480                     .$3 112050

     Comparables are obtained through the Teton County MLS service, supplemented by a
     search of county transfer records. An extensive sea~ch is conducted in order to obtain
     closed sales that are most comparable to the subject property. Data collection parameters
     for acquiring a pool of properties that can be narrowed down to more accurately reflect a
     value for the subject include: construction type, gross living area, quality, condition, age
     of the improvement and its location in the subject market area. The selected comparabtes
     were carefully evaluated, considering the aforementioned similarities, and represent the
     best available sales in the current market to result in a value opinion for the subject
     property. Condition adjustments are percentage adjustments based on realtor interviews,
     inspections and appraiser opinion.

    Quality of construction adjustments in the Jackson real estate market are difficult to
    quantify due to the unique, custom hature of the housing mar,ket, varying degree of
    amenities and upgrades in competition with location in the market and views. The range
    can vary between $250-$400/sf for additional square footage in the subject price point.
    The appraiser makes every attempt to obtain sales with similar quality ratings. Quality
    adjustments are made based on the difference in value per square foot, based on
    extracting the improvement value from the sale price after site, garage and basement
    values and considering depreciation, if any.

     Excessive Amenity Adjustments
•   Age adjustments are derived from paired sales in sub-markets due to the severe lack of
    sales; thus paired sales data.
•   Typically, no adjustment for 10 years +/· age differences
•   No adjustments are made for the difference in the number of total rooms, bedrooms or
    bathrooms because the data is not adequate to support a responsible adjustment, and
    rather GLA adjustments are made instead. A custom housing market with a broad range
    of property types, purchasing decisions are centered primarily on square footage and
    locatlon, and amenity types and amounts can vary greatly, having less effect on buyer
    purchasing decisions.
•   No adjustments are made for the difference garage bays or size because the data is not
    adequate to support a responsible adjustment.


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                                                                                                                            Appellant's Appendix
                                                                                                                                 Page 68 of 281
                  Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 63 of 98
Appellate Case: 24-8013           Document: 010111048105                                 Date Filed: 05/13/2024     Page: 69




 •     No adjustments are made based on differences in kitchen appliances, heating/cooling,
       fireplace/wood stove amenity, or deck amenity. All com parables are evaluated to be
       relatively similar in these items. This overall similarity between the comparables and the
       subject did not support any data based adjustments.
 •     No adjustment is made for a square footage difference of+/· 200sf due to the
       inaccuracies of the reporting sources, and most MLS reports include the square footage of
       multiple staircases.

      RECONCILIATION OF SALES COMPARISON APPROACH
      Comp #1 is the most recent sale to occur in the neighborhood real estate market. It is located
      in the adjacent Snow King Estates. The site is smaller, but features identical utility and a Teton
      view. The home is comparable in age but has received upgrades throughout to include a
      remodeled kitchen and bathrooms. However, it features much less GlA and is adjusted at a
      higher $/sf, and no garage. It is my opinion the subject would sell for more than comp #1.

      Comp #2 is included because the home is older, but In excellent condition and brackets the age
      of the subject and is equally dated. However, the overall construction of this home is superior
      to the subject regardless of age or datedness. Additionally, the land is superior as it offers
      greater build-out opportunity.

      Comp #3 is currently listed for sale. It features a smaller site wlth a Teton view, and requires no
      site adjustment. The home is identical with regard to age and quality, but has received updates;
      thus the superior condition adjustment.

      J have given full consideration to comp sale #1, which is the most recent sale, located in a
      similar setting among mature forest with Teton views in East Jackson. Based on the Sales
      Comparison Approach to value, as of the effective date of the appraisal, the subject has a
      current market value of approximately $2,900,000, based on a 4-6 month exposure time.

     Marketing & Exposure Time
     Critical to determining market values, is the level of exposure that any given property
     receives •t o the open market prior to the sale of the property. In a stable market, an
     average marketing time is 4-6 months.

     Exposure Time
     Exposure time is the amount of time a property would be offered for sale, prior to its sale
     on the date of value. Exposure time refers to the past

     Marketing Time
     Marketing time is similar yet instead of being retrospective; it is prospective In that it. is
     the amount of time necessary to market the property starting today to sell it at some
     future date.

     This is the average number of days a property is typically offered for sale and offers a
     sufficient amount of time to gain the attention of prospective buyers in the market place.
     Complex or unique properties, which often attract fewer buyers, will often witness longer
     marketing times. Properties that may be listed too high to attract buyer, based on the
     real estate climate as of the effective date of an appraisal, may also Witness much higher
     marketing times. Real estate that is priced too low will exhibit faster marketing times,
     attracting a plethora of buyers.

     RECONCILIATION OF VALUE
     Typically, in appraising residential properties, there are 3 approaches t o value: 1) Sales
     Comparison Approach 2) Cost Approach and 3) Income Approach.




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                                                                                                          Appellant's Appendix
                                                                                                               Page 69 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 64 of 98
Appellate Case: 24-8013         Document: 010111048105                                  Date Filed: 05/13/2024     Page: 70




    The Income Approach relates to the development of the gross rent multiplier (GRM) which Is the
    sales price divided by the gross monthly rent. The GRM is mostly used in the evaluation of
    commercial properties and apartment buildings. It assumes that the value of a property is
    related to the income it will produce. Due to the limited quantity of sales and a lack of available
    data to establish a reliable GRM, the Income Approach to value is not reliable and is not
    developed.

    The Cost Approach is based on the understanding that market participants relate value to cost.
    However, costs are related to value only in that they establish a value cei(ing, since a prudent
    Buyer would not typically pay more for a property than the cost of producing an equivalent
    improvement. This approach is particularly useful when valuing new or nearly new
    improvements since the value of a property may be equal to its costs if the improvement
    represents the highest and best use of the land. The Cost Approach establishes a minimum
    value for the subject property, but is less relevant given the age of the home and is not given
    consideration in the final determination of value.

    The Sales Comparison Approach is the most reliable methodology in this market for developing
    an estimated opinion of value and is given full consideration.

    FINAL VALUE OPINION
    As of the effective date of the appraisal, August 25, 2023, the subject has a fair market value of
    approximately $2,900,000.

    ASSUMPTIONS AND LIMITING CONDITIONS
    The following assumptions and limiting conditions 1 are made with regard, to the stated value
    opinion:
    ·The appraiser is not a home inspector and the visual Inspection of the home is not technically
    exhaustive. However, upon Inspection I did not observe any health or safety violations
    associated wfth either the interior or exterior of the home or any functional defects or
    obsolescence.
    •This appraisal assumes all structural, plumbing and electrical components being transferred
    With the home, are in proper working order.
    • The appraiser will not disclose the contents of the appraisal report except as provided for in
    the Uniform Standards of Professional Appraisal Practice, and any applicable federal, state or
    local laws.
    • If this appraisal is indicated as subject to satisfactory completion, repairs, or alterations, the
    appraiser has based his or her appraisal report and valuation conclusion on the assumption that
    completion of the improvements will be performed in a workmanlike manner.
    - An appraiser's client is the party (or parties) who engage an appraiser In a specific assignment.
    Any other party acquiring this report from the client does not become a party to the appraiser-
    client relationship. Any persons receiving this appraisal report because of disclosure
    requirements applicable to the appraiser's client do not become intended users of this report
    unless specifically identified by the client at the time of the assignment. ·The appraiser's written
    consent and approval must be obtained before this appraisal report can be conveyed by anyone
    to the public, through advertising, public relations, news, sales, or by means of any other
    media, or by its inclusion in a private or public database.
    ·If the appraiser is required to appear in court, the Client will pay all associated travel and stay
    fees. The court appearance rate is $200/hr.

    Cj:RTIFICATIONS
    I certify that, to the best of my knowledge and belief:
    • The statements of fact contained in this report are true and correct.
    - The credibility of this report, for the stated use by the stated user(s), of the reported analyses,
    opinions, and conclusions are limited only by the reported assumptions and limiting conditions,
    and are my personal, impartial, and unbiased professional analyses, opinions, and conclusions.
    · I have no present or prospective Interest in the property that is the subject of this report and
    no personal interest with respect to the parties involved.
                                                                                                          181P age
    Tctoo Volley /lppruJ,.ts              1/USUpperCac~• Crook Dr,Jocl<SJlr, \fY8300J

                                                                                                         Appellant's Appendix
                                                                                                              Page 70 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 65 of 98
Appellate Case: 24-8013              Document: 010111048105                               Date Filed: 05/13/2024        Page: 71




    - I have no bias with respect to the property that Is the subject of this report or to the parties
    involved with th is assignment.
    - My engagement in this assignment was not contingent upon developing or reporting
    predetermined results.
    - My compensation for completing this assignment is not contingent upon the development or
    reporting of a predetermined value or direction in value that favors the cause of the client, the
    amount of the value opinion, the attainment of a stipulated result, or the occurrence of a
    subsequent event directly related to the intended use of this appraisal.
    - My analyses, opinions, and conclusions were developed, and this report has been prepared, in
    conformity with the Uniform Standards of Professional Appraisal Practice that were in effect at
    the time this report was prepared.
    - I did not base, either partially or completely, my analysis and/or the opinion of value in the
    appraisal report on the race, color, religion, sex, handicap, familial status, or national origin of
    either the prospective owners or occupants of the subject property, or of the present owners or
    occupants of the properties in the vicinity of the subject property.
    - I have made a personal inspection of the property that is the subject of this report.
    - Unless otherwise indicated, no one provided significant appraisal assistance to the person{s)
    signing this certification.

    DEFINITION OF FAIR MARKET VALUE
    The most probable price, as of a specified date, in cash, or in te rms equivalent to cash or in
    other precisely revealed terms, for which the specified property rights should sell after
    reasonable exposure in a competitive market under all conditions requisite to a fair sale, with
    the buyer and seller each acting prudently,.knowledgeably and for self-interest, and assuming
    that neither is under undue duress.


    APPRAISER CERTIFICATION

    I certify that to the best of my knowledge:

           1) The statements of fact contained in this report are true and correct.
           2) The reported analyses, opinions and conclusions are limited only by the reported
                 assumptions and limiting conditions and are my personal, unbiased and professional
                 analyses, opinions and conclusions.
           3)    I have no present or prospective interest in the property that is the subject of this
                 report, and I have no personal interest or bias with respect to the parties involved with
                 this assignment.
           4)    My engagement in this assignment is not contingent upon developing or reporting
                 predetermined results.
           5)    My compensation is not contingent upon the reporting of a predetermined value or
                 direction in value that favors the cause of the client; the amount of value estimate; the
                 attainment of a stipulated result, or the occurrence of a subsequent event.
           6)    My analyses, opinions and conclusions are developed, and this report is prepared in
                 conformity with the requirements of the Code of Professional Ethics and the Standards
                 of Professional Appraisal Practice of the Appraisal Institute.
           7)    No supplemental professional assistance is provided to the signer of this report.
           8)    I personally inspected the property, which is the subject of this report.




          Appraiser S(gnature


          Gena L Howald                                                             Date:September 19, 2023
          Appraiser Nt1me



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    T,tan Volley Approtsalr                   1015Upp,; each• Cr,,k Dr.Jackson. WY83001


                                                                                                              Appellant's Appendix
                                                                                                                   Page 71 of 281
               Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 66 of 98
Appellate Case: 24-8013                             Document: 010111048105                                        Date Filed: 05/13/2024                Page: 72




                 Current Stateof 1heReal Estate_MarkeUanuary 2023: SINGLE-FAMILY RESJDENJJALMARKET
                 Year 2022 witnessed a stable market, following the steady rise in interest rates with fewer Buyers entering
                 the real es1ate market combined with a sharp decline in inventory. This resulted in a decrease of nearly 50%
                 fewer transactions over 2021. Despite slowing sales activity, listings witnessed minimal price reductions
                 and the average and median sale prices remain stable.

                 6-Month Year-Over comparison
                 The following chart offers the most recent snapshot of current market activity, based on 6-rnonths year-over
                 activity between 2021 and present. The number of sales has continued to decline down 50%, combined
                 with the total sales volume decrease of 34% over last year. However, both the average and median sale
                 prices reveal slight 3%-5% increases.

                 Non-Disclosure State
                 Wyoming is considered a non-disclosure state and sale prices are not made publlc. Real estate
                 professionals rely on sales to be reported by listing/selling parties within the local MLS. In the last 6 months,
                 9 luxury home properties sold at an undisclosed price, and were listed between $4.8M and $48M for atotal
                 listed inventory volume of $158,000,000.
                 When considering the average list to sale price ratio, an error margin of approximately 4-5% should be taken
                 into consideration in the chart below.

                                        6.Mon!h Vear-Over-Compadson: Teton County. WY. Sing!HamllyJ:fouslng_Mamt
                            Jan 01 1 2023 • Julv 01. 2023
                                   ..
                                 ' .     .
                            • Property T~pe/A rea
                                r~    ',   •    -
                               '
                             01 - Teton Village                                    $6,050,000                    SG,050,000   $6,050,000          267


                             02 - Racquet Club/Teton Pines                         $6,250,000                    $6,250,000   $6,250,000          324

                             03 - W Snake N of Wilson                               $1,017,500                   $1,017,500   $1,017,500          140


                             04 - W Snake S of ½llson                11            $32,242,500                   $4,030,312   $5,000,000          160


                             05 - Skyline Ranch to Sagebrush                                                     $5,550,000      $0               222
                                                                      5            S11,100,000
                             Dr

                             06 - Easl Gros Ventre Butte              0                 $0                           $0          $0               NA

                             07 - N of Gros Ventre Jct                5            $18,044,750                   $3,608,960   $3,844,750           87


                             08 - Town or Jackson                    11            $40,446,842                   $3,676,986   $2,750,000          183


                             09 - South of Jackson 10 Snake                                                                   $3,200,000          146
                                                                     17                                          $3,155,375
                             River Bridge


                             10 - SoutM of Snake River Bridge                                                    $2,792,791   $2,550,000          167
                                                                                  $11,171,163
                             to County Line

                                                                     56           $170,498,005                   $3,613,191   $3,000,000          189




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                                                                                                                                           Appellant's Appendix
                                                                                                                                                Page 72 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 67 of 98
Appellate Case: 24-8013                                      Document: 010111048105                                              Date Filed: 05/13/2024                 Page: 73




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                               01 - Teton Village                                               $6,850,000                     $6,850,000    $6,850,000           111

                               02 - Racquet Club/Teton Pines                     0                    $0                           $0            $0               NA

                               03 - W Snake N of Wdson                           5             $18,407,000                     $3,681,400    $2,730,000           102


                               04 - W Snake S of Wilson                          7             $30,138,875                     $6,027,775    $5,675,000           186


                               05 - Skyllne Ranch to Sagebrush                                                                               $5,350,000           151
                                                                                11             $66,888,525                     $6,688,852
                               Dr

                               06 • East Gros Ventre Butte                       0                    $0                           so            $0               NA

                               07 - N of Gros Ventre Jct                         6             $12, 125,000                    $3,031 ,250   $3,875,000           159

                               08 - Town of Jackson                             22             $66,038,300                     $3,401,915    $2,830,000            96

                               09 • South of Jackson to Snake                                  $20,425,000                     $2,553,125    $2,322,500           70
                                                                                 8
                               River Bridge


                               10 . South or Snake River Bridge
                                                                                10             $28,126,000                     $2,812,600    $2,300,000           164
                               to County Une

                               TOTAL                                            10             $250,998,700                     $3,504,692   $2,800,000           130




                              Jan 01 2021 - Julv 01 2021
                                   •        i           .,

                                 · ' · Property Type/Area · ,.
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                                                                      .                                                                                          ADOM '

                               01 - Teton Village                               6              $38,950,000                     $12,983,333   $7,700,000           108

                               02 - Racquet Club/Teton Pines                     4             $11,575,000                     $3,858,333    $3,987,500           70


                               03 • W Snake N of Wilson                         10             $27,941,000                     $2,794,100    $2,045,000           8-4

                               04 - W Snake S of Wilson                         5              $8,385,000                      S2,096,250    $2,375,000           169


                               05 - Skyline Ranch to                            7              $26,675,222                     $5,335,044    $6,975,000           127
                               Sagebrush Dr

                               06 - East Gros Ventre Bulle                      2             $19,875,000                      $9,937,500    $9,937,500           127

                               07 - N of Gros Ventre Jct                       25             S99,595,000                      $4,330,217    $3,995,000           228

                               OB - Town of Jackson                            26             $43,760,500                      $2,083.833    $1 ,869,000          122

                               09 - South of Jackson to Snake                                 $53,976,000                      $2,998,667    $2,447,500           69
                                                                               20
                               River Bridge


                               10 - South of Snake River                        B             $27,725,000                      $3,465,625    $3,597,500           155
                               Bridge to County Line

                              TOTAL                                            113            $358,457,722                     $4,988,290    $3,800,000           126




                                                                                                                                                           21IP -age
   Tt lDn Valley Appro/,ol,                                               I 045 Upp<r Coch• Crcck Dr, , . ,,,,,,,,, WY 83001


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                                                                                                                                                                Page 73 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 68 of 98
Appellate Case: 24-8013                                             Document: 010111048105                                                   Date Filed: 05/13/2024                  Page: 74




                   2022...Slogle-FamOy Home Sales.
                   The following chart reveals a decrease in the number of sales and total sales volume In single-family home
                   sales. Compared to 2021 , as interest rates began to rise 1n the 2nd quarter 2022, there brought a period of
                    wait and see" Buyers. The market witnessed a 43% drop in the number of sales, combined with a decrease
                   11


                   in sold volume of 34%. However, despite economic concerns. the demand for housing persisted and the
                   median price point has continued to rise, up from 2021 approximately 11% from $2.BM to $3.0M.

                                                                                                                  # of Sales

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                                                  (Data &,urcc: Teton Board ofR•oftors ~ : Jim• 1023)

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    T.ron Valley Appraisals                                                              1015Upp,rCacf1c Creek Dr. /adool!, WY 83001


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                                                                                                                                                                                Page 74 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 69 of 98
Appellate Case: 24-8013                              Document: 010111048105                              Date Filed: 05/13/2024       Page: 75




                   Condomlolum/Townhome Market Sales
                   (1.astl/pd8/od,/IJ/y2023)
                   Similar to the housing market the condo/townhome market witnessed fewer sales, a significant decrease in
                   sold volume yet the median price point had increased. This is likely due to new construction1 high-end
                   inventory that came onto the market, and sold at a higher price point.

                                                                       S Volum~




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                                                                     Median Sale Price

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                                                                                                                            Appellant's Appendix
                                                                                                                                 Page 75 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 70 of 98
Appellate Case: 24-8013                     Document: 010111048105                                  Date Filed: 05/13/2024           Page: 76


                                                                        # of Sales
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                                                         (Data Source: Teto11 Boord o[Rea/lor• MLS)



                  LUXURY HOUSING.MAB.L<EI
                  Finally, the luxury housing market has surged significantly upward since the Covld-19 Pandemic began, and
                  city buyers migrated to the area in search of more rural, mountainous, recreational communities. Luxury
                  homes are defined as properties valued at over $3.0M. This market currently represents 80% of market
                  sales. The luxury home market doubled in 2021.

                  Housing Supply
                  The lack of supply for single-family housing is at a record low, and with continued demand, Is placing
                  significant upward pressure on prices with an overall 40% increase in the median list price over last year.
                  Inventory is down by nearly 50%.

                  Current Workforce Housing Sltua1ioD
                  The number of local working-class Buyers continues to decline as inventory in their price range becomes
                  nonexistent, spurred by the migration of a new market participant, referred to by the Jackson Hole Real
                  Estate Report as the "Zoom Town Telecommuters", second home Buyers and early retirees continues to
                  Increase. The median price point for a single-family home in the town of Jackson is $3.0M and severe rent
                  hikes, has resulted in a housing crisis for the critical infrastructure workforce with no long-term solutions on
                  the horizon.

                 RED/Short Safes
                 There are no distressed sales occurring in the Jackson Hole Real Estate market. At the collapse of the
                 housing market, which was not realized by the Jackson real estate market until the end of 3rd quarter 2008,
                 the condominium market took the largest hit, experiencing a 60-75% decline in property values. At the
                 height of the market, the median SFR sales price was just over $1 M, the condo/townhome market offered a
                 price point at which buyers could afford to get into the housing market; thus, these property types were
                 experiencing significantly high appreciation rates and witnessed a greater decline in property values during
                 the housing collapse.




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    Tot•n Valley Appn,lsols                             104SUpp,r Ca,h• Cr<,k Dr,Jack<on. WY83001


                                                                                                                        Appellant's Appendix
                                                                                                                             Page 76 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 71 of 98
Appellate Case: 24-8013                                     Document: 010111048105                                           Date Filed: 05/13/2024                                       Page: 77




                                                                           APPRAISER CERTIFICATION


                                                                           WYOMING REAL ESTATE
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                                                                                                                                                   NoN ·m.ANSflilt;\I\J, 11


                                    CERTIFIED REAL ESTATE APPRAISER PERMIT
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                                                                                                                                                                                     Page 77 of 281
                Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 72 of 98
Appellate Case: 24-8013                     Document: 010111048105                          Date Filed: 05/13/2024                    Page: 78


 File Number: NTr-126981                                                                                                   Thayne Office:
                                                                                                                           50 I North Main, Suite I




                              .flI
 Rock Springs/Green River Offices:                                                                                         Thayne, WY 83127
 2620 Commercial Way, Suite IOI                                                                                            307-883-1400
 Rocle Springs, WY 82901                                                                                                   Fax: 307-883-1402
            1
 26 North 1• East
 Green River, WY 82935
 307-362-0022/307-875-4422
 Fax: 307-362-8833            -                             NORTHERN TITLE                                                 Afton Office:
                                                                                                                          350 Sou.th Washington,
Evanston Office:                                  r                                                                       Suite I
848 Front Street                                                                                                          Afton, WY 83110
Evanston, WY 82930                                                                                                        307-885-1400
307-789-8850                                                                                                              Fax: 307-885-1402
Fax: 307-789-2017                                             •Good Deeds Done Daily! •
                                                                                                                          Pinedale Oflicc:
Jackson Office:                                                                                                           240 East Pine Street,
25 South Gros Ventre Street                                                                                               Suite A
POBox4242                                                                                                                 Pinedale, WY 82941
Jackson, WY 83001                                                                                                         307-367-3740
307-739-3944                                                                                                              Pax: 307-367-3742
Fax: 307-886-2626


                     COMMITMENT FOR TITLE INSURANCE
Old Republic National Title Insurance Company, a Minnesota corporation ("Company'), for a valuable consideration, commits to issue ils policy
or policies of title insurance, as identified rn Schedule A, in favor of the Proposed Insured named in Schedule A, as owner or mortgagee of the
estate or interest in the land described or referred to in Schedule A, upon payment of the premiums and charges and compliance with the
Requirements: all subject to the provisions of Schedules A and 8 and to the Conditions of this Commitment. This Commitment shall be effective
only when the identity of the Proposed Insured and the amount of the policy or policies committed for have been inserted !n Schedule A by the
Company.

All liability and obligation under this Commitment shall cease and terminate six (6) months after the Effective Date or when the poficy or policies
committed for shall Issue, whichever first occurs, provided that the failure to issue the policy or policies is not the fault of the Company.

The Company will provide a sample of the policy fonn upon request.


                   BUYER/BORROWER:                                                                 SELLER/OWNER:

                        Terry Lee Garrett
                         Carol W. Garrett

                      SELLING AGENT:                                                               LISTING AGENT:




                             LENDER:                                                                     BROKER:




                                                                                                                          Exhibit 6


                                                                                                                          Appellant's Appendix
                                                                                                                               Page 78 of 281
                        Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 73 of 98
    Appellate Case: 24-8013                         Document: 010111048105                   Date Filed: 05/13/2024                       Page: 79

                                                    ALTA COMMITMENT FOR TITLE INSURANCE

                                                    Issued by OLD REPUBLIC NATIONAL TITLE INSURANCE COMPANY




                                                                      NOTICE
  IMPORTANT-READ CAREFULLY: THIS COMMITMENT IS AN OFFER TO ISSUE ONE OR MORE TITLE INSURANCE POLICIES. ALL
  CLAIMS OR REMEDIES SOUGHT AGAINST THE COMPANY INVOLVING THE CONTENT OF THIS COMMITMENT OR THE POLICY MUST
  BE BASED SOLELY IN CONTRACT.
  THIS COMMITMENT IS NOT AN ABSTRACT OF TITLE, REPORT OF THE CONDITION OF TITLE, LEGAL OPINION, OPINION OF TITLE, OR
  OTHER REPRESENTATION OF THE STATUS OF-TITLE. THE PROCEDURES USED BY THE COMPANY TO DETERMINE INSURABIUTY
  OF THE TITLE, INCLUDING ANY SEARCH AND EXAMINATION, ARE PROPRIETARY TO THE COMPANY, WERE PERFORMED SOLELY
  FOR THE BENEFIT OF THE COMPANY, AND CREATE NO EXTRACONTRACTUAL LIABILITY TO ANY PERSON, INCLUDING A PROPOSED
  INSURED.
 THE COMPANY'S OBLIGATION UNDER THIS COMMITMENT IS TO ISSUE A POLICY TO A PROPOSED INSURED IDENTIFIED IN
 SCHEDULE A IN ACCORDANCE WITH THE TERMS AND PROVISIONS OF THIS COMMITMENT. THE COMPANY HAS NO LIABILITY OR
 OBLIGATION INVOLVING THE CONTENT OF THIS COMMITMENT TO ANY OTHER PERSON.



                                                         COMMITMENT TO ISSUE POLICY
 Subject to the Notice; Schedule B, Part I-Requirements; Schedule B, Part II-Exceptions; and°the Commitment Conditions, Old Republic
 National Title Insurance Company, {the "Company"), commits to issue the Policy according to the tenns and provisions of this Commitment. This
 Commitment is effective as of the Commitment Date shown in Schedule A for each Policy described in Schedule A, only when the Company has
 entered in Schedule A both the specified dollar amount as the Proposed Amount of Insurance and the name of the Proposed Insured.
 If all of the Schedule B, Part I-Requirements have not been met within six months after the Commitment Date, this Commitment terminates and
 the Company's liability and obligation end.

 NTT-126981




                                                                          OLD REPUBLIC NATIONAL TITLE INSURANCE COMPANY
                                                                          A Stock Company
                                                                          1408 North Westshore Blvd., Suite 900, Tampa, Florida 33607
                                                                          {612) 371-1111                    www.ofdrepublictitfe.com

                                                                           By       {!__,fkl~
                                                                                          .    '                       '
                                                                                                                                      President




   Authorized Officer or Agent
                                                                          Attest       b~l :WA     '   '.,•
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Thfs page Is only a part of a 2021 ALTA Commitment for Title Insurance issued by Old Republic National Title Insurance Company. This Commitment Is
not valid without the No/ice; the Commitment to Issue Policy; the C-Ommitment Conditions; Schedule A; Schedule B, Part I-Requirement$,' and Schedule
B,. Part /1-l=xcepbons; and a counter-signature by the Company or its issuing agent that may be In electronic form.
ORTFonn 47'ST DA
ALTA Commitment for Tl11e lnsuraoco 2011 v, Ol.00
07/0 1/2021

                                                                                                                                Appellant's Appendix
                                                                                                                                     Page 79 of 281
                            Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 74 of 98
      Appellate Case: 24-8013                            Document: 010111048105                           Date Filed: 05/13/2024                    Page: 80


                                                                     COMMITMENT CONDITIONS
     1. DEFINITIONS
                   a.    "Discriminatory Covenanf': Any covenant, condition, restriction, or limitation that is unenforceable under applicable law because it
                         illegally discriminates against a class of individuals based on personal characteristics such as race, color, religion, sex, sexual
                         orientation, gender identity, familial status, disability, national origin, or other legally protected class.
                   b. "Knowledge" or "Known": Actual knowledge or actual notice, but not constructive notice Imparted by the Pubric Records.
                   c,    "Land": The land described in Item 5 of Schedule A and improvements located on that land that by State law constitute real property.
                         The tenn "Land'' does not include any property beyond that described in Schedule A, nor any right, title, interest, estate, or easement
                         in any abutting street, road, avenue, alley, lane, right-of-way, body of water, or waterway, but does not modify or Omit the extent that-a
                         right of access to and from the Land is to be insured by the Policy,
                d.       "Mortgage"; A mortgage, deed of trust, trust deed, security deed, or other real property security Instrument, Including one evidenced
                         by electronic means authorized by law.
                e,       "Policy": Each contract of title insurance, in a form adopted by the American Land Title Association, issued or to be issued by the
                         Company pursuant to this Commitment.
               f.        "Proposed Amount of Insurance"; Each dollar amount specified In Schedule A as the Proposed Amount of Insurance of each Policy to
                         be issued pursuant to this Commitment.
               g.        "Proposed Insured": Each person Identified in Schedule A as the Proposed Insured of each Policy to be issued pursuant to !his
                         Commitment.
               h. "Public Records": The recording or filing system established under State statutes in effect at the Commitment Date under which a
                        document must be recorded or filed to impart constructive notice of matters relating to the Title to apurchaser for value without
                        Knov-Jiedge. The term ''Public Records" does not include any other recording or filing system, including any pertaining to
                        environmental remediation or protection, planning, permitting; zoning, licensing, building, health, public safety, or national securtty
                        matters.
               I,       "State'': The state or commonwealth of the United States within whose exterior boundaries the land is located. The tenn "State" also
                        includes the District of Columbia, the Commonwealth of Puerto Rico, the U.S. Virgin Islands, and Guam.
              j.        "Tille": The estate or interest in the Land identified in Item 3 of Schedule A.

 2. If all or the Schedule B, Part I-Requirements have not been met within the time period specified in the Commitment to Issue Policy, this
        Commitment terminates and the Company's liability and obligatlon end.

 3. The Company's liability and obligation is limited by and this Commitment is not valid without:
              a.        the Notice;
              b.        the Commitment to Issue Policy;
              c.        the Commitment Conditions;
              d.        Schedule A;
              e.        Schedule B, Part I-Requirements;[ andJ
              f,        Schedule B, Part 11-Exceptionst and
             g,         a counter-signature by the Company or its issuing agent that may be in electronic formJ,

4.     COMPANY'S RIGHT TO AMEND
       The Company may amend this Commitment at any time. If the Company amends this Commitment to add a defect, lien, encumbrance, adverse
       claim, or other matter recorded in the Public Records prior to !he Commitment Date, any liability of tne Company is limited by Commitment
       Condition 5. The Company is not liable for any other amendment to this Commitment.




This page is only a part of a 2021 ALTA Commitment for Tib'e Insurance issued by Old Republic National Title Insurance Company. This Commitment ls
not valid without the Notice; the Commitment to Issue Po/Icy; the Commitment Conditions; Schedule A; Schedule B, Part I-Requirements: and Schedule
B, Part II-Exceptions; and a counter..signature by the Company or its issuing agent that may be in electronic form.
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ALTA Commitment ror Tflfe Jqsurance 21J21 ·v. 01.00
07/01/2021

                                                                                                                                        Appellant's Appendix
                                                                                                                                             Page 80 of 281
                        Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 75 of 98
     Appellate Case: 24-8013                         Document: 010111048105                         Date Filed: 05/13/2024                     Page: 81



  5.    LIMITATIONS OF LIABILITY
              a, The Company's liability under Commitment Condition 4 is limited to the Proposed lnsured's actual expense incurred In the interval
                 between the Company's delivery to the Proposed Insured of the Commitment and the del!very of the amended Commitment, resulting
                 frorn the Proposed lnsured's good faith refiance to:
                             i. comply with the Schedule B, Part I-Requirements;
                            ii. eliminate, with the Company's written consent, any Schedule B, Part II-Exceptions: or
                           Iii. acquire the Title or create the Mortgage covered by this Commitment.
              b.    The Company is not liable under Commitment Condition 5.a. if the Proposed Insured requested the amendment or had Knowledge of
                    the matter and did not notify the Company about it in writing.
              c.    The Company is only liable under Commitment Condition 4 if the Proposed Insured would not have incurred the expense had the
                    Commitment Included the added matter when the Commitment was first delivered to the Proposed Insured.
              d, The Compan'y's liability does not exceed the lesser of the Proposed lnsured's actual expense incurred in good faith and described In
                 Cornm~ment Condition 5.a. or the Proposed Amount of Insurance,
              e.    The Company is not liable for the content of the Transaction Identification Data, if any.
              f.    The Company is not obligated to issue the Polley referred to in this Commitment unless all o( the Schedule B, Part I-Requirements
                    have been met to the satisfaction of the Company.
              g.    The Company's liability is further limited by the terms and provisions of the Policy to be issued to the Proposed Insured,

 6. LIABILITY OF THE COMPANY MUST BE BASED ON THIS COMMITMENT; CHOICE OF LAW AND CHOICE OF FORUM
              a.    Only a Proposed Insured identified in Schedule A, and no other person, may make a claim under this Commitment.
              b.    Any claim must be based in contract under the State law of the State where the Land Is located and is restricted to the terms and
                    prov!sions of this Commitment. Any litigation or other proceeding brought by the Proposed Insured against the Cornpany must be filed
                    only in a State or federal court having jurisdiction.
             c.     This Commitment, as last revised, Is the exclusive and entire agreement between the parties with respect lo the subject matter of this
                    Commitment and supersedes all prior commitment negotiations, representations, and proposats of any kind, whetherwritten or oral,
                    express or implied, relating to the subject matter of this Commitment.
             d.     The deletion or modification of any Schedule B, Part II-Exception does not constitute an agreement or obligation to provide coverage
                    beyond the terms and provisions of this Commitment or the Policy.
             e.     Any amendment or endorsement to this Commitment must be in writing[ and authenticated by a person authorized by the Company].
             f.     When the Policy is issued, all liability and obligation under this Commitment will end and the Company's only liability will be under the
                    Polley,

7, IF THIS COMMITMENT IS ISSUED BY AN ISSUING AGENT
       The issuing agent Is the Company's agent only for the limited purpose of issuing title insurance commitments and policies. The issuing agent is
       not the Company's agent for closing, settlement, escrow, or any other purpose.

8. PRO-FORMA POLICY
       The Company may provide, at the request of a Proposed Insured, a pro-forma policy illustrating the coverage that the Company may provide. A
       pro-forma policy neither reflects the status of Title at the time that the pro-forma policy is delivered to a Proposed Insured, noris it a
       commitment to insure.

9.     CLAIMS PROCEDURES
       This Commitment incorporates by reference all Conditions for making a claim in the Policy to be issued to the Proposed Insured. Commitment
       Condition 9 does not modify the limitations of liability in Commitment Conditions 5 and 6.



This page is only a part of a 2021 ALTA Commitment for Ti(/e Insurance Issued by Old Republic National Title Insurance Company. This Commitment is
not valid without the Notice; the Commitment to Issue Polley: the Commitment Conditions: Schedule A; Schedule B, Pait 1-Reqv!rements; and Schedule
B, Part II-Exceptions; and a counter-signature by the Company or Its issuing agent that may be In electronic form.
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07/01/2021

                                                                                                                                   Appellant's Appendix
                                                                                                                                        Page 81 of 281
                       Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 76 of 98
   Appellate Case: 24-8013                          Document: 010111048105                 Date Filed: 05/13/2024                  Page: 82



 10. CLASSACTION
       ALL CLAIMS AND DISPUTES ARISING OUT OF OR RELATING TO THISCOMMITMENT, INCLUDING ANY SERVICE OR OTHER MATTER
       IN CONNECTION WITH ISSUING THIS COMMITMENT, ANY BREACH OF A COMMITMENT PROVISION, OR ANY OTHER CLAIM OR
       DISPUTE ARISING OUT OF OR RELATING TO THE TRANSACTION GIVING RISE TO THIS COMMITMENT, MUST BE BROUGHT IN AN
       INDIVIDUAL CAPACITY. NO PARTY MAY SERVE AS PLAINTIFF, CLASS MEMBER, OR PARTICIPANT IN ANY CLASS OR
       REPRESENTATIVE PROCEEDING. ANY POLICY fSSUED PURSUANT TO THIS COMMITMENT WILL CONTAIN A CLASS ACTION
       CONDITION.




This page /8 only a part of a 2021 ALTA Commitment for T,le Insurance issued by Old Republic National Title Insurance Company. This Commitment ts
not valid without the Notice; the Commilment to Issue Policy; the Commitment Conditions; Schedule A; Schedule B, Part I-Requirements; and Schedule
B, Part II-Exceptions: and a counter-$fgnature by the Company or Ifs Issuing agent that may be m electronic form.

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07101/2021

                                                                                                                        Appellant's Appendix
                                                                                                                             Page 82 of 281
              Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 77 of 98
 Appellate Case: 24-8013                 Document: 010111048105                       Date Filed: 05/13/2024             Page: 83

ALTA COMMITMENT FOR TITLE INSURANCE (07-01-2021)
                                                                                   Closing/Escrow inquiries to~

                                                                                   25 South Gros Ventre Street, PO Box
                                                                                   4242
                                                                                   Jackson, Wyoming 83001


                                                                                   Title inquiries to:
                                                                                   Susan Pearce
                                                                                   (435) 752-3600 x107
                                                                                   susanp@nortberntitle.net

                                                    SCHEDULE A

      OrderNo. NTT-126981

    I. Effective bate: September 18, 2023 9:00A,\1

   2. Policy or policies to be issued:

      A. 2021 ALTA Owner's                                               Standard Coverage

         Proposed Insured: Terry Lee Garrett and Carol W, Garr-0tt

         Amount:
         Premium: $0,00

     B. 2021 ALTA Loan                                                   Extended Coverage

         Proposed Insured:

         Amount:
         Premium~ $0.00

     C. Endorsements:

                      Endorsement Pee Included in Premium:

   3. The estate or interest in the land described in the Commitmenr and covered herein is:

       FEE SIMPLE

   4. Title to the estate or interest referred to herein is at the effective date hereofvested in:

      John Caldwell and Joan Schank

   5.The land referred to in this Commitment is in the State of WY, County of Teton and is described as follows:

       See Attached Exhibit "A"


    PROPERTY ADDRESS:              1045 Upper Cache Creek Drive, Jacksont WY 83001




                                                                                                              Appellant's Appendix
                                                                                                                   Page 83 of 281
             Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 78 of 98
 Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024         Page: 84

NTT-126981
                                          EXHIBIT "A"

   A PORTION OF LOT 9 OF THE RIDGE ADDITION TO THE TOWN OF JACKSON, TETON COUNTY,
   WYOMING, ACCORDING TO THAT PLATRBCORDED IN THE OFFICE OF THE TETON COUNTY CLERK ON
   FEBRUARY 16, 1984 AS PLAT NO. 562, DESCRIBED AS FOLLOWS:

   BEGINNING AT THE SOUTHEAST CORNER OF SAID LOT 9; THENCE N00°12' l 4"W, 149.91 FEET TO A
   POlNT; THENCEN51°13'19"W, 84.46 FEET TO A POINT; THENCE N66°53'1l"W, 73.0 FEET TO A POINT;
   THENCE S41°21'23"W, t73.0l FEET TO A POINT; THENCE S67°42'35"E, 267.84 FEET TO THE POINT OF
   BEGINNING.

   (22-41-16-34-4-02-018)




                                                                                       Appellant's Appendix
                                                                                            Page 84 of 281
                 Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 79 of 98
  Appellate Case: 24-8013                 Document: 010111048105                    Date Filed: 05/13/2024             Page: 85

NTI-126981

                                                  SCHEDULE B - SECTION 1
                                                         REQUfilEMENTS
Afl of the following Requirements must be met:

     1.   The proposed insured must notify the Company in writing of the name ofarry party not referred to In this Commitment who
          will obtain an interest in the Land or who will make a loan on the land. The Company may then make additional
          Requirements or Exceptions.

    2. Pay the agreed amount for the estate or fnterest to be insured,

    3. Pay the premiums, fees, and charges for the Policy to the Company.

    4. Documents satisfactory to the Company that convey the Title or create the Mort_gage to be insured, or both, must be properly
       authorized, executed, delivered and recorded in the Public Records.


ln addition to the foregoing, the following requirements must be complied with, to-wit:




                                                                                                             Appellant's Appendix
                                                                                                                  Page 85 of 281
               Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 80 of 98
 Appellate Case: 24-8013                 Document: 010111048105                       Date Filed: 05/13/2024               Page: 86

NTI-126981
                                                     SCHEDULE B - PART II


       Schedule B of the policy or policies to be Issued-will contain exceptions to the following matters unless the same are
       disposed ofto the satisfaction of the Company.

       Some historical land records contain Discriminatory Covenants that are illegal and unenforceable
       by law. This Commitment and the Policy treat any Discriminatory Covenant in a document
       referenced in Schedule B as if each rnscriminatory Covenant is redacted, repudiated, removed, and
       not republished or recirculated. Only tbe remaining provisions of the document will be excepted
       from coverage.

      The policy will not insure against loss or damage resulting from the terms and provisions of any lease or
      easement identified in Schedule A, and will include the following Exceptions unless cleared to the
      satisfaction of the Company:

      1. Any defect, lien, encumbrance, adverse claim or other matter that appears for the first time in the Public Records
      or is created, attaches, or is disclosed between the Commitment Date and the date on which all of the Schedule B,
      Part 1- Requirements are met.

      2. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies
      taxes or assessments on real property or by the public records. Proceedings by a public agency which may result in
      taxes or assessments, or notices ofsuch proceedings, whether or not shown by the records ofsuch agency or by
      public record.*

      3. Any facts, rights, interest, or claims which are not shown by the public records but w'hic'h could be
      ascertained by an inspection of said land or by making inquiry of persons in possession thereof.*

      4. Easements, liens, or encumbrances, or claims thereof, which are not shown by the public records.*

      5. Discrepancies, conflicts in boundary lines, shortages in area, encroachments, or any other facts which a correct
      survey would disclose, and which are not shown by the Public Records.

       6. (a) Unpateated mining claims; (b) reservations or exceptions in patents or in Acts authorizing the
      issuance thereof; (c) water rights, claims or title to water, whether or not the matters excepted under (a),
      (b), or (c) are shown by the public records.*

      7, Any liens, or rights to a lien, for services. labor, equipment or material heretofore or hereafter furnished,
      imposed by law and not shown by public records.*

      8, Rights oftbe state or federal government and/or public in and to any portion of the Land for right of way
      (whether or not such rights are shown by recordings of easements and/or maps in toe Public Records by the State of
      Wyoming showing the general location of these rights of way).

     9. Minerals of whatsoever kind, subsurface and surface substance, including but not limited to coal, lignite, oil, gas,
     uranium, clay, rock, sand and gravel in, on, under and that may be produced from the Land, together with all rights,
     privileges, and immunities relating thereto, whether or not appearing in the Public Records or Listed in Schedule 8 .
     Stewart makes no representation as to the present ownership of any such interests. There may be leases, grants,
     exceptions or reservations of interests that are not listed.

      10. Any water or well rights, or rights or title to water or claims thereof, in, on or under the land.

     •Paragraphs I through IO will not appear as printed exceptions on extended coverage policies, except as to such
     parts thereof which may be typed as a Special Exception in Schedule 8-Section Il.

     (See Special' exceptions beginning on the next page).




                                                                                                                 Appellant's Appendix
                                                                                                                      Page 86 of 281
               Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 81 of 98
 Appellate Case: 24-8013                  Document: 010111048105                        Date Filed: 05/13/2024                  Page: 87

NTT-126981
                                             SCHEDULE B - SECTION II
       SPECfAL EXCEPTIONS:

       l. 'faxes for the year 2023 have been assessed in the amount of$l1,470.72. Truces for the first hatfof2023 are ~ue
          and payable in the amount of $5,735.36 but will not become delinquent until November 10, 2023. Taxes for the
          second halfof2023 will become due and payable in the amount of$5,73S.36 on March J, 2024 but will not
          become delinquent until May JO, 2024. Taxes for the year 2022 have been paid in full. Tax Serial No. OJ-002471

      2. Said property may be included within the taxing assessment district of0150, TOWN OF JACKSON, TETON
        COUNTY, WYOMING and may be subject to the charges and assessments thereof. (Charges are current
        according to the information available from the county records.)

      3. Minerals of whatsoever kind, subsurface and surface substances, including but not limited to coal, lignite, oil, gas,
         uranium, clay, rock, sand and gravel in, on, under and that may be produced from the Land, together with all
        rights, privileges, and immunities relating thereto, whether or not appearing in the Public Records or listed in
        Schedule B. The Company makes no representation as to the present ownership of any such interests. There may
        be leases, grants, exceptions or reservations of interests that are not listed.

      4. (a) Unpatented mining claims: (b) Reservations or exceptions in patents or in Acts authorizing the issuance
         thereof; (c) water rights, claims or title to water, whet-her or not the matters excepted under (a), (b), or (c) or shown
         by the public records.

      5. Subject to all existing roads, streets, alleys, fences, ditches, reservoirs, utilities, canals, pipelines, power,
         telephone, cable, fiber optic, sewer, gas, or water lines, and right of way and easements thereof.

      6. Easements/Right of Ways, Covenants & Restrictions, Reservations, Warnings, Roadways, Building Setback
         Lines, Notes, Common Area(s) etc. as delineated and/or dedrcated on the recorded plat(s).

      7. Access to subject property is via a private road as disclosed by recorded subdivlsioh plat
         Any unpaid charges or assessments for the maintenance of the private road which services the property described
        herein,

      8. Any fees, assessments, transfer fees, reinvestment fees, dues and other amounts that may be or become due to the
        homeowners association.

      9. All matters, not limited to easements and right of ways as set out on Lot Division recorded in Teton Recorder's
         office on April 26, 1983, under instrument number 243547.

      10, Terms and Conditions of that certain Easement Dated September 6, 1980, recorded December 18, 1980, Entry
        Number 219528, in Book I06, at Page 747 in the Office of the Recorder ofTeton County, Wyoming.

      11. All matters, not limited to easements and right of ways as set out on Plat recorded in Teton Recorder's office on
        August 25, 1986, under instrument number 267403.

      12. Covenants, conditions, and restrictions in the declaration of restrictions but omitting any covenants or
        restrictions, if any, including, but not limited to those based upon race, color, religion, sex, sexual orientation,
        familial status, marital status, disability, handicap, national origin, ancestry, or source of income as set forth in
        applicable state or federal laws, except to the extent that said covenant or restriction is permitted by applicable
        law.
        Book/Page:                 158/448

     13. Terms and Conditions of that certain Roadway and Utility Easement Dated August 21, 1986, recorded August
       26, 1986, Entry Number 267440, in Book 180, atPm~e 577 in the Office of the Recorder of Teton County,
       Wyoming,



     (continued)




                                                                                                                     Appellant's Appendix
                                                                                                                          Page 87 of 281
               Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 82 of 98
 Appellate Case: 24-8013                Document: 010111048105                    Date Filed: 05/13/2024                 Page: 88

NTT- 126981
        14. UTILITY EASEMENT
          Grantor~          Cache Creek Associates, a Wyoming Partnership
          Grantee:         Terry Lee Garrett and Carol w. Garrett, husband and wife
          Dated:           August 21, 1986
          Recorded;        August 26, 1986
          Entry No.:       267442
          Book/Page:        180/587

        15. Terms and Conditions of that certain Roadway and Utility Easement Dated November 20, 1987, recorded
          November 23, 1987, Entry Number 276361, in Book 195. at Page 646 in the Office of the Recorder of Teton
          County. Wyoming.

        16. Terms and Conditions of that certain Roadway and Utility Easement Dated October 27, 1987, recorded
          November 23, 1987, Entry Number 276362, in Book 195. at Page 653 \n the Office of the Recorder of Teton
          County, Wyoming.

        17. SEWER LINE EASEMENT
          Grantor:          Cache Creek Associates, a Wyoming Partnership
          Grantee!          Terry Lee Garrett and Carol w. Garrett, husband and wife
          Dated:            April 27, 1988
          Recorded:         April 27, 1988
          Entry No.:        278705
          Book/Page:        199/523

        J 8, An Easement For the purpose shown below and right incidental thereto as set forth in a document
           Granted To:             Lower Valley Power and Light Company
           Purpose:                Public Utilities Easement
           Dated:                  August 4, 19.87
           Recorded:               March 29, 1989
           Entry No.:              286285
           Book/Page:              209/490

       19. Terms and Conditions of that certain Agreement for Relocation ofEasement and Covenant Effecting Land Dated
         July 31, 1995, recorded August 1, 1995, Entry Number 400875, in Book 308. at Page 1 13 in the Office ofth.e
         Recorder of Teton County, Wyoming.

       20. MORTGAGE
         Mortgagor:               Terry Lee Garrett and Carol W. Garrett, husband and wife, as tenants by the entireties
         Mortgagee:               First Un.ion National Bank
         Amount:                  $200,000.00
         Dated:                   February 2, 2021
         Recorded:                February 2, 2021
         Entry No.:               536564
         Book/Page:               417/180

       ASSIGNMENT OF MORTGAGE
        Assignor:        Wachovia Bank of Delaware, NA F?K?A First Union National Bank of Delaware
        Assignee:        Wells Fargo Bank, N.A.
        Dated:          December 6, 2009
        Recorded:       December 2 1, 2009
        Entry No.:       765202
        Book/Page:       746/919

       RELEASE OF REAL ESTATE MORTGAGE
        Dated;            July 18, 2023
        Recorded:         July 18, 2023
        Entry No.:        1063565


       (Continued}




                                                                                                               Appellant's Appendix
                                                                                                                    Page 88 of 281
              Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 83 of 98
 Appellate Case: 24-8013                Document: 010111048105                      Date Filed: 05/13/2024                  Page: 89

NTT-126981
       21.MORTGAGE
         Mortgagor:               Terry Lee Garrett and Carol W. Garrett, husband and wife, as tenants by the entirety
         Mortgagee:               First Union National Bank of Delaware
         Amount:                  $100,000.00
         Dated:                   March 29, 2001
        Recorded:                 April 6, 2001
        Entry No.:                53856 l
        Book/Page:                419/217

      RELEASE OF REAL ESTA TE MORTGAGE
       Dated:            July 18, 2023
       Recorded:         July 18, 2023
       Entry No.:        I 063566

      22. MORTGAGE
        Mortgagor:                Carol W. Garrett, married and Terry Lee Garrett, her husband as renants by the entirety
                                  and Clara Walsh~separated
        Mortgagee:                First Union National Bank of Delaware
        Amount:                   $75,000.00
        Dated:                    July31,2001
        Recorded:                 August 20, 2001
        Entry No.:                549832
        Book/Page:                 432/403

      CERTIPfCATE OP PURCHASE
       Dated:            March 23, 2023
       Recorded:         March 22, 2023
       Entry No.:        1056038

      SHERIFF'S DEED
        Grantor:                  Mary L. raulknor, Teton County Sheriff Office
        Grantee:              John Caldwell and Joan Schank
        Dated:                July 14, 2023
        Recorded:             July 14, 2023
        Entry No.:            1063397
        Note: Document contains incomplete legal description,

      23. Any rights, claims or interest of (the mortgagor) in the land or any claim the foreclosure by (lender) is invalid.

      24. The right ofany interested patty to sue or to petition to set aside or modify or to contest the foreclosure sale and
        deed pursuant thereto, through which title to the land described herein is derived.

      25. Any attempt by an interested party to set aside the deed under which tide is vested in a bankruptcy or state
        insolvency action.

      26. Rights oftenant(s) in the land, if any, and rights of all parties claiming by, through or under said tenant(s).


      (continued)




                                                                                                                Appellant's Appendix
                                                                                                                     Page 89 of 281
             Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 84 of 98
 Appellate Case: 24-8013               Document: 010111048105                     Date Filed: 05/13/2024                Page: 90

NIT-126981


                                              SCHEDULE B - PART II

   SPECIAL EXCEPTIONS:


      Note: The policy to be issued may contain :an arbitration clause. When the Amount of Insurance is less than
      the certain dollar amount set forth in any applicable arbitration clause, all arbitrable matters shall be
      arbitrated at the option ofeither the Company or the Insured as the exclusive remedy of the parties. If you
      desire to review the terms of the policy, including any arbitration clause that may be included, contact the
      office that issued this Commitment or Report to obtain a sample of the policy jacket for the policy that is to
      be issued in connection with your transaction.



      NOTE: Judgments, State and Federal Tax Liens were checked on the following names, and if any were found, ate disclosed
      herein:

               Terry Lee Garrett and Carol W. Garrett
               John Caldwell
               Joan Schank

      NOTE: In the event this transaction fails to close, a cancellation fee may be charged for services rendered in accordance with
      the rates that are on file with the Commissioner oflnsurance of the State of Wyoming.




      Examiner




      Chain of Title including all Vesting Deeds recorded in the past 24 months:

      ACCORDlNGTO THE OFFICIAL RECORDS, THERE HAVE BEEN NO DOCUMENTS CONVEYING THE LAND
       DESCRIBED HEREIN WITH A PERIOD OF 24 MONTHS PR[OR TO THE DATE OF THIS COMMITMENT
       EXCEPT AS FOLLOWS:

      SHERIFFS DEED
        Granter:             Mary L. Faulkner, Teton County Sheriff Office
        Grantee:             John Caldwell and Joan Schank
        Recorded:            July 20, 2023
        Entry No.:           1063792
       Note: Document contains incomplete legal description.




                                                                                                              Appellant's Appendix
                                                                                                                   Page 90 of 281
                                     Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 85 of 98
Appellate Case: 24-8013                                                                        Document: 010111048105                                                                                 Date Filed: 05/13/2024                            Page: 91
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                              Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 86 of 98
 Appellate Case: 24-8013                                                        Document: 010111048105                                                                        Date Filed: 05/13/2024                                                                                Page: 92
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         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 87 of 98
Appellate Case: 24-8013   Document: 010111048105                       Date Filed: 05/13/2024                                                 Page: 93


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                                                                                                                       Appellant's Appendix
                                                                                                                            Page 93 of 281
                    Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 88 of 98
     Appellate
 11/17/22, 2:55 PM Case: 24-8013              Document: 010111048105          Date Filed: 05/13/2024
                                                              Teton County MapServer                                          Page: 94



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                                                                                                                   Appellant's Appendix
                                                                                                                        Page 94 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 89 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 95




                      EXHIBIT B




                                                                    Appellant's Appendix
                                                                         Page 95 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 90 of 98
Appellate Case: 24-8013            Document: 010111048105            Date Filed: 05/13/2024           Page: 96

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   Isaac N. Sutphin, P.C. (Wyo. State Bar# 6-3711)
                                                                                          DEC O7 2023 ~ "3p1tt...__
   HOLLAND & HART LLP                                                                   DISTRICT COURT
   2020 Carey Avenue, Suite 800                                                      9TH JUDICIAL DISTRICT
   P.O. Box 1347                                                                    TETON COUNTY WYOMING
   Cheyenne, WY 82003-1347
   Telephone: 307.778.4200
   Facsimile: 307.778.8175
   INSutphin@hollandhart.com

   ATTORNEYS FOR DEFENDANT
   WELLS FARGO BANK, N.A.

   STATE OF WYOMING                                   )               IN THE DISTRICT COURT
                                                      ) ss
   COUNTY OF TETON                                    )             NINTH JUDICIAL DISTRICT

   CAROL W. GARRETT AND TERRY LEE
   GARRETT,

                     Plaintiffs,
                                                               Civil Action No. 2023-CV-18974
             V.

    WELLS FARGO BANK, N.A.,

                     Defendant.

           DEFENDANT WELLS FARGO BANK, N.A.'S UNOPPOSED MOTIO N FOR
            ,EXTENSION OF TIME TO RESPOND TO PLAINTIFFS' COMPLAINT

            Defendant Wells Fargo Bank, N.A., ("Wells Fargo"), by and through their undersigned

    counsel, respectfully files this Unopposed Motion for an Extension of Time to Respond to

    Plaintiffs' Complaint.

            As grounds for this Motion, Wells Fargo states the following:

            1.       On October 10, 2023, Plaintiffs initiated this action by filing their Complaint.

            2.       On November 17, 2023, Plaintiffs served their Complaint upon Wells Fargo.

            3.       Wells Fargo's current deadline to respond is December 7, 2023.

            4.       The Complaint contains voluminous and detailed allegations. Wells Fargo

    requires additional time to investigate the allegations stated in Plaintiffs' Complaint, and to




                                                                                           Appellant's Appendix
                                                                                                Page 96 of 281
           Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 91 of 98
Appellate Case: 24-8013             Document: 010111048105                 Date Filed: 05/13/2024             Page: 97
                                                                                     therefore seeks an
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  Wyo. R. Civ. P. 6(b)                                                                                mplaint is
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         5.        This Motion is timel
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  due on December 7;
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          6.        There have been no

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   with respect to Plaint                                                                      ted to a thirty
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           7.     Wells Fargo has conf                                                                   line to
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                          respond to Plaintiffs'
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     Plaintiffs' Complaint
                                       December 2023 .
              Dated this 7th day of


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                                                       INSutphin@hollandha
                                                                       FENDANT
                                                       ATTORNEYS FOR DE , N.A.
                                                                     NK
                                                       WELLS FARGO BA



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                                                                                                    Appellant's Appendix
                                                                                                         Page 97 of 281
          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 92 of 98
Appellate Case: 24-8013          Document: 010111048105          Date Filed: 05/13/2024          Page: 98




                                  CERTIFICATE OF SERVICE
          I hereby certify that on December 7, 2023, I served the foregoing by sending a true and

   correct copy thereof via electronic mail and United States mail, postage prepaid and properly

   addressed to the following:

                  J. Austin Dunlap
                  Austin Dunlap Law
                  P.O. Box 4803
                  Jackson, WY 83001
                  austindunlap@gmail.com



                                                 ?--"




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                                                                                       Appellant's Appendix
                                                                                            Page 98 of 281
         Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 93 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 99




                      EXHIBIT C




                                                                    Appellant's Appendix
                                                                         Page 99 of 281
DEC/08/2023/FR I Case         Teton Cty Dist. Document
                 16: 53 1:24-cv-00007-SWS      Crts    1FAXFiled
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     Appellate Case: 24-8013           Document: 010111048105           Date Filed: 05/13/2024         Page: 100




            STATE OF WYOMING                                )               IN THE DISTRICT COURT

                                                                                                              F,iL',P
                                                            ) ss
            COUNTY OF TETON                                 )             NIN'lH JUDIC!,\.L DISTRICT
            CAROL W. GARRETT AND TERRY LEE
            GAR.REIT,
                                                                                                            DE~      ~ ~O~t.....
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                                                                                                       9TH JUDICIAL DISiRICi
                              Plaintiffs,                                                            Tf::TON COUNTY WYOMIN
                                                                      Civil Action No. 2023-CV-18974
                    v.
            WELLS FARGO BANK, N.A.,
                              Defendant

                         ORDER GRANTING DEFENDANT WELLS FARGO BANK, N.A.'S
                            UNOPPOSED MOTION FOR EXTENSION OF TIME TO
                                      RESPOND TO PLAINTIFFS' COMPLAINT

                  TH1S MATTER having come before the Court on Defendant Wells Fargo Bank, N.A.'s

           Unopposed Motion for Extension of Time to Respond to Plaintiffs' Complaint, and the Court

           _having considered the Motion and the information presented therein, HEREBY OR!>ERS that

           the Motion for Extension of Tix:ne is GRAN1ED.
                  Wells Fargo shall file its answer, motion or other responsive pleading to Plaintiffs'

           Complaint on or before Monday, January 8, 2024.

                  DATED this          01 t,   day of December 2023.




                                                     Ninth Judicial District Court Judge
                                                     Me.J(sstA. M #0 WGl'U

           Copies to:
           Isaac Sutphin
           J. Austin Dunlap




                                                                                              Appellant's Appendix
                                                                                                 Page 100 of 281
          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 95 of 98
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 101




                      EXHIBIT D




                                                                     Appellant's Appendix
                                                                        Page 101 of 281
            Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 96 of 98
Appellate Case: 24-8013           Document: 010111048105         Date Filed: 05/13/2024         Page: 102



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  ATTORNEYS FOR DEFENDANT
  WELLS FARGO BANK, N.A.

  STATE OF WYOMING                                   )              IN THE DISTRICT COURT
                                                     ) ss
  COUNTY OF TETON                                    )           NINTH JUDICIAL DISTRICT

  CAROL W. GARRETT AND TERRY LEE
  GARRETT,

                    Plaintiffs,
                                                            Civil Action No. 2023-CV-18974
            v.

  WELLS FARGO BANK, N.A.,

                    Defendant.

                          NOTICE OF FILING OF NOTICE OF REMOVAL

          PLEASE TAKE NOTICE that in the above-entitled action, Defendant Wells Fargo Bank,

  N.A. (Wells Fargo), by and through undersigned counsel, Holland & Hart LLP, hereby files this

  Notice of Filing of Notice Removal pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and

  U.S.D.C.L.R. 81.1. Wells Fargo filed a Notice of Removal in the United States District Court for

  the District of Wyoming on January 8, 2024. A true and correct copy of the Notice of Removal

  filed in the United States District Court is attached as Exhibit A. This filing serves as written

  notice to all adverse parties and effects removal in accordance with 28 U.S.C. § 1446(d).




                                                                                       Appellant's Appendix
                                                                                          Page 102 of 281
          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 97 of 98
Appellate Case: 24-8013     Document: 010111048105             Date Filed: 05/13/2024          Page: 103



         Dated this 8th day of January 2024.




                                          Isaac
                                          IIs
                                            saaaac N. Sutph
                                                      Sutphin,
                                                         pphhiinn, P.
                                                                   P
                                                                   P.C.
                                                                      C. (Wyo. State Bar
                                                                                     B #6-3711)
                                           HOLLAND     D & HART LLP
                                           2020 Carey Avenue, Suite 800
                                           P.O. Box 1347
                                           Cheyenne, WY 82003-1347
                                           Telephone: 307.778.4200
                                           Facsimile: 307.778.8175
                                           INSutphin@hollandhart.com

                                          ATTORNEYS FOR DEFENDANT
                                          WELLS FARGO BANK, N.A.




                                                 2                                    Appellant's Appendix
                                                                                         Page 103 of 281
          Case 1:24-cv-00007-SWS Document 1 Filed 01/08/24 Page 98 of 98
Appellate Case: 24-8013      Document: 010111048105            Date Filed: 05/13/2024        Page: 104



                               CERTIFICATE OF SERVICE
         I hereby certify that on January 8, 2024, I served the foregoing by file and servexpress

  and by placing a true and correct copy thereof in the United States mail, postage prepaid and

  properly addressed to the following:

                 J. Austin Dunlap
                 Austin Dunlap Law
                 P.O. Box 4803
                 Jackson, WY 83001
                 austindunlap@gmail.com




                                                  3                                 Appellant's Appendix
                                                                                       Page 104 of 281
                                   Case 1:24-cv-00007-SWS Document 1-1 Filed 01/08/24 Page 1 of 1
JS 44 (Rev. 10/20)
             Appellate Case: 24-8013                                CIVIL010111048105
                                                                 Document: COVER SHEETDate Filed: 05/13/2024                                                              Page: 105
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
                                                                                                                                                        2:23-cv-247
          Carol W. Garrett and Terry Lee Garrett                                                          Wells Fargo Bank, N.A.
    (b) County of Residence of First Listed Plaintiff           Alachua County, FL                        County of Residence of First Listed Defendant               Minnehaha County, SD
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.
    (c) Attorneys (Firm Name, Address, and Telephone Number)
                                                                                                           Attorneys (If Known)
          J. Austin Dunlap, Austin Dunlap Law
                                                                                                          Isaac N. Sutphin, Holland & Hart LLP
          P.O. Box 4803, Jackson, WY 83001                                                                2020 Carey Ave, STE 800
          (888) 341-0997                                                                                  Cheyenne, WY 82001; 307-778-4200

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                   and One Box for Defendant)
□ 1 U.S. Government                   □ 3 Federal Question                                                                      PTF       DEF                                         PTF      DEF
          Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State         □1         □ 1      Incorporated or Principal Place     □ 4 □4
                                                                                                                                                     of Business In This State

□2     U.S. Government                □
                                      ✖ 4   Diversity                                            Citizen of Another State          □
                                                                                                                                   ✖ 2
                                                                                                                                          □ 2      Incorporated and Principal Place       □ 5     ~5
         Defendant                            (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                                 Citizen or Subject of a           □3     □ 3 Foreign Nation                              □ 6     □6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                           TORTS                                FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                         PERSONAL INJURY               PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                            310 Airplane               □ 365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                        315 Airplane Product             Product Liability          690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                  Liability             □ 367 Health Care/                                                                                      400 State Reapportionment
  150 Recovery of Overpayment           320 Assault, Libel &             Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment              Slander                     Personal Injury                                                  820 Copyrights                   430 Banks and Banking
  151 Medicare Act                      330 Federal Employers’           Product Liability                                                830 Patent                       450 Commerce
  152 Recovery of Defaulted                  Liability             □ 368 Asbestos Personal                                                835 Patent - Abbreviated         460 Deportation
       Student Loans                    340 Marine                       Injury Product                                                       New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)              345 Marine Product               Liability                                                        840 Trademark                        Corrupt Organizations
□ 153 Recovery of Overpayment                Liability              PERSONAL PROPERTY                        LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits             350 Motor Vehicle            370 Other Fraud                710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
□ 160 Stockholders’ Suits
□
✖ 190 Other Contract
                                        355 Motor Vehicle
                                            Product Liability
                                                                  B  371 Truth in Lending
                                                                   □ 380 Other Personal
                                                                                                        Act
                                                                                                    720 Labor/Management                 SOCIAL SECURITY
                                                                                                                                                                           485 Telephone Consumer
                                                                                                                                                                               Protection Act
  195 Contract Product Liability        360 Other Personal               Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
B 196 Franchise                             Injury
                                        362 Personal Injury -
                                                                   □ 385 Property Damage
                                                                         Product Liability
                                                                                                    740 Railway Labor Act
                                                                                                    751 Family and Medical
                                                                                                                                         862 Black Lung (923)
                                                                                                                                         863 DIWC/DIWW (405(g))
                                                                                                                                                                           850 Securities/Commodities/
                                                                                                                                                                               Exchange
                                            Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                     441 Voting                   463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                   443 Housing/                     Sentence                                                             or Defendant)                896 Arbitration
    245 Tort Product Liability              Accommodations           530 General                                                         871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment               Other:                         462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -   540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                            Other                    550 Civil Rights                   Actions                                                                State Statutes
                                        448 Education                555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
    1 Original               2 Removed from              3 Remanded from               4 Reinstated or            5 Transferred from              6 Multidistrict                     8 Multidistrict
□                        □
                         ✖
                                                     □                             □                         □                               □                                  □
      Proceeding               State Court                    Appellate Court              Reopened                  Another District                 Litigation -                      Litigation -
                               28 USC Section 1441                                                                   (specify)                        Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         28 USC Sections 1332, 1441, 1446; USDCLR 81.1
VI. CAUSE OF ACTION Brief description of cause:
                                         Wrongful Foreclosure
VII. REQUESTED IN    □ CHECK IF THIS IS A CLASS ACTION          DEMAND $                                                                       CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                                               JURY DEMAND:                 □
                                                                                                                                                                            ✖ Yes
                                                                                                                                                                                          □ No
VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                              JUDGE  Melissa M. Owens                                                                        DOCKET NUMBER 2023-CV-18974
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
01/08/2024
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                   APPLYING IFP                                    JUDGE                           MAG. JUDGE Appendix
                                                                                                                                                            Appellant's
                                                                                                                                                                     Page 105 of 281
           Case 1:24-cv-00007-SWS Document 1-2 Filed 01/08/24 Page 1 of 2
Appellate Case: 24-8013          Document: 010111048105           Date Filed: 05/13/2024         Page: 106



                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF WYOMING


  CAROL W. GARRETT AND TERRY LEE
  GARRETT,

                   Plaintiffs,
                                                                            24-CV-7-SWS
                                                        Civil Action No. _______________
           v.                                           (State Court Docket No. 2023-CV-18974)
  WELLS FARGO BANK, N.A.,

                   Defendant.

                                       ORDER ON REMOVAL

         On January 8, 2024, a Notice of Removal of the above-entitled action was filed with the

  Clerk of the United States District Court, District of Wyoming, removing this action from the

  District Court, Ninth Judicial District, Teton County, Wyoming.

         IT IS THEREFORE ORDERED that pursuant to Rule 81.1 of the Local Rules of this

  Court, the removing party shall immediately file with the Clerk of the District Court, Ninth

  Judicial District, Teton County, Wyoming, a copy of the Notice of Removal. The clerk of the

  state district court is hereby advised that jurisdiction over the parties and subject matter of the

  above-entitled action is deemed removed from the Ninth Judicial District Court to the United

  States District Court for the District of Wyoming upon the filing of the Notice of Removal with

  the Clerk of the Ninth Judicial District Court and the Ninth Judicial District Court should

  proceed no further, unless the case is later remanded.

         IT IS FURTHER ORDERED that, in the event a hearing is pending in the state district

  court when the Notice of Removal is filed with the clerk of the state district court, the removing

  party shall immediately notify the state district court judge of the removal of this action.




                                                                                        Appellant's Appendix
                                                                                           Page 106 of 281
           Case 1:24-cv-00007-SWS Document 1-2 Filed 01/08/24 Page 2 of 2
Appellate Case: 24-8013          Document: 010111048105         Date Filed: 05/13/2024         Page: 107



          IT IS FINALLY ORDERED that the removing party shall file with the Clerk of this

  Court copies of all records and proceedings in the state district court within fourteen (14) days

  after receipt of this Order.

          ORDERED this ___ day of ________________ 2024.


                                                __________________________________________
                                                UNITED STATES DISTRICT COURT JUDGE




                                                                                      Appellant's Appendix
                                                                                         Page 107 of 281
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 108




                                 ECF Doc 2

                   Summons and
                    Complaint




                                                                     Appellant's Appendix
                                                                        Page 108 of 281
            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 1 of 90
Appellate Case: 24-8013          Document: 010111048105         Date Filed: 05/13/2024        Page: 109

                                                                           SERVICE COPY
              IN THE DISTRICT COURT OF THE NINTH JUDICIAL DISTRICT

                          WITffiN AND FOR TETON COUNTY, WYOMING



   CAROL W. GARRETT AND                          )
   TERRY LEE GARRETT                             )
                                                 )
           Plaintiffs,                           )
   v.                                            )
                                                 )
   WELLS FARGO BANK, N.A.                        )
                                                 )
           Defendant.                            )

                                                SUMMONS

   TO:     Wells Fargo Bank, N.A.
           Corporation Service Company
           1821 Logan Ave
           Cheyenne, WY 82001 USA

           YOU ARE HEREBY SUMMONED and required to file with the clerk and serve upon
   Petitioner's attorney and answer to the Plaintiffs' Complaint and Jury Demand, which is herewith
   served upon you, within twenty (20) days after service of this Summons upon you, exclusive of
   the day of service. (If service upon you is made outside of the State of Wyoming, you are required
   to file and serve your answer to the Petition within thirty (30) days after service of this Summons
   upon you, exclusive of the day of service.) If you fail to do so, judgment by default will be taken
   against you for the relief demanded in the Complaint.

           DATED this 10th day of October 2023.




   J. Austin unlap - Counsel/or the Plaintiff
   Wyoming State Bar# 7-4586
   P.O. Box 4803
   Jackson, WY 83001
   Telephone (307) 690-8568
   austindunlap@gmail.com


                                                                                                  I
                                                                                     Appellant's Appendix
                                                                                        Page 109 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 2 of 90
Appellate Case: 24-8013     Document: 010111048105        Date Filed: 05/13/2024       Page: 110


  J. Austin Dunlap
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  PO Box 4803
  Jackson, WY 83001                                                FILED 1!! .S-f~
  Tel. 307-690-8568
  Fax 307-316-8101
                                                                   OCT 1O 2023
  austindunlap@gmail.com                                           DISTRICT COURT
  Attorney for Plaintiffs                                       9TH JUDiCIAL DISTRICT
                                                               TETON COUNTY WYOMING

        IN THE DISTRICT COURT OF THE N1NTH JUDICIAL DISTRICT

                     WITHIN AND FOR TETON COUNTY, WYOMING



  CAROL W. GARRETT AND                    )
  TERRY LEE GARRETT                       )
                                          )
         Plaintiff~,                      )
  v.                                      )
                                          )
  \¥ELLS FARGO BANK, N.A.                 )
                                          )
         Defendant.                       )



             PLAINTIFFS' COMPLAINT AND JURY DEMAND
        COMES NOW, Cru.·ol W. Garrett and Terry Lee Garrett, husband and wife,

  by and through their attorney, J. Austin Dunlap, for their cause of actions and

  claims of relief against the Defendant, hereby state and allege as follow:

                                       I. PARTIES
        1.      Plaintiffs Carol Garrett and Terry Garrett are residents of Florida and

  were owners of real property in Jackson, Teton County, Wyoming commonly known

  as 1045 Upper Cache Creek Drive.



                                 Garrett v. Wells Fargo Bank
                                 Complaint and Jury Demand
                                         Page 1 of 10

                                                                              Appellant's Appendix
                                                                                 Page 110 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 3 of 90
Appellate Case: 24-8013        Document: 010111048105         Date Filed: 05/13/2024     Page: 111




           2.       Defendant Wells Fargo Bank, N.A., ("Wells Fargo") is a c01·poration

  organized under the laws of South Dakota, and doing business in Teton County,

  Wyoming with offices at 50 Buffalo Way, Jackson_, Teton County, Wyoming, and 110

  Center Street, Jackson, Teton County, Wyoming.

           3.       It is upon information and belief that Wells Fargo acquired the

  Garretts' mortgage for the property commonly known as 1045 Upper Cache Creek

  Drive, Jackson, Teton County, Wyoming from First Union National Bank of

  Delaware, the original lender.

                                II. JURISDICTION AND VENUE
           4.       Plaintiffs incorporate by reference all statement and allegations above.

           5.       This Court has personaljurisdiction over the parties consistent with

  W.S.§ 5·1·107.

           6.       Pursuant to W.S. §5·9·128(a)(i), the damages caused by the.events

  complained of herein are in excess of $50,000.00, thus placing original jurisdiction

  of this matter within this Coui·t.

           7.       Pursuant to W.S. §l ·5·10l(a)(i), venue in the Ninth Judicial District

  Court in Teton County, Wyoming is proper because that is the coUb.ty in which the

  subject property is located, and the acts and omissions complained of herein

  occurred.

                             ill. FACTS COMlVION TO ALL CLAIMS
           8.       Plaintiffs incorporate by reference all statements and allegations

  above.

                                     Garrett v. Wells Fargo Bank
                                     Complaint and Jury Demand
                                             Page 2 of 10
                                                                                Appellant's Appendix
                                                                                   Page 111 of 281
            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 4 of 90
Appellate Case: 24-8013      Document: 010111048105         Date Filed: 05/13/2024     Page: 112




           9.     In 2001, Carol and Terry Garret built a single·family residence at 1045

   Upper Cache Creek Drive, Jackson, Wyoming.

           10.    Terry Garrett is a Vietnam War combat veteran who is wheelchair

   bound and legally blind due to his injuries suffered in the Vietnam War.

           11.    The home they built in Jackson was wheelchair accessible and built to

   accommodate Terry's needs.

           12.    The home was partially financed through a mortgage dated July 31,

   2001, from First Union National Bank of Delaware ("Mortgagor" or "Lender'')

   (Exhibit 1).

           13.    The Garretts had a tenant, Michael Melf, living in the house in July

   2023.

           14.    Mr. Mel£ returned home one day in July 2023 to find his neighbors,

  Mike Mason and Nancy Watkins outside -they share a common drive way with the

  Garretts.

           15.    The neighbors indicated that a stranger had been at the Garrett

  residence earlier in the day, and the stranger indicated that he had purchased the

  home at 1045 Upper Cache Creek Drive.

           16.    The neighbors contacted the Garretts directly by phone.

           17.    This is how the Garretts and Mr. Melf, the legal tenant, found out

  about the foreclosure sale.

           18.    The Teton County Sheriff's Office conducted a foreclosure sale for 1045

  Upper Cache Creek Drive on March 16, 2023.

                                   Garrett v. Wells Fargo Bank
                                   Complaint and Jury Demand
                                           Page 3 of 10
                                                                              Appellant's Appendix
                                                                                 Page 112 of 281
            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 5 of 90
Appellate Case: 24-8013     Document: 010111048105          Date Filed: 05/13/2024     Page: 113




           19.   The Teton County Sheriffs Office received an Affidavit of Service of

  W1·itten Notice of Intent to Foreclose Mortgage from Defendant1s representative C.

  Morgan Lasley, Esquire of the Sayer Law Group, P.C.

           20.   0. Morgan Lasley affirmed that w1·itten notice of intent to foreclose by

  advertisement and sale had been served upon the record owner and the person in

  possession by certified mail, retlll'n receipt requested, mailed to the last known

  address of the record owner, and the pe1·son in possession. (See Exhibit 2).

           21,   A Certificate of Purchase was also issued March 23, 2023. (Exhibit 3).

           22.   After the tolling of the redemption period, a She1•iffs Deed was issued

  on July 19, 2023. (Exhibit 4).

           23.   Sometime in August, the Garretts neighbors encountered one of the

  new purchasers at the propel"ty, being the first time Mr. Melf or Petitione1·s became

  aware of any foreclosure :proceedings involving the 1045 Upper Cach Creek Drive

  house.

           24.   Upon information and belief, the Garrett's outstanding balance on the

  Mol"tgage was app1·oximately $76,500.00.

           25.   The home at 1045 Upper Cache Creek Drive appraised for

  $2,900,000.00. (See Exhibit 5).

        26.      The highest bid at public auction was $825,000.00 by John Caldwell

  and Joan Schank. (See Exhibit 3).




                                   Garrett v. Wells Fargo Bank
                                   Complaint and Jury Demand
                                           Page 4 of 10
                                                                              Appellant's Appendix
                                                                                 Page 113 of 281
             Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 6 of 90
Appellate Case: 24-8013      Document: 010111048105         Date Filed: 05/13/2024      Page: 114




            27.   Defendant Wells Fargo failed to follow the statutory requirements in

   recording the assignment and giving their notice of foreclosure resulting in the

   Garretts being damaged in excess of $2.1 million.

            28.   The Garretts' total damages is an amount that will be -proven at trial.

                                          IV. CLAIMS

       COUNT I • WRONGFUL FORECLOSURE UNDER W.S.§ 34·4·103(a)(iii) -
                    FAILURE TO RECORD ASSIGNMENT

            29.   Plaintiffs incorporate by reference all statements and allegations

   above.

            30.   W.S. §34·4· 103(a)(ili) requires 41[t]hat the mortgage containing the

  power of sale has been duly recorded; and if it has been assigned, that all

  assignments have been recorded."

            31.   The Garretts entered into a mo1-tgage agreement with First Union

  National Bank of Delaware and not Defendant. (Exhibit I).

            32.   The assignment from First Union National Bank of Delawa1·e to

  Defendant is not recorded in the Teton County Records as evidenced by the Title

  Commitment provided by Northern Title. (See Exhibit 6).

           33.    Defendant has failed to follow the statutory requirements in W.S. §34·

  4·103 and Plaintiffs have suffered substantial economic damages as a result.


      COUNT II · WRONGFUL FORECLOSURE UNDER W.S. §34·4·103(a)Civ) -
                     FAILURE TO NOTIFY OCCUPANT

           34.    Plaintiffs incorporate by reference all statements and allegations

  above.
                                   Garrett v. Wells Fargo Bank
                                   Complaint and Jury Demand
                                           Page 5 of 10
                                                                               Appellant's Appendix
                                                                                  Page 114 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 7 of 90
Appellate Case: 24-8013    Document: 010111048105          Date Filed: 05/13/2024     Page: 115




         35.    Michael Melf was the legal tenant of 1046 Upper Cache Creek Diive

   and had been for the previous 12 years.

         36.    It is reasonable to assume that the legal occupant has a different
   address than the legal owner of the property.

         37.   Defendant made no effort to distinguish addresses between the owner

  and the occupant as set forth in his affidavit below. The notice for the occupant was

  sent to the address of 1·ecord of the owner.

         38.   The United State Postal Service does not deliver mail to 1045 Upper

  Cach Creek Drive as further evidenced by the tracking notations on the certified

  mailings.

         39.   Michael Melf did not receive notice of intent to foreclose as required by

  W.S.§ 34·4·103(a)(iv).

         40.   Defendant asserted the following:

        That written notice of intent to foreclose the Mortgage by advertisement
        and sale has been served upon the record owner and the person in
        possession by certified mail, return receipt requested, mailed to the last
        known address of the record owner and the person in possession at least
        ten (10) days before commencement of the first publication of the notice
        of the foreclosure sale as follows and that a copy of the published
        Foreclosure Sale Notice was mailed, certified mail, return receipt
        requested to all parties as required by Wyoming Statutes, before the
        notice was published as follows:...

        41.    Defendant lists a tracking number for certified mailings to the

  "Current Occupants": 9489009000276449884146 for its Notice of Intent to

  Foreclose.



                                 Garrett v. Wells Fargo Bank
                                 Complaint and Jury Demand
                                        Page 6 of 10
                                                                             Appellant's Appendix
                                                                                Page 115 of 281
             Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 8 of 90
Appellate Case: 24-8013     Document: 010111048105         Date Filed: 05/13/2024     Page: 116




           42.   The United States Postal Service tracking information for

   certified mail no. 9489009000276449884146 sent on December 8, 2022, to the

   "current occupants" at 1045 Upper Cache Creek Drive states '1nsufficient

   Address" on December 151 2022 (emphasis added).

           43.   The mailing was returned to the original sender undelivered.

           44.   Defendant lists a tracking numb.er for the "Cur.rent Occupants'':

   9489009000276449867972 fo1· its Foreclosw·e Sale Notice.

           45.   The United States Postal Service tracking information for

  certified mail no. 9489009000276449867972 sent on January 30, 2023, to the

  "current occupants" at 1045 Upper Cache Creek Drive neve1· anive.d in

  Jackson, Wyoming.

           46.   Defendant has failed to follow the statutory requirements in W.S. §34·

  4·103 and Plaintiffs have suffered substantial economic damages as a result.


                           COUNT THREE -
     BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING

           47.   Plaintiffs incorporate by reference all statements and allegations

  above.

           48.   Plaintiff entered into a mortgage agreement on July 31, 2001.

           49.   Defendant's actions have deprived Plaintiff of approximately $2.l

  million in an effort satisfy its $76,000 loan.

           50.   Defendant's failure to record the assignment of the mortgage and

  failure to notify the current occupant of the intent to foreclose as statutorily

                                  Garrett v. Wells Fargo Bank
                                  Complaint and Jury Demand
                                          Page 7 of 10
                                                                             Appellant's Appendix
                                                                                Page 116 of 281
            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 9 of 90
Appellate Case: 24-8013     Document: 010111048105          Date Filed: 05/13/2024     Page: 117




   required are breaches of community standards of decency, fairness, and

   reasonableness.

           51.    Defendants breach of the implied covenant of good faith and fair

  dealing has resulted in Plaintiffs suffering substantial economic damages.

                                   PUNATIVE DAMAGES

           52.   Plaintiffs incorporate by reference all statements and allegations

  above.

           53.   At all relevant times, Defendant acted outrageously with willful and

  wanton misconduct.

           54.   Defendant's failure to perform the basic statutory requirements were

  in reckless disregard of the consequences and Defendant knew or should have

  known the significant harm their actions caused.

           55.   Defendant failed to follow the basic statutory requirements.

           56.   Defendant disregard of the statutory requirements 1·esulted in

  deprivation to the Plaintiffs of at least $2.1 million to satisfy a $76,000 loan.

        57.      In addition, Plaintiffs lost their 11ome of 21 years that had been

  specifically designed and built for Terry Garrett's needs.

                       PRAYER FOR RELIEF AS TO ALL CLAIMS

        WHEREFORE, tbe Plaintiffs respectfully requests this Honorable Court enter
  judgment:

        A.       Declaring that the conduct of Defendant was in violation ofW.S. §34·4·
  103 for failing to record the assignment and failing to give proper notice to the
  occupant;
                                  Gar1·ett v. Wells Fargo Bank
                                  Complaint and Jury Demand
                                           Page 8 of 10                       Appellant's Appendix
                                                                                 Page 117 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 10 of 90
Appellate Case: 24-8013       Document: 010111048105             Date Filed: 05/13/2024     Page: 118




          B.       Rescinding the foreclosure sale and restoring ownership of 1045 Upper
   Cache Creek Drive to the Plaintiffs;
          C.       In the alternative, award Plaintiffs their damages in an amount to be
   pToven at trial;
          D.       Awarding Plaintiff their costs, expenses of bringing this action; and
          E.       Awarding Plaintiff punitive and exemplary damages against Defendants
   in order to punish Defendants fo1· engaging in such conduct so as to intentionally fail
   to follow the statute and recklessly deprive Plaintiff of their property, and in order to
   deter Defendant and others similarly situated to Defendants form engaging in
   wrongful foreclosures; and
         F.        Granting Plaintiff such other and further relief as the Court deems just
   and property.


                                        JUE,Y DEMAND

         Attached is a demand for a twelve-person jU1·y.




                                                        ..,,tJ
         RESPECTFULLY SUBMITTED this )1J_ day of October 2023.




                                              P.O. Box 4803
                                              Jackson, WY 83001
                                              Counsel for the Plaintiffs




                                    Garrett v. Wells Fargo Bank
                                    Complaint and Jury Demand
                                            Page 9 of 10
                                                                                   Appellant's Appendix
                                                                                      Page 118 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 11 of 90
Appellate Case: 24-8013    Document: 010111048105            Date Filed: 05/13/2024     Page: 119



        IN THE DISTRICT COURT OF THE NINTH JUDICIAL DISTRICT

                  WITHIN AND FOR TETON COUNTY, WYOMING

                                                                                 FJLED1/. 1s;l?7,     1



  CAROL W. GARRETT AND                      )                                   OCT t O 2023
  TERRY LEE GARRETT                        )
                                                                               DISTRICT COURT
                                           )                                9TH JUDICIAL DISTRICT
         Plaintiffs,                        )                              TETON COUNTY WYOMING
  v.                                        )     }o J ?J.. t V ~ I t? 7 L/
                                            )
  WELLS FARGO BANK, N.A.                   )
                                           )
         Defendant.                        )


                                     JURY DEMAND

                                  DEMAND FOR JURY

         The Plaintiffs demand a trial by jury of twelve peers on all issues so triable.



                                                 -..) ~ ;z==::-
                                           J. Austi;D~J
                                           WSB 7·4p
                                           P.O. Bof 4803
                                           Jackson, WY 83001
                                           Counsel for the Plaintiffs




                                 G1:11-rett v. Wells Fargo Bank
                                 Complaint and Jul'y Demand
                                          Page 10 of 10


                                                                               Appellant's Appendix
                                                                                  Page 119 of 281
                           Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 12 of 90
Appellate Case: 24-8013                                     Document: 010111048105                             Date Filed: 05/13/2024                         Page: 120

                                                                                                                             COUffTESl' w::oAl>!NG
                                                                                                                       •~lalllila,IC.lldlll.., ... ~ ;~.
                                                                                                                    -~,l'.04mllllllpa,41i..._ L-.Hlli:IC:,.il«!'
                                                                                                                       :~ dli:tllm - ~ ar Ne? tr
                                   After Recording, Mall To:                                Prepared By:                  ··rAtlil Cllllmthn.l
                                   Flrst Union Natfonal Bank of Delaware                    First Union National Bank of Delaware
                                   C/O Service Center                                       C/O Service Center
                                   Internet Safes Support (SC 39 only) NC6510               Internet Sales SupAort (SC 39 only) NC6510
                                   8740 Research Dr. - t st Floor                           8740 Research Dr. - 1st Floor
                                   Charlotte, NC 28262                                      Charlotte, NC 28262

                                   Account Number: 4386579010234457/300069655                              Parcel Numberi9..~.       41~11.r?H-'t-0~ -o Ir
                        r:---'-''-'=-----&.~/ 7

                                                                             MORTGAGE

                                   THtS MORTGAGE Js n,ade this day July 31, 2001, between the Mortgagor, CAROL W GARRETT,
                                   MARRIED and TERRY LEE GARRETT,                 HER HUSBAND, TENANTS BY THE ENTIRETY and
                                   CLARA WALSH,          SEPARATED whose malling address Is the property address (herein "Borrower"},
                                   and the Mortgagee, First Union National Bank of Delaware, a national banking associaHon organfzed and

                ------             exlsUng under the laws of the United Slates of America, whose address f-S One Rodney Square, 920 Klng
                                   Street, Wllmlngton, DE 19801 (herein "Lender").

                   ---
                 ,..
                                   WHEREAS, Borrower Is Indebted to Lender in the prtnclpal sum of U.S. $75,000.Q0, which indebtedness is
                 g::               evidenced by Borrower's Note dated July 31, 2001 and extensions. modifications and renewals thereof

           .... -   .........-.
                    ;:             (11ereln "Note"), providing for monthly Installments ofprincipal and Interest, with the balarice of lndebtedness,
                                   ifnot sooner paid, due and payable on July 30, 2021 .
           o..,_
           Si .= !:   TO SECURE lo lender the repayment of the indebtedness evidenced by the Note, with Interest thereon; the
    ~ ;; :: ~         payment of all other sums, with Interest thereon, advanced In accordance herewith to protect the security of
    ::i ~ '9 ii ~this Mortgage; and the performance of the covenartts and agreement$ of Borrower herein contained,
    : S : 8 IBorrower does hereby mortgage, grant and convey to Lender, wrth power of sale, the following described
    g., .,. g property localed fn t h e ~ S t a t e of WYOMING:
    .) ...... -
         §~~=                                                    ~
                                                                    I
    1:: 5 :: .; !:!                                         SEE ATTACHED SCHEDULE A
    :z t; ~.;...,
    :i!=!N~=
    ';". ".': :: ~ ::.vhich has the address of 1045 UPPER CACHE CREEK ORNE, JACKSON, WY 83001 and Parcel No.
     ~ :: 5 e- 9---- (herein "Property Address");
     s:1     ~            ......
     :!::g.="'""
    .,, .,, "" "' '"'rOGETHER with all the improvements now or hereafier erected on the property, and all ea·sements, rights,
                     appurtenances and rents all of which shall be deemed fo be and remain a part of the property covered by this
                     Mortgage; and all of the foregoing, together with said property (or the leasehold estate if this Mortgage Is on
                     a leasehold) are hereinafter referred to as lhe "Property.•

                                  Any Rider ("Rider") attached hereto and e,cecuted of even date Is incorporated herein and the
                                  covenant and agreements of the Rider shall amend and supplement the covenants and
                                  agreements of this Mortgage, as If the Rider were a part hereof.

                                  Borrower covenants that Borrower fs lawfully seized o! the eslate hereby conveyed and has the right to
                                  mortgage, grant and convey the PropeftY, and that the Property is unencumbered, except for encumbrances
                                  of record. Borrower covenants that Borrower warrants and WIii derend generally the UUe to the Property
                                  against all claims and demands, subject to enoumbrances of record.

                                  UNIFORM COVENANTS. Borrower and Lender covenant end agree as follows:

                                   1. Payment of Principal and Interest. Borrower shall promplly pay when due the principal-and Interest
                                  indebtedness evidenced by t11e Note. 1111S Mortgage secures payment of said Note according to Its terms,
                                  which are Incorporated herein by reference.

                                   2. Prior f,1ortgages and Deeds of Trust; Charges; Liens. Borrower shall perform all of Borrower's
                                  obligations, under any mortgage, deed of trust or other security agreement with a lien Which has priority over
                                  this Mortgage, .Including Borrower's covenants to ma~e payments when due. Borrower shall pay or cause to
                                  be paid at! taxes, assessments and other charges, fines and impositions attributable to the Property which
                                  may attain a priority over this Mortgage, and leasehold payments or ground rents, if any.

                                   3. Hazard Insurance. a) Borrower shall keep the lmprovements now existing or hereafter erected on lhe
                                  Property Insured against Joss by lire, hazards Included wflhfn Iha term •extended coverage", and any other
                                  hazards, including floods or flood, for which Lender requires Insurance. This insurance shall be maintained
                                  fn the amounts and for the periods that lender requires. The Insurance carrier provld[ng the insurance shall
                                  be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld. If Borrower
                                  falls to maintain coverage described above, Lender may, at Lerider's option, obtain coverage to protect
                                  Lender's rights In tile Property in accordance with paragraph 5.

                                  WVMartl)BijO                                         Page 1               Loan Numben 963 !l881338907/300069555
                                  231338wymtg (Rev 06, 11-00)                                                                                     Appellant's Appendix
                                                                                    Exhibit l                                                        Page 120 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 13 of 90
Appellate Case: 24-8013                Document: 010111048105                                 Date Filed: 05/13/2024                      Page: 121




                                                                                              Include a standard mortgage
           (>) Alf Insurance pollc1es and renewals shall be acceptable to Lender and shaJ
                                  have  the right to  hold the pollclas and renewals .  If Lender   requires, Borrower shall
           clause. Lender shall
                                                  of paid premium   s and renewal notices.   In the  event of loss, Borrower
           prompUy give to Lender an receipts
                                                                                     fTlay make proof of toss If not made
           i,hall gjve prompt notice to the fnsunnce camer and lender. Lender
           prompUy to Borrower .

                                                                                 Insurance proceeds shall be applied lo
           c) Unless Lender and Borrower olherwlse agree in writing,
                                                                                    or repair is economically feasible and
           restoratfon or repair of the Property damaged, if the restoration
                     security Is not lessened  . If the restoration  or  repair  Is not economlcally feasible or lender's
           Lender's
                                       , the Insuranc e proceeds   shall be applied   lo the sums secured by this Security
           security would be lessened
                                                                e><cess   paid  to  Borrowe  r. If Borrower abandons the
           Instrument, wheiher or not then due, with any
                                                                                   that the insurance carrier has offered to
           Property or does not answer within 30 days a notice from Lender
                                                                                          may use the proceeds lo repair or
           setUe a claim, then Lender may col!ect the Insurance proceeds. Lender
                                                  secured   by this Security   Instrume  nt, whether or not then due. The
           restore the Property or to pay sums
           30-day period will begin when the notice is given.
                                                                                              or complete dest!\Jction or damage
           d) Except as provided In subparagraph 3(e) below, should partial
                                                                                           all lns(rume nls evidencing insurance
           occur to the Property, Borrower h!ueby agrees that any and
                                                                                               n, shall be placed In a non-interest
           proceeds received by Lender as a resull of said damage or destructlo
                             account     with  Lender.     At  Lender's  discretion  ,  Lender     may release some or an of the
           beartng escrow
                                                      r presents   lender  with  a receipt(s   ), invoice(s ), wr!Uen estlmates(s) or
           proceeds from escrow after Borrowe
                                                                            to the  repair   and/or  improvem    ents or the Property
           other document(s) acceptable to Lender which relates
                     y  as a result   of said  damage    and/or   destructi on.  Absent     an agreement to the contrary. Lender
           necessar
                                                                                                held In the escrow account My
           shall not be required to pay Borrower any Interest on the proceeds
                                                              repairs  and/or  Improvem     ents   have been made to the Lender's
           amounts remaining In the account a~er an
                                                                                              of Trust, Deed to Secure Debt, or
           satisfaction, shall be applied to tho sums secured by this Deed
                                                                                        endorsing all, checks, drafts and/or other
           Mortgage. Borrower further agrees IP cooperate with Lender by
                                      g insuranc  e proceeds    ; and   any  necessar    y documents. Should Borrower fall to
           Instruments evidencin
                                                              execul/on   within  thirty  (30) days arter Lender sends borrower
           provide any required endorsement and/or
                                                                                            e proceeds, or documenl(s) requiring
           notice that Lender has received an 'nstrument evidencing insuranc
                     's signature ,  Borrowe   r here!>y  authottze  s Lender   to endorse     said instrument and/or document(s)
           Borrower
                                    and   collect and  apply  said  proceeds   at Lender's    option,  either to restoration or repair
           on Borrowers behalf,
                                                              Deed   of Trust,  Deed   lo  Secure   Debt,  or Mortgage. It ts not the
           of Iha Property or to sums seoured by this
                                                                                                  endorsement or execution of an
           Intention of either party that this escrow provision, end/or Lcoder's
                                                                                         fiduciary or agency relatlonship between
           instrument(s) and/or document(s) on behalf of Borrower create a
           Lender and Borrower      .                     •

                                                                                        n of proceeds to principal shall not
            e) Unless lender and Borrower otherwise agree in writing, any applicatio
                                the due date of the monthly  payments  referred to In paragrap h 1 or change the amount of
            extend or postpone
                                              h 15 the Property  Is acquired by Lender.  Borrower  's right to any insurance
            the payments. If under paragrap
                                                                                 to the acquisition shall pass to Lender to
            pollcles and proceeds resulting rrom damage to the property prior
            the extent of the sums secured by this Security Instrument.
                                                                                        Condom iniums; Planned Unit
             4.    Preservation and Maintenance -of Property: Leaseholds;
                      ments.  Borrowe   r shall keep  the Property In good repair and shall not commit waste or permit
            Develop
                                                                                  provisions of any lease if this Mortgage
            impairment or deterioration of the Property and shall comply with the
                                                             In a condomin ium  or a planned unit development, Borrower
            is on a leasehold. If this Mortgage is on a unit
                                                                                or covenants creating or governing I.he
            shaP perfocm all of Borrower's obligations under the declaration
                                                                                    s of I.he condominium or planoed unit
            condominium or planned unlt developmen~ the by-laws and regulation
            development, and constituent documen     ts.

                                                                                the covenants and agreements contained
             5. Protectio n of Lender's Security. If Borrower faffs to perfom'l
                                    any action or proceeding  Is commenc ed   which materially affects Lender's Interest In
            In this Mortgage, or If
                                                      option.  upon noUce   to Borrower , may make such appearances,
            the Property, then Lender, at Lender's
                                                                                  such acllons as Is necessary to protect
            disburse such sums, including reaso,able attorneys' fees, and take
            Lender's Interest.
                                                                              5, with Interest thereon from the date of
            My amounts disbursed by Lender pursuant lo this paragraph
                                                                                of Borrower secured by this Mortgage.
            disbursal, at the Note rate, shall become additional Indebtedness
                                  Lender   agree to other terms of payment. such  amounts shall be payable upon notice
            Unless Borrower and
                                                g payment   thereof. Nothing containe d In this paragraph 5 shall require
            from Lender lo Borrower requestin
            Lender to Incur any expense or take any action hereunde   r.

                                                                                   le enlries upon and Inspections of the
             6. Inspectio n. Lender may mal<e Of' cause to be made reasonab
                                                                                    such Inspection specifying reasonable
            Property, provided that Lender shall give Borrower notice prior lo any
            cause therefore related lo Lendefs lntareslin the Property.

                                                                                  damages, dir,icl or consequenllal, In
             7. Condem nation. The proceeds of any award or cfalm for
                     n with any condemnatlon or other taking of the Property. or part thereof, or for conveyance in lleu of
            coMeclio
                                                                                     to the tenns of any mortgage, deed
            condemnation, are hereby assigned and shan be paid to Lender subject

                                                                      Page 2                 L0311 Nwnt>er: 86J 88813389071300069655
            WY Mortgage
            231336 wymto (Rev oe. 11-00)
                                                                                                                                 Appellant's Appendix
                                                                                                                                    Page 121 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 14 of 90
Appellate Case: 24-8013               Document: 010111048105                            Date Filed: 05/13/2024                    Page: 122



            of trust or other security agreement wUh a flan which has priority over this Mortgage.

             8. Borrower Not Released; Forbearance By Lender Not a Waivor. The Borrower shall remain liable ror
            full payment of the principal and interest on the Nole (or any advancement or obligation) secured hereby,
            notwithstanding any of the following: (a) the sale of all or a part of !he premises, (b) the assumpUon by
            another party of the Borrower's obligations hereunder, (c) the forbearance or extension of time for payment
            or performance of any obllgation hereunder, wJieU,er granted to Borrower or a subsequent owner of the
            property, and (d) the release of all or any part of !he premises securing said obligations or the release of any
            party who assumes payment of the same. None of the foregoing shall In any way affect the full force. and
            effect of the lien of thlS Mortgage or Impair Lender's right to a deficiency judgment (In the event of
            foreclosure) against Borrowet or any party assuming the obligations hereunder, to the extent pem,IUed by
            appHcabte law.

            Ally forbearance by Lender In exercising any right or remedy hereunder or otherwise afforded by appf!cable
            taw, shall not be a waiver of or preclude the exercise or any such right or remedy.

           '9. Successors and Assigns Bound; Joint and Several Llab'lflty; Co-signers. Borrower covenants and
            agrees that Borrower's obl!gatlons and fiabmty shall be Joint end several, However, any Borrower who co-
            signs this Security Instrument but does not e><ecute the Note (a "co-signer"): (a) Is co-signing this Security
            Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the terms of this
            Security Instrument; (b) is nol personally obligated to pay the sums secured by this Security Instrument; and
            (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any
            accommodations with regard to the terms or this Security lnslrument or the Note without the co-signer's
            consent.

            Subject lo the provisions or Section 14, any Successor In Interest of Borrower who assumes Borrower's
            obltgallons under this Security Instrument In Writing, and Is approved by Lender, shall obtain all of Borrower's
            rights and .benefits under this Security Instrument. Borrower shall not be released from Borrower's
            obligations and l!ab~ity under this Security Instrument unless Lender agrees to such release in writing. The
            covenants and agreements of this Security Instrument shall bind and benefit the successors and assigns of
            Lender.

            10. Notice. Except for any notice required under applicable law to be given In another manner, (a} any
           notlca to Borrower provided for in this Mortgage shall be given by delivering it or by maifing such notice by
           first class mall addressed to Borrower or the current owner at the Property Address or at such other address
           as Borrower may designate ln writing by noUce IO Lender as provided herein, and any other person
           personally liable on this Note as these person's names and addresses appear In the Lender's records at the
           time of giving notice and (b) any notice to Lender shall be given by first class ma!I IO Lender's address stated
           herein or to such other address as lender may designate by notice to Borrower as provided herein. Arly
           notice provided ror In this Mortgage shall be deemed to have been given ta Borrower or Lender when given
           In the manner designated herein.

           11. Governing Law; Severability. The state and focal laws applicable to this Mortgage shall be the laws of
           the Jurisdiction In whlch the Property is localed. The foregoing sentence shall not 1/mlt the applicability of
           Federal law to this Mortgage. In the event that any provision or clause of this Mortgage or the Note con"lcts
           with applicable law, such conflicts shall not affect other provlsions of this- Mortgage or the Note which can be
           given effect without the conflicting provision, and to this end the provisions of this Mor1gage and the Note are
           declared to be severable. As used herein •costs•, "expenses" and •attorneys' fees" Include all sums to the
           extent not prohibited by applicable law or limited herein,

           12. Borrower's Copy. Borrower shall be furnished a confonned copy of the Note, this Mortgage and
           Rider(s) al the time of exacullon or after recordallon hereof.

           13. Rehabilitation Loan Agreement, Borrower shall fulfill all of Borrower's obllgal!ons under any home
           rehabilitation, lmprovemen~ repair or other loan agreement which Borrower enters into with Lender. Lender,
           at Lender's option, may require Borrower to execute and deliver to Lender, in a form acceptable lo Lender,
           an assignment of any rights, claims or defenses which Borrower may have against parties who supply labor,
           materials or services In connecl!on with improvements made lo the Property.

           14, Transfer of the Property or a Benoflclal Interest In Borrower, Assumption. As used in !his Section
           14, "Interest in the Property" means any legal or beneficfal interest ln the Property, fnc!udlng, but nol llmited
           to, those beneficial interests transferred In a bond for deed, contract for deed, installment sales contract or
           escrow agreement, the intent of Wflich is the transfer of Utle by Borrower at a future date to a purchaser.

           If all or any part of the Property or BnY Interest In the Property 1s sold or transferred (or If Borrower Is not a
           natural person and a beneficial, Interest in Borrower ls sold or transferred) without Lender's prior written
           consent, Lender may require lmmedlale payment ln full of all sums secured by this Security lnstrumel'\I.
           However, this option shall not be e><ercised by Lender ifsuch exercise is prohibited by federal law.

           If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall proVide a


           WYMarigaoe                                           Pa.ge 3              Loan Number: 963 8881338907/S00069555
           231336 wymtg (Rev 08, 11-QO)                                                                                  Appellant's Appendix
                                                                                                                            Page 122 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 15 of 90
Appellate Case: 24-8013               Document: 010111048105                            Date Filed: 05/13/2024                    Page: 123



                                                                                                                  which
           period of not less than 30 days from the date the notloe Is given In accordance with Secuon 10 within
                                                                                                                pr1or to
           Borrower must pay all sums secured by this SecurUy Instrument. If Borrower falls to pay these sums
                                                                                                                 further
           the expiration of this period, Lender may Invoke any remedies by this Security Instrument without
           notl<:Q or demand  on Borrower.

           NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as foUows:

           15. Default; Acceleration ; Remedies. Upon Borrowers breach of any covenant or agreement of
                                                                                                                       Note
           Borrower In this entire Mortgage, Including the covenants to pay When due any sums under 1he
                                                                                                                    by this
           secured by this Mortgage, Lender, at Lender's option, may declare all of the sums secured
                                                                                                                    of such
           Mortgage to be Immediately due and payable wlfl'lout demand or noUce, notice of the exercise
                                                                                                                     Lender
           option being hereby expressly waived. Lender may Invoke the power of sate hereby granted.
                 have  the right  to enter upon  and   take  possession    of the  property  hereby  conveyed  and  after or
           shaH
                                                                                                                        first
           without taking such possession shan have the right to self the same al public auction for cash, after
           giving notice of lhe lime, place and terms of such sale by publfcatlon once a week for three consecutive
           weeks prior lo said sale, In some newspaper published In said county. and upon payment of the purchase
                                                                                                                          for
           money, the Lender, or owner of the debt and Mortgage, or auctioneer, shall execute to the purchaser
           and In the name of the Mortgagors, a good and sufficient deed to the property sold; the Lender shall apply
           the proceeds of said sale: first, to the expense of adve111s1ng, selflng and conveying said propeny,
                                                                                                                       been
           including a reasonable allomey's fee; second, lo the payment of any amounts that may have
                                    then be necessary    to expend    in paying insurance,  taxes  and other encombrance   s,
           expended or that   may
           with interest thereon; third, to the payment In full of the princfpal Indebtedness and Interest thereon.
                                                                                                                   shall be
           whether the same shall or shall not have fully matured at the date of said sate, but no Interest
                     beyond   the   date of said sale;  and   fourth,  the balance  If any,  shall be paid over to the  said
           oollected
                                                                                                                    may bid
           Borrowers or to whom ever then appears of record to be the owner or said property. The Lender
           and become the purchaser of the mortgaged property al any foreclosure sale hereunder.

           16. Borrower's Right to Reinstate. Notwithstanding Lender's acoeleraUon of the sums secured by lhls
                                                                                                                 this
           Mortgage, Borrower shall have the right to have any proceedings begun by Lender to enforce
                                                                                                                this
           Mortgage discontinued lf: (a) Borrower pays Lender all sums which would be then due under
                                                                                                                  (b)
           Mortgage, tt,ls Note and Notes securing Future Advances, if any, had no acceleration occurred;
                                                                                                             in this
           Borrower cures all breaches of any other covenants or agreements of Borrower contained
                                                                                                                and
           Mortgage; (c} Borrower pays all reasonable expenses Incurred by Lender in enforcing the oovenants
                                                                                                                   In
           agreements of Borrower contained n this Mortgage, and in enforcing Lender's remedies as provided
           Paragraph 15 hereof, inctudlng, but not llmtted to, reasonable atlomey:i• fees; and (d) Borrower
                                                                                                              takes
                                                                                                            interest
           such action, as Lender may reasonably require to assure that the lien of this Mortgage, Lender's
           In the Property and Borrower's obligation lo pay the sums secured by this Mortgage shall continue
                                                                                                            secured
           unimpaired. Upon such payment and cure by Borrower, this Mortgage and the obllgaUons
           hereby shall remain In full force and effect as If no acceleration had occurred.

           17. Assignment of Ronts; Appointmen t of Receiver. As addlllonal security hereunder, Borrower hereby
           assigns to Lender the rents or the P1operty, provided that so long as Borrower Is not In default hereunder.
           Borrower shall, prior to acceleration under paragraph 15 hereof or abandonment or the Property, have
                                                                                                                   the
           right to collect and retain such rents as lhey become due and payable.

           Upon accelerallon end/or foreclosure under para.graph 15 hereof, or abandonment of the Property.
                                                                                                                the
           Lend«, ln person or by agent, shaU be entilled to enter upon, lake possession of end manage
                                                                                                          liable lo
           Property and to collect the rents of the property induding lhose past due. The Lender shall be
           account only for those renls actually received prior to foreclosure safe as provided In paragraph
                                                                                                               15,
                                                                                                             In the
           Lender shall not be liable to account to Borrower or to any other person ctafmfng any Interest
           Property for any rents received after foreclosure.

           18. Loan Charges. If the loan secured by this Mortgage is subject lo a law which sets maximum loan
                                                                                                                or to be
           charges, and that law Is finally interpreted so that the Interest or other loan charges collected
                                                                                                                 shall be
           collected in connection with the loan exceed permitted limits, then: (1) any such loan charges
                                    necessary  to  reduce  the  charge IO  the pennltted nm!I;  and (2) any sums  already
           reduced by the amount
                                                                                                                  choose
           collected from Borrower which exceeded permilted !mils will be refunded to Borrower. Lender may
                                                                                                                        to
           to make tnis refund by reducing the princlpal owed Under the Note or by malling a direct payment
                                                                                                                   Note.
           BorTOwer. If a refund reduces principal. the reduction wUI be treated as a partial prepayment under the

                                                                                                                    e[ther of
           19. Legislation. If. after the date hereof, enactment or expiration of appffcable laws have the effect
                      the provisions of the Note, the Mortgage   or any  Rider, unenforceabl e according  to their tenns,  or
           rendering
                                                hereby  uncolfectlble, as otherwise provided In this Mortgage  or  the Note,
           all or any part of the sums secured
           or of diminishing the value of Lendets security, then Lender, at Lenders opUon, may declare all sums
           secured by the Mortgage to be Immediately due and payable.

                                                                                                                  property
           20. Satisfaction. Upon payment ci ell sums secured by this Mortgage, the conveyance of the
                                                                                                                     shall
           pursuant to this Mortgage shall become null and void and Lender shall release this Mortgage. Borrower
                            recordallon, If any. Lender. at Lenders option, may allow a partlaf release of the Property on
           pay all costs of
           terms acceptable to Lender and Lender may charge a release fee.



           WYMO<lgage                                            Pag&4                Loan NUIT)bor. 963 8881 "8907/3000696 55
           231336 wymlg (flev 06, 11-00)                                                                                 Appellant's Appendix
                                                                                                                            Page 123 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 16 of 90
Appellate Case: 24-8013               Document: 010111048105                          Date Filed: 05/13/2024                  Page: 124



                                                                                     rights under and by Vfrtue or the
           21. Warver of Homestead. Borrower t!eteby releasing and waiving an
                                                                                       and courtesy in the Property.
           homestead exempHon laws of this State, and relinquishes all rights or dower

                                                                                              use, disposal, storage. or
           22. Hazardous Substances. Booower shall not cause or permit the presence,
                                                                                      not do, nor allow anyone else to
           release of any Hazardous Substances on or In the Property. Borrower shall
                                                                                      ntal Law. The preceding two
           do, anything affecting the Property that ls in vlolatloo or any Environme
                                                      use, or storage on the Property of small quantities of Hazardous
           sentences shall not apply to the presence,
                                                                                            uses and to maintenance of
           Substances that are generally recognized lo be appropriate to normal residential
           the Property.

                                                                                        claln1, demand, lawsuit, or other
           Borrower shall promptly give Lender written notice or any lnvesl!gat!on,
                                                                                                  the Property and any
           action by any govemmenlal or regulatory agency or private party Involving
                      s  Substanc  e     Environmental Law  of which  Booower      has   actual knowledge. If Borrower
           Hazardou                   Of
                                                                                         removal, or other remediation of
           learns, or Is notified by any governmental or regulatory authority, tllat any
                                                                                        shall promptly take all necessary
           any Hazardous Substance affecting the Property Is necessary, Borrower
           remedial acllons in accordance with Environmental Law.
                                                                                              s defined as toxic or
           As used In this paragraph 22, "Hazardous Substances" are those s1Jbstance
                                                                                       s: gasollne, kerosene, other
           h112:ardous subslances by Environmental Law and the following substance
                                                                                      , volatile solvents. malerlals
           flammable or toxic petroleum products, toxic pesticides and herbicides
                                                yde,   and  radioactive materials. As used fn this paragraph 22,
           containing asbestos or formaldeh
                                                                                        the Property Is located that
           "Erwfronmen!al law" means federal laws and laws of the Jurisdiction where
           relate to health, safely, or envlronmenlel protection.

                                   REQUES T FOR NOTICE OF DEFAULT AND FORECLOSURE
                                    UNDER SUPERIOR MORTGAGES OR DEEDS OF TRUST

                                                                                         or other encumbrance with a lien
            Borrower end Lender request the holder or any mortgage, deed of lrust
                  has  priority over this Mortgage  to give Notice to Lender, at Lendets  address set forth on page one of
            which
                                           under the superior encumbra  nce and  of any sale or other foreclosure action.
            this Mortgage, of any default




                                                                Pages                Loan Number: 963 8881338907/300069655
            WY Mortgage
            231336 W)'mtg lRcv 06. 11-00)
                                                                                                                     Appellant's Appendix
                                                                                                                        Page 124 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 17 of 90
Appellate Case: 24-8013                Document: 010111048105                           Date Filed: 05/13/2024                   Page: 125



            IN WITNESS WHEREOF, Borrower has executed this Mortgage and adopted as his seal the word ('SSAL")
            appeartng beside his name.

            Signed. sealed and delivered In the presence of:




                    -~   ~
                     ........               ....M<=¢Jl....,,,_'-"'--_JSEALJ
                         Rv=-"'e~--A=R-RE-~~<t


                   ,,,.:.d£~~--=L.-=..-tq,A..l,C,J,L;)CL4/l""":c..=~"_     _.(SEAL]
                 .,,,,.CLARAWALSH




                                          &::~pace
                                                el.ow This Line For Acknowledglng]
            STATE OF-W't'OMiNO f ~

           COUNTY OF           §aa,,me,
           Toe foregoing instrument was acknowle~:~rt.before me~ROL W G ~ .ind TERRY LEE
           GARRETT and CLARA WAL.SH , fhis '/f fday of          /     ,  .

           WITNESS my hand and officl


           Signature: C...~~~:;&;~....::,,e:.4 :::::::.~:..e.'.:4~'.!...:::=- (SEAL)

           My Commission Explres: /2-~?/-.___-__,_-'....._....,,.L-~---




           WY Moftgage                                                   Page$        Loan Numl>ar. 963 8881338907/300069655
           231336 wymt9 (Rev o~, 11-00)                                                                                 Appellant's Appendix
                                                                                                                           Page 125 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 18 of 90
Appellate Case: 24-8013               Document: 010111048105                         Date Filed: 05/13/2024                      Page: 126




                                      PRIME EQUITY LINE RIDER

            PEL Account NI.Imber; 438657901023 ~57


            THIS PRIME EQUITY LINE RIDER Is made this day July 31, 2001 and Is incorporated Into and shall be
            deemed to amend and supplement the Mortgage, Deed of Trust or Security Deed (the •security
            lnstrumenn of the same date given by the undersigned (the "Mortgagor') to secure the Prime Equity Line
            Agreement and Disclosure Statement executed by the Mortgagor of lhe same date (said Agreement is
            referenced In the Security Instrument and this Rider as "Note") to First Union Natrona! Bank of Delaware,
            (the "Lender") and covering the property described In the Security Instrument and located at


                                    1045 UPPER CACHE CREEK ORNE, JACKSON, WY 83001
                                                     Property Address


            ADDITIONAL COVENANTS
            In add!Uon to the covenants and agreements made In the Security Instrument, Mortgagor and Lender
            further covenant and agree to the following additional terms and condlllons:

            1.       Adjustable Rate
                    The Security Instrument seGures a Note that prov1des for changes in lhe Interest rate, es more
                    particularly described In said Note.

            2.       Amendments to the Securtty Instrument Maturity Date
                     The second paragraph on page one of the Security Instrument Is deleted In Its entirety and shall
                     read as follows:

                    "The Lender has made a loan to Mortgagor the maximum indebtedness at any one time shall not
                    exceed $75,000.00 which loan is an open-end llne of credit as evidenced by Mortgagor's Note
                    and extensions, modifications and renewals thereof which provides for obllgatory advances of all
                    or part of the loan proceeds from time to lime. subject to provisions In lhe Nole. The entlre
                    Indebtedness evidenced by the Note, If not 11ooner pald, will be due and payable on July 30,
                    2021."

                     Paragraph 20 or the Security Instrument shall be deleted In Its entirety and read as follows:

                     "When the balance of all outstanding sums including finance charges and other charges. If any,
                     secured by the Security Instrument Is zero, the Lender shall upon request of the Borrowe.r.
                     release the Security Instrument. Borrower will pay all recordallon costs, If any. Absent a request
                     from the Borrower, the Security Instrument shall remain In full force and effect for the term set
                     forth above. Lender, at lender's option, may allow a partial release of the Property on terms
                     acceptable to Lender and Lender may charge a release fee.•

            3.       Obligation to Lend
                     Lender Is absolutely oblfgated under the terms of the Note to make advances nol to exceed, at
                     any one lime in the aggregate, the amount stated In the Nole end Mortgagor hes agreed to repay
                     any advances under the terms of the Note. Lender's absolute obUgation to make advances to
                     Mortgagor under the Note ends when lender terminates tha right to make advances and
                     demands repayment of the outstanding obligation or prohibits additlonal extensions of credit
                     under the Note or the Security Instrument Nevertheless, lender may waive the right to terminals
                     or prohibit additional advances. If Lender does not terminate or prohibit additional advances,
                     Lender remains obligated to make advances to Mortgagor under Iha terms of the Nole. However.
                     that waiver does not bind Lender If the same or a different event occurs or is cont!nuing at a later
                     time.

            4.       Note Provisions • Conflict
                     In case of a conflict between the terms of the Note and Iha Security lnslrumet\t governing
                     remedies ot default or termination of advances, the terms of the Note shall control.




                                                                Paget                                                Appellant's Appendix
                                                                             Lo;in Number. 963 8881338907/438657901023'-'157
            WY PEL Rider
            231340 wyprid (Rov 04. 11-00)                                                                                   Page 126 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 19 of 90
Appellate Case: 24-8013                 Document: 010111048105                        Date Filed: 05/13/2024                  Page: 127




                                                                                                       In this Rider.
           By signing below, Mortgagor accepts and agrees to the terms and conditions contained




                    T~G~~                                             [SEAL]



                     CwJ       7;J. ~ 5 ' z / m A L J
                    CAROL W GARRETT


                  t~,1 1,;~ ,                                         (SEAL]
             ~LAR A WALSH




                                              (Space Below This Line For Acknowleclglr,g]

            STATE or W'(8MIPf9                ~
            COUNTY OF         ,dk.iltfl,                   ) ss
                                                           )

            The foregoing instrument was acknow1'.;9J~t,.efore ~ERR Y LEE
                                                     Toay of      '
                                                                                            :WEJ"  .
                                                                                                         and CAROL W
            GARRETT and CLARA WAl.SH , this

            WITNESS my hand and offlclal seal


            Signature:                                                          (SEAL)




                                                                  Pago2                                               Appellant's
                                                                               Loan Number. 963 8881338007/4388S7Q010234457       Appendix
            WY PEL Rider
            2-31340 wyprid (Rey 04, 11--00)                                                                             Page 127 of 281
                                                                                                                                                    Appellate Case: 24-8013
                                                                                                                                                                              Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 20 of 90
                                                                                                                                                    Document: 010111048105
                                                     Legal Description
All that certain parcel of land situated in CITY OF JACKSON being known as All that certain property situated in CITY OF '
JACKSON in the counfy of TETON and state of WYOMING and being described in a deed dated 08/21/1986 and recorded                                ..
08/26/1986 inbook 180 page 562 among the land records of the county and state set forth above and referenced as follows: PART
OF LOT 9, RIDGE ADDffiON, PLAT 562 Parcel ID Number. 22-41-16-34-4-02-018 and being more fully descnbed in Deed
Book 180 Page 562 recorded on 08/26/1986 among tb.e land rewrds of TETON County, WY.
Parcel ID Number: 22-41-16-34-4-02-018




                                                                                                                                                    Date Filed: 05/13/2024
                                                                                                                                                    Page: 128
                                                                                                                        Appellant's Appendix
                                                                                                                           Page 128 of 281
                                                                          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 21 of 90
                             Appellate Case: 24-8013                                                                           Document: 010111048105                                                                                         Date Filed: 05/13/2024                                              Page: 129

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          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 22 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 130
                                                       ·-·-·-·. ····- - - --------------..




                                                                     Appellant's Appendix
                                                                        Page 130 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 23 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 131




                                                                     Appellant's Appendix
                                                                        Page 131 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 24 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 132




                                                                     Appellant's Appendix
                                                                        Page 132 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 25 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 133




                                                                     Appellant's Appendix
                                                                        Page 133 of 281
                              Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 26 of 90
               Appellate Case: 24-8013                                          Document: 010111048105                                                   Date Filed: 05/13/2024                                                         Page: 134


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                    Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 27 of 90
          Appellate Case: 24-8013           Document: 010111048105          Date Filed: 05/13/2024     Page: 135



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                                                                                              Appellant's Appendix
                                                                                                 Page 135 of 281
           Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 28 of 90
Appellate Case: 24-8013          Document: 010111048105                Date Filed: 05/13/2024                Page: 136

                                                                                 GRANTOR: TETON COUNTY SHERIFF
                                                                                 GRANTEE: CALDWELL, JOHN
                                                                                 Doc 1056038 Filed At 15:21 ON 03tZ2fl3
                                                                                 Maureen Murphy Teton County Clefk fees: 33.00
                                                                                 By Kellie Dickerson Deput~ Cieri<
                                      CERTIFICATE OF PURCHASE

            !r Mary L. Faulkner, being duly sworn and of legal age, hereby certify that I am the Civil Process
        & Warrant Specialist in the Sheriff's Office.ofTeton County, Wyoming, and further state:


        1. I conducted a.public sale on the 1611' day of March, 2023, commencing at or aboutthe hour of 10:00
        a.m. on the front steps of the Teton County Courthouse, 1so·s. King Street, Jackson, Wyoming, for the
        property described below:

                   Beginning at the southeast comer ofsaid Lot 9, thence N0O degrees 12 minutes 14 seconds
                   W, 149.91 feet to a point; thence NSI degrees 13 minutes 19 seconds W, 84.46 feet to a
                   point; thence N66 degrees 53 minutes 11 seconds W, 73.0 feet to a point; thence S41
                   degrees 21 minutes 23 seconds W, 173 .0 I feet to a point; thence S67 degrees 42 minutes
                   35 seconds B, 267.84 feet to the point of beginning.
                   Property commonly known as I 045 Opper Cache Creel<. Drive, Jackson, WY.


       2. That such sale was conducted after an Affidavit of Service of Written Notice oflntent to Foreclose
       Mortgage was sent by certified mail, return receipt requested, to the last known ·address ofthe record
       owner and the person in possession of said property at least ten days prior to commencement ofthe first
       publication oftbe foreclosure sale notice, as shown by the affidavit attached hereto as Exhibit "A".


       3. That such sale was conducted after a Notice ofForeclosure Sale was published in a newspaper of
       general .circulation in Teton County, Wyoming, once per week for four cons,ecutive weeks, giving the
      . time, place and conditions of such sale as evidenced by the Attorney's Affidavit and Proof of
       Publication attached hereto as Exhibit "B".

       4. That the sum of $2969.26 is to be paid to The Sayer taw Group, P.C., the attorneys for the
       Mortgagee, as compensation for service actually rendered In the foreclosure proceeding, said attorneys
      having made an affidavit as required by the statutes ofthe State of Wyoming, a copy of said Affidavit
      ofAttorney attached hereto as Exhibit "C".


      5. The highest bidder at such sale was John Caldwell and Joan Schank ("Purchaser''), and the amount
      bid for the Foreclosed Property was $825,000.00 ("Purchase Price").


      6. Pursuant to Wyo. Stat.§ 1-18-102, the Purchaser is entitled to a deed for the Foreclosed Property
      at the expiration of the period of redemption unless the Foreclosed Property is redeemed prior to that




                                                                                        Exhibit 3
                                                                                                   Appellant's Appendix
                                                                                                      Page 136 of 281
           Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 29 of 90
Appellate Case: 24-8013           Document: 010111048105                   Date Filed: 05/13/2024       Page: 137




         date as provided by law. The period in which the Mortgagor bas the right to redeem the Foreclosed
         Property is three (3) months after the date of the foreclosure sale.




              DATED this 23nlday ofMarch, 2023.




                                               Matt Carr, Sheriff in and for .
                                               Teton Cotmty, State of Wyoming




                                               ML.Fuiner
                                               Civil Process & Warrant Specialist
                                               Teton County Sheriff'~ Office·




    STATE OF WYOMING)
                                       ) ss.
    COUNTY OF TETON)

    The foregoing instrument was acknowledged before me on the z3n1 day of March, 2023 by Maiy L. Faulkner
    as Civil Process & Warrant Specialist, in the Sheriffs Office of Teton County, Wyoming.


    (Seal, ifany)
               JILL CALI.AWAY
              NOTARY PUBLIC                                    Signature of notarial officer   ~
            STATE OF WYOMING
           COMMISSION 10: 140876
      Mi COMMISSION EXPIRES: 07/31/2028                           )if~ -hJ'-1                  -
                                                               Title of notaifai officer

    My commission expires:[-/~, f~<Y
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                                                                                               Appellant's Appendix
                                                                                                  Page 137 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 30 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 138




                                                                     Appellant's Appendix
                                                                        Page 138 of 281
                            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 31 of 90
     Appellate Case: 24-8013                          Document: 010111048105                                                             Date Filed: 05/13/2024 Page: 139
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                                                                                                                                                                            Page 139 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 32 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 140




                                                                     Appellant's Appendix
                                                                        Page 140 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 33 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024   Page: 141
                                                                                        Appellant's Appendix
                                                                                           Page 141 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 34 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 142




                                                                     Appellant's Appendix
                                                                        Page 142 of 281
                           Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 35 of 90
        Appellate Case: 24-8013                           Document: 010111048105                                    Date Filed: 05/13/2024                          Page: 143

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                                                                                                                                                       Page 143 of 281
                                                                           Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 36 of 90
                  Appellate Case: 24-8013                                                                                                            Document: 010111048105                                                                                                             Date Filed: 05/13/2024                                                                                                                                       Page: 144

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                                                                                                                                                                                                                                                                                                                                                                                                               Page 144 of 281
           Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 37 of 90
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024               Page: 145

                                                                        GRANTOR: TETON COUNTY SHERIFF
                                                                        GRANTEE: CALDWELL, JOHN
                                                                        Doc 1063792 Filed At 14:04 ON 07n,Of23
                                                                        Maureen Murphy Teton County Clerk fees; 15.00
                                         SHERIFF'S DEED                 By Kellie Dickerson Deputy Clerk


            KNOW ALL MEN BY THESE PRESENTS, that I, Mary L. Faulkner, being duly sworn
     and of legal age, hereby certify that I am Civil Process & Warrant Specialist for the Sheriff of
     Teton County, Wyoming, and that the Teton County, Wyoming Sheriff's Office conducted a
     public sale on the 16 day of Mard1, 2023, commencing at or about the hour of 10:00 a.m. on the
    front steps of the Teton County Courthouse, 180 South King Street, Jackson, Wyoming, of the
    property described below that was encumbered by a Mortgage dated July 31, 2001 (the
    "Mortgage"), given by Carol W. •Garrett, married and Terry Lee Garrett, her husband, tenants by
    the entirety and Clara Walsh ir~favor of First Union National Bank of Delaware ("Mortgagee''),
    recorded in the records of the Te~on County, Wyoming Clerk on August 24, 2001, as Instrument
    No. 0549832, in Book 432, at page 403 that encumbers th~ property described below (the
    "Foreclosed Property''):


           Lot 9A, The Ridge Subdi-✓ision.


           Property commonly knowo as l045 Upper Cache Creek Drive, Jackson, WY.



           On March 23, 2023, the Teton County, Wyoming Sheriffs Office issued a Certificate of
    Purchase for 1045 Upper Cache Creek Drive, Jackson, WY to John Caldwell and Joan Schank,
    which made the highest bid for the Foreclosed Property at the foreclosure sale. The Certificate
    of Purchase for the above property was recorded in the records of the Teton County, Wyoming
    Clerk as Document Number 1056038.

           All redemption periods for the Foreclosed Property have expired without the Foreclosed
    Property being redeemed, and John Caldwell and Joan Schank are, therefore, entitled to a deed to
    the Foreclosed Property.

           NOW, THEREFORE, KNOW ALL MEN BY THIS DEED, that I, Mary Faulkner, Civil
    Process & Warrant Specialist for the Sheriff of Teton County, Wyoming, in consideration of
    the premises, have granted and sold and do hereby convey to John Caldwell and Joan Schank,
    its successors and assigns, whose address is I 045 Upper Cache Creek Drive, Jackson, WY, the


                                                                                              Exhibit 4
                                                                                            Appellant's Appendix
                                                                                               Page 145 of 281
           Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 38 of 90
Appellate Case: 24-8013           Document: 010111048105             Date Filed: 05/13/2024      Page: 146




     Foreclosed Property, to have and to hold the described premises, with all appurtenances, to John
     Caldwell and Joan Schank, its successors and assigns, forever.

            IN WITNESS WHEREOF, the undersigned has caused this Sheriffs Deed to be executed
     and delivered on the 19th day of July 2023.

                                           Matt Carr1 Sheriff in and for
                                           Teton County, State of Wyoming




                                           By=' t J Z ~
                                           MaryL. fau
                                                               bJ, 'iadka..1
                                           Civil Process & Warrant Specialist
                                           Teton County Sheriffs Office




     STATE OF WYOMING                      )
                                           ) ss.
     COUNTY OF TETON                       )

    The above and foregoing Sheriffs Deed was acknowledged before me on the 19th day of July
    2023 by Mary Faulkner as Civil Process & Wa.nant Specialist for the Sheriff of Teton County.
    Wyoming.

    (Seal, if any)
     LYNDA KAYE RUDOLPH • NOTARY PUBLIC
       County ot   ~         State of
         Teton     ~ WyoJ11ing
     My Commission Expires;;,/a '4:,at.J
                                                   ~P
                                                   Signate      ' 4er~ ~
                                                           of notarial~

                                                   AiM,l'\\"':>n-nbV< A~~\~\-4,d-
                                                   Title of notarial officer

    My commission expires: ;;;>/.> / ~'-{




                                                                                        Appellant's Appendix
                                                                                           Page 146 of 281
                  Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 39 of 90
Appellate Case: 24-8013             Document: 010111048105                                  Date Filed: 05/13/2024     Page: 147




                                                   SALIENT FACTS



             l. Physical Address:                          1045 Upper Cache Creek Dr
                                                           Jackson, WY 83001

            2. legal Description:                          Lot 9A, The Ridge
                                                           Teton County, Wyoming

             3. PION:                                       22-41-16-34·4·02·018

            4. Property Type:                              Single-Family Residential

            5. Site Area:                                  0.75 acres

            6. Owner of Record:                            Caldwell, John & Schank, Joan

            7. Date of Value:                              August 25 , 2023

            8. Inspection Date:                            August 25, 2023

            9. Signature Date:                             September 19, 2023

            10. Value:                                     Fair Market Value

            11. Estimated Value Opinion:                   $2,900,000




                                                                                                       Exhibit 5


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    T,tan Va/1,y ApprafJ1J/s               J04S Upp,r Coch, Ci'l!tk Dr, Juckroo, WY 83001

                                                                                                              Appellant's Appendix
                                                                                                                 Page 147 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 40 of 90
Appellate Case: 24-8013       Document: 010111048105                                Date Filed: 05/13/2024     Page: 148




                                        SUBJECT PROPERTY




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                                                                                                      Appellant's Appendix
                                                                                                         Page 148 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 41 of 90
Appellate Case: 24-8013         Document: 010111048105                                  Date Filed: 05/13/2024     Page: 149




                                         Teton Valley Appraisals
                                       PO Box 137 . V1ctor. ID 83455. 208_399.9099




     September 18, 2023


     Austin Dunlap
     Kearney, McWilliams & Davfs, PLLC
     PO Box 4803
     Jackson, WY 83001

     At your request, an Appraisal Report has been developed of the estimated fair market value of
     the home located at 1045 Upper Cache Creek Drive in Teton County, Wyoming, as of the
     effective date of August 25, 2023 for litigation purposes. Additional Intended Users .of this
     report include Carol & Terry Garrett.

     The research and analysis outlined in this report, resulted in an opinion of fair mat:ket value of
     the subject real estate, as of the effective date of the appraisal, August 25, 2023 of:

                              Two Mllllon Nine-Hundred Thousand Dollars
                                                   ($2,900,000)

    The stated value opinion has been prepared in accordance with IRS Form 8283 for noncash
    charitable contributions, subject to the stated scope of work, purpose of the appraisal,
    reporting requirements of this report form, certain assumptions and limiting conditions,
    certifications and the definition of fair market value. The attached appraisal presents summary
    discussions of the data, reasoning, and analyses used in the appraisal process to develop the
    opinion of value. Supporting documentation that is not provided with the report concerning the
    data, reasoning, and analyses is retained in the appraiser's work file.

    If you should have any questions regarding the attached appraisal report, please contact our
    office at (208) 399-9099. Thank you and we appreciate the opportunity to provide you with our
    appraisal services.



    Sincerely,


      ~~
    Gena Howald
    Certified Residential Appraiser




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                                                                                                          Appellant's Appendix
                                                                                                             Page 149 of 281
                 Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 42 of 90
Appellate Case: 24-8013        Document: 010111048105                                Date Filed: 05/13/2024     Page: 150




      INTENDED USE AND INTENDED USER(S)
     The Imended Use of the appraisal is to develop a fair market value opinion of the real property
     located at 104S Upper Cache Creek Drive in Jackson, Wyoming as of August 25 1 2023 for
     litigation purposes. Additional Intended Users include Carol & Terry Garrett.

     SCOPE OF WORK
     An exhaustive volume of data is gathered and analyzed in order to derive at a supportable fair
     market value conclusion for the subject property. The appraiser has performed a complete
     visual evaluation of the property. The interior of the home is observed with the exception of
     attic and crawl space areas; as well as an observation of the subject exterior and yard and
     property boundaries, followed by reviewing the subject plat/survey map and the Teton County
     GIS. The subject property is measured. The measurements for the subject property comply with
     ANSI Standards 2765-2021 . The gross living area is considered all square footage contained
     within the existing structure based on exterior measurements . In an effort to determine the
     extent of the improvements made to the home over the years and the amount of associated
     depreciation, I have interviewed the original builder of the subject property, Michael Melf.

     The subject neighborhood is also observed in order to determine the characteristics and market
     appeal of the area in order to obtain the appropriate comparable sales and listing data.
     Comparable properties that are geographically, physically, functionally and economlcally similar
     to the subject property, reflecting current buyer and seller actions were researched and
     considered. If prior access to comparable properties was not obtained, an Inspection of the
     comparable from at least the street was performed, and the listing agent, selling agent or both
     were contacted in order to confirm the sale and to discuss the property and any terms or
     concessions associated with the sale. Appropriate adjustments (if any) were applied to the
     sales to reflect market reactions/conditions as of the effective date of the appraisal. The
     appraiser relies on closed sales information to develop an opinion of current market value;
     however, In a declining market or a market that Is not stable, active and pending sales
     information must also be considered as these properties portray current market activity, and
     indicate market trends.

    All Information, estimates and opinions furnished to the appraiser and contained in this report,
    are obtained from a variety of sources, which include the followlng: county records, Teton
    County Multiple List Service, real estate agents, colleagues, bankers, building contractors and
    property owners. These sources are considered reliable, and deemed to be true and correct.

    There are 3 approaches to determining the market value of an improved property: l) the Sales
    Comparison Approach 2) the Cost Approach and 3) the Income Approach. The Sales
    Comparison Approach is the most reliable methodology for determining market value in the
    current real estate climate. If any approach is not utilized, the reason for its ex clusion is
    summarized in the corresponding addendum.

    The appraiser is a member of the Teton MLS, which is the leading source of listed and sold
    properties throughout Teton County, Wyoming . The appraiser possesses the required
    geographic competency and extensive knowledge of the market, its varied housing segments
    and buyer profiles involving both the resort and non-resort properties throughout the Teton
    Valley market. Additionally, the appraiser has developed an extensive network of real estate
    professionals to include realtors , developers and builders to recognize evolving market trends
    and to accurately interpret and report buyer and seller behavior in the Jackson real estate
    market.




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                                                                                                       Appellant's Appendix
                                                                                                          Page 150 of 281
                  Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 43 of 90
Appellate Case: 24-8013         Document: 010111048105                                Date Filed: 05/13/2024     Page: 151




     HIGHEST AND BEST USE ANALYSIS
     Highest and Best Use is generally defined as: The reasonably probable and legal use of vacant
     land or an improved property that is physically possible, appropriately supported, and
     financially feasible and that results in the highest value.
     - The use of the real estate existing as of the date of the value is single-family residential.
     - The use of the real estate reflected in the appraisal is single-family residential.
     - The subject property is located in a neighborhood that exhibits residential improvements only,
     which reflect extensive remaining economic life, surrounded by established residential housing
     and subdivisions, and void of any commercial or Industrial development.
     - The zoning establishes the highest and best use of the land for residential use. The land as
     though vacant, is most suitable for a residential property, based both on its size and location in
     the market.
     - The highest and best use of the subject property is single-family residential.

     SUBJECT PROPERTY ANALYSIS
     Current Owner
     Caldwell, John & Schank, Joan

     3-Year Sales History/Current Listings
     Per Teton County Sheriff Deed #1063792, the subject transferred 07/20/2023 from Teton
     County Sheriff to Caldwell, John & Schank, Joan. A Certificate of Purchase of the subject
     property was documented on 03/22/2023 of the public sale of the subject property to the
     highest bidders John Caldwell and Joan Schank in the amount of $825,000.

     Legal Description
     lot 9A, The Ridge

     Plat Map No.
    00562

    Year Built
    1987

    Parcel Identification No.
    22-41-16-34-4-02-01 8

    2022 Taxes
    $9,865.00

    Site Size
    0. 75' acres

    Zoning
    NL-1

    Zoning Description
    General Intent: The intent of the Neig_hborhood Low Density-1 (NL-1) zone is to provide for
    places with enough open space and sufficient lot size to provide a predominance of landscape
    and yards over buildings. Buildings and development should be oriented to respect steep
    slopes, preserve open space, and provide for wildlife movement through the property. This
    zone is intended for Stable neighborhoods where increased residential density is not intended.
    Land Use: Single-family detached homes, accessory structures, and ARUs are the primary land
    uses.




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                                                                                                        Appellant's Appendix
                                                                                                           Page 151 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 44 of 90
Appellate Case: 24-8013          Document: 010111048105                                  Date Filed: 05/13/2024     Page: 152




     Description of the Land & Existing Site Impr ovements

      • Site - Conditions or External Factors
     The subject site size and characteristics are compatible with the neighborhood. The site
     has been through a lot split. It is irregular in shape and 0.75-acres in size. It is accessed via
     a shared asphalt driveway with the adjacent Lot 98. An official easement was recorded
     01/31/2020, per Easement Document #09904 14. The subdivision is located on a hillside
     and the lot is sloping with mature, forested trees surrounding the property and a filtered
     view of the Teton Mountain Range to the north. The subject is connected to the City of
     Jackson water and sewer. There is no lawn or landscaping. The sit e exhibits adequate
     drainage. Seasonal variations may occur, and subsurface drainage conditions are unknown.

     I have checked land records that are available through the Teton County Assessor's office
     online, for recorded adverse easements , encroachments, special assessments,
     enviro nmental conditions, slide areas, etc. t hat may affect the value of the subject, and no
     adverse documents were associated with the subject. Unless otherwfse noted, standard
     utility and right-of-way easements are insignificant to value.

     The appraiser did not observe t he presence of any hazardous material. The appraiser has
     no knowledge of the existence of such material(s) on or in the property. The appraiser,
     however, is not qualified to detect such substance(s). The value estimate is predicated on
     t he assumption that there are no adverse materials or environmental conditions associated
     with the property that t he appraiser could not observe that would cause a loss in value. No
     respons ibility is assumed for such conditions, or for ex pertl se or engineering knowledge
     required to discover them.              •

                                            SUBJECT PHOTOS




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                                                                                                           Appellant's Appendix
                                                                                                              Page 152 of 281
                 Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 45 of 90
Appellate Case: 24-8013        Document: 010111048105                              Date Filed: 05/13/2024     Page: 153




     Dining Area




    Living Room, Photo #2




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                                                                                                     Appellant's Appendix
                                                                                                        Page 153 of 281
                  Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 46 of 90
Appellate Case: 24-8013         Document: 010111048105                            Date Filed: 05/13/2024     Page: 154




      Primary Bedroom




    Hall ¾ Bathroom




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                                                                                                    Appellant's Appendix
                                                                                                       Page 154 of 281
                 Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 47 of 90
Appellate Case: 24-8013        Document: 010111048105                                 Date Filed: 05/13/2024     Page: 155




     Bedroom




     Bedroom

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    Bathroom




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                                                                                                        Appellant's Appendix
                                                                                                           Page 155 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 48 of 90
Appellate Case: 24-8013       Document: 010111048105                              Date Filed: 05/13/2024     Page: 156




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                                                                                                    Appellant's Appendix
                                                                                                       Page 156 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 49 of 90
Appellate Case: 24-8013                                 Document: 010111048105                                             Date Filed: 05/13/2024                                                             Page: 157




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    Teton Valley Appraisals                                                104S Upprr Cache Crr,ck Dr,Ja<loon, WY 83001

                                                                                                                                                                                   Appellant's Appendix
                                                                                                                                                                                      Page 157 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 50 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 158




                                                                     Appellant's Appendix
                                                                        Page 158 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 51 of 90
Appellate Case: 24-8013       Document: 010111048105                            Date Filed: 05/13/2024     Page: 159




                                   AERIAL MAP ADDENDUM




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                                                                                                  Appellant's Appendix
                                                                                                     Page 159 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 52 of 90
Appellate Case: 24-8013         Document: 010111048105                                  Date Filed: 05/13/2024     Page: 160




     DESCRIPTION OF PROPERTY BEING APPRAISED
     The subject is a 2,490sf, 2-story home with a 783sf. built-in garage below a 330sf unfinished
     attic. The home was constructed In 1987 and features original finishes throughout to include:
     Oak hardwood floors in the living room, vaulted tongue and groove wood ceilings and walls,
     pellet stove, Linoleum kitchen flooring, original Oak cabinets and Formica countertops, tile hall
     floors, tiled showers, carpeted upstairs bedrooms, combination electric baseboard and Cadet
     wall heat units, wood casement windows, hollow core interior doors.

     The home has been well maintained and features limited physical deprecation due to normal
     wear and tear. Major components associated with the home have yet to require replacement,
     and it appears any items of repair have been addressed in an ongoing basis. The estimated age
     of the home is less than its actual age.

     The attic space over the garage, is not finished. (See attached photo) Therefore, it is not
     included in the GLA. (gross living area)

     DESCRIPTION OF IMPROVEMENTS - PROPERTY CONDITION
     The home has been very well maintained and features limited physical depreciation due to
     normal wear and tear. The estimated effective age is less than its actual age at
     approximately 18 years. The home requires staining and the front deck is i n disrepair.

     DEPRECIATION
     Depreciation is a decrease or a loss in value due to any cause. The primary sources of
     depreciation include age, wear and tear, and/or market conditions. An appraiser determines the
     improvements actual age (the number of days or years that have lapsed since the completed
     construction of the improvement) and the effective age (the actual age minus the condition and
     utility of an improvement or building, whlch is based upon the appraiser's knowledge of market
     perceptions and judgement.) Effective age is relative to other properties that perform the same
     function.

     An appraiser must also take into account:
        • Curable Physical Deterioration (deferred maintenance items such as a hole in a door or
           cracked windows)
        • Incurable Physical Depreciation (short-lived items, components that are ex pected to have
           a shorter remaining life than the actual structure, such as roof coverings, floor
           coverings, appliances, etc. Long-lived items are expected to have the same remaining
           useful life as the actual structure such as wall studs, foundation, insulation, etc.)
        • Curable Functional Obsolescence is observed when a structure is deficient in something
           that is common throughout properties in a particular market area, or when a property
           possesses either a substandard item compared to other market properties or it may be
           defective and require an addition or modernization.
        • Incurable Functional Obsolescence involves greater costs to replace an unacceptable or
           outdated component of the structure than the anticipated increase in value (a deficiency
           or superadequacy).

    The subject property was originally constructed in 1987, possessing an actual age of
    approximately 36 years. I estimate the effective age of the home is approximately 18 years. 1
    did not observe any signs of curable or incurable physical depreciation or any functional
    obsolescence.




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                                                                                                          Appellant's Appendix
                                                                                                             Page 160 of 281
                 Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 53 of 90
Appellate Case: 24-8013                  Document: 010111048105                                  Date Filed: 05/13/2024          Page: 161




      REPLACEMENT COST NEW-LESS-DEPRECIATION APPROACH TO VALUATION

                                           Units                          Price                        Cost
                        Montesano          ?,490sf •                      S425/sf                      Sl;0S8,2S0
                        Buliders                         -
                        Proctor            2,490sf                        $450/sf                      .$1, 120,500
                        Conitri.Jction
                        Averaqe RCN                                                                    $1 ,089 375

     Based on the lump sum depreciation rate of 18%, derived from Market Extraction and applying
     this rate to the average RCN ($1,089,375 x 18%-($196,088) = $893,288+$1,500,000 (land
     Value) suggests a fair market value of the home of approximately $2,393,288.

     AGE-LIFE METHOD
     This method estimates depreciation as a ratio between the effective age of an improvement and
     its total economic life, and is applied to the current cost of the improvements. Market research
     indicates the total economic life of properties similar to the subject can be up to 100+ years.
     Based upon my effective age estimate of approximately 18 years than depreciation would be as
     follows by dividing the estimated effective age by the estimated total economic life.

                  RCN                                                                                     $ 1 089 375
                  Less Total Depreciation (l 8/65=27%)                                                    $   -267,300
                  Denreciated Cost                                                                        $    822 075
                  Depreciated Site Improvements                                                           s    +10 000
                  Land Value                                                                              $ +l 500 000
                  Indicated Value of Depreciated Improvement by Age-Life Method                           $ 2,332,075


     LAND VALUE COMMENTS
    The following sales have been considered in developing an estimated value of the subject land.
    Per MLS 21-3068, sold 10/05/2021 (no market changes) located just below the subject property
    with the same NL· 1 zoning, sold a 1.41 -acre parcel with comparable views and mature trees for
    $2,495,000 or $40.62/sfto suggest a market value for the subject land of approximately
    $1,327,000.

    Per MLS 21 ·3069, a 1.00-acre lot immediately north of the subject in the subject neighborhood,
    elevated and with Teton views, sold 09/30/2021 for an estimated $2, 155,000. The sale price
    was not disclosed in the MLS, and the price is anecdotal. The lot was listed for sale 41 days at
    $2,395,000. The sale suggests a $/sf price of $49/sf to suggest a market value for the subject
    land of approximately $1 ,600,000.

    Additionally considered in the land value analysi~ is the more recent sale of MLS 22-1792 on
    08/26/2022 for $1,425,000. This 0.18-acre lot features similar zoning and build-out With Teton
    views. The sale price indicates a value floor for the subject vacant land.

    As of the effective date of the appraisal, averaging the above sales on Upper Cache Creek Drive.
    the subject has a current land value of approximately $1,465 ,000. The land value opinion ls
    rounded to $1.SM as not to indicate a higher degree of accuracy than should be associated with
    developing an estimated value opinion.




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                                                                                                                        Appellant's Appendix
                                                                                                                           Page 161 of 281
                    Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 54 of 90
Appellate Case: 24-8013                        Document: 010111048105                                Date Filed: 05/13/2024                Page: 162




        SALES COMPARISON APPROACH

                           Subject                   Como Sale #1                          Como Sale#2                Comp Listing #3
       Address                   1045 Upper     730 Snow King Dr                    5 IO Cache Creek Dr           430 Henley Rd
                                Cache Creek     Jackson, WY                         Jackson, WY                   Jackson, WY
                                Jackson WY
      Sale Price                                        I $2.750 000                             I S4 066 380                      3 495 000
      Sales or
      Financing                                 None                                None                          Active listing
      Concesslon_s
      Date of Sale                              08/01/2023                          10/20/2022                    Active Listi no
      Locat ion                 Cache Creek     Snow Kfnq                           Cache Creek                   East Jackson
      Site                      32 670 sf       10 890 sf  0                        26 136 sf         0           6098 sf         0
      View                      Teton           Teton                               SUP Zone          -$S00 000   Teton
      Quality of
      Construction              Good            Good                                Superior          -$418,200   Good
      Actual Aoe                36              ·38                                 56                            26
      Condition                 Good             Superior      - $200 000           Good                          Uoorades         ·S l 50 000
      Gross Living
                                2 ,490sf        1,449 sf       +$364,350            2,788s f          -$81 ,950   2,333sf          0
      Area
      Rooms/Bed/Bath            s 3 3I          sI  3   I2                         sj2 j1.1                              I
                                                                                                                  6 14 3.1
      Basement GLA              Osf             Osf                                1 130sf      ·$310 750         l 553sf      -$232 950
      Bed/Bath                  0        0      0              0                   2        12                    0            0
      Garaoe                    3-Car Garaoe    None           +S25 000            2-Car Garaae                   2-Car Garaae
      Adjusted Sale
      Price of Comos                                            $2 939.350                            $2 755480                    .$3 112050

      Comparables are obtained through the Teton County MLS service, supplemented by a
      search of county transfer records. An extensive sea~ch is conducted in order to obtain
      closed sales that are most comparable to the subject property. Data collection parameters
      for acquiring a pool of properties that can be narrowed down to more accurately reflect a
      value for the subject include: construction type, gross living area, quality, condition, age
      of the improvement and its location in the subject market area. The selected comparabtes
      were carefully evaluated, considering the aforementioned similarities, and represent the
      best available sales in the current market to result in a value opinion for the subject
      property. Condition adjustments are percentage adjustments based on realtor interviews,
      inspections and appraiser opinion.

     Quality of construction adjustments in the Jackson real estate market are difficult to
     quantify due to the unique, custom hature of the housing mar,ket, varying degree of
     amenities and upgrades in competition with location in the market and views. The range
     can vary between $250-$400/sf for additional square footage in the subject price point.
     The appraiser makes every attempt to obtain sales with similar quality ratings. Quality
     adjustments are made based on the difference in value per square foot, based on
     extracting the improvement value from the sale price after site, garage and basement
     values and considering depreciation, if any.

      Excessive Amenity Adjustments
 •   Age adjustments are derived from paired sales in sub-markets due to the severe lack of
     sales; thus paired sales data.
 •   Typically, no adjustment for 10 years +/· age differences
 •   No adjustments are made for the difference in the number of total rooms, bedrooms or
     bathrooms because the data is not adequate to support a responsible adjustment, and
     rather GLA adjustments are made instead. A custom housing market with a broad range
     of property types, purchasing decisions are centered primarily on square footage and
     locatlon, and amenity types and amounts can vary greatly, having less effect on buyer
     purchasing decisions.
 •   No adjustments are made for the difference garage bays or size because the data is not
     adequate to support a responsible adjustment.


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                                                                                                                              Appellant's Appendix
                                                                                                                                 Page 162 of 281
                   Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 55 of 90
Appellate Case: 24-8013            Document: 010111048105                                 Date Filed: 05/13/2024     Page: 163




  •     No adjustments are made based on differences in kitchen appliances, heating/cooling,
        fireplace/wood stove amenity, or deck amenity. All com parables are evaluated to be
        relatively similar in these items. This overall similarity between the comparables and the
        subject did not support any data based adjustments.
  •     No adjustment is made for a square footage difference of+/· 200sf due to the
        inaccuracies of the reporting sources, and most MLS reports include the square footage of
        multiple staircases.

       RECONCILIATION OF SALES COMPARISON APPROACH
       Comp #1 is the most recent sale to occur in the neighborhood real estate market. It is located
       in the adjacent Snow King Estates. The site is smaller, but features identical utility and a Teton
       view. The home is comparable in age but has received upgrades throughout to include a
       remodeled kitchen and bathrooms. However, it features much less GlA and is adjusted at a
       higher $/sf, and no garage. It is my opinion the subject would sell for more than comp #1.

       Comp #2 is included because the home is older, but In excellent condition and brackets the age
       of the subject and is equally dated. However, the overall construction of this home is superior
       to the subject regardless of age or datedness. Additionally, the land is superior as it offers
       greater build-out opportunity.

       Comp #3 is currently listed for sale. It features a smaller site wlth a Teton view, and requires no
       site adjustment. The home is identical with regard to age and quality, but has received updates;
       thus the superior condition adjustment.

       J have given full consideration to comp sale #1, which is the most recent sale, located in a
       similar setting among mature forest with Teton views in East Jackson. Based on the Sales
       Comparison Approach to value, as of the effective date of the appraisal, the subject has a
       current market value of approximately $2,900,000, based on a 4-6 month exposure time.

      Marketing & Exposure Time
      Critical to determining market values, is the level of exposure that any given property
      receives •t o the open market prior to the sale of the property. In a stable market, an
      average marketing time is 4-6 months.

      Exposure Time
      Exposure time is the amount of time a property would be offered for sale, prior to its sale
      on the date of value. Exposure time refers to the past

      Marketing Time
      Marketing time is similar yet instead of being retrospective; it is prospective In that it. is
      the amount of time necessary to market the property starting today to sell it at some
      future date.

      This is the average number of days a property is typically offered for sale and offers a
      sufficient amount of time to gain the attention of prospective buyers in the market place.
      Complex or unique properties, which often attract fewer buyers, will often witness longer
      marketing times. Properties that may be listed too high to attract buyer, based on the
      real estate climate as of the effective date of an appraisal, may also Witness much higher
      marketing times. Real estate that is priced too low will exhibit faster marketing times,
      attracting a plethora of buyers.

      RECONCILIATION OF VALUE
      Typically, in appraising residential properties, there are 3 approaches t o value: 1) Sales
      Comparison Approach 2) Cost Approach and 3) Income Approach.




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                                                                                                            Appellant's Appendix
                                                                                                               Page 163 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 56 of 90
Appellate Case: 24-8013         Document: 010111048105                                  Date Filed: 05/13/2024     Page: 164




     The Income Approach relates to the development of the gross rent multiplier (GRM) which Is the
     sales price divided by the gross monthly rent. The GRM is mostly used in the evaluation of
     commercial properties and apartment buildings. It assumes that the value of a property is
     related to the income it will produce. Due to the limited quantity of sales and a lack of available
     data to establish a reliable GRM, the Income Approach to value is not reliable and is not
     developed.

     The Cost Approach is based on the understanding that market participants relate value to cost.
     However, costs are related to value only in that they establish a value cei(ing, since a prudent
     Buyer would not typically pay more for a property than the cost of producing an equivalent
     improvement. This approach is particularly useful when valuing new or nearly new
     improvements since the value of a property may be equal to its costs if the improvement
     represents the highest and best use of the land. The Cost Approach establishes a minimum
     value for the subject property, but is less relevant given the age of the home and is not given
     consideration in the final determination of value.

     The Sales Comparison Approach is the most reliable methodology in this market for developing
     an estimated opinion of value and is given full consideration.

     FINAL VALUE OPINION
     As of the effective date of the appraisal, August 25, 2023, the subject has a fair market value of
     approximately $2,900,000.

    ASSUMPTIONS AND LIMITING CONDITIONS
    The following assumptions and limiting conditions 1 are made with regard, to the stated value
    opinion:
    ·The appraiser is not a home inspector and the visual Inspection of the home is not technically
    exhaustive. However, upon Inspection I did not observe any health or safety violations
    associated wfth either the interior or exterior of the home or any functional defects or
    obsolescence.
    •This appraisal assumes all structural, plumbing and electrical components being transferred
    With the home, are in proper working order.
    • The appraiser will not disclose the contents of the appraisal report except as provided for in
    the Uniform Standards of Professional Appraisal Practice, and any applicable federal, state or
    local laws.
    • If this appraisal is indicated as subject to satisfactory completion, repairs, or alterations, the
    appraiser has based his or her appraisal report and valuation conclusion on the assumption that
    completion of the improvements will be performed in a workmanlike manner.
    - An appraiser's client is the party (or parties) who engage an appraiser In a specific assignment.
    Any other party acquiring this report from the client does not become a party to the appraiser-
    client relationship. Any persons receiving this appraisal report because of disclosure
    requirements applicable to the appraiser's client do not become intended users of this report
    unless specifically identified by the client at the time of the assignment. ·The appraiser's written
    consent and approval must be obtained before this appraisal report can be conveyed by anyone
    to the public, through advertising, public relations, news, sales, or by means of any other
    media, or by its inclusion in a private or public database.
    ·If the appraiser is required to appear in court, the Client will pay all associated travel and stay
    fees. The court appearance rate is $200/hr.

    Cj:RTIFICATIONS
    I certify that, to the best of my knowledge and belief:
    • The statements of fact contained in this report are true and correct.
    - The credibility of this report, for the stated use by the stated user(s), of the reported analyses,
    opinions, and conclusions are limited only by the reported assumptions and limiting conditions,
    and are my personal, impartial, and unbiased professional analyses, opinions, and conclusions.
    · I have no present or prospective Interest in the property that is the subject of this report and
    no personal interest with respect to the parties involved.
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                                                                                                          Appellant's Appendix
                                                                                                             Page 164 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 57 of 90
Appellate Case: 24-8013             Document: 010111048105                                Date Filed: 05/13/2024       Page: 165




     - I have no bias with respect to the property that Is the subject of this report or to the parties
     involved with th is assignment.
     - My engagement in this assignment was not contingent upon developing or reporting
     predetermined results.
     - My compensation for completing this assignment is not contingent upon the development or
     reporting of a predetermined value or direction in value that favors the cause of the client, the
     amount of the value opinion, the attainment of a stipulated result, or the occurrence of a
     subsequent event directly related to the intended use of this appraisal.
     - My analyses, opinions, and conclusions were developed, and this report has been prepared, in
     conformity with the Uniform Standards of Professional Appraisal Practice that were in effect at
     the time this report was prepared.
     - I did not base, either partially or completely, my analysis and/or the opinion of value in the
     appraisal report on the race, color, religion, sex, handicap, familial status, or national origin of
     either the prospective owners or occupants of the subject property, or of the present owners or
     occupants of the properties in the vicinity of the subject property.
     - I have made a personal inspection of the property that is the subject of this report.
     - Unless otherwise indicated, no one provided significant appraisal assistance to the person{s)
     signing this certification.

     DEFINITION OF FAIR MARKET VALUE
     The most probable price, as of a specified date, in cash, or in te rms equivalent to cash or in
     other precisely revealed terms, for which the specified property rights should sell after
     reasonable exposure in a competitive market under all conditions requisite to a fair sale, with
     the buyer and seller each acting prudently,.knowledgeably and for self-interest, and assuming
     that neither is under undue duress.


     APPRAISER CERTIFICATION

     I certify that to the best of my knowledge:

           1) The statements of fact contained in this report are true and correct.
           2) The reported analyses, opinions and conclusions are limited only by the reported
                 assumptions and limiting conditions and are my personal, unbiased and professional
                 analyses, opinions and conclusions.
           3)    I have no present or prospective interest in the property that is the subject of this
                 report, and I have no personal interest or bias with respect to the parties involved with
                 this assignment.
           4)    My engagement in this assignment is not contingent upon developing or reporting
                 predetermined results.
           5)    My compensation is not contingent upon the reporting of a predetermined value or
                 direction in value that favors the cause of the client; the amount of value estimate; the
                 attainment of a stipulated result, or the occurrence of a subsequent event.
           6)    My analyses, opinions and conclusions are developed, and this report is prepared in
                 conformity with the requirements of the Code of Professional Ethics and the Standards
                 of Professional Appraisal Practice of the Appraisal Institute.
           7)    No supplemental professional assistance is provided to the signer of this report.
           8)    I personally inspected the property, which is the subject of this report.




          Appraiser S(gnature


          Gena L Howald                                                             Date:September 19, 2023
          Appraiser Nt1me



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                                                                                                              Appellant's Appendix
                                                                                                                 Page 165 of 281
               Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 58 of 90
Appellate Case: 24-8013                           Document: 010111048105                                         Date Filed: 05/13/2024             Page: 166




                 Current Stateof 1heReal Estate_MarkeUanuary 2023: SINGLE-FAMILY RESJDENJJALMARKET
                 Year 2022 witnessed a stable market, following the steady rise in interest rates with fewer Buyers entering
                 the real es1ate market combined with a sharp decline in inventory. This resulted in a decrease of nearly 50%
                 fewer transactions over 2021. Despite slowing sales activity, listings witnessed minimal price reductions
                 and the average and median sale prices remain stable.

                 6-Month Year-Over comparison
                 The following chart offers the most recent snapshot of current market activity, based on 6-rnonths year-over
                 activity between 2021 and present. The number of sales has continued to decline down 50%, combined
                 with the total sales volume decrease of 34% over last year. However, both the average and median sale
                 prices reveal slight 3%-5% increases.

                 Non-Disclosure State
                 Wyoming is considered a non-disclosure state and sale prices are not made publlc. Real estate
                 professionals rely on sales to be reported by listing/selling parties within the local MLS. In the last 6 months,
                 9 luxury home properties sold at an undisclosed price, and were listed between $4.8M and $48M for atotal
                 listed inventory volume of $158,000,000.
                 When considering the average list to sale price ratio, an error margin of approximately 4-5% should be taken
                 into consideration in the chart below.

                                        6.Mon!h Vear-Over-Compadson: Teton County. WY. Sing!HamllyJ:fouslng_Mamt
                            Jan 01 1 2023 • Julv 01. 2023
                                   ..
                                 ' .     .
                            • Property T~pe/A rea
                                r~    ',   •    -
                               '
                             01 - Teton Village                                    $6,050,000                    SG,050,000   $6,050,000          267


                             02 - Racquet Club/Teton Pines                         $6,250,000                    $6,250,000   $6,250,000          324

                             03 - W Snake N of Wilson                               $1,017,500                   $1,017,500   $1,017,500          140


                             04 - W Snake S of ½llson                11            $32,242,500                   $4,030,312   $5,000,000          160


                             05 - Skyline Ranch to Sagebrush                                                     $5,550,000      $0               222
                                                                      5            S11,100,000
                             Dr

                             06 - Easl Gros Ventre Butte              0                 $0                           $0          $0               NA

                             07 - N of Gros Ventre Jct                5            $18,044,750                   $3,608,960   $3,844,750           87


                             08 - Town or Jackson                    11            $40,446,842                   $3,676,986   $2,750,000          183


                             09 - South of Jackson 10 Snake                                                                   $3,200,000          146
                                                                     17                                          $3,155,375
                             River Bridge


                             10 - SoutM of Snake River Bridge                                                    $2,792,791   $2,550,000          167
                                                                                  $11,171,163
                             to County Line

                                                                     56           $170,498,005                   $3,613,191   $3,000,000          189




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                                                                                                                                              Page 166 of 281
                 Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 59 of 90
Appellate Case: 24-8013                                       Document: 010111048105                                             Date Filed: 05/13/2024                  Page: 167




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                                01 - Teton Village                                               $6,850,000                     $6,850,000    $6,850,000           111

                                02 - Racquet Club/Teton Pines                     0                    $0                           $0            $0               NA

                                03 - W Snake N of Wdson                           5             $18,407,000                     $3,681,400    $2,730,000           102


                                04 - W Snake S of Wilson                          7             $30,138,875                     $6,027,775    $5,675,000           186


                                05 - Skyllne Ranch to Sagebrush                                                                               $5,350,000           151
                                                                                 11             $66,888,525                     $6,688,852
                                Dr

                                06 • East Gros Ventre Butte                       0                    $0                           so            $0               NA

                                07 - N of Gros Ventre Jct                         6             $12, 125,000                    $3,031 ,250   $3,875,000           159

                                08 - Town of Jackson                             22             $66,038,300                     $3,401,915    $2,830,000            96

                                09 • South of Jackson to Snake                                  $20,425,000                     $2,553,125    $2,322,500           70
                                                                                  8
                                River Bridge


                                10 . South or Snake River Bridge
                                                                                 10             $28,126,000                     $2,812,600    $2,300,000           164
                                to County Une

                                TOTAL                                            10             $250,998,700                     $3,504,692   $2,800,000           130




                               Jan 01 2021 - Julv 01 2021
                                    •        i           .,

                                  · ' · Property Type/Area · ,.
                                          • '
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                                                                       .                                                                                          ADOM '

                                01 - Teton Village                               6              $38,950,000                     $12,983,333   $7,700,000           108

                                02 - Racquet Club/Teton Pines                     4             $11,575,000                     $3,858,333    $3,987,500           70


                                03 • W Snake N of Wilson                         10             $27,941,000                     $2,794,100    $2,045,000           8-4

                                04 - W Snake S of Wilson                         5              $8,385,000                      S2,096,250    $2,375,000           169


                                05 - Skyline Ranch to                            7              $26,675,222                     $5,335,044    $6,975,000           127
                                Sagebrush Dr

                                06 - East Gros Ventre Bulle                      2             $19,875,000                      $9,937,500    $9,937,500           127

                                07 - N of Gros Ventre Jct                       25             S99,595,000                      $4,330,217    $3,995,000           228

                                OB - Town of Jackson                            26             $43,760,500                      $2,083.833    $1 ,869,000          122

                                09 - South of Jackson to Snake                                 $53,976,000                      $2,998,667    $2,447,500           69
                                                                                20
                                River Bridge


                                10 - South of Snake River                        B             $27,725,000                      $3,465,625    $3,597,500           155
                                Bridge to County Line

                               TOTAL                                            113            $358,457,722                     $4,988,290    $3,800,000           126




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                                                                                                                                                               Page 167 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 60 of 90
Appellate Case: 24-8013                                        Document: 010111048105                                                       Date Filed: 05/13/2024                  Page: 168




                   2022...Slogle-FamOy Home Sales.
                   The following chart reveals a decrease in the number of sales and total sales volume In single-family home
                   sales. Compared to 2021 , as interest rates began to rise 1n the 2nd quarter 2022, there brought a period of
                    wait and see" Buyers. The market witnessed a 43% drop in the number of sales, combined with a decrease
                   11


                   in sold volume of 34%. However, despite economic concerns. the demand for housing persisted and the
                   median price point has continued to rise, up from 2021 approximately 11% from $2.BM to $3.0M.

                                                                                                                  # of Sales

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                                                  (Data &,urcc: Teton Board ofR•oftors ~ : Jim• 1023)

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    T.ron Valley Appraisals                                                              1015Upp,rCacf1c Creek Dr. /adool!, WY 83001


                                                                                                                                                                           Appellant's Appendix
                                                                                                                                                                              Page 168 of 281
                 Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 61 of 90
Appellate Case: 24-8013                               Document: 010111048105                               Date Filed: 05/13/2024      Page: 169




                    Condomlolum/Townhome Market Sales
                    (1.astl/pd8/od,/IJ/y2023)
                    Similar to the housing market the condo/townhome market witnessed fewer sales, a significant decrease in
                    sold volume yet the median price point had increased. This is likely due to new construction1 high-end
                    inventory that came onto the market, and sold at a higher price point.

                                                                         S Volum~




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                                                                       Median Sale Price

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                                                                                                                              Appellant's Appendix
                                                                                                                                 Page 169 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 62 of 90
Appellate Case: 24-8013                    Document: 010111048105                                   Date Filed: 05/13/2024           Page: 170


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                                                         (Data Source: Teto11 Boord o[Rea/lor• MLS)



                  LUXURY HOUSING.MAB.L<EI
                  Finally, the luxury housing market has surged significantly upward since the Covld-19 Pandemic began, and
                  city buyers migrated to the area in search of more rural, mountainous, recreational communities. Luxury
                  homes are defined as properties valued at over $3.0M. This market currently represents 80% of market
                  sales. The luxury home market doubled in 2021.

                  Housing Supply
                  The lack of supply for single-family housing is at a record low, and with continued demand, Is placing
                  significant upward pressure on prices with an overall 40% increase in the median list price over last year.
                  Inventory is down by nearly 50%.

                  Current Workforce Housing Sltua1ioD
                  The number of local working-class Buyers continues to decline as inventory in their price range becomes
                  nonexistent, spurred by the migration of a new market participant, referred to by the Jackson Hole Real
                  Estate Report as the "Zoom Town Telecommuters", second home Buyers and early retirees continues to
                  Increase. The median price point for a single-family home in the town of Jackson is $3.0M and severe rent
                  hikes, has resulted in a housing crisis for the critical infrastructure workforce with no long-term solutions on
                  the horizon.

                 RED/Short Safes
                 There are no distressed sales occurring in the Jackson Hole Real Estate market. At the collapse of the
                 housing market, which was not realized by the Jackson real estate market until the end of 3rd quarter 2008,
                 the condominium market took the largest hit, experiencing a 60-75% decline in property values. At the
                 height of the market, the median SFR sales price was just over $1 M, the condo/townhome market offered a
                 price point at which buyers could afford to get into the housing market; thus, these property types were
                 experiencing significantly high appreciation rates and witnessed a greater decline in property values during
                 the housing collapse.




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                                                                                                                        Appellant's Appendix
                                                                                                                           Page 170 of 281
                Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 63 of 90
Appellate Case: 24-8013                                     Document: 010111048105                                          Date Filed: 05/13/2024                                       Page: 171




                                                                           APPRAISER CERTIFICATION


                                                                           WYOMING REAL ESTATE
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                                    CERTIFIED REAL ESTATE APPRAISER PERMIT
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                                                                                                                                                                                   Page 171 of 281
                 Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 64 of 90
Appellate Case: 24-8013                     Document: 010111048105                          Date Filed: 05/13/2024                    Page: 172


  File Number: NTr-126981                                                                                                   Thayne Office:
                                                                                                                            50 I North Main, Suite I




                               .flI
  Rock Springs/Green River Offices:                                                                                         Thayne, WY 83127
  2620 Commercial Way, Suite IOI                                                                                            307-883-1400
  Rocle Springs, WY 82901                                                                                                   Fax: 307-883-1402
             1
  26 North 1• East
  Green River, WY 82935
  307-362-0022/307-875-4422
  Fax: 307-362-8833            -                             NORTHERN TITLE                                                 Afton Office:
                                                                                                                           350 Sou.th Washington,
 Evanston Office:                                  r                                                                       Suite I
 848 Front Street                                                                                                          Afton, WY 83110
 Evanston, WY 82930                                                                                                        307-885-1400
 307-789-8850                                                                                                              Fax: 307-885-1402
 Fax: 307-789-2017                                             •Good Deeds Done Daily! •
                                                                                                                           Pinedale Oflicc:
 Jackson Office:                                                                                                           240 East Pine Street,
 25 South Gros Ventre Street                                                                                               Suite A
 POBox4242                                                                                                                 Pinedale, WY 82941
 Jackson, WY 83001                                                                                                         307-367-3740
 307-739-3944                                                                                                              Pax: 307-367-3742
 Fax: 307-886-2626


                      COMMITMENT FOR TITLE INSURANCE
 Old Republic National Title Insurance Company, a Minnesota corporation ("Company'), for a valuable consideration, commits to issue ils policy
 or policies of title insurance, as identified rn Schedule A, in favor of the Proposed Insured named in Schedule A, as owner or mortgagee of the
 estate or interest in the land described or referred to in Schedule A, upon payment of the premiums and charges and compliance with the
 Requirements: all subject to the provisions of Schedules A and 8 and to the Conditions of this Commitment. This Commitment shall be effective
 only when the identity of the Proposed Insured and the amount of the policy or policies committed for have been inserted !n Schedule A by the
 Company.

 All liability and obligation under this Commitment shall cease and terminate six (6) months after the Effective Date or when the poficy or policies
 committed for shall Issue, whichever first occurs, provided that the failure to issue the policy or policies is not the fault of the Company.

 The Company will provide a sample of the policy fonn upon request.


                    BUYER/BORROWER:                                                                 SELLER/OWNER:

                         Terry Lee Garrett
                          Carol W. Garrett

                       SELLING AGENT:                                                               LISTING AGENT:




                              LENDER:                                                                     BROKER:




                                                                                                                           Exhibit 6


                                                                                                                           Appellant's Appendix
                                                                                                                              Page 172 of 281
                        Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 65 of 90
   Appellate Case: 24-8013                          Document: 010111048105                  Date Filed: 05/13/2024                       Page: 173

                                                    ALTA COMMITMENT FOR TITLE INSURANCE

                                                    Issued by OLD REPUBLIC NATIONAL TITLE INSURANCE COMPANY




                                                                      NOTICE
  IMPORTANT-READ CAREFULLY: THIS COMMITMENT IS AN OFFER TO ISSUE ONE OR MORE TITLE INSURANCE POLICIES. ALL
  CLAIMS OR REMEDIES SOUGHT AGAINST THE COMPANY INVOLVING THE CONTENT OF THIS COMMITMENT OR THE POLICY MUST
  BE BASED SOLELY IN CONTRACT.
  THIS COMMITMENT IS NOT AN ABSTRACT OF TITLE, REPORT OF THE CONDITION OF TITLE, LEGAL OPINION, OPINION OF TITLE, OR
  OTHER REPRESENTATION OF THE STATUS OF-TITLE. THE PROCEDURES USED BY THE COMPANY TO DETERMINE INSURABIUTY
  OF THE TITLE, INCLUDING ANY SEARCH AND EXAMINATION, ARE PROPRIETARY TO THE COMPANY, WERE PERFORMED SOLELY
  FOR THE BENEFIT OF THE COMPANY, AND CREATE NO EXTRACONTRACTUAL LIABILITY TO ANY PERSON, INCLUDING A PROPOSED
  INSURED.
 THE COMPANY'S OBLIGATION UNDER THIS COMMITMENT IS TO ISSUE A POLICY TO A PROPOSED INSURED IDENTIFIED IN
 SCHEDULE A IN ACCORDANCE WITH THE TERMS AND PROVISIONS OF THIS COMMITMENT. THE COMPANY HAS NO LIABILITY OR
 OBLIGATION INVOLVING THE CONTENT OF THIS COMMITMENT TO ANY OTHER PERSON.



                                                         COMMITMENT TO ISSUE POLICY
 Subject to the Notice; Schedule B, Part I-Requirements; Schedule B, Part II-Exceptions; and°the Commitment Conditions, Old Republic
 National Title Insurance Company, {the "Company"), commits to issue the Policy according to the tenns and provisions of this Commitment. This
 Commitment is effective as of the Commitment Date shown in Schedule A for each Policy described in Schedule A, only when the Company has
 entered in Schedule A both the specified dollar amount as the Proposed Amount of Insurance and the name of the Proposed Insured.
 If all of the Schedule B, Part I-Requirements have not been met within six months after the Commitment Date, this Commitment terminates and
 the Company's liability and obligation end.

 NTT-126981




                                                                          OLD REPUBLIC NATIONAL TITLE INSURANCE COMPANY
                                                                          A Stock Company
                                                                          1408 North Westshore Blvd., Suite 900, Tampa, Florida 33607
                                                                          {612) 371-1111                    www.ofdrepublictitfe.com

                                                                           By       {!__,fkl~
                                                                                          .    '                       '
                                                                                                                                      President




   Authorized Officer or Agent
                                                                          Attest       b~l :WA     '   '.,•
                                                                                                              ,n\' •
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                                                                                                                                      Secieta~


Thfs page Is only a part of a 2021 ALTA Commitment for Title Insurance issued by Old Republic National Title Insurance Company. This Commitment Is
not valid without the No/ice; the Commitment to Issue Policy; the C-Ommitment Conditions; Schedule A; Schedule B, Part I-Requirement$,' and Schedule
B,. Part /1-l=xcepbons; and a counter-signature by the Company or its issuing agent that may be In electronic form.
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                                                                                                                                Appellant's Appendix
                                                                                                                                   Page 173 of 281
                            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 66 of 90
     Appellate Case: 24-8013                            Document: 010111048105                            Date Filed: 05/13/2024                   Page: 174


                                                                     COMMITMENT CONDITIONS
     1. DEFINITIONS
                   a.    "Discriminatory Covenanf': Any covenant, condition, restriction, or limitation that is unenforceable under applicable law because it
                         illegally discriminates against a class of individuals based on personal characteristics such as race, color, religion, sex, sexual
                         orientation, gender identity, familial status, disability, national origin, or other legally protected class.
                   b. "Knowledge" or "Known": Actual knowledge or actual notice, but not constructive notice Imparted by the Pubric Records.
                   c,    "Land": The land described in Item 5 of Schedule A and improvements located on that land that by State law constitute real property.
                         The tenn "Land'' does not include any property beyond that described in Schedule A, nor any right, title, interest, estate, or easement
                         in any abutting street, road, avenue, alley, lane, right-of-way, body of water, or waterway, but does not modify or Omit the extent that-a
                         right of access to and from the Land is to be insured by the Policy,
                d.       "Mortgage"; A mortgage, deed of trust, trust deed, security deed, or other real property security Instrument, Including one evidenced
                         by electronic means authorized by law.
                e,       "Policy": Each contract of title insurance, in a form adopted by the American Land Title Association, issued or to be issued by the
                         Company pursuant to this Commitment.
               f.        "Proposed Amount of Insurance"; Each dollar amount specified In Schedule A as the Proposed Amount of Insurance of each Policy to
                         be issued pursuant to this Commitment.
               g.        "Proposed Insured": Each person Identified in Schedule A as the Proposed Insured of each Policy to be issued pursuant to !his
                         Commitment.
               h. "Public Records": The recording or filing system established under State statutes in effect at the Commitment Date under which a
                        document must be recorded or filed to impart constructive notice of matters relating to the Title to apurchaser for value without
                        Knov-Jiedge. The term ''Public Records" does not include any other recording or filing system, including any pertaining to
                        environmental remediation or protection, planning, permitting; zoning, licensing, building, health, public safety, or national securtty
                        matters.
               I,       "State'': The state or commonwealth of the United States within whose exterior boundaries the land is located. The tenn "State" also
                        includes the District of Columbia, the Commonwealth of Puerto Rico, the U.S. Virgin Islands, and Guam.
              j.        "Tille": The estate or interest in the Land identified in Item 3 of Schedule A.

 2. If all or the Schedule B, Part I-Requirements have not been met within the time period specified in the Commitment to Issue Policy, this
        Commitment terminates and the Company's liability and obligatlon end.

 3. The Company's liability and obligation is limited by and this Commitment is not valid without:
              a.        the Notice;
              b.        the Commitment to Issue Policy;
              c.        the Commitment Conditions;
              d.        Schedule A;
              e.        Schedule B, Part I-Requirements;[ andJ
              f,        Schedule B, Part 11-Exceptionst and
             g,         a counter-signature by the Company or its issuing agent that may be in electronic formJ,

4.     COMPANY'S RIGHT TO AMEND
       The Company may amend this Commitment at any time. If the Company amends this Commitment to add a defect, lien, encumbrance, adverse
       claim, or other matter recorded in the Public Records prior to !he Commitment Date, any liability of tne Company is limited by Commitment
       Condition 5. The Company is not liable for any other amendment to this Commitment.




This page is only a part of a 2021 ALTA Commitment for Tib'e Insurance issued by Old Republic National Title Insurance Company. This Commitment ls
not valid without the Notice; the Commitment to Issue Po/Icy; the Commitment Conditions; Schedule A; Schedule B, Part I-Requirements: and Schedule
B, Part II-Exceptions; and a counter..signature by the Company or its issuing agent that may be in electronic form.
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07/01/2021

                                                                                                                                        Appellant's Appendix
                                                                                                                                           Page 174 of 281
                        Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 67 of 90
     Appellate Case: 24-8013                         Document: 010111048105                        Date Filed: 05/13/2024                     Page: 175



  5.    LIMITATIONS OF LIABILITY
              a, The Company's liability under Commitment Condition 4 is limited to the Proposed lnsured's actual expense incurred In the interval
                 between the Company's delivery to the Proposed Insured of the Commitment and the del!very of the amended Commitment, resulting
                 frorn the Proposed lnsured's good faith refiance to:
                             i. comply with the Schedule B, Part I-Requirements;
                            ii. eliminate, with the Company's written consent, any Schedule B, Part II-Exceptions: or
                           Iii. acquire the Title or create the Mortgage covered by this Commitment.
              b.    The Company is not liable under Commitment Condition 5.a. if the Proposed Insured requested the amendment or had Knowledge of
                    the matter and did not notify the Company about it in writing.
              c.    The Company is only liable under Commitment Condition 4 if the Proposed Insured would not have incurred the expense had the
                    Commitment Included the added matter when the Commitment was first delivered to the Proposed Insured.
              d, The Compan'y's liability does not exceed the lesser of the Proposed lnsured's actual expense incurred in good faith and described In
                 Cornm~ment Condition 5.a. or the Proposed Amount of Insurance,
              e.    The Company is not liable for the content of the Transaction Identification Data, if any.
              f.    The Company is not obligated to issue the Polley referred to in this Commitment unless all o( the Schedule B, Part I-Requirements
                    have been met to the satisfaction of the Company.
              g.    The Company's liability is further limited by the terms and provisions of the Policy to be issued to the Proposed Insured,

 6. LIABILITY OF THE COMPANY MUST BE BASED ON THIS COMMITMENT; CHOICE OF LAW AND CHOICE OF FORUM
              a.    Only a Proposed Insured identified in Schedule A, and no other person, may make a claim under this Commitment.
              b.    Any claim must be based in contract under the State law of the State where the Land Is located and is restricted to the terms and
                    prov!sions of this Commitment. Any litigation or other proceeding brought by the Proposed Insured against the Cornpany must be filed
                    only in a State or federal court having jurisdiction.
             c.     This Commitment, as last revised, Is the exclusive and entire agreement between the parties with respect lo the subject matter of this
                    Commitment and supersedes all prior commitment negotiations, representations, and proposats of any kind, whetherwritten or oral,
                    express or implied, relating to the subject matter of this Commitment.
             d.     The deletion or modification of any Schedule B, Part II-Exception does not constitute an agreement or obligation to provide coverage
                    beyond the terms and provisions of this Commitment or the Policy.
             e.     Any amendment or endorsement to this Commitment must be in writing[ and authenticated by a person authorized by the Company].
             f.     When the Policy is issued, all liability and obligation under this Commitment will end and the Company's only liability will be under the
                    Polley,

7, IF THIS COMMITMENT IS ISSUED BY AN ISSUING AGENT
       The issuing agent Is the Company's agent only for the limited purpose of issuing title insurance commitments and policies. The issuing agent is
       not the Company's agent for closing, settlement, escrow, or any other purpose.

8. PRO-FORMA POLICY
       The Company may provide, at the request of a Proposed Insured, a pro-forma policy illustrating the coverage that the Company may provide. A
       pro-forma policy neither reflects the status of Title at the time that the pro-forma policy is delivered to a Proposed Insured, noris it a
       commitment to insure.

9.     CLAIMS PROCEDURES
       This Commitment incorporates by reference all Conditions for making a claim in the Policy to be issued to the Proposed Insured. Commitment
       Condition 9 does not modify the limitations of liability in Commitment Conditions 5 and 6.



This page is only a part of a 2021 ALTA Commitment for Ti(/e Insurance Issued by Old Republic National Title Insurance Company. This Commitment is
not valid without the Notice; the Commitment to Issue Polley: the Commitment Conditions: Schedule A; Schedule B, Pait 1-Reqv!rements; and Schedule
B, Part II-Exceptions; and a counter-signature by the Company or Its issuing agent that may be In electronic form.
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                                                                                                                                   Appellant's Appendix
                                                                                                                                      Page 175 of 281
                       Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 68 of 90
  Appellate Case: 24-8013                           Document: 010111048105                Date Filed: 05/13/2024                  Page: 176



 10. CLASSACTION
       ALL CLAIMS AND DISPUTES ARISING OUT OF OR RELATING TO THISCOMMITMENT, INCLUDING ANY SERVICE OR OTHER MATTER
       IN CONNECTION WITH ISSUING THIS COMMITMENT, ANY BREACH OF A COMMITMENT PROVISION, OR ANY OTHER CLAIM OR
       DISPUTE ARISING OUT OF OR RELATING TO THE TRANSACTION GIVING RISE TO THIS COMMITMENT, MUST BE BROUGHT IN AN
       INDIVIDUAL CAPACITY. NO PARTY MAY SERVE AS PLAINTIFF, CLASS MEMBER, OR PARTICIPANT IN ANY CLASS OR
       REPRESENTATIVE PROCEEDING. ANY POLICY fSSUED PURSUANT TO THIS COMMITMENT WILL CONTAIN A CLASS ACTION
       CONDITION.




This page /8 only a part of a 2021 ALTA Commitment for T,le Insurance issued by Old Republic National Title Insurance Company. This Commitment ts
not valid without the Notice; the Commilment to Issue Policy; the Commitment Conditions; Schedule A; Schedule B, Part I-Requirements; and Schedule
B, Part II-Exceptions: and a counter-$fgnature by the Company or Ifs Issuing agent that may be m electronic form.

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                                                                                                                        Appellant's Appendix
                                                                                                                           Page 176 of 281
              Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 69 of 90
Appellate Case: 24-8013                  Document: 010111048105                       Date Filed: 05/13/2024           Page: 177

ALTA COMMITMENT FOR TITLE INSURANCE (07-01-2021)
                                                                                   Closing/Escrow inquiries to~

                                                                                   25 South Gros Ventre Street, PO Box
                                                                                   4242
                                                                                   Jackson, Wyoming 83001


                                                                                   Title inquiries to:
                                                                                   Susan Pearce
                                                                                   (435) 752-3600 x107
                                                                                   susanp@nortberntitle.net

                                                    SCHEDULE A

      OrderNo. NTT-126981

    I. Effective bate: September 18, 2023 9:00A,\1

   2. Policy or policies to be issued:

      A. 2021 ALTA Owner's                                               Standard Coverage

         Proposed Insured: Terry Lee Garrett and Carol W, Garr-0tt

         Amount:
         Premium: $0,00

     B. 2021 ALTA Loan                                                   Extended Coverage

         Proposed Insured:

         Amount:
         Premium~ $0.00

     C. Endorsements:

                      Endorsement Pee Included in Premium:

   3. The estate or interest in the land described in the Commitmenr and covered herein is:

       FEE SIMPLE

   4. Title to the estate or interest referred to herein is at the effective date hereofvested in:

      John Caldwell and Joan Schank

   5.The land referred to in this Commitment is in the State of WY, County of Teton and is described as follows:

       See Attached Exhibit "A"


    PROPERTY ADDRESS:              1045 Upper Cache Creek Drive, Jacksont WY 83001




                                                                                                              Appellant's Appendix
                                                                                                                 Page 177 of 281
             Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 70 of 90
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024          Page: 178

NTT-126981
                                          EXHIBIT "A"

   A PORTION OF LOT 9 OF THE RIDGE ADDITION TO THE TOWN OF JACKSON, TETON COUNTY,
   WYOMING, ACCORDING TO THAT PLATRBCORDED IN THE OFFICE OF THE TETON COUNTY CLERK ON
   FEBRUARY 16, 1984 AS PLAT NO. 562, DESCRIBED AS FOLLOWS:

   BEGINNING AT THE SOUTHEAST CORNER OF SAID LOT 9; THENCE N00°12' l 4"W, 149.91 FEET TO A
   POlNT; THENCEN51°13'19"W, 84.46 FEET TO A POINT; THENCE N66°53'1l"W, 73.0 FEET TO A POINT;
   THENCE S41°21'23"W, t73.0l FEET TO A POINT; THENCE S67°42'35"E, 267.84 FEET TO THE POINT OF
   BEGINNING.

   (22-41-16-34-4-02-018)




                                                                                       Appellant's Appendix
                                                                                          Page 178 of 281
                 Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 71 of 90
 Appellate Case: 24-8013                 Document: 010111048105                    Date Filed: 05/13/2024             Page: 179

NTI-126981

                                                  SCHEDULE B - SECTION 1
                                                         REQUfilEMENTS
Afl of the following Requirements must be met:

     1.   The proposed insured must notify the Company in writing of the name ofarry party not referred to In this Commitment who
          will obtain an interest in the Land or who will make a loan on the land. The Company may then make additional
          Requirements or Exceptions.

    2. Pay the agreed amount for the estate or fnterest to be insured,

    3. Pay the premiums, fees, and charges for the Policy to the Company.

    4. Documents satisfactory to the Company that convey the Title or create the Mort_gage to be insured, or both, must be properly
       authorized, executed, delivered and recorded in the Public Records.


ln addition to the foregoing, the following requirements must be complied with, to-wit:




                                                                                                             Appellant's Appendix
                                                                                                                Page 179 of 281
               Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 72 of 90
Appellate Case: 24-8013                 Document: 010111048105                       Date Filed: 05/13/2024               Page: 180

NTI-126981
                                                     SCHEDULE B - PART II


       Schedule B of the policy or policies to be Issued-will contain exceptions to the following matters unless the same are
       disposed ofto the satisfaction of the Company.

       Some historical land records contain Discriminatory Covenants that are illegal and unenforceable
       by law. This Commitment and the Policy treat any Discriminatory Covenant in a document
       referenced in Schedule B as if each rnscriminatory Covenant is redacted, repudiated, removed, and
       not republished or recirculated. Only tbe remaining provisions of the document will be excepted
       from coverage.

      The policy will not insure against loss or damage resulting from the terms and provisions of any lease or
      easement identified in Schedule A, and will include the following Exceptions unless cleared to the
      satisfaction of the Company:

      1. Any defect, lien, encumbrance, adverse claim or other matter that appears for the first time in the Public Records
      or is created, attaches, or is disclosed between the Commitment Date and the date on which all of the Schedule B,
      Part 1- Requirements are met.

      2. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies
      taxes or assessments on real property or by the public records. Proceedings by a public agency which may result in
      taxes or assessments, or notices ofsuch proceedings, whether or not shown by the records ofsuch agency or by
      public record.*

      3. Any facts, rights, interest, or claims which are not shown by the public records but w'hic'h could be
      ascertained by an inspection of said land or by making inquiry of persons in possession thereof.*

      4. Easements, liens, or encumbrances, or claims thereof, which are not shown by the public records.*

      5. Discrepancies, conflicts in boundary lines, shortages in area, encroachments, or any other facts which a correct
      survey would disclose, and which are not shown by the Public Records.

       6. (a) Unpateated mining claims; (b) reservations or exceptions in patents or in Acts authorizing the
      issuance thereof; (c) water rights, claims or title to water, whether or not the matters excepted under (a),
      (b), or (c) are shown by the public records.*

      7, Any liens, or rights to a lien, for services. labor, equipment or material heretofore or hereafter furnished,
      imposed by law and not shown by public records.*

      8, Rights oftbe state or federal government and/or public in and to any portion of the Land for right of way
      (whether or not such rights are shown by recordings of easements and/or maps in toe Public Records by the State of
      Wyoming showing the general location of these rights of way).

     9. Minerals of whatsoever kind, subsurface and surface substance, including but not limited to coal, lignite, oil, gas,
     uranium, clay, rock, sand and gravel in, on, under and that may be produced from the Land, together with all rights,
     privileges, and immunities relating thereto, whether or not appearing in the Public Records or Listed in Schedule 8 .
     Stewart makes no representation as to the present ownership of any such interests. There may be leases, grants,
     exceptions or reservations of interests that are not listed.

      10. Any water or well rights, or rights or title to water or claims thereof, in, on or under the land.

     •Paragraphs I through IO will not appear as printed exceptions on extended coverage policies, except as to such
     parts thereof which may be typed as a Special Exception in Schedule 8-Section Il.

     (See Special' exceptions beginning on the next page).




                                                                                                                 Appellant's Appendix
                                                                                                                    Page 180 of 281
               Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 73 of 90
Appellate Case: 24-8013                  Document: 010111048105                        Date Filed: 05/13/2024                 Page: 181

NTT-126981
                                             SCHEDULE B - SECTION II
       SPECfAL EXCEPTIONS:

       l. 'faxes for the year 2023 have been assessed in the amount of$l1,470.72. Truces for the first hatfof2023 are ~ue
          and payable in the amount of $5,735.36 but will not become delinquent until November 10, 2023. Taxes for the
          second halfof2023 will become due and payable in the amount of$5,73S.36 on March J, 2024 but will not
          become delinquent until May JO, 2024. Taxes for the year 2022 have been paid in full. Tax Serial No. OJ-002471

      2. Said property may be included within the taxing assessment district of0150, TOWN OF JACKSON, TETON
        COUNTY, WYOMING and may be subject to the charges and assessments thereof. (Charges are current
        according to the information available from the county records.)

      3. Minerals of whatsoever kind, subsurface and surface substances, including but not limited to coal, lignite, oil, gas,
         uranium, clay, rock, sand and gravel in, on, under and that may be produced from the Land, together with all
        rights, privileges, and immunities relating thereto, whether or not appearing in the Public Records or listed in
        Schedule B. The Company makes no representation as to the present ownership of any such interests. There may
        be leases, grants, exceptions or reservations of interests that are not listed.

      4. (a) Unpatented mining claims: (b) Reservations or exceptions in patents or in Acts authorizing the issuance
         thereof; (c) water rights, claims or title to water, whet-her or not the matters excepted under (a), (b), or (c) or shown
         by the public records.

      5. Subject to all existing roads, streets, alleys, fences, ditches, reservoirs, utilities, canals, pipelines, power,
         telephone, cable, fiber optic, sewer, gas, or water lines, and right of way and easements thereof.

      6. Easements/Right of Ways, Covenants & Restrictions, Reservations, Warnings, Roadways, Building Setback
         Lines, Notes, Common Area(s) etc. as delineated and/or dedrcated on the recorded plat(s).

      7. Access to subject property is via a private road as disclosed by recorded subdivlsioh plat
         Any unpaid charges or assessments for the maintenance of the private road which services the property described
        herein,

      8. Any fees, assessments, transfer fees, reinvestment fees, dues and other amounts that may be or become due to the
        homeowners association.

      9. All matters, not limited to easements and right of ways as set out on Lot Division recorded in Teton Recorder's
         office on April 26, 1983, under instrument number 243547.

      10, Terms and Conditions of that certain Easement Dated September 6, 1980, recorded December 18, 1980, Entry
        Number 219528, in Book I06, at Page 747 in the Office of the Recorder ofTeton County, Wyoming.

      11. All matters, not limited to easements and right of ways as set out on Plat recorded in Teton Recorder's office on
        August 25, 1986, under instrument number 267403.

      12. Covenants, conditions, and restrictions in the declaration of restrictions but omitting any covenants or
        restrictions, if any, including, but not limited to those based upon race, color, religion, sex, sexual orientation,
        familial status, marital status, disability, handicap, national origin, ancestry, or source of income as set forth in
        applicable state or federal laws, except to the extent that said covenant or restriction is permitted by applicable
        law.
        Book/Page:                 158/448

     13. Terms and Conditions of that certain Roadway and Utility Easement Dated August 21, 1986, recorded August
       26, 1986, Entry Number 267440, in Book 180, atPm~e 577 in the Office of the Recorder of Teton County,
       Wyoming,



     (continued)




                                                                                                                     Appellant's Appendix
                                                                                                                        Page 181 of 281
               Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 74 of 90
 Appellate Case: 24-8013               Document: 010111048105                    Date Filed: 05/13/2024                 Page: 182

NTT- 126981
        14. UTILITY EASEMENT
          Grantor~          Cache Creek Associates, a Wyoming Partnership
          Grantee:         Terry Lee Garrett and Carol w. Garrett, husband and wife
          Dated:           August 21, 1986
          Recorded;        August 26, 1986
          Entry No.:       267442
          Book/Page:        180/587

        15. Terms and Conditions of that certain Roadway and Utility Easement Dated November 20, 1987, recorded
          November 23, 1987, Entry Number 276361, in Book 195. at Page 646 in the Office of the Recorder of Teton
          County. Wyoming.

        16. Terms and Conditions of that certain Roadway and Utility Easement Dated October 27, 1987, recorded
          November 23, 1987, Entry Number 276362, in Book 195. at Page 653 \n the Office of the Recorder of Teton
          County, Wyoming.

        17. SEWER LINE EASEMENT
          Grantor:          Cache Creek Associates, a Wyoming Partnership
          Grantee!          Terry Lee Garrett and Carol w. Garrett, husband and wife
          Dated:            April 27, 1988
          Recorded:         April 27, 1988
          Entry No.:        278705
          Book/Page:        199/523

        J 8, An Easement For the purpose shown below and right incidental thereto as set forth in a document
           Granted To:             Lower Valley Power and Light Company
           Purpose:                Public Utilities Easement
           Dated:                  August 4, 19.87
           Recorded:               March 29, 1989
           Entry No.:              286285
           Book/Page:              209/490

       19. Terms and Conditions of that certain Agreement for Relocation ofEasement and Covenant Effecting Land Dated
         July 31, 1995, recorded August 1, 1995, Entry Number 400875, in Book 308. at Page 1 13 in the Office ofth.e
         Recorder of Teton County, Wyoming.

       20. MORTGAGE
         Mortgagor:               Terry Lee Garrett and Carol W. Garrett, husband and wife, as tenants by the entireties
         Mortgagee:               First Un.ion National Bank
         Amount:                  $200,000.00
         Dated:                   February 2, 2021
         Recorded:                February 2, 2021
         Entry No.:               536564
         Book/Page:               417/180

       ASSIGNMENT OF MORTGAGE
        Assignor:        Wachovia Bank of Delaware, NA F?K?A First Union National Bank of Delaware
        Assignee:        Wells Fargo Bank, N.A.
        Dated:          December 6, 2009
        Recorded:       December 2 1, 2009
        Entry No.:       765202
        Book/Page:       746/919

       RELEASE OF REAL ESTATE MORTGAGE
        Dated;            July 18, 2023
        Recorded:         July 18, 2023
        Entry No.:        1063565


       (Continued}




                                                                                                               Appellant's Appendix
                                                                                                                  Page 182 of 281
              Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 75 of 90
Appellate Case: 24-8013                Document: 010111048105                      Date Filed: 05/13/2024                   Page: 183

NTT-126981
       21.MORTGAGE
         Mortgagor:               Terry Lee Garrett and Carol W. Garrett, husband and wife, as tenants by the entirety
         Mortgagee:               First Union National Bank of Delaware
         Amount:                  $100,000.00
         Dated:                   March 29, 2001
        Recorded:                 April 6, 2001
        Entry No.:                53856 l
        Book/Page:                419/217

      RELEASE OF REAL ESTA TE MORTGAGE
       Dated:            July 18, 2023
       Recorded:         July 18, 2023
       Entry No.:        I 063566

      22. MORTGAGE
        Mortgagor:                Carol W. Garrett, married and Terry Lee Garrett, her husband as renants by the entirety
                                  and Clara Walsh~separated
        Mortgagee:                First Union National Bank of Delaware
        Amount:                   $75,000.00
        Dated:                    July31,2001
        Recorded:                 August 20, 2001
        Entry No.:                549832
        Book/Page:                 432/403

      CERTIPfCATE OP PURCHASE
       Dated:            March 23, 2023
       Recorded:         March 22, 2023
       Entry No.:        1056038

      SHERIFF'S DEED
        Grantor:                  Mary L. raulknor, Teton County Sheriff Office
        Grantee:              John Caldwell and Joan Schank
        Dated:                July 14, 2023
        Recorded:             July 14, 2023
        Entry No.:            1063397
        Note: Document contains incomplete legal description,

      23. Any rights, claims or interest of (the mortgagor) in the land or any claim the foreclosure by (lender) is invalid.

      24. The right ofany interested patty to sue or to petition to set aside or modify or to contest the foreclosure sale and
        deed pursuant thereto, through which title to the land described herein is derived.

      25. Any attempt by an interested party to set aside the deed under which tide is vested in a bankruptcy or state
        insolvency action.

      26. Rights oftenant(s) in the land, if any, and rights of all parties claiming by, through or under said tenant(s).


      (continued)




                                                                                                                Appellant's Appendix
                                                                                                                   Page 183 of 281
             Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 76 of 90
Appellate Case: 24-8013               Document: 010111048105                      Date Filed: 05/13/2024               Page: 184

NIT-126981


                                              SCHEDULE B - PART II

   SPECIAL EXCEPTIONS:


      Note: The policy to be issued may contain :an arbitration clause. When the Amount of Insurance is less than
      the certain dollar amount set forth in any applicable arbitration clause, all arbitrable matters shall be
      arbitrated at the option ofeither the Company or the Insured as the exclusive remedy of the parties. If you
      desire to review the terms of the policy, including any arbitration clause that may be included, contact the
      office that issued this Commitment or Report to obtain a sample of the policy jacket for the policy that is to
      be issued in connection with your transaction.



      NOTE: Judgments, State and Federal Tax Liens were checked on the following names, and if any were found, ate disclosed
      herein:

               Terry Lee Garrett and Carol W. Garrett
               John Caldwell
               Joan Schank

      NOTE: In the event this transaction fails to close, a cancellation fee may be charged for services rendered in accordance with
      the rates that are on file with the Commissioner oflnsurance of the State of Wyoming.




      Examiner




      Chain of Title including all Vesting Deeds recorded in the past 24 months:

      ACCORDlNGTO THE OFFICIAL RECORDS, THERE HAVE BEEN NO DOCUMENTS CONVEYING THE LAND
       DESCRIBED HEREIN WITH A PERIOD OF 24 MONTHS PR[OR TO THE DATE OF THIS COMMITMENT
       EXCEPT AS FOLLOWS:

      SHERIFFS DEED
        Granter:             Mary L. Faulkner, Teton County Sheriff Office
        Grantee:             John Caldwell and Joan Schank
        Recorded:            July 20, 2023
        Entry No.:           1063792
       Note: Document contains incomplete legal description.




                                                                                                              Appellant's Appendix
                                                                                                                 Page 184 of 281
                                      Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 77 of 90
Appellate Case: 24-8013                                                                         Document: 010111048105                                                                                  Date Filed: 05/13/2024                          Page: 185
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                              Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 78 of 90
 Appellate Case: 24-8013                                                      Document: 010111048105                                                                          Date Filed: 05/13/2024                                                                             Page: 186
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                                                                                                                                                                                                                                                      Page 186 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 79 of 90
Appellate Case: 24-8013   Document: 010111048105                     Date Filed: 05/13/2024                                                 Page: 187


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                    Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 80 of 90
    Appellate
 11/17/22, 2:55 PM Case: 24-8013             Document: 010111048105         Date Filed: 05/13/2024
                                                             Teton County MapServer                                          Page: 188



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                                                                                                                   Appellant's Appendix
                                                                                                                      Page 188 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 81 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 189




                      EXHIBIT B




                                                                     Appellant's Appendix
                                                                        Page 189 of 281
            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 82 of 90
Appellate Case: 24-8013             Document: 010111048105           Date Filed: 05/13/2024           Page: 190

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    Isaac N. Sutphin, P.C. (Wyo. State Bar# 6-3711)
                                                                                           DEC O7 2023 ~ "3p1tt...__
    HOLLAND & HART LLP                                                                   DISTRICT COURT
    2020 Carey Avenue, Suite 800                                                      9TH JUDICIAL DISTRICT
    P.O. Box 1347                                                                    TETON COUNTY WYOMING
    Cheyenne, WY 82003-1347
    Telephone: 307.778.4200
    Facsimile: 307.778.8175
    INSutphin@hollandhart.com

    ATTORNEYS FOR DEFENDANT
    WELLS FARGO BANK, N.A.

    STATE OF WYOMING                                   )               IN THE DISTRICT COURT
                                                       ) ss
    COUNTY OF TETON                                    )             NINTH JUDICIAL DISTRICT

    CAROL W. GARRETT AND TERRY LEE
    GARRETT,

                      Plaintiffs,
                                                                Civil Action No. 2023-CV-18974
              V.

    WELLS FARGO BANK, N.A.,

                      Defendant.

            DEFENDANT WELLS FARGO BANK, N.A.'S UNOPPOSED MOTIO N FOR
             ,EXTENSION OF TIME TO RESPOND TO PLAINTIFFS' COMPLAINT

             Defendant Wells Fargo Bank, N.A., ("Wells Fargo"), by and through their undersigned

    counsel, respectfully files this Unopposed Motion for an Extension of Time to Respond to

    Plaintiffs' Complaint.

             As grounds for this Motion, Wells Fargo states the following:

             1.       On October 10, 2023, Plaintiffs initiated this action by filing their Complaint.

             2.       On November 17, 2023, Plaintiffs served their Complaint upon Wells Fargo.

             3.       Wells Fargo's current deadline to respond is December 7, 2023.

             4.       The Complaint contains voluminous and detailed allegations. Wells Fargo

    requires additional time to investigate the allegations stated in Plaintiffs' Complaint, and to




                                                                                            Appellant's Appendix
                                                                                               Page 190 of 281
            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 83 of 90
Appellate Case: 24-8013             Document: 010111048105                 Date Filed: 05/13/2024             Page: 191
                                                                                      therefore seeks an
                                       pl ea di ng s an d/ or m  otions. Wells Fargo
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  prepare the appropria                                                                           itted by
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                          answer, motion to di
  extension to serve its
                      .
  Wyo. R. Civ. P. 6(b)                                                                                 mplaint is
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                                           y filed, as
          5.        This Motion is timel
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                          2023. This reques
   due on December 7;
                                                        ve been entered.
         or de r of the Co ur t, as no such orders ha
   other                                                                                            rgo or granted
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           6.        There have been no

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    with respect to Plaint                                                                      ted to a thirty
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            7.     Wells Fargo has conf                                                                   line to
                                                          ai nt  , th ereby m  ak in g Wells Fargo's dead
                                                  Compl
                           respond to Plaintiffs'
     (30) day extension to
                          24.
     respond January 8, 20                                                                  quests the Court
                                            W  ells  Fa rg  o Ba nk , N.A., respectfully re
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      including Monday, Ja
                              .
      Plaintiffs' Complaint
                                        December 2023 .
               Dated this 7th day of


                                                                                                   -3711)

                                                                            Suite 800
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                                                                        FENDANT
                                                        ATTORNEYS FOR DE , N.A.
                                                                      NK
                                                        WELLS FARGO BA



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                                                                                                     Appellant's Appendix
                                                                                                        Page 191 of 281
           Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 84 of 90
Appellate Case: 24-8013           Document: 010111048105         Date Filed: 05/13/2024          Page: 192




                                   CERTIFICATE OF SERVICE
           I hereby certify that on December 7, 2023, I served the foregoing by sending a true and

    correct copy thereof via electronic mail and United States mail, postage prepaid and properly

    addressed to the following:

                   J. Austin Dunlap
                   Austin Dunlap Law
                   P.O. Box 4803
                   Jackson, WY 83001
                   austindunlap@gmail.com



                                                  ?--"




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                                                                                        Appellant's Appendix
                                                                                           Page 192 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 85 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 193




                      EXHIBIT C




                                                                     Appellant's Appendix
                                                                        Page 193 of 281
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            STATE OF WYOMING                                )               IN THE DISTRICT COURT

                                                                                                              F,iL',P
                                                            ) ss
            COUNTY OF TETON                                 )             NIN'lH JUDIC!,\.L DISTRICT
            CAROL W. GARRETT AND TERRY LEE
            GAR.REIT,
                                                                                                            DE~      ~ ~O~t.....
                                                                                                       ~ ~ rl

                                                                                                       9TH JUDICIAL DISiRICi
                              Plaintiffs,                                                            Tf::TON COUNTY WYOMIN
                                                                      Civil Action No. 2023-CV-18974
                    v.
            WELLS FARGO BANK, N.A.,
                              Defendant

                         ORDER GRANTING DEFENDANT WELLS FARGO BANK, N.A.'S
                            UNOPPOSED MOTION FOR EXTENSION OF TIME TO
                                      RESPOND TO PLAINTIFFS' COMPLAINT

                  TH1S MATTER having come before the Court on Defendant Wells Fargo Bank, N.A.'s

           Unopposed Motion for Extension of Time to Respond to Plaintiffs' Complaint, and the Court

           _having considered the Motion and the information presented therein, HEREBY OR!>ERS that

           the Motion for Extension of Tix:ne is GRAN1ED.
                  Wells Fargo shall file its answer, motion or other responsive pleading to Plaintiffs'

           Complaint on or before Monday, January 8, 2024.

                  DATED this          01 t,   day of December 2023.




                                                     Ninth Judicial District Court Judge
                                                     Me.J(sstA. M #0 WGl'U

           Copies to:
           Isaac Sutphin
           J. Austin Dunlap




                                                                                              Appellant's Appendix
                                                                                                 Page 194 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 87 of 90
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 195




                      EXHIBIT D




                                                                     Appellant's Appendix
                                                                        Page 195 of 281
            Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 88 of 90
Appellate Case: 24-8013           Document: 010111048105         Date Filed: 05/13/2024         Page: 196



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  WELLS FARGO BANK, N.A.

  STATE OF WYOMING                                   )              IN THE DISTRICT COURT
                                                     ) ss
  COUNTY OF TETON                                    )           NINTH JUDICIAL DISTRICT

  CAROL W. GARRETT AND TERRY LEE
  GARRETT,

                    Plaintiffs,
                                                            Civil Action No. 2023-CV-18974
            v.

  WELLS FARGO BANK, N.A.,

                    Defendant.

                          NOTICE OF FILING OF NOTICE OF REMOVAL

          PLEASE TAKE NOTICE that in the above-entitled action, Defendant Wells Fargo Bank,

  N.A. (Wells Fargo), by and through undersigned counsel, Holland & Hart LLP, hereby files this

  Notice of Filing of Notice Removal pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, and

  U.S.D.C.L.R. 81.1. Wells Fargo filed a Notice of Removal in the United States District Court for

  the District of Wyoming on January 8, 2024. A true and correct copy of the Notice of Removal

  filed in the United States District Court is attached as Exhibit A. This filing serves as written

  notice to all adverse parties and effects removal in accordance with 28 U.S.C. § 1446(d).




                                                                                       Appellant's Appendix
                                                                                          Page 196 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 89 of 90
Appellate Case: 24-8013     Document: 010111048105             Date Filed: 05/13/2024          Page: 197



         Dated this 8th day of January 2024.




                                          Isaac
                                          IIs
                                            saaaac N. Sutph
                                                      Sutphin,
                                                         pphhiinn, P.
                                                                   P
                                                                   P.C.
                                                                      C. (Wyo. State Bar
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                                                 2                                    Appellant's Appendix
                                                                                         Page 197 of 281
          Case 1:24-cv-00007-SWS Document 2 Filed 01/08/24 Page 90 of 90
Appellate Case: 24-8013      Document: 010111048105            Date Filed: 05/13/2024        Page: 198



                               CERTIFICATE OF SERVICE
         I hereby certify that on January 8, 2024, I served the foregoing by file and servexpress

  and by placing a true and correct copy thereof in the United States mail, postage prepaid and

  properly addressed to the following:

                 J. Austin Dunlap
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                                                  3                                 Appellant's Appendix
                                                                                       Page 198 of 281
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 199




                                 ECF Doc 3

             Order of Removal




                                                                     Appellant's Appendix
                                                                        Page 199 of 281
                                        Case 1:24-cv-00007-SWS Document 3 Filed 01/09/24 Page 1 of 2


                                                                                                               FILED

                                                         UNITED STATES DISTRICT COURT
                                                             DISTRICT OF WYOMING

                                                                                                            1:39 pm, 1/9/24
                           CAROL W. GARRETT and TERRY LEE
                           GARRETT,                                                                      Margaret Botkins
Page: 200




                                                                                                          Clerk of Court
                                           Plaintiffs,
                                                                                             Case No. 24-CV-7-SWS
                                   v.
Date Filed: 05/13/2024




                           WELLS FARGO BANK, N.A.,

                                           Defendant.




                                                               ORDER OF REMOVAL
Document: 010111048105




                                 On January 8, 2024, a notice of removal of this case was filed with the Clerk of the United

                          States District Court, District of Wyoming, pursuant to 28 U.S.C. § 1446. It is therefore

                                 ORDERED that, under Local Civil Rule 81.1, the removing party shall immediately notify

                          the state court of the removal by filing a copy of the notice of removal with the clerk of the state

                          court (if such has not already been done). It is

                                 FURTHER ORDERED that the clerk of the state court is hereby advised that jurisdiction
Appellate Case: 24-8013




                          over the parties and subject matter of this action is deemed removed from the state court to the

                          United States District Court for the District of Wyoming at the time the notice of removal is filed

                          with the clerk of the state court, and the state court should proceed no further on this case unless it

                          is later remanded back to the state court. It is

                                 FURTHER ORDERED that if any hearing is pending in the state court when the notice of

                          removal is filed with the clerk of state court, the removing parties shall immediately notify the

                          state court clerk of the removal of this action. It is




                                                                                                                  Appellant's Appendix
                                                                                                                     Page 200 of 281
                                     Case 1:24-cv-00007-SWS Document 3 Filed 01/09/24 Page 2 of 2




                                 FURTHER ORDERED that the removing party shall file a copy of the state court

                          complaint (or other case-initiating document) as a separate document in this federal case (if not

                          already done). It is
Page: 201




                                 FINALLY ORDERED that the removing party shall file a copy of the entire state court

                          record and proceedings including the docket sheet (if not already done) with the Clerk of this Court

                          within fourteen (14) days of the date of this Order of Removal.
Date Filed: 05/13/2024




                                 DATED: January        9 7: 2024.
                                                                             ~4/,~
                                                                             ,. .Scoiiw. Skavdahl
                                                                               United States District Judge
Document: 010111048105
Appellate Case: 24-8013




                                                                       Page2of2

                                                                                                               Appellant's Appendix
                                                                                                                  Page 201 of 281
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 202




                                 ECF Doc 4

            Motion to Dismiss




                                                                     Appellant's Appendix
                                                                        Page 202 of 281
             Case 1:24-cv-00007-SWS Document 4 Filed 01/16/24 Page 1 of 2
Appellate Case: 24-8013           Document: 010111048105      Date Filed: 05/13/2024        Page: 203



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  WELLS FARGO BANK, N.A.

                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF WYOMING

  CAROL W. GARRETT and TERRY LEE
  GARRETT,

                    Plaintiffs,
                                                     Civil Action No. 1:24-cv-00007-SWS
            v.

  WELLS FARGO BANK, N.A.,

                    Defendant.

                     DEFENDANT WELLS FARGO’S MOTION TO DISMISS

          Defendant Wells Fargo Bank, N.A. (Wells Fargo), pursuant to Rule 12(b)(6) of the

  Federal Rules of Civil Procedure, respectfully moves this Court to dismiss Plaintiffs’ Complaint

  for failure to state a claim upon which relief may be granted. The basis for Wells Fargo’s Motion

  to Dismiss is set forth in greater detail in the accompanying Memorandum of Law in Support of

  its Motion to Dismiss.




                                                                                   Appellant's Appendix
                                                                                      Page 203 of 281
                Case 1:24-cv-00007-SWS Document 4 Filed 01/16/24 Page 2 of 2
Appellate Case: 24-8013      Document: 010111048105         Date Filed: 05/13/2024     Page: 204



  Dated this 16th day of January 2024.

                                           /s/ Isaac N. Sutphin
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                                              2                               Appellant's Appendix
                                                                                 Page 204 of 281
           Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 1 of 12
Appellate Case: 24-8013           Document: 010111048105        Date Filed: 05/13/2024         Page: 205



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  ATTORNEYS FOR DEFENDANT
  WELLS FARGO BANK, N.A.

                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF WYOMING

  CAROL W. GARRETT and TERRY LEE
  GARRETT,

                    Plaintiffs,
                                                       Civil Action No. 1:24-cv-00007-SWS
            v.

  WELLS FARGO BANK, N.A.,

                    Defendant.

                   DEFENDANT WELLS FARGO’S MEMORANDUM OF LAW
                         IN SUPPORT OF MOTION TO DISMISS

          Defendant Wells Fargo Bank, N.A. (Wells Fargo) submits this Memorandum of Law in

  support of its Motion to Dismiss the Complaint filed by Plaintiffs Carol and Terry Garrett

  (Plaintiffs) for failure to state a claim upon which relief may be granted and states as follows

  pursuant to Federal Rule of Civil Procedure 12(b)(6):

  I.      INTRODUCTION

          Plaintiffs Carol Garrett and Terry Garrett are residents of Florida who also owned real

  property at 1045 Upper Cache Creek Drive (the “Property”) in Jackson, Teton County,

  Wyoming. Plaintiffs owned the Property subject to a mortgage agreement (the “Mortgage”) with

  Wells Fargo. In December 2022, Wells Fargo notified Plaintiffs of its intent to foreclose on the

  Mortgage due to nonpayment. In March 2023, the Property was sold at a public sale. Plaintiffs



                                                                                      Appellant's Appendix
                                                                                         Page 205 of 281
          Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 2 of 12
Appellate Case: 24-8013        Document: 010111048105             Date Filed: 05/13/2024            Page: 206



  failed to redeem the Property during the three-month redemption period following the sale. In

  July 2023, following the expiration of the redemption period, a Sheriff’s Deed was executed and

  delivered to the purchaser of the Property.

         In their Complaint, Plaintiffs allege three claims against Wells Fargo. Each of these

  claims is fatally flawed and fails to state a claim upon which relief may granted. Accordingly,

  each of Plaintiffs’ claims must be dismissed, as set forth in more detail below.

  II.    SUMMARY OF COMPLAINT

         Plaintiffs’ Complaint alleges three claims against Wells Fargo. The first two claims assert

  technical violations of W.S. § 34-4-103, which sets forth prerequisites to foreclosure under

  Wyoming law. In particular, Count I of the Complaint alleges that Wells Fargo failed to record

  an assignment of the Mortgage. (Complaint at ¶¶ 29-33.) Count II alleges that Wells Fargo failed

  to satisfy their obligation to notify the occupant of the Property. (Id. at ¶¶ 34-46.)

         Count III alleges that Wells Fargo breached their implied covenant of good faith and fair

  dealing based on breaches of community standards of decency, fairness, and reasonableness. (Id.

  at ¶¶ 47-51.) Finally, Plaintiffs set forth a separate claim for punitive damages. (Id. at ¶¶ 52-57.)

  III.   LEGAL STANDARD

         Rule 12(b)(6) of the Federal Rules of Civil Procedure provides that a claim may be

  dismissed for failure to state a claim upon which relief may be granted. Fed.R.Civ.P. 12(b)(6). In

  assessing a motion to dismiss under Rule 12(b)(6), the court must construe the complaint in the

  light most favorable to plaintiff and accept all well-pled factual allegations as true.

  Streetmediagroup, Ltd. Liab. Co. v. Stockinger, 79 F.4th 1243, 1248 (10th Cir. 2023).

         A plaintiff can support a claim “by showing any set of facts consistent with the

  allegations in the complaint.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 563, (2007). This




                                                    2                                      Appellant's Appendix
                                                                                              Page 206 of 281
          Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 3 of 12
Appellate Case: 24-8013       Document: 010111048105             Date Filed: 05/13/2024         Page: 207



  standard requires more than bare assertions of legal conclusions. Wright v. City of Ponca City,

  No. 22-6137, 2023 U.S. App. LEXIS 23735, at *6 n.4 (10th Cir. Sep. 7, 2023). “[A] formulaic

  recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. Any claim

  for relief must contain “a short and plain statement of the claim showing that the pleader is

  entitled to relief.” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (quoting Fed. R. Civ. P. 8(a)(2)).

  “Specific facts are not necessary; the statement need only ‘give the defendant fair notice of what

  the ... claim is and the grounds upon which it rests.’” Id. (citing Twombly, 550 U.S. at 555).

         Nonetheless, a complaint must contain sufficient facts to “state a claim to relief that is

  plausible on its face” in order to survive a motion to dismiss. Twombly, 550 U.S. at 570. “The

  plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer

  possibility that defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678, (2009)

  (citing Twombly, 550 U.S. at 556). “Threadbare recitals of the elements of a cause of action,

  supported by mere conclusory statements, do not suffice.” Id. (citing Twombly, 550 U.S. at 555).

  A plaintiff with no facts and “armed with nothing more than conclusions” cannot “unlock the

  doors of discovery.” Id. at 678–79.

   IV.   MEMORANDUM OF LAW

         A.      Plaintiffs Fail to State Plausible Causes of Action Under Rule 12(b)(6)

                 1.      Wells Fargo Did Not Violate W.S. § 34-4-103(a)(iii)

         Plaintiffs’ first count is based on the assertion that “[t]he Garretts entered into a mortgage

  agreement with First Union National Bank of Delaware and not Defendant.” (Complaint at ¶ 31.)

         While Plaintiffs are correct that their mortgage agreement (the “Mortgage”) was initially

  with First Union National Bank of Delaware (First Union), their claim is based on the

  demonstrably false assumption that Wells Fargo could only acquire the Mortgage through an




                                                    3                                  Appellant's Appendix
                                                                                          Page 207 of 281
          Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 4 of 12
Appellate Case: 24-8013       Document: 010111048105           Date Filed: 05/13/2024         Page: 208



  assignment from First Union. (Id. at ¶ 32 (“The assignment from First Union National Bank of

  Delaware to Defendant is not recorded in the Teton County Records as evidenced by the Title

  Commitment provided by Northern Title.”).)

         To the contrary, Wells Fargo acquired the Mortgage through a merger, which transferred

  the Mortgage automatically by operation of federal law, without the need for assignment. More

  specifically, in April 2002 First Union changed its name to Wachovia Bank of Delaware,

  National Association. (See Exhibit 1, Letter from Office of Comptroller of the Currency, dated

  April 4, 2002 (confirming title change).1) Then, in 2010, Wachovia Bank of Delaware and

  another bank merged with and into Wells Fargo Bank, National Association, Sioux Falls, South

  Dakota. (See Exhibit 2, Letter from Office of Comptroller of the Currency, dated March 20,

  2010.) The result of the merger was Wells Fargo Bank, N.A., the Defendant in this lawsuit and

  the entity which foreclosed on Plaintiffs’ Mortgage. (Id.)

         It is well-established that, as a result of First Union’s name change and subsequent

  merger, the Mortgage was acquired by Wells Fargo without need for assignment. Indeed, 12

  U.S.C. § 215a(e) governs such mergers and provides that:



  1
    Defendant respectfully requests this Court take judicial notice of the letters attached hereto as
  Exhibits 1 and 2 as adjudicative facts that “can be accurately and readily determined from
  sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). The Court in
  Buczek v. Seterus permitted judicial notice of information retrieved from official government
  websites. See, e.g., Buczek v. Seterus LLC, No. 16-CV-268S, 2021 U.S. Dist. LEXIS 128815, at
  *1 n.1 (W.D.N.Y. July 11, 2021) (taking judicial notice of the FDIC website reflecting HSBC
  Bank's acquisition of Republic Bank For Savings). Likewise, another court judicially noticed as
  true, “public records from the Internet are ‘generally considered not to be subject to reasonable
  dispute.’” In re Quaker Oats Maple & Brown Sugar Instant Oatmeal Litig., No. CV 16-1442
  PSG (MRWx), 2017 U.S. Dist. LEXIS 174394, at *6 (C.D. Cal. Oct. 10, 2017) (quoting
  Gerritsen v. Warner Bros. Entm't Inc., 112 F. Supp. 3d 1011, 1033 (C.D. Cal. 2015)).
  Furthermore, the court may take judicial note of adjudicative facts that “[concern] matters that
  bear directly upon the disposition of the case at hand.” Griffith v. W. Oilfields Supply Co., No.
  20-CV-144-F, 2020 U.S. Dist. LEXIS 262227, at *7 (D. Wyo. NO. 3, 2020) (quoting United
  States v. Ahidley, 486 F.3d 1184, 1192 n.5 (10th Cir. 2007)).


                                                   4                                 Appellant's Appendix
                                                                                        Page 208 of 281
           Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 5 of 12
Appellate Case: 24-8013         Document: 010111048105              Date Filed: 05/13/2024           Page: 209



                  The corporate existence of each of the merging banks or banking
                  associations participating in such merger shall be merged into and continued
                  in the receiving association and such receiving association shall be
                  deemed to be the same corporation as each bank or banking association
                  participating in the merger. All rights, franchises, and interests of the
                  individual merging banks or banking associations in and to every type of
                  property (real, personal, and mixed) and choses in action shall be
                  transferred to and vested in the receiving association by virtue of such
                  merger without any deed or other transfer.

  12 U.S.C. § 215a(e) (emphasis added).

           Courts have uniformly interpreted 12 U.S.C. § 215(a) and, more generally, bank mergers

  to eliminate the need for assignment of mortgages. See White v. Bank of Am., N.A., 597 F. App'x

  1015, 1019-20 (11th Cir. 2014) (rejecting challenge to assignment of mortgage and affirming

  bank’s right to foreclose). Under similar circumstances, the United State District Court for the

  District of Massachusetts set forth the applicable analysis in concise terms:

                  [T]he fact that there is no recorded assignment of Plaintiffs’ mortgage is
                  inapposite. As discussed above, Defendant is the successor by merger to
                  World Savings. Under federal law, Defendant automatically acquired all
                  World Savings’ assets at the time of merger. Pursuant to 12 U.S.C. § 215a,
                  when a National Bank, such as Defendant, merges with another banking
                  entity, the “receiving association shall be deemed to be the same corporation
                  as each bank or banking association participating in the merger.” As a result,
                  “all rights, franchises, and interests . . . in and to every type of property . . .
                  shall be transferred to and vested in the receiving association . . . without
                  any deed or other transfer.” No court order or other legal action is required.
                  Accordingly, Defendant automatically acquired ownership of Plaintiffs’
                  mortgage at the time of the merger, so long as World Savings owned it at
                  that time. The lack of any recorded assignment actually undermines
                  Plaintiffs’ claim to the extent that it suggests the mortgage was not
                  transferred to anyone other than Defendant.

  Rice v. Wells Fargo Bank, N.A., 2 F. Supp. 3d 25, 35 (D. Mass. 2014) (quoting 12 U.S.C. §

  215a).

           Accordingly, Wells Fargo acquired the Mortgage automatically via merger in 2010,

  without the need for assignment or any other form of transfer. Because the Mortgage was never

  assigned, Plaintiffs cannot allege a violation of the requirement in W.S. §34-4-103(a)(iii) that “if



                                                      5                                     Appellant's Appendix
                                                                                               Page 209 of 281
          Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 6 of 12
Appellate Case: 24-8013         Document: 010111048105           Date Filed: 05/13/2024          Page: 210



  [the Mortgage] has been assigned, that all assignments have been recorded.” (Complaint at ¶ 30

  (quoting W.S. §34-4-103(a)(iii)).)

         Thus, Plaintiffs’ claim that Wells Fargo violated W.S. §34-4-103(a)(iii) must fail as a

  matter of law.

                   2.     Wells Fargo Did Not Violate W.S. § 34-4-103(a)(iv)

         Plaintiffs’ second count is based on the assertion that the occupant of the Property “did

  not receive notice of intent to foreclose as required by W.S. § 34-4-103(a)(iv).” (Complaint at ¶

  39.)

         As an initial matter, Plaintiffs aver facts that are clearly contradicted by the same

  documents upon which they rely. In particular, Plaintiffs allege that:

                   Defendant made no effort to distinguish addresses between the owner and
                   the occupant as set forth in his affidavit below. The notice for the occupant
                   was sent to the address of record of the owner.

  (Complaint at ¶ 37.)

         However, Exhibit 3 to Plaintiffs’ Complaint shows that Wells Fargo sent notice to both

  Florida, where Plaintiffs live, and the Property itself, which was occupied by a tenant. (ECF No.

  1, Complaint, Exhibit 3.)

         More significantly, Plaintiffs cannot allege an actual violation of the notice requirements

  in W.S. § 34-4-103(a)(iv). First, Plaintiffs do not allege that Wells Fargo failed to provide notice

  to them. Instead, Plaintiffs attempt to manufacture a cause of action based on the purported

  failure to notify someone else. As a matter of law, Plaintiffs cannot sustain such a claim.

         Under W.S. § 34-4-103(a)(iv), Wells Fargo was required to provide notice to Plaintiffs

  and the occupant “by certified mail with return receipt…at least (10) days before commencement

  of publication of notice of sale.” W.S. § 34-4-103(a)(iv). The statute further provides that

  “[p]roof of compliance with this subsection shall be by affidavit.” Id. Wells Fargo did precisely


                                                    6                                  Appellant's Appendix
                                                                                          Page 210 of 281
          Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 7 of 12
Appellate Case: 24-8013        Document: 010111048105           Date Filed: 05/13/2024          Page: 211



  that.

          Exhibit 3 of Plaintiffs’ Complaint includes the affidavit of attorney Brian Sayer, who

  averred that the notice of intent to foreclose the Mortgage was sent to both Plaintiffs’ Florida

  address and the occupant at the Property via certified mail with return receipt. (ECF No. 1,

  Complaint, Exhibit 3.) Moreover, the notice was sent nearly two months before the

  commencement of publication of notice of sale, a significantly longer notice period than the 10

  days required by the statute.2 (Id.)

          By sending the required notices and establishing compliance via affidavit, Wells Fargo

  satisfied the requirements of the statute, which does not require additional proof that the

  occupant of the Property received and accepted service of Wells Fargo’s notice of intent to

  foreclose. (Id.) In fact, the Wyoming Supreme Court has explained that the statute’s

  requirements should be applied liberally, particularly when the owner has actual notice of the

  intent to foreclose. ORO Mgmt., LLC v. R.C. Mineral & Rock, LLC, 304 P.3d 925, 930 (Wyo.

  2013) (“Strict compliance with the notice requirement of W.S. 34-4-103 is unnecessary when a

  party has actual notice of intent to foreclose.”) (affirming district court’s grant of summary

  judgment and dismissal of lawsuit to set aside foreclosure sale).

          Significantly, the Wyoming Supreme Court further explained that “the purpose of

  providing notice ‘is to afford [the] mortgagee an opportunity to bring the indebtedness current or

  take other appropriate action to avoid foreclosure.’” Id. (quoting Walker v. McAnnany, 802 P.2d

  876, 879 (Wyo. 1990)). In the case before this Court, Plaintiffs do not allege that they lacked

  notice. Accordingly, the purpose of the statute’s notice requirement was accomplished, and the



  2
    The notice of intent to foreclose the Mortgage was sent on December 8, 2022. The date of the
  first publication of the notice of foreclosure sale was February 1, 2023. (ECF No. 1, Complaint,
  Exhibit 3.)


                                                   7                                  Appellant's Appendix
                                                                                         Page 211 of 281
          Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 8 of 12
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024         Page: 212



  mortgagees (Plaintiffs) had “an opportunity to bring their indebtedness current or take other

  appropriate action to avoid foreclosure.” Id.

         Wyoming law does not allow Plaintiffs to conjure a violation of the statute based on

  allegedly defective service to an occupant with no ownership interest in the Property. See Walker

  v. McAnnany, 802 P.2d 876, 879 (Wyo. 1990) (“[D]efendants, having knowledge of…claims,

  will not be heard to raise an imperfect recordation of certificates of location as a defect of which

  they can take advantage.”). The Wyoming Supreme Court instructs that such technical issues are

  unavailing even when they prevent service of the notice to an owner of the property, as long as

  the owner has actual notice. Id. (“[A]ppellant has not shown prejudice by his having actual

  notice rather than receiving a notice by certified mail.”).

         Here, there are no issues regarding service of notice to the owners. Instead, there is

  merely an allegation that, despite compliance with the requirements of the statute, an occupant

  did not receive the notice served by Wells Fargo. Wyoming law does not provide a cause of

  action based on such an allegation. Id. (“There is no provision in W.S. 34-4-103(iv), supra, that

  prohibits actual notice of intent to foreclose… there was no penalty for failure to abide by the

  statute.”). Interestingly, despite the owners (Plaintiffs) having received actual notice in Florida

  well before the foreclosure sale, there’s no allegation that they ever bothered to communicate

  with their tenant to make him/her aware of the foreclosure process or upcoming foreclosure sale

  (notwithstanding that they would have been in the best position to know whether mail would

  have been deliverable at the Property address). From the Complaint, it appears that Plaintiffs

  simply kept their tenant in the dark about everything.

         Finally, even if it could be established that the occupant of the Property was harmed in

  some manner by the United States Postal Service’s inability to deliver the notice, Plaintiffs lack




                                                    8                                  Appellant's Appendix
                                                                                          Page 212 of 281
          Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 9 of 12
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024           Page: 213



  standing to bring a claim on the occupant’s behalf. Ribbens Int'l, S.A. de C.V. v. Transp. Int'l

  Pool, Inc., 45 F. Supp. 2d 982, 984 (C.D. Cal. 1999) (“[U]nder prudential standing

  guidelines…‘third party’ standing is permissible only where there [exists] some hindrance to the

  third party's ability to protect his or her own interests.”) (internal quotations omitted); Viceroy

  Gold Corp. v. Aubry, 75 F.3d 482, 488-9 (9th Cir. 1996) (a party lacks standing to assert a third

  party’s rights unless there exists a “genuine obstacle” to the third party asserting its own

  interests, noting that one purpose of the prudential standing rule barring assertion of third party

  rights is “to avoid adjudicating rights a third party may not wish to assert.”).

         Thus, in accordance with Wyoming law and established principles of standing, Plaintiffs’

  claim that Wells Fargo violated W.S. §34-4-103(a)(iv) must fail as a matter of law.

                 3.      Plaintiffs Fail to Plead a Breach of the Implied Covenant of Good Faith
                         and Fair Dealing

         Plaintiffs’ third count is similarly without merit. Plaintiffs conclusorily assert that:

                 Defendant’s failure to record the assignment of the mortgage and failure to
                 notify the current occupant of the intent to foreclose as statutorily required
                 are breaches of community standards of decency, fairness, and
                 reasonableness.

  (Complaint at ¶ 50.)

         As discussed above, Plaintiffs’ first two claims are based on purported technical

  violations of assignment and notification requirements. As further set forth above, neither of

  those claims is sustainable as a matter of law. Yet, Plaintiffs allege that these claims also

  constitute the sole bases for a breach of the implied covenant of good faith and fair dealing.

         Plaintiffs appear to allege that the technical violations pled in Count I and Count II are

  breaches of community standards of decency, fairness, and reasonableness. However, Plaintiffs

  fail to identify any specific standards of decency, fairness, or reasonableness that are breached by

  the allegations against Wells Fargo. Moreover, Plaintiffs fail to allege how the allegations in



                                                    9                                   Appellant's Appendix
                                                                                           Page 213 of 281
         Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 10 of 12
Appellate Case: 24-8013       Document: 010111048105            Date Filed: 05/13/2024         Page: 214



  Count I and Count II are even relevant to the unspecified community standards.

         Under Wyoming law, these allegations are insufficient to plead a claim for breach of the

  implied covenant of good faith and fair dealing. First, the implied covenant of good faith and fair

  dealing cannot be used to manufacture new obligations for Wells Fargo or new rights for

  Plaintiffs. Woodie v. Berkshire Hathaway Homestate Ins. Co., 806 F. App'x 658, 672-73 (10th

  Cir. 2020) (“Wyoming law prohibits the use of the covenant to establish new, independent rights

  or duties not agreed upon by the parties.”) (internal quotations omitted); Wilcox v. Sec. State

  Bank, 523 P.3d 277, 290-91 (Wyo. 2023) (a plaintiff cannot use the covenant of good faith and

  fair dealing to establish a new, independent duty).

         Accordingly, Plaintiffs’ claim for breach of the implied covenant must be based on the

  clear language of the mortgage agreement between Wells Fargo and Plaintiffs. Id. (District court

  properly dismissed the breach of implied covenant claim because plaintiff did not plausibly plead

  that any action taken by defendant was not in conformity with the clear contract language.).

  Plaintiffs do not cite the mortgage agreement, much less specify how Wells Fargo’s alleged

  conduct failed to conform to the agreement.

         Thus, Plaintiffs have failed to plead a breach of the implied covenant of good faith and

  fair dealing under Wyoming law. Consequently, Count III of Plaintiffs’ Complaint fails as a

  matter of law and must be dismissed.

                 4.      Plaintiffs Improperly Plead a Separate Claim for Punitive Damages

         Plaintiffs’ Complaint sets forth a separate claim for punitive damages. (Complaint at ¶¶

  52-57.) Under Wyoming law, Plaintiffs’ claim for punitive damages is improperly pled and

  should be dismissed.

         First, punitive damages cannot be awarded when compensatory damages are not

  recoverable. Alexander v. Meduna, 47 P.3d 206, 218 (Wyo. 2002) (citing Bear v. Volunteers of


                                                  10                                  Appellant's Appendix
                                                                                         Page 214 of 281
         Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 11 of 12
Appellate Case: 24-8013          Document: 010111048105         Date Filed: 05/13/2024         Page: 215



  America, Wyoming, Inc., 964 P.2d 1245, 1255 (Wyo. 1998). As set forth above, Plaintiffs’

  Complaint fails to state a claim upon which relief can be granted. Consequently, Plaintiffs cannot

  recover compensatory damages and, thus, punitive damages are not available.

         Moreover, under Wyoming law, “punitive damages are not favored and are to be allowed

  cautiously within narrow limits.” Id. (citing Sheridan Commercial Park, Inc. v. Briggs, 848 P.2d

  811, 817 (Wyo. 1993)). Even if Plaintiffs could establish a right to recover compensatory

  damages, the claims in this case do not support an award of punitive damages. Id. (“Such

  damages are to be awarded only for conduct involving some element of outrage similar to that

  usually found in a crime.”).

         More fundamentally, punitive damages cannot be pled as a separate claim under

  Wyoming law. Errington v. Zolessi, 9 P.3d 966, 969 (Wyo. 2000) (“[A] claim for punitive

  damages is a particular element of a cause of action, and it does not constitute a separate claim or

  cause of action.”). Instead, punitive damages are an element of a claim or cause of action. Id.

  (“[I]n Wyoming, punitive damages are an element of a claim or cause of action and are not a

  separate claim.”).

         Therefore, Plaintiffs claim for punitive damages should be dismissed as well.

   V.    CONCLUSION

         Plaintiffs’ Complaint fails to state a claim upon which relief can be granted. Moreover,

  the deficiencies in the claims set forth cannot be cured by amendment of the Complaint.

  Consequently, the Complaint should be dismissed with prejudice.




                                                  11                                  Appellant's Appendix
                                                                                         Page 215 of 281
           Case 1:24-cv-00007-SWS Document 4-1 Filed 01/16/24 Page 12 of 12
Appellate Case: 24-8013      Document: 010111048105        Date Filed: 05/13/2024        Page: 216



  Dated this 16th day of January 2024.
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  31249674_v1




                                               12                               Appellant's Appendix
                                                                                   Page 216 of 281
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 217




                                 ECF Doc 8

   Response to Opposition




                                                                     Appellant's Appendix
                                                                        Page 217 of 281
           Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 1 of 17
Appellate Case: 24-8013       Document: 010111048105          Date Filed: 05/13/2024     Page: 218



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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING

  CAROL W. GARRETT AND                        )
  TERRY LEE GARRETT                           )
                                              )
         Plaintiffs,                          )
  v.                                          )    Civil Action No. 1:24-CV-00007-SWS
                                              )
  WELLS FARGO BANK, N.A.                      )
                                              )
         Defendant.                           )


        THE GARRETTS’ RESPONSE TO MOTION TO DISMISS
         The Garretts, Carol W. Garrett and Terry Lee Garrett, by and through their

  attorney, J. Austin Dunlap, respond to Defendant Wells Fargo Bank, N.A.’s Motion

  to Dismiss, and state and allege as follows:

                                       INTRODUCTION
         The Defendant, Wells Fargo Bank, N.A., (“Wells Fargo”) has filed a Motion to

  Dismiss contending that the Garretts’ claims fail to state a claim upon which relief

  can be granted. Wells Fargo contends that they did not violate W.S.§ 34-4-

  103(a)(iii) and (iv) as supported by citation to federal case law, but Wells Fargo fails

  to cite to Wyoming case law in support of their Motion. Wells Fargo further

  contends denying the Garretts $2.1 Million in equity to recover their $76,000

                                    Garrett v. Wells Fargo Bank
                               Garretts’ Response to Motion to Dismiss
                                          1:24-CV-0007-SWS
                                             Page 1 of 17

                                                                                Appellant's Appendix
                                                                                   Page 218 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 2 of 17
Appellate Case: 24-8013   Document: 010111048105           Date Filed: 05/13/2024     Page: 219



  mortgage was not a violation of community standards of decency, fairness, and

  reasonableness. Wells Fargo continues by arguing that the Garretts have not made

  a viable claim for a breach of the implied covenant of good faith and fair dealing and

  wrongfully claimed punitive damages.

         The Garretts respond that federal case law does not preempt Wyoming

  statutes or Wyoming interpretation of their statutes. For purposes of W.S.§ 34-4-

  103, a merger is an assignment because it meets the common law definition of

  assignment. Wyoming case law is strictly construed as to W.S. §34-4-103(a)(iii) and

  (iv). Further, the Garretts’ have pleaded sufficiently to put Wells Fargo on notice of

  the claims against them regarding breach of the implied covenant of good faith and

  fair dealing. The Garretts’ claim for punitive damages is sufficiently associated

  with the compensatory damages alleged in Counts I-III. Generally, the Complaint

  adequately notifies Wells Fargo of the claims, and the facts alleged makes the claim

  plausible on the face of the Complaint. Wells Fargo’s Motion should be denied.

                                STATEMENT OF FACTS
         In 2001, Carol and Terry Garret built a single-family residence at 1045

  Upper Cache Creek Drive, Jackson, Wyoming. (ECF Doc. 2, ¶9). The home was

  partially financed through a mortgage dated July 31, 2001, from First Union

  National Bank of Delaware (“Mortgagor” or “Lender”). (ECF Doc. 2, ¶12). The

  Garretts had a tenant, Michael Melf, living in the house in July 2023. (ECF Doc. 2,

  ¶13). The neighbors contacted the Garretts to inform them that a stranger had

  been at the Garrett residence earlier in the day, and the stranger stated that he had
                                 Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 2 of 17

                                                                             Appellant's Appendix
                                                                                Page 219 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 3 of 17
Appellate Case: 24-8013    Document: 010111048105           Date Filed: 05/13/2024     Page: 220



  purchased the home at 1045 Upper Cache Creek Drive. (ECF Doc. 2, ¶15). This is

  how the Garretts and Mr. Melf, the legal tenant, found out about the foreclosure

  sale. Id. The Teton County Sheriff’s Office conducted a foreclosure sale for 1045

  Upper Cache Creek Drive on March 16, 2023. (ECF Doc. 2, ¶18). The Teton County

  Sheriff’s Office received an Affidavit of Service of Written Notice of Intent to

  Foreclose Mortgage from Wells Fargo’s representative C. Morgan Lasley, Esquire of

  the Sayer Law Group, P.C. C. Morgan Lasley affirmed that written notice of intent

  to foreclose by advertisement and sale had been served upon the record owner and

  the person in possession by certified mail, return receipt requested. (ECF Doc. 2,

  ¶19). After the tolling of the redemption period, a Sheriff’s Deed was issued on July

  19, 2023. (ECF Doc. 2, ¶22). Upon information and belief, the Garrett’s

  outstanding balance on the Mortgage was approximately $76,500.00. (ECF Doc. 2,

  ¶24). The home at 1045 Upper Cache Creek Drive appraised for $2,900,000.00.

  (ECF Doc. 2, ¶25). The highest bid at public auction was $825,000.00 by John

  Caldwell and Joan Schank. (ECF Doc. 2, ¶26).

                   FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

         Rule 12(b)(6) authorizes the court to dismiss a complaint for failure to state a

  claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6). A Plaintiff must

  allege “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

  Corp. v. Twombly, 550 US. 544, 570, 127 S.Ct. 1955. “A claim has facial

  plausibility when the pleaded factual content allows the court to draw the

  reasonable inference that the Wells Fargo is liable for the misconduct alleged.”
                                  Garrett v. Wells Fargo Bank
                             Garretts’ Response to Motion to Dismiss
                                        1:24-CV-0007-SWS
                                           Page 3 of 17

                                                                              Appellant's Appendix
                                                                                 Page 220 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 4 of 17
Appellate Case: 24-8013    Document: 010111048105          Date Filed: 05/13/2024     Page: 221



  Ashcroft v. Iqbal, 556 U.S. 662, 678 (citing Bell Atl. Corp v. Twombly, 550 U.S. at

  556). The Tenth Circuit has stated:


         “[P]lausibility” in this context must refer to the scope of the allegations
         in a complaint: if they are so general that they encompass a wide swath
         of conduct, much of it innocent, then the the Garretts “have not nudged
         their claims across the line from conceivable to plausible.” The
         allegations must be enough that, if assumed to be true, the plaintiff
         plausibly (not just speculatively) has a claim for relief.

  Robbins v. Oklahoma, 519 F3d 1242, 1247 (10th Cir. 2008)(quoting Bell Atl. Corp. v.

  Twombly, 550 U.S, at 570)(citations omitted). “Again, for purposes of resolving a

  Rule 12(b)(6) motion, we accept as true all well -pleaded factual allegations in a

  complaint and view these allegations in the light most favorable to the plaintiff.”

  Moore v. Guthrie, 438 F.3d 1036, 1039 (10th Cir. 2006).

         When sitting in diversity, a federal court applies federal procedural law and

  state substantive law. E.g., Racher v. Westlake Nursing Home Limited

  partnership, 871 F.3d 1152, 1162 (10th Cir. 201&). “Where no controlling state

  decision exists, [a] federal court must attempt to predict what the state’s highest

  court would do.”” Wade v. EMASCO Ins. Co., 483 F.3d 657, 665-66 (10th Cir. 2007)

  (quoting Wankier v. Crown Equip, Corp, 353 F.3d 862, 866 (10th Cir. 2003)).


                                       ARGUMENT


         Wells Fargo argues that Plaintiff has failed to state claims upon which relief

  can be granted. In support of their argument, they allege that federal case law

  controls and is sufficient to dismiss the Garretts’ stated claim.

                                 Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 4 of 17

                                                                             Appellant's Appendix
                                                                                Page 221 of 281
            Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 5 of 17
Appellate Case: 24-8013        Document: 010111048105             Date Filed: 05/13/2024          Page: 222



  W.S. §34-4-103(a)(iii) – failure to record assignment


          The Wyoming Statute requires that any assignment of the mortgage has been

  recorded. The Garretts contend that their mortgage was with First Union National

  bank of Delaware and not with Wells Fargo, the foreclosing bank. (ECF Doc. 2

  Exhibit 1). The Garretts further assert that there was no evidence of the transfer

  from First Union National Bank of Delaware to Wells Fargo as to the mortgage

  recorded at Book 483, Page 403, Document No. 0549832 – the foreclosed mortgage.


          Wells Fargo provides a proposed factual history of First Union National Bank

  of Delaware’s interest through a series of mesne conveyances to arrive at Wells

  Fargo. (ECF Doc. 4-1 p. 4)1. This raises two issues: 1) is a merger an assignment

  for purposes of W.S. §34-4-103(a)(iii); and 2) if a merger is an assignment, was it

  recorded in Teton County records. The answer to issue No. 1 remains outstanding

  and has been argued by Wells Fargo that a mortgage assignment is not necessary

  due to merger. (ECF Doc. 4-1 p. 4)(“Wells Fargo acquired the Mortgage through a

  merger, which transferred the Mortgage automatically by operation of federal law,

  without the need for assignment.”). The answer to No. 2 has been proven by the

  title report provided by the Garretts with their Complaint. (ECF Doc 2, Exhibit

  6)(No recorded assignment of the mortgage at Book 483, Page 402, No. 0549832).



  1 In contradiction to the Exhibits Defendant has asked this Court to take judicial notice of, and to

  capture the full history and accurate dates of the devolution of interests, the Garretts offer Exhibit 1
  (Noting p. 10: Wells Fargo-Wachovia Merger – “On January 1, 2009, Wells Fargo announced that the
  merger had been completed effective December 31, 2008.”). This document is found at
  https://www.federalreserve.gov/newsevents/testimony/files/alvarez20100901a.pdf
                                       Garrett v. Wells Fargo Bank
                                 Garretts’ Response to Motion to Dismiss
                                            1:24-CV-0007-SWS
                                               Page 5 of 17

                                                                                         Appellant's Appendix
                                                                                            Page 222 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 6 of 17
Appellate Case: 24-8013   Document: 010111048105           Date Filed: 05/13/2024     Page: 223



  Federal preemption


         The United States Congress has not evidenced the intent to occupy the field

  of mortgages and foreclosures, and Federal law has not preempted Wyoming’s

  ability to pass and interpret law regarding mortgages and foreclosures. Union

  Telephone Company, v. Wyoming Public Service Commission , 2022 WY 55, ¶59, 508

  P.3d 1078, 1096, (Wyo. 2022). Although Congress has not entirely displaced state

  regulation, state law that conflicts with federal law can still be preempted. Id. The

  consideration is when state law interferes with the full intent of the federal law. Id.

  The state law does not interfere with the federal law in this scenario.


         A series of cases in Delaware have dealt with assignments as they relate to

  mergers that is persuasive here. Their focus was on assignment by operation of law

  as a result of a merger in the context of anti-assignment clauses. See MTA Canada

  Royalty Corp. v. Compania Minera Pangea, S.A. de C. V., 2020 WL 5554161

  (Superior Court of Delaware 2020); Meso Scale Diagnostics, LLC v. Roche

  Diagnostics GmbH, 62 A. 3d 62, 83 (Del. Ch. Feb 22, 2013) ; Tenneco Auto,. Inc. v. El

  Paso Corp., 2002 WL 453930, at 2 (Del. Ch. Mar 20, 2002); Star Cellular Telephone

  Co., Inc. v. Baton Rouge CGSA, Inc., 1993 WL 394847, at 7 (Del. Ch. Aug. 2, 1993).

  Specifically, that Court has analyzed whether a merger constitutes an assignment

  in contradiction to an anti-assignment provision. MTA Canada at 3, (Under

  Delaware law, the phrase “assignment by operation of law” within an anti-



                                 Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 6 of 17

                                                                             Appellant's Appendix
                                                                                Page 223 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 7 of 17
Appellate Case: 24-8013   Document: 010111048105           Date Filed: 05/13/2024     Page: 224



  assignment provision commonly is understood to include a merger.) Similarly, in

  another case, the Delaware court stated:

         El Paso argues that a merger is an “assignment ... by operation of law”
         and that the language of the first sentence of Section 8.6 of the
         Insurance Agreement makes clear that any such transfer must first
         receive its consent. As a general matter in the corporate context, the
         phrase “assignment by operation of law” would be commonly understood
         to include a merger. Indeed, the Delaware Supreme Court has equated
         an “assignment by operation of law” with a merger. Furthermore, this
         Court has suggested that the phrase “transfer by operation of law”
         would, again in the corporate context, be understood to include a merger.

         Tenneco Auto. Inc. v. El Paso Corp. 2002 WL 453930, 2 (Del. Ch. March 20,

  2002). In a similar conclusion, the MTA Canada Court ruled the anti-assignment

  clause was effective to prohibit transfer, even transfer by operation of law resulting

  from a merger. MTA Canada at 6. These cases highlight that transfer of assets

  through a merger is prohibited by anti-assignment clauses – suggesting they are

  assignments.


         The Garretts assert that the Wyoming Statute requires assignments of

  interest in mortgages to be recorded in the jurisdiction where the property is located

  as a prerequisite to foreclosure. W.S. §34-4-103 (a)(iii). The Wyoming Supreme

  Court has defined “assignment” as “a contractual undertaking by one party of the

  rights and obligations of another such that the second steps into the shoes of the

  first.” Prancing Antelope I, LLC v. Saratoga Inn Overlook HOA, Inc. 2021 WY 3,

  ¶19, 478 P. 3d 1171 (Wyo. 2021)(citation omitted). Black’s Law Dictionary 2 nd Ed.

  defines “merger” as the fusion or absorption of one thing or right into another. It


                                 Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 7 of 17

                                                                             Appellant's Appendix
                                                                                Page 224 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 8 of 17
Appellate Case: 24-8013   Document: 010111048105           Date Filed: 05/13/2024     Page: 225



  continues: “[a] merger of corporations consists in the uniting of two or more

  corporations by the transfer of property of all to one of them, which continues in

  existence, the others being swallowed up or merged therein.” Id. The surviving

  entity in a merger “steps into the shoes of the first” thus satisfying the common law

  definition of “assignment” in Prancing Antelope I.


         Just as Delaware has done, it is appropriate for Wyoming to set forth its laws

  and interpret the meaning of those laws. Wells Fargo stated that “Wells Fargo

  acquired the Mortgage through a merger, which transferred the Mortgage

  automatically by operation of federal law…” (ECF Doc. 4-1 p. 4). The Garretts

  argue that a merger, transfer by operation of law / assignment by operation of law,

  fits the Wyoming definition of an assignment similar to Delaware’s conclusions.

  Prancing Antelope I at ¶19. Wyoming Statute requires an assignment of mortgage

  to be recorded. W.S. §34-4-103(a)(iii). The cited federal law states that national

  banks can merge and transfer assets by operation of law. (ECF Doc. 4-1 p. 4). The

  Wyoming State statute requires recordation of assignments of mortgages. This does

  not conflict with federal law, and W.S. §34-4-103(a)(iii) is not preempted.


  Other Assignment of Mortgage by Wells Fargo

         A successive obstacle to Wells Fargo’s argument is that Wells Fargo’s

  predecessor in interest assigned a mortgage to Wells Fargo in Teton County.

  Exhibit 6 of the Complaint at No. 20 is evidence of a recorded Mortgage with an

  associated Assignment of Mortgage from Wachovia Bank of Delaware, F/K/A First

                                 Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 8 of 17

                                                                             Appellant's Appendix
                                                                                Page 225 of 281
             Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 9 of 17
Appellate Case: 24-8013             Document: 010111048105                     Date Filed: 05/13/2024                 Page: 226



  Union National Bank of Delaware, as Assignor, to Wells Fargo Bank, N.A. as

  Assignee as follows2:

    20. MORTGAGE
      , fortgagor:       Terry Lee Garrett and Carol W. Garret, husband and wife, as tenants by the entireties
      Mortgagee:         Pirst Union National Bank
     Amoun               $200,000.00
     Da1cd:              February 2, 2021
     Recorded:           February 2, 2021
     Entry No.:          S36564
     Boo Page:           filL!jQ

   ASSIGNMENT OP MORTGAGE
    Assignor.        W chovia Bank of Delaware, NA F?K?A Pirst Union National Bank of Delaware
    Assign e:        Wells Fargo Bank .A.
    Dated:          December 6, 2009
    Recorded:       December 21, 2009
     Entry No.:          76S202
     Book/Page:          11§1.212

   RELEASE OF REAL ESTATE MORTGAGE
    Dated:            July 18, 2023
    Recorded:         July 18, 2023
    Entry o.:         106 65



  This represents a different mortgage between the same Parties herein. Wells

  Fargo, by and through its predecessor in interest Wachovia Bank of Delaware F/K/A

  First Union National Bank of Delaware, recorded an assignment of mortgage in the

  Teton County records between the same Parties, as represented above. Now, in

  their Motion, Wells Fargo contradicts by arguing that mortgages do not need

  assignments from the predecessor in interest to Wells Fargo, and the Wyoming

  statute is preempted by 12 U.S.C. §215.


           The purpose of recording documents relating to real property, and the

  resulting public record is to give all interested parties constructive notice that a



  2 A scrivener’s error exists in the date of the mortgage at No. 20.
                                                                   It should read February 2, 2001,
  instead of February 2, 2021. A copy of the recorded Mortgage is included as Exhibit 2.
                                            Garrett v. Wells Fargo Bank
                                     Garretts’ Response to Motion to Dismiss
                                                1:24-CV-0007-SWS
                                                   Page 9 of 17

                                                                                                             Appellant's Appendix
                                                                                                                Page 226 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 10 of 17
Appellate Case: 24-8013   Document: 010111048105           Date Filed: 05/13/2024     Page: 227



  document has been filed and for all to take notice of the effects of the document.

  Wyoming’s recording statutes reads:


         §34-1-121. Recorded instrument as notice to subsequent purchasers;
         recordation of instruments issued by United States or state of Wyoming.

         (a) Each and every deed, mortgage, instrument or conveyance touching
             any interest in lands, made and recorded, according to the provisions
             of this chapter, shall be notice to and take precedence of any
             subsequent purchaser or purchasers from the time of the delivery of
             any instrument at the office of the county clerk, for record.

  The constructive notice that results from the filing of the Assignment of Mortgage

  from Wachovia to Wells Fargo, as evidenced supra, is that a mortgage originated by

  First Union National Bank of Maryland vested in Wachovia National Bank, and

  then was assigned to Wells Fargo. If the intent of the legislature in passing W.S.§

  34-4-103(a)(iii) is to give mortgagors notice of assignment of their mortgage from

  one institution to another, this calls into question Wells Fargo and its predecessor’s

  actions. The constructive notice that the Garretts received based on record title,

  would have been that one of their mortgages was assigned, and the subject

  mortgage that was foreclosed, was not assigned.


         The intent of the legislature can be inferred by reading the statutes together.

  Reading W.S. §34-1-121(a) and W.S. §34-4-103(a)(iii) together implies that

  assignments should be recorded to give constructive notice of the transfer of

  mortgages. See Id. Wells Fargo and their predecessor in interest’s actions are

  either an admission that a merger is effectively an assignment, or confusion against

  constructive notice. Either way, Wells Fargo’s argument that a federal statute
                                 Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 10 of 17

                                                                             Appellant's Appendix
                                                                                Page 227 of 281
           Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 11 of 17
Appellate Case: 24-8013       Document: 010111048105             Date Filed: 05/13/2024         Page: 228



  preempts the Wyoming statutes is undermined by its own actions of recording the

  Assignment of Mortgage between the parties after the merger3.


         The Garretts argue that Wyoming is not preempted from making and

  interpreting its own statutes in the area of mortgages and foreclosures. The

  Garretts have also provided evidence addressing issue No. 1, that conveyance of

  assets through merger, as an assignment by operation of law, should qualify as an

  assignment for purposes of W.S. §34-4-103(a)(iii). Wells Fargo and their

  predecessor’s action further support this interpretation. As previously stated, the

  Garretts assert that the answer to issue No. 2 has been established, and the

  assignment of the mortgage was not recorded in the Teton County records. The

  Garretts have met their burden to “state a claim to relief that is plausible on its

  face” Twombly at 550 U.S. at 570. This Motion should be denied as to the Garretts

  first claim.


  W.S. § 34-4-103(a)(iv) – failure to notify occupant


         Wells Fargo argues that sending notice by certified mail “checks the box” of

  statutory requirements. Wells Fargo argues4 that they provided notice to the

  Garretts and the occupant by certified mail with return receipt at least ten days




  3 The Garrets offer Exhibit 2 to set forth the dates of the merger between Wachovia and Wells Fargo.
  4 Wells Fargo mistakenly argues that “the Garretts do not allege that Wells Fargo failed to provide

  notice to them.” (ECF Doc. 4-1 p. 6). The Garretts recognize that Wells Fargo sent the notices, but
  the Garretts repeat that they never received notice. None of the certified mailings show that they
  were delivered. The Complaint sets forth facts that the Garretts became aware of the public sale in
  July 2023. (ECF Doc. 2, ¶15).
                                      Garrett v. Wells Fargo Bank
                                Garretts’ Response to Motion to Dismiss
                                           1:24-CV-0007-SWS
                                              Page 11 of 17

                                                                                       Appellant's Appendix
                                                                                          Page 228 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 12 of 17
Appellate Case: 24-8013    Document: 010111048105          Date Filed: 05/13/2024     Page: 229



  prior to publication. (ECF Doc. 4-1 p. 6). Wells Fargo next asserts they provided an

  affidavit of compliance. Id. The remainder of Wells Fargo’s argument asserts that

  the owners/occupant had actual notice, which is false.


         The Garretts’ contention in response is twofold: 1) there is a distinction

  between notifying the owner versus notifying the occupant; and 2) absent within

  Wells Fargo’s argument is any confirmation that the owners or occupant actually

  received certified notices. It is well established that a mortgagee does not have duty

  to track down mortgagor, and mortgagee can rely on the address set out in the

  security instrument as a proper address for notice. Walker v. McAnnany, 803 P.3d

  876, 879 (Wyo. 1990). As Wells Fargo argues, they sent the notice to the address

  and that fulfills the requirement as it pertains to the owner. The occupant’s

  address is not set out in the security instrument. Wells Fargo’s return receipt

  showed “insufficient address” in its attempt to contact the occupant.

         Wells Fargo may be excused from pursuing diligent service on the owner

  because the owner had a duty to update the security instrument with a valid

  address. Id. However, if the legislature requires the occupant to be notified and the

  return receipt shows “insufficient address”, then Wells Fargo has not strictly

  complied with the statute. ORO Management, LLC v. R.C. Mineral & Rock, LLC,

  2013 WY 77, ¶14, 304 P.3d 925, 928 (Wyo. 2013)(citation omitted). The ORO

  Management Court stated:

         In an encyclopedia and in another text, the necessity of strict compliance
         with a notice requirement is emphasized.
                                 Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 12 of 17

                                                                             Appellant's Appendix
                                                                                Page 229 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 13 of 17
Appellate Case: 24-8013   Document: 010111048105            Date Filed: 05/13/2024     Page: 230



               “Whenever notice is necessary, it must appear that it was served
               on the proper person, and there must be strict compliance with a
               statute requiring service on a particular person, so that service
               on another person is not sufficient.” 66 C.J.S. Notice § 18 at 658
               (1950).
               “It is clear, of course, that there must be strict compliance with a
               statutory provision designating persons to whom notification is
               to be given.” 1 M. Merrill, Merrill on Notice § 554 at 582 (1952).

  Id. The Garretts are not manufacturing a cause of action, but rather seek for

  compliance with Wyoming Statute §34-4-103 – Prerequisites to foreclosure.

  The Wyoming Supreme Court in addressing the nature of compliance with

  this exact statute has stated:

         On appeal, this Court indicated that Wyo. Stat. Ann. § 34–4–
         103 requires strict compliance:
               It is the rule in Wyoming that “[m]andatory statutes must be
               obeyed, and courts have no right to make law contrary to that
               prescribed by the legislature. In re Hartt's Estate, 75 Wyo. 305,
               295 P.2d 985 (1956).” Thomson v. Wyoming In–Stream Flow
               Committee, Wyo., 651 P.2d 778, 787 (1982). On their face, the
               provisions of § 34–4–103, W.S.1977, are mandatory. The nature
               of a mandatory statute is described appropriately by one text
               writer in this way:
                      “... [B]ut where [the statute] directs acts or
                      proceedings to be done in a certain way and indicates
                      that a compliance with such provisions is essential
                      to the validity of the act or proceeding, or requires
                      some antecedent and prerequisite conditions to exist
                      prior to the exercise of the power, or be performed
                      before certain other powers can be exercised, the
                      statute may be regarded as mandatory.” E.
                      Crawford, The Construction of Statutes § 261 at 515
                      (1940).



                                   Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 13 of 17

                                                                              Appellant's Appendix
                                                                                 Page 230 of 281
            Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 14 of 17
Appellate Case: 24-8013   Document: 010111048105           Date Filed: 05/13/2024     Page: 231



  ORO Management, LLC v. R.C. Mineral & Rock, LLC, 2013 WY 77, ¶14, 304 P.3d

  925, 928 (Wyo. 2013) (quoting Ulery-Williams, Inc. v. First Wyo. Bank, N.A –

  Laramie, 748 P.3d 740, 741-742(Wyo.1988)). Wells Fargo mailed certified notices

  for the occupant to the physical address of the property at 1045 Upper Cache Creek

  Drive, Jackson, Wyoming 83001. Like most residences in Teton County, the

  Garretts’ residence does not receive mail at the physical address. Further, it is

  reasonable that an occupant and an owner may have different mailing addresses.

  Therefore, if Wells Fargo is required to notify the occupant pursuant to W.S.

  §34-4-103(a)(iv), then a return receipt showing “insufficient address” should

  require Wells Fargo to do more. In order to strictly comply with the statutory

  requirement to give notice to the occupant, Wells Fargo has a greater duty.

  Wells Fargo has failed to provide any evidence that the occupant actually received

  notice.

         There is no evidence that the Garretts or occupant had actual notice of the

  foreclosure and public sale. As laid out in the facts in the Complaint, the owners

  and occupant found out about the sale in late July 2023 as a result of the buyer

  being on the property. (ECF Doc. 2 ¶15). The public sale occurred on March 16,

  2023. (ECF Doc. 2 ¶ 18). These facts, in light most favorable to plaintiff, establish

  that the Garretts had no actual notice of the foreclosure and public sale. This

  combats Wells Fargo’s reference to liberal application of the statute’s requirements.

  (ECF Doc. 4-1 p. 7). It further combats Wells Fargo’s claim that “Plaintiffs do not

  allege that they lacked notice.” Id. Wells Fargo repeatedly relies on unfounded facts
                                 Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 14 of 17

                                                                             Appellant's Appendix
                                                                                Page 231 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 15 of 17
Appellate Case: 24-8013   Document: 010111048105           Date Filed: 05/13/2024     Page: 232



  that the Garretts and occupant had actual notice. (ECF Doc. 4-1 pp. 7-8). The

  Garretts’ argument is that Wells Fargo failed to strictly comply with the statute

  that states:

         That written notice of intent to foreclose the mortgage by advertisement
         and sale has been served upon the record owner, and the person in
         possession of the mortgaged premises if different than the record owner,
         by certified mail with return receipt, mailed to the last known address
         of the record owner and the person in possession at least ten (10) days
         before commencement of publication of notice of sale.

  W.S. §34-4-103(a)(iv)(emphasis added). Wells Fargo has a duty to strictly comply

  with the statute, and a claim that Wells Fargo failed to comply has been sufficiently

  stated to defeat this Motion.

  Breach of implied covenant of good faith and fair dealing

         The Garretts have met the requirements for pleading a claim for breach of

  the implied covenant of good faith and fair dealing. The Garretts have alleged that

  Wells Fargo failed to follow statutory procedure and foreclosed the mortgage

  without proper recordation of the assignment and without proper notice to the

  occupant. The result was a transfer of $2.1 Million in equity from the Garretts to a

  purchaser at public auction, in Wells Fargo’s effort to recover approximately

  $76,000 under the mortgage. (ECF Doc. 2 ¶¶47-51). The Wyoming Supreme Court

  recently reiterated:

         We have held that while a party's exercise of its contractual rights may
         not serve as a basis for breach of the covenant, a party nonetheless may
         not exercise its contractual rights in a manner that amounts to self-
         dealing or a violation of community standards of decency, fairness, or
         reasonableness.

                                  Garrett v. Wells Fargo Bank
                            Garretts’ Response to Motion to Dismiss
                                       1:24-CV-0007-SWS
                                          Page 15 of 17

                                                                             Appellant's Appendix
                                                                                Page 232 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 16 of 17
Appellate Case: 24-8013    Document: 010111048105           Date Filed: 05/13/2024     Page: 233



  Jontra Holdings Pty Ltd v. Gas Sensing Tech. Corp., 2021 WY 17, ¶ 87, 479 P.3d

  1222, 1246 (Wyo. 2021). The Garretts are required to show their claim is supported

  by “any set of facts consistent with the allegations in the complaint”. Bell Atlantic

  Corp. v. Twombly, 550 U.S. 544, 563 (2007). The Garretts have satisfied this by

  alleging facts, that should be interpreted in light most favorable to Plaintiffs, that

  Wells Fargo failed to follow statutory requirements resulting in the breach alleged.

  Further, the Wyoming Supreme Court has established “whether the implied

  covenant of good faith and fair dealing was breached is ordinarily one of fact,

  focusing on the conduct alleged as constituting the breach within the context of the

  contract language, the parties’ course of conduct and industry standards.” Wilcox v.

  Security State Bank, 2023 WY 2, ¶50, 523 P.3d 277, 290 (Wyo. 2023)(citations

  omitted). Having met their initial burden in their Complaint, the matter becomes a

  question of fact and not law. Wells Fargo’s Motion should be denied as to this

  aspect of the Complaint.

  Punitive damages

         Wells Fargo has interpreted the Garretts Complaint to assert a separate

  cause of action for punitive damages. The Garretts have made claims that could

  result in compensatory damages. (ECF Doc. 2 Count I, Count II and Count III).

  As pleaded, the Garretts reference the claims in their Complaint that are suitable

  for compensatory damages and set forth the elements of punitive damages as they

  relate to their claims for compensatory damages. (ECF Doc. 2 ¶¶ 54-56.) The


                                  Garrett v. Wells Fargo Bank
                             Garretts’ Response to Motion to Dismiss
                                        1:24-CV-0007-SWS
                                           Page 16 of 17

                                                                              Appellant's Appendix
                                                                                 Page 233 of 281
          Case 1:24-cv-00007-SWS Document 8 Filed 01/30/24 Page 17 of 17
Appellate Case: 24-8013    Document: 010111048105            Date Filed: 05/13/2024     Page: 234



  punitive damages claim is in association with compensatory damages and not a

  separate cause of action.

                          RESPONSE IN THE ALTERANATIVE

         If this Court were to determine the Complaint is insufficient as plead,

  Plaintiffs would respectfully seek leave of the Court to amend their claims and to

  further plead their claims.

         WHEREFORE, the Garretts respectfully requests this Honorable Court deny
  Wells Fargo’s Motion to Dismiss.

         RESPECTFULLY SUBMITTED this 30th day of January 2024.


                                              /s/ J. Austin Dunlap
                                             J. Austin Dunlap
                                             WSB 7-4586
                                             P.O. Box 4803
                                             Jackson, WY 83001
                                             Counsel for the Garretts


                                CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of January 2024, I filed the foregoing
  document electronically, which cause these parties or counsel to be served by
  electronic means, as more fully reflected on the Notice of Electronic Filing:
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                                                      /s/ J. Austin Dunlap
                                                     J. Austin Dunlap

                                   Garrett v. Wells Fargo Bank
                              Garretts’ Response to Motion to Dismiss
                                         1:24-CV-0007-SWS
                                            Page 17 of 17

                                                                               Appellant's Appendix
                                                                                  Page 234 of 281
         Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 1 of 14
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 235




                     EXHIBIT 1




                                                                     Appellant's Appendix
                                                                        Page 235 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 2 of 14
Appellate Case: 24-8013         Document: 010111048105         Date Filed: 05/13/2024     Page: 236



  For release on delivery
  9:00 a.m. EDT
  September 1, 2010




               The Acquisition of Wachovia Corporation by Wells Fargo & Company

                                            Scott G. Alvarez

                                            General Counsel

                            Board of Governors of the Federal Reserve System

                                               before the

                                  Financial Crisis Inquiry Commission

                                           September 1, 2010




                                                                                 Appellant's Appendix
                                                                                    Page 236 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 3 of 14
Appellate Case: 24-8013       Document: 010111048105            Date Filed: 05/13/2024        Page: 237



         Chairman Angelides, Vice Chairman Thomas, and members of the Commission, I am

  pleased to appear today to provide the Commission with information on the events leading up to

  the acquisition of Wachovia Corporation and its banking and nonbanking subsidiaries by Wells

  Fargo & Company in the fall of 2008. The purpose of my testimony is to summarize the events,

  with a focus on the Federal Reserve’s involvement. I will also address the lending and

  supervisory questions raised in the Commission’s invitation letter.

  Wachovia

         Wachovia was a financial holding company headquartered in Charlotte, North Carolina,

  that provided commercial and retail banking services and other financial services in the United

  States and internationally. At the end of the second quarter of 2008, Wachovia had assets of

  $812 billion, making it the fourth largest banking organization in the United States in asset

  terms. Wachovia’s principal subsidiary was Wachovia Bank, which had assets of $671 billion.

  Wachovia also had two insured thrift subsidiaries with total assets of $105 billion. Thus, the

  assets of the lead national bank and two insured thrift subsidiaries comprised about 95 percent of

  the assets of the holding company. Wachovia’s insured depository institution subsidiaries had a

  very large retail presence--serving more than 27 million deposit accounts totaling more than

  $400 billion--and operated a large mortgage business. These subsidiaries were supervised,

  examined, and regulated by the Office of the Comptroller of the Currency (OCC) and the Office

  of Thrift Supervision (OTS), respectively. Wachovia also operated a large retail-oriented

  securities broker-dealer network through its subsidiaries, Wachovia Securities and AG Edwards,

  Inc., and provided a wide range of investment banking, private banking, and asset management

  services. These subsidiaries were supervised and regulated by the Securities and Exchange

  Commission (SEC).




                                                                                     Appellant's Appendix
                                                                                        Page 237 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 4 of 14
Appellate Case: 24-8013       Document: 010111048105            Date Filed: 05/13/2024         Page: 238



         The Federal Reserve supervised Wachovia in a manner similar to other very large bank

  holding companies. The Federal Reserve routinely conducts inspections of bank holding

  companies and their nonbank subsidiaries under authority granted by the Bank Holding

  Company Act (BHC Act). These statutory provisions require that we rely to the fullest extent

  possible on the examinations of the bank, thrift, and other functionally regulated subsidiaries,

  such as the securities broker-dealer, conducted by the primary regulator of the entity.

  Consequently, the Federal Reserve worked closely with the OCC, the OTS, and the SEC in

  examining and supervising the various subsidiaries of Wachovia.

         The examinations conducted by the Federal Reserve are designed to review the

  organization’s systems for managing risk across the organization and to evaluate the

  organization’s overall financial strength. The Federal Reserve also establishes consolidated

  capital, liquidity, risk management, and other prudential requirements for bank holding

  companies. In addition, federal law gives the Federal Reserve authority to review merger and

  expansion proposals by bank holding companies and enforcement authority over bank holding

  companies and their nonbank subsidiaries, including the ability to stop or prevent a bank holding

  company or nonbank subsidiary from engaging in an unsafe or unsound practice.

         Wachovia had been profitable continuously for more than a decade through year-end

  2007. During the first half of 2008, Wachovia posted losses totaling $9.6 billion, reflecting

  write-downs on securities and high provisions for loan losses. In part, the provisions reflected

  significant expected losses on option adjustable-rate mortgages (ARMs), which Wachovia

  acquired in the 2006 purchase of Golden West Financial Corporation, a $125 billion federal thrift

  holding company based in California. The losses also reflected, to a lesser extent, declines in the

  value of commercial real estate mortgages originated and held by Wachovia.




                                                                                      Appellant's Appendix
                                                                                         Page 238 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 5 of 14
Appellate Case: 24-8013       Document: 010111048105           Date Filed: 05/13/2024         Page: 239



         With encouragement from the Federal Reserve, Wachovia raised $8 billion in capital in

  April 2008 to partially offset those losses. On August 19, 2008, the Federal Reserve Bank of

  Richmond entered into a Memorandum of Understanding (MOU) with Wachovia. This MOU

  was the culmination of efforts by the Federal Reserve that had been initiated earlier through our

  inspection process to ensure that Wachovia completed a number of steps to improve corporate

  governance, risk management, liquidity, capital management, and strategic planning.

         The troubles at Wachovia occurred during a period of extreme financial turbulence and

  distress. The nation’s economy was in recession, with declining housing prices and stalled

  economic growth. The financial system was also deteriorating quickly. On September 7, 2008,

  the Federal Housing Finance Agency had placed Fannie Mae and Freddie Mac into

  conservatorship and the Treasury had used its authority, granted by Congress in July 2008, to

  make financial support available to these two government-sponsored entities. On September 15,

  Lehman Brothers had filed for bankruptcy after efforts had failed to organize private-sector

  assistance or arrange an acquisition by another company. The failure of Lehman Brothers ended

  efforts by private investors to provide liquidity to American International Group, Inc. (AIG),

  which faced its own mounting financial difficulties. On September 16, the Board acted to

  provide temporary liquidity to AIG under the emergency lending authority of section 13(3) of the

  Federal Reserve Act. Losses at a prominent money market mutual fund caused by the failure of

  Lehman Brothers sparked extensive withdrawals from a number of similar funds. These events

  caused extraordinary turbulence in financial markets: equity prices dropped sharply, the costs of

  short-term credit spiked upward, and liquidity dried up in many markets.

         On September 25, 2008, the Federal Deposit Insurance Corporation (FDIC) seized and

  sold Washington Mutual Bank (WaMu), then the largest thrift in the United States. WaMu was




                                                                                     Appellant's Appendix
                                                                                        Page 239 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 6 of 14
Appellate Case: 24-8013       Document: 010111048105            Date Filed: 05/13/2024         Page: 240



  the second largest holder of option ARMs at the time, and Wachovia was the largest holder of

  these assets. The failure of WaMu thus raised creditor concern about the health of Wachovia.

  Wachovia’s stock price declined sharply and credit default swap spreads on its debt surged.

         The day after the failure of WaMu, Wachovia Bank depositors accelerated the

  withdrawal of significant amounts from their accounts. In addition, wholesale funds providers

  withdrew liquidity support from Wachovia. It appeared likely that Wachovia would soon

  become unable to fund its operations. That week, Wachovia management, which had engaged in

  tentative discussions with potential merger partners earlier in the month, began discussions in

  earnest to sell the company. On September 27 and 28, both Citigroup and Wells Fargo, the

  second and fifth largest banking organizations in the United States, respectively, conducted due

  diligence investigations of Wachovia. Both Citigroup and Wells Fargo also contacted federal

  regulators indicating that government assistance would be needed in connection with each of

  their proposed bids to acquire Wachovia.

  Systemic Risk Exception

         The FDIC judged that an assisted bid from either Citigroup or Wells Fargo could be more

  expensive than a liquidation of Wachovia Bank and the two insured thrifts. The Federal Deposit

  Insurance Act (FDI Act) requires the FDIC, as a general matter, to exercise its resolution

  authority over insured depository institutions in the method least costly to the deposit insurance

  fund. The act also provides that the FDIC may take other actions or provide assistance that

  would not meet the least-cost test if the Secretary of the Treasury, in consultation with the

  President, and based on the recommendation of both the board of directors of the FDIC and the

  Board of Governors of the Federal Reserve (each by a vote of two-thirds of its members),

  determine that compliance with the least-cost requirement would have adverse effects on




                                                                                      Appellant's Appendix
                                                                                         Page 240 of 281
           Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 7 of 14
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024          Page: 241



  economic conditions or financial stability and other action or assistance would avoid or mitigate

  those adverse effects.

          The Board of Governors and the FDIC were concerned about the systemic complications

  of the failure of the fourth largest bank in the United States during this fragile economic period.

  The Board believed that a full or partial default by Wachovia and its subsidiaries on their debt

  would intensify liquidity pressures on other U.S. banking organizations. At the time, U.S.

  banking organizations were extremely vulnerable to a loss of confidence by wholesale suppliers

  of funds. Markets were already under considerable strain after the events involving Lehman

  Brothers, AIG, and WaMu. Investors were becoming increasingly concerned about the outlook

  for a number of U.S. banking organizations, putting downward pressure on their stock prices and

  upward pressure on their credit default swap spreads.

          At the time, Wachovia was considered “well capitalized” by regulatory standards and

  until very recently had not generally been thought to be in danger of failure, so there were fears

  that the failure of Wachovia would lead investors to doubt the financial strength of other

  organizations in similar situations, making it harder for those institutions to raise capital and

  other funding. In addition, if a least-cost resolution did not support foreign depositors, the

  resolution would endanger what was a significant source of funding for several other major U.S.

  financial institutions.

          Creditors would also be concerned about direct exposures of other financial firms to

  Wachovia or Wachovia Bank, since these firms would face losses in the event of a default. In

  particular, losses on debt issued by Wachovia and Wachovia Bank could lead more money

  market mutual funds to “break the buck,” accelerating runs on these and other money funds. The

  resulting liquidations of fund assets--along with the further loss of confidence in financial




                                                                                        Appellant's Appendix
                                                                                           Page 241 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 8 of 14
Appellate Case: 24-8013       Document: 010111048105           Date Filed: 05/13/2024         Page: 242



  institutions--could lead short-term funding markets to virtually shut down; these markets were

  already under extreme pressure in the fall of 2008.

         The consequences of an insolvency and unwinding of Wachovia under the least-cost

  resolution test would also have disastrous effects for an already weakened economy. Business

  and household confidence would be undermined by the worsening financial market turmoil, and

  banking organizations would be less willing to lend due to their increased funding costs and

  decreased liquidity. These effects could contribute to materially weaker economic performance,

  higher unemployment, and reduced wealth.

         For these reasons, on September 28, 2008, the Board by unanimous vote determined that

  compliance by the FDIC with the least-cost requirements of the FDI Act with respect to

  Wachovia Bank and its insured depository institution affiliates would have serious adverse

  effects on economic conditions and financial stability, and that action or assistance by the FDIC

  permitted under the systemic risk exception within the act would avoid or mitigate these adverse

  effects. Similar determinations were made by the board of directors of the FDIC and the

  Secretary of the Treasury, in consultation with the President, which allowed the FDIC to

  consider measures outside the least-cost resolution requirement to resolve Wachovia, including

  the provision of so-called “open bank” assistance.

  Citigroup Proposal

         On September 29, 2008, Citigroup proposed to acquire most of Wachovia’s assets and

  liabilities, including Wachovia Bank, and assume senior and subordinated Wachovia debt, in

  exchange for approximately $2.1 billion in Citigroup stock. Citigroup proposed that the FDIC

  enter into a loss sharing arrangement with Citigroup with respect to a pre-identified pool of

  Wachovia loans totaling about $312 billion. Under the arrangement, Citigroup would absorb the




                                                                                     Appellant's Appendix
                                                                                        Page 242 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 9 of 14
Appellate Case: 24-8013         Document: 010111048105         Date Filed: 05/13/2024         Page: 243



  first $42 billion of losses on the pool, and the FDIC would absorb any additional losses.

  Citigroup would grant the FDIC $12 billion in preferred stock and warrants to compensate the

  FDIC for bearing this risk.

         Around the same time, Wells Fargo submitted a bid for Wachovia that the FDIC judged

  would require a greater amount of FDIC assistance. Consequently, the FDIC accepted the

  Citigroup bid as the prevailing bid.

         The FDIC and the Federal Reserve each publicly announced that the Citigroup bid had

  been received after completion of an FDIC-supervised bidding process and that the parties would

  proceed to negotiate final details. This restored some confidence in Wachovia and the liquidity

  pressures on Wachovia stabilized.

         To allow Citigroup and Wachovia to finalize their agreement in principal and complete

  due diligence, the two firms entered into an exclusive dealing agreement for the period from

  September 29 to October 6. During this period, Citigroup filed an application with the Federal

  Reserve seeking expedited approval of its proposed acquisition of Wachovia.

  Wells Fargo’s Second Proposal

         On October 2, during the period Citigroup and Wachovia were negotiating a final merger

  agreement, the board of directors of Wachovia received a communication from Wells Fargo that

  included an offer from Wells Fargo to acquire all of Wachovia’s stock by merger. Contrary to its

  original communication days before that FDIC assistance would be needed as part of a Wells

  Fargo bid, the new Wells Fargo proposal did not involve any direct financial assistance from the

  FDIC. Based on an IRS notice issued September 30, Wells Fargo had determined that certain

  U.S. federal income tax benefits resulting from the proposed Wachovia transaction would allow

  it to acquire Wachovia without FDIC assistance.




                                                                                     Appellant's Appendix
                                                                                        Page 243 of 281
         Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 10 of 14
Appellate Case: 24-8013       Document: 010111048105           Date Filed: 05/13/2024         Page: 244



         On October 3, 2008, Wachovia’s board of directors voted to accept the Wells Fargo offer,

  and the parties signed a binding merger agreement. Upon becoming aware of this, Citigroup

  informed Wachovia and Wells Fargo that Citigroup considered the merger agreement to be a

  violation of the exclusive dealing agreement between Citigroup and Wachovia. Citigroup

  demanded that Wachovia and Wells Fargo terminate their proposed transaction. Citigroup on the

  same date sent a separate letter to the Federal Reserve protesting any Wells Fargo application to

  the Federal Reserve to acquire Wachovia on a number of grounds.

         The Federal Reserve issued a public statement on October 3 noting the new Wells Fargo

  proposal. The statement indicated that the Wells Fargo proposal had not yet been reviewed and

  that regulators would be working to achieve an outcome that protected all Wachovia creditors

  and promoted market stability. The statement also noted that the Citigroup proposal was under

  review by the Federal Reserve and the OCC.

  Litigation and Standstill

         On October 4, Citigroup filed suit against Wachovia and Wells Fargo, seeking a

  temporary restraining order, preliminary and permanent injunctive relief, specific performance of

  the exclusivity agreement, and punitive damages. On October 5, Wachovia filed its own motion

  for a temporary restraining order preventing Citigroup from taking any steps to interfere with the

  implementation of the Wachovia-Wells Fargo merger agreement.

         Due to concerns that the competing legal claims of Citigroup and Wells Fargo could

  themselves become a destabilizing influence on those institutions, Wachovia, and the banking

  system generally, representatives of the Federal Reserve attempted to facilitate negotiations

  among Wachovia, Citigroup, and Wells Fargo to resolve their disagreements. To allow these

  discussions time to proceed, Federal Reserve officials became involved in facilitating




                                                                                     Appellant's Appendix
                                                                                        Page 244 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 11 of 14
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024          Page: 245



  negotiations for a cease-fire or standstill to the litigation among the three firms. A standstill

  agreement was finalized on October 6, under which Wachovia, Citigroup, and Wells Fargo

  agreed to suspend for two days all formal litigation activity, including discovery, and to

  otherwise cooperate to preserve the status quo with regard to any litigation. This agreement was

  extended until October 10.

         During this period, the three firms attempted to renegotiate a transaction that would be

  mutually agreeable. The negotiations focused on a joint acquisition of Wachovia by the two

  bidders, with each bidder acquiring a different geographic portion of Wachovia. The parties

  were unable to reach an agreement on a joint acquisition of Wachovia, but did agree on October

  9 not to seek injunctive relief to stop a Wachovia acquisition transaction from occurring.

  Citigroup determined to proceed with its claims, but to limit those claims to seeking monetary

  damages. Wells Fargo announced its intention to complete its merger with Wachovia and

  indicated that it had submitted an application to the Federal Reserve seeking expedited approval

  of the transaction.

  Wells Fargo Application

         On October 12, the Board announced its approval of the application and notice under

  sections 3 and 4 of the BHC Act by Wells Fargo to acquire Wachovia and its banking and

  nonbanking subsidiaries. In light of the emergency affecting the financial markets, and as

  permitted by the BHC Act and Federal Reserve regulations, the Board waived public notice of

  the proposal and shortened the notice period to the primary regulators of the banks and thrifts

  involved. These agencies, and the Department of Justice, indicated that they had no objection to

  approval of the proposal.




                                                                                        Appellant's Appendix
                                                                                           Page 245 of 281
         Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 12 of 14
Appellate Case: 24-8013       Document: 010111048105             Date Filed: 05/13/2024         Page: 246



         On October 21, the Board released a statement explaining in more detail the reasons for

  its approval. This statement included a discussion of the various relevant factors for applications

  and notices under sections 3 and 4 of the BHC Act, including competitive effects, financial and

  managerial performance, the convenience and needs of the communities to be served, and

  performance under the Community Reinvestment Act. The statement also addressed a number

  of comments received on the proposal, including comments from Citigroup objecting to the

  proposal.

  Wells Fargo-Wachovia Merger

         On December 23, 2008, Wachovia announced that its shareholders had approved the

  Wells Fargo merger proposal. On January 1, 2009, Wells Fargo announced that the merger had

  been completed effective December 31, 2008.

  Federal Reserve Assistance

         The Federal Reserve did not provide any emergency financial assistance in connection

  with the Wells Fargo-Wachovia merger, nor was any financial assistance sought from the

  Federal Reserve as part of the Citigroup bid or either of the Wells Fargo bids. This Commission

  has asked nonetheless for information explaining the Federal Reserve’s authority to provide

  assistance under section 13(3) of the Federal Reserve Act. Prior to the enactment of the Dodd-

  Frank Wall Street Reform and Consumer Protection Act, which was signed into law earlier this

  year, section 13(3) of the Federal Reserve Act authorized the Federal Reserve to extend credit to

  any individual, partnership, or corporation in unusual and exigent circumstances and upon a vote

  of five members of the Board of Governors of the Federal Reserve. This provision authorized

  only the extension of credit and required that the credit be secured to the satisfaction of the




                                                                                       Appellant's Appendix
                                                                                          Page 246 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 13 of 14
Appellate Case: 24-8013        Document: 010111048105             Date Filed: 05/13/2024          Page: 247



  lending Reserve Bank. It also required that the lending Reserve Bank obtain evidence that the

  borrower could not obtain adequate credit accommodations from other banking organizations.

          The Dodd-Frank Act has since substantially modified section 13(3) to remove authority

  to extend credit to single identified non-banking companies or to make a loan to remove assets

  from the balance sheet of a particular institution. Now, credit under section 13(3) may only be

  offered through broad-based credit facilities that are offered to multiple borrowers.

          While emergency credit was not sought or given in connection with the Wachovia

  transaction, Wachovia’s depository institutions accessed the Federal Reserve’s discount window

  at various times throughout 2008. The discount window comprises several credit facilities open

  to insured depository institutions on a regular basis and is not limited to emergency credit like

  section 13(3). The Wachovia depository institutions accessed these facilities on the same terms

  and conditions applicable to other depository institutions, including the completion of required

  documentation and the pledging of collateral to the Federal Reserve. Many other depository

  institutions accessed the discount window during this period as well.

  Improvements in Supervisory Approach

          This Commission has asked whether the Federal Reserve has made any changes to the

  way it supervises institutions under its jurisdiction in light of the financial crisis. Indeed, the

  Federal Reserve has identified a number of ways to improve its supervisory approach based on

  lessons learned during that time. We have already made substantial changes to our supervisory

  framework to improve both our consolidated supervision and our ability to identify potential

  risks to the financial system. So that we can better understand linkages among firms and markets

  that have the potential to undermine the stability of the financial system, we have adopted a more




                                                                                         Appellant's Appendix
                                                                                            Page 247 of 281
          Case 1:24-cv-00007-SWS Document 8-1 Filed 01/30/24 Page 14 of 14
Appellate Case: 24-8013       Document: 010111048105             Date Filed: 05/13/2024         Page: 248



  explicitly multidisciplinary approach, making use of the Federal Reserve's broad expertise in

  economics, financial markets, payment systems, and bank supervision.

          We are also augmenting our traditional supervisory approach that focuses on firm-by-

  firm examinations with greater use of horizontal reviews that look across a group of firms to

  identify common sources of risks and best practices for managing those risks. To supplement

  information from examiners in the field, we are developing an enhanced quantitative surveillance

  program for large bank holding companies that will use data analysis and formal modeling to

  help identify vulnerabilities at both the firm level and for the financial sector as a whole. This

  analysis will be supported by the collection of more timely, detailed, and consistent data from

  regulated firms. Many of these changes draw on the successful experience of the Supervisory

  Capital Assessment Program, also known as the banking stress test, which the Federal Reserve

  led last year.

          We are also working actively to implement the provisions of the Dodd-Frank Act, which

  addressed a number of gaps in the statutory framework for supervision. In particular, the Federal

  Reserve is working to develop enhanced capital, risk management, liquidity, and other

  requirements that would be applicable to large systemically important financial organizations.

  We are also working with the other banking and prudential supervisors to develop resolution

  plans, incentive compensation guidelines, and other tools to better address the risks posed by and

  to financial firms.

  Conclusion

          I appreciate the opportunity to describe these events, and the Federal Reserve’s role in

  them, to this Commission and am happy to answer any questions.




                                                                                       Appellant's Appendix
                                                                                          Page 248 of 281
          Case 1:24-cv-00007-SWS Document 8-2 Filed 01/30/24 Page 1 of 8
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 249




                     EXHIBIT 2




                                                                     Appellant's Appendix
                                                                        Page 249 of 281
           Case 1:24-cv-00007-SWS Document 8-2 Filed 01/30/24 Page 2 of 8
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    Charlotte, NC 28262                                                 Charlott-,, NC 28262

    Account Number: 963 8881256040/000668()221                                           Parcel Number:



                                                      MORTGAGE

    THIS MORTGAGE is made this day February 02, 2001, between the Mortgagor, TERRY LEE GARRETT,
    and CAROL W GARRETT,             HUSBAND AND WIFE AS TENANTS BY THE ENTIRETIES whose
    mailing address is the property address (herein "Borrower"), and the Mortgagee, First Union National Bank
    of Delaware, a national banking association organized and existing under the laws of the United States of
    America, whose address is One Rodney Square, 920 King Street, Wilmington, DE 19801 (herein "Lender").

    WHEREAS, Borrower is indebted to Lender in the principal sum of U.S. $200,000.00, which indebtedness is
    evidenced by Borrower's Note dated February 02, 2001 and extensions, modifications and renewals thereof
    (herein "Note"), providing for monthly installments of principal and interest, with the balance of
    indebtedness, if not sooner paid, due and payable on February 07, 2031.

    TO SECURE to Lender the repayment of the indebtedness evidenced by the Note, with interest thereon; the
    payment of all other sums, with interest thereon, advanced in accordance herewith to protect the security of
    this Mortgage; and the performance of the covenants and agreements of Borrower herein contained,
    Borrower does hereby mortgage, grant and convey to Lender, with power of sale, the following described
    property located in the County of TETON, State of WYOMING:

                                                  SEE ATTACHED SCHEDULE A.

    which has the address of 1045 UPPER CACHE CREEK DR, JACKSON, WY 83001 and Parcel No.
    _____ (herein "Property Address");

    TOGETHER with all the improvements now or hereafter erected on the property, and all easements, rights,
    appurtenances and rents all of which shall be del)cned to be and remain a part of the property covered by
    this Mortgage; and all of the foregoing, together with said property (or the leasehold estate if this Mortgage
    is on a leasehold) are hereinafter referred to as the "Property."

    Any Rider ("Rider") attached hereto and executed of even date is incorporated herein and the
    covenant and aQreements of the Rider shall amend and supplement the covenants and
    agreements of this Mortgage, as if the Rider were a part hereof.

    Borrower covenants that Borrower is lawfully seized of the estate hereby conveyed and has the right to
    mortgage, grant and convey the Property, and that the Property is unencumbered, except for encumbrances
    of record. Borrower covenants that Borrower warrants and will defend generally the title to the Property
    against all claims and demands, subject to encumbrances of record.

    UNIFORM COVENANTS, Borrower and Lender covenant and agree as follows:

     1. Payment of Principal and Interest. Borrower shall promptly pay when due the principal and interest
    indebtedness evidenced by the Note. This Mortgage secure8 payment of said Note according to its terms,
    which are incorporated here:n by reference.

    2. Prior Mortgages and Deeds of Trust; Charges; Liens. Borrower shall perform all of Borrower's
   obligations, under any rr.ortgage, deed of trust or other security agreement with a lien which has priority over
   this Mortgage, incl~d',1g Borrower's covenants to make payments when due. Borrower shall pay or cause to
   be paid all taxes, assessments and other charges, fines and impositions attributable to the Property which
   may attain a priority over this Mortgage, and leasehold payments or ground rents, if any.

     3. Hazard Insurance. a) Borrower shall keep the improvements now existing or hereafter erected on the
    Property insured against loss by fire, hazards :ncluded within the term "extended coverage", and any other
    hazards, including floods or flood, for which Lenr.ar requires insurance. This insurance shall be maintained
    in the amounts and for the periods that Lender requires.• The ins~rance carrier providing the insurance shall
    be chosen by Borrower subject to Lender's approval which shall not be unreasonably withheld. If Borrower


   WY Mortgage                                                     P:ge 1                  Loan Number: 963 8881256040/0006686221
   231336 wym:g (Rev 06, 11-00)
                                                                                                                    Appellant's Appendix
                                                                                                                       Page 250 of 281
              Case 1:24-cv-00007-SWS Document 8-2 Filed 01/30/24 Page 3 of 8
Appellate Case: 24-8013             Document: 010111048105             Date Filed: 05/13/2024            Page: 251



  fails to. maintain coverage described above, Lender may, at Le~dsr's option, cbtain coverage to protect
  Lender's rights in the Property in accordance with paragrc>ph 5.

  b) All insurance policies and renewals shall be ac•c0:,(able to L.&n'.ler and shall 'nclude n standard mortgage
  clause. Lender shall have the right to hold the po!':'es and renewals. If Lender requires, Borrower shall
  promptiy give to Lender all receipts of paid premiums and renewal notices. In the event of loss, Borrower
  shall give prompt notice to the insurance carrier and Lender. Lenc!er may make prcof of loss if not made
  promptly to Borrower.

  c) Unless Lender and Borrcwer otherwise agree in writing, insurance proceeds shall be applied to
  restoration or repair of the Property damaged, if the restoration or repair is economically feasible and
  Lender's security is not lessened. If the restoration or repair is not economically feasible or Lender's
  security would be lessened, the insurance proceeds shall be applied to the sums secured by this Security
  Instrument, whether or not then due, with any excess paid to Borrower. If Borrower abandons the
  Property or does not answer within 30 days a notice from Lender that the insurance carrier has offered to
  settle a claim, then Lender may collect the insurance proceeds. Lender may use the proceeds to repair
  or restore the Property or to pay sums secured by this Security Instrument, whether or not then due. The
  30-day period will begin when the notice is given.

  d) Except as provided in subparagraph 3(e) !ielow, should partial or complete destruction or damage
  occur to the Property, Borrower hereby agrees that any and all instruments evidencing insurance
  proceeds received by Lender as a result of said damage or destn;ction, shall be placed in a non-interest
  bearing escrow account with Lender. At Lender's discretion, Lender may release some or all of the
  proceeds from escrow after Borrower presents Lender with a receipt(s), invoice(s), written estimates(s) or
  other document(s) acceptable to Lender which relates to the repair and/or improvements of the Property
  necessary as a result of said damage and/or destruction. Absent an agreement to the contrary, Lender
  shall not be required to pay Borrower any interest on the proceeds held in the escrow account. Any
  amounts remaining in the account after all repairs and/or improvements have been made to the Lender's
  satisfaction, shall be applied to the 5ums secured by this Deed of Trust, Deed to Secure Debt, or
  Mortgage. Borrower further agrees to cooperate with Lender by endorsing all, checks, drafts and/or other
  instruments evidencing insurance proceeds; and any necessary documents. Should Borrower fail to
  provide any required endorsement and/or execution within thirty (30) days after Lender sends borrower
  notice that Lender has received an instrument evidencing insurance proceeds, or document(s) requiring
  Borrower's signature, Borrower hereby authorizes Lender to endorse said instrument and/or document(s)
  on Borrowers behalf, and collect and apply said proceeds at Lender's option, either to restoration or
  repair of the Property or to sums secured by this Deed of Trust, Deed to Secure Debt, or Mortgage. It is
  not the intention of either party that this escrow provisi,m, and/or !..ender's endorsement or execution of
  an instrument(s) and/or document(s) on t.ehalf of Borrower create a fiduciary or agency relationship
  between Lender and Borrower.

  e) Unle.ss Lender and Bo,-rower otherwise agree in wr:t:ng, any application of proceeds to principal shall not
  extend or postpone the due date of the ffionthly payments referred to in paragraph 1 or change the amount
  of the payments. If under paragraph 15 the Property i3 acquired by Lender, Borrower's right to any
  insurance policies and proceeds resulting from damage to the property prior to the acquisition sha:I pass to
  Lender to the extent of the sums secured by this Security Instrument.

   4.   Preservation and Maintenance of Property; Lease!iolds; Condominiums; Planned Unit
  Developments. Borrower shall keep the Property in good repair and shall not commit waste or permit
  impairment or deterioraticn of the Property and shall comply with t~.e provisions of any lease if thls Mortgage
  is on a leasehold. If this Mortgage is on a unit in a condominium or a planned unit development, Borrower
  shall perform all of Borro·Ner's obligations under the declaration er covenants creating or governing the
  condominium or planned ur,it development, the by-laws and regulations of the condominium or planned unit
  development, and r.onstituent documents.

   5. Protection of Lender's Si!curity. If Borrower fail~ to perform the covenants and agreements contained
  in this Mortgage, or if any action or proceed;ng is commenced whicl1 materially affects Lender's interest in
  the Property, then Lender, at Lender's option, upon notice to Borrower, may make such appearances,
  disburse such sums, including reasonable attorneys' fees, and take such actions as is necessary to protect
  Lender's interest.

   Any amounts disbursed by Lender pursuant to this paragraph 5, with interest thereon from the date of
   disbursal, at the Note rate, shall become additional indebtedness of Borrower secured by this Mortgage.
   Unless Borrower and Ler,der agree to other terms of payment, such amounts shall be payable upon
   notice from Lender to Borrower requesting payment t~ereof. Nothing contained in this paragraph 5 shall
   require Lender to incur any expense or take any action hereunder.

    6. Inspection. L.ender may make or cause to be mad,;, reasonable entries upon and inspections of the
   Property, provided that Lender shall give Borrower no;;r,., prior to any such inspection specif'jing reasonable
   cause th3refore related to Lender's interebl in the Property.


   W\' Mortgage                                        Page 2              Loan Number: 963 8881256040/0006686221
   231336 wy!T.tg (Rev 0€, 11-00)
                                                                                                Appellant's Appendix
                                                                                                   Page 251 of 281
             Case 1:24-cv-00007-SWS Document 8-2 Filed 01/30/24 Page 4 of 8
Appellate Case: 24-8013           Document: 010111048105                Date Filed: 05/13/2024            Page: 252




   7. Condemnation. The proceeds of any award or t:laim for damages, direct or consequential, in
  connection with a~y condemnation or other taking of the Property, or part thereof, or for conveyance in lieu
  of condemnation, are hereby assigned and shall be paid to Lender subject to the ten~s of any mortgage,
  deed of trust or other security agreement with a lien whict1 r,as pr:ority over this Mortgage.

   8. Borrower Not Released; Forbearance By Lender Not a Waiver. The Borrower shall remain liable for
  full payment of the principal and interest on the Note (or any adv~mcement or obligation) secured hereby,
  notwithstanding any of the following: (a) the sale of all or a part of the premises, {b) the assumption by
  another party of the Borrower's obligations hereunder, (c) the forbearance or extension of time for payment
  or performance of any obligation hereunder, whether granted to Borrower or a subsequent owner of the
  property, and {d) the release of all or any part of the premises securing said obligations or the release of any
  party who assumes payment of the same. None of the foregoing shall in any way affect the full force and
  effect of the lien of this Mortgage or impair Lender's right to a deficiency judgment (in the event of
  foreclosure) against Borrower or any party assuming the obligations hereunder, to the extent permitted by
  applicable law.

  Any forbearance by Lender in exercising any right or remedy hereunder or otherwise afforded by applicable
  law, shall not be a waiver of or preclude the exercise of any such right or remedy.

  9. Successors and Assigns Bound; Joint and Sever.:! Liability; Co-signers. Borrower covenants and
  agrees that Borrower's obligations and liability shall be joint an~ several. However, any Borrower who co-
  signs this Security Instrument but does not execute the Note (a "co-signer''): (a) is co-signing this Security
  Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the terms of
  this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security Instrument;
  and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any
  accommodations with regard to the terms of this Security Instrument or the Note without the co-signer's
  consent.

  Subject to the provisions of Section 14, any Successor in Interest of Borrower who assumes Borrower's
  obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of
  Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
  Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release in
  writing. The covenants and agreements of this Security Instrument shall bind and benefit the successors
  and assigns of Lender.

  10. Notice. Except for any notice required under applicable law to be given in another manner, (a) any
  notice to Borrower provided for in this Mortgage shall be given by delivering it or by mailing such notice by
  first class mail addressed to Borrower or the current owner at the Property Address or at such other address
  as Borrower may designate in writing by notice to Lender as provided herein, and any other person
  personally liable on this Note as these person's names and add~essas appear in the Lender's records at the
  time of giving notice and {b) any notice to Lender shall be given by first class mail to Lender's address
  stated here:n or to such other address as lender may designate by notice to Borrower as provided herein.
  Any notice provided for in this Mortgage shall be deemed to have been given to Borrower or Lender when
  given in the manner designated herein.

  11. Governing Law; Severability. The state and local laws applicable to this Mortgage shall be the laws
  of the jurisdiction in which the Property is located. The foregoing sentence shall not limit the applicability of
  Federal law to this Mortgage. In the event that any proviaion or clause of this Mortgage or the Note confiicts
  with applicable law, such confiicts shall not affect other provisions of this Mortgage or the Note which can be
  given effect without the confiicting provision, and to this end the provisions c,f this Mortgage and the Note
  are declared to be severable. As used herein "cost&", "expenses" and "attorneys' fees" include all sums to
  the exte::1t n0t rrohibi~ti t,y•~!:'f.'ticab.~ t~, crI~i!e~ here:~.

  12. Borrower's Copy. Borrower shall be furnished a conformed copy of the Note, this Mortgage and
  Rider(s) at the time of execution or after recordation hereof.

  13. Rehabilitation Loan Agreement. 8orrower shall fulfill all of Borrower's obligations under any home
  rehabilitation, improvement, repair or other loan agreement which Borrower enters into with Lender. Lender,
  at Lender's option, may require Borrower to execute and deliver to Lender, in a form acceptable to Lender,
  an assignment of any rights, claims or defenses which Borrower may have against parties who supply labor,
  materials or services in connection with improvements made to the Property.

  14. Transfer of the Property or a Beneficial Interest in Borrower, Assumption. As used in this Section
  14, "Interest in the Property" means any leaal or beneficial interest in the Property, including, but not limited
  to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
  escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.




  WY Mortgage                                          Page 3              Loan Number: 963 8881256040/0006686221
  231336 wymtg (Rev 06, 11-00)
                                                                                                 Appellant's Appendix
                                                                                                    Page 252 of 281
             Case 1:24-cv-00007-SWS Document 8-2 Filed 01/30/24 Page 5 of 8
Appellate Case: 24-8013            Document: 010111048105                 Date Filed: 05/13/2024             Page: 253



  If all or. any part of the Property or any Interest in t~D Prc!)erty is s~'d or transferred (or if Borrower is not a
  natural person and a beneficial interest in Borrower is scld or transferred) without Lender's prior written
  consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
  However, this option shall not be exercised by Lerider if such exercise is prohibited by federal law.

  If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a
  period of not less than 30 days from the date the notice is given in accordance with Section 1O within which
  Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to
  the expiration of this period, Lender may invoke any remedies by this Security Instrument without further
  notice or demand on Borrower.

  NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

  15. Default; Acceleration; Remedies. Upon Borrower's braach of any covenant or agreement of
  Borrower in this entire Mortgage, including the covenants to pay when due any sums under the Note
  secured by this Mortgage, Lender, at Lender's option, may declare all of the sums secured by this
  Mortgage to be immediately due and payable without demand or notice, notice of the exercise of such
  option being hereby expressly waived. Lender may invoke the power of sale hereby granted. Lender
  shall have the right to enter upon and take possession of the property hereby conveyed and after or
  without taking such possession shall have the right to sell the same at public auction for cash, after first
  giving notice of the time, place and terms of such sale by publication once a week for three consecutive
  weeks prior to said sale, in some newspaper published in said county, and upon payment of the purchase
  money, the Lender, c,r owner of the debt and Mortgage, or auctioneer, shall execute to the purchaser for
  and in the name of the Mortgagors, a good and sufficie,1t deed to the property sold; the Lender shall apply
  the proceeds of said sale: first, to the expense of advertising, selling and conveying said property,
  including a reasonable attorney's fee; second, to the payment of any amounts that may have been
  expended or that mny then be necessary to expend in paying insurance, taxes and other encumbrances,
  with interest thereon; third, to the payment in full of the principal indebtedness and interest thereon,
  whether the same shall or shall not have fully matured at the date of said sale, but no interest shall be
  collected beyond the date of said sale; and fourth, the balance if any, shall be paid over to the said
  Borrowers or to whom ever then appears of record to be the owner of said property. The Lender may bid
  and become the purchaser of the mortgaged property at any foreclosure sale hereunder.

  16. Borrower's Right to Reinstate. Notwithstanding Lender's acceleration of the sums secured by this
  Mortgage, Borrower shall have the right to have any proceedings begun by Lender to enforce this
  Mortgage discontinued if: (a) Borrower pays Lender all sums which would be then due under this
  Mortgage, this Note and Notes securing Future Advances, if any, had no acceleration occurred; (b)
  Borrower cures all breaches of any other covenants or agreements of Borrower contained in this
  Mortgage; (c) Borrower pays all reasonable expenses incurred by Lender in enforcing the covenants and
  agreements of Borrower contained in this Mortgage, and in enforcing Lender's remedies as provided in
  Paragraph 15 hereof, including, but not limited to, reason3ble attorneys' fees; and (d) Borrower takes
  such action, as Lender may reasonably require to assure that the lien of this Mortgage, Lender's interest
  in the Property and Borrower's obligation to pay the sums secured by this Mortgage shall continue
  unimpaired. Upon such payment and cure by Borrower, this Mortgage and the obligations secured
  hereby shall remain in full force and effect as if no acceleration had occurred.

  17. Assignment of Rents; Appointment of Receiver. As additiom::I secu.-ity hereunder, Borrower hereby
  assigns to Lender the rents of the Property, provided that so long as Borrower is not in default hereunder,
  Borrower shall, prior to acceleration under paragraph 15 hereof or abandonment of the Property, have the
  right to collect and retain such rents as they become due and payable.

  Upon acceleration and/or foreclosure u,1der paragraph ·15 hereof, or abandonment of the Property,
  Lender, in person or by agent, shall be entitled to enter UiJOn, take possession of and manage the
  Property and to collect the rents of the property includ:ng tho&e past due. The Lender shall be liable to
  account only for those rents actually received prior to foreclosure sale as provided in paragraph 15.
  Lender shall not be liable to account to Borrower or to any olller person claiming any interest in the
  Property for any rents received after foreclosure.

  18. Loan Charges. If the loan secured by this Mortgage is subject to a law which sets maximum loan
  charges, and that law is finally interpreted so that the interest or other loan charges collected or to be
  collected in connection with the loan exceed permitted limits, then: (1) any such loan charges shall be
  reduced by the amount necessary to reduce the charge to the permitted limit; and (2) any sums already
  collected from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may choose
  to make this refund by reducing the principal owed under the Note or by mailing a direct i;ayment to
  Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment under the
  Note.

  19. Legislation. If, after the date hereof, enactment or expiration of applicable laws have the effect either
  of rendering the provisions of the Note, the Mortgage or any Rider, unenforceable according to their terms,


  WY Mortgage                                            Page 4               Loan Number: 963 8881256040/0006686221
  231336 wymtg (Rev 06, 11-00)
                                                                                                    Appellant's Appendix
                                                                                                       Page 253 of 281
             Case 1:24-cv-00007-SWS Document 8-2 Filed 01/30/24 Page 6 of 8
Appellate Case: 24-8013            Document: 010111048105                Date Filed: 05/13/2024            Page: 254



  or all Qr any µart of the sums secured b.o'.eby unc:Y ·- :!ible, 21, Jlhen :'so provided in this hl!ortgage or the
  Note, or of diminishing the value of Lencier'3 security, l~.en Lender, at Lender's option, may declare all sums
  secured by the Mortgage to be immediateiy due and payable.

  20. Satisfaction. Upon payment of a:I sums wcure::d by this Mortgage, the conveyance of the property
  pursuant to this Mortgage shall become null and void and Lender shall release this Mortgage. Borrower
  shall pay all costs of recordation, if any. Lender, at Lender's option, may allow a partial release of the
  Property on terms acceptable to Lender and Lender m&y charge a release fee.

  21. Waiver of Homestead. Borrower i1areby releasing and wai;ing all rights under and by virtue of the
  homestead exemption laws of this State, a~d relinquishes all rights of dower and courtesy in the Property.

  22. Hazardous Substances. Borrower shall not cauae or permit the presence, use, disposal, storage, or
  release of any Hazardous Substances on or in the Pro.-erty. Borrower shall not do, nor allow anyone else to
  do, anything affecting the Property that is in violation of any Environmental Law. The preceding two
  sentences shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous
  Substances that are generally recognized to be appropri::ite to normal residential uses and to maintenance
  of the Property.

  Borrower shall promptly give Lender written notice of any investigation, claim, demand, lawsuit, or other
  action by any governme~tal or regulatory agency or pri·,ate party involving the Property and any
  Hazardous Substance or Environmental Law of which Borrower has actual knowledge. If Borrower
  learns, or is notified by any governmental or regulatory authority, that any removal, or other remediation
  of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all
  necessary remedial aclions in accordance with Environmental Law.

  As used in this paragraph 22, "Hazardous Substan-:es" am those substances defined as toxic or
  hazardous substances by Environmental L.aw and the fellowing substances: gasoline, kerosene, other
  flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
  containing asbestos or formaldehyde, and radioactive materials. As used in this paragraph 22,
  "Environmental law" means federal laws and laws of the jurisdiction where the Property is located that
  relate to health, safety, or environmental protecticn.

                         REQUEST FOR NOTICE OF DEFAULT AND FORECLOSURE
                          UNDER SUPERIOR MORTGAGES OR DEEDS OF TRUST

  Borrower and Lender request the holder of any mortgage, deed of trust or other encumbrance with a lien
  which has priority over this Mortgage to ·give Notice to Lender, at Lender's address set forth on page one of
  this Mortgage, of any default under the tuperior encumbrance and of any sale or other foreclosure action.




   WY Mortgage                                           Page 5              Loan Number: 963 8881256040/0006686221
   231336 wymtg (Rev 06, 11-00)
                                                                                                  Appellant's Appendix
                                                                                                     Page 254 of 281
            Case 1:24-cv-00007-SWS Document 8-2 Filed 01/30/24 Page 7 of 8
Appellate Case: 24-8013            Document: 010111048105         Date Filed: 05/13/2024         Page: 255




  IN WITNESS WHEREOF, Borrower ha3 executed u1;s Mortgags and adopted as his seal the word ("SEAL")
  appearing beside his name.

  Signed, sealed and delivered in the prE;sence of:




                                  [Space Below This Line For Acknowledging]
  STATE OF WYOMING

  cc:.JN-iYOF --yi:-roJ

  The fo, egoing instr~! was acknowledged before me by TERRY LEE GARRETT and CAROL W
  GARRETT, this~       day of fz~ .     .,._,~if,?-"'·'/ ·

  WITNESS my hand and official seal

                                                               LEONARD R, CARI.MAN· NOTARY PUBLIC
                                                                   ~of         ,A      State of
  Signature:    a--a"2,(A,                                       (S~"l'&ion    W       Wyoming
                                                                    Commission Expires Jul ?/, 200
  My Commission Expires: a 7- • ?/- c>t(
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  WY Mortgage                                         Page 6        Loan Number: 963 888125604010006686221
  231336 wymtg (Rev 06, 11-00)
                                                                                        Appellant's Appendix
                                                                                           Page 255 of 281
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            Appellate Case: 24-8013                        Document: 010111048105           Date Filed: 05/13/2024         Page: 256




                                                                      EXHIBIT "A"

                                   SITUATED IN THE COUNTY OF TETON, STATE OF
                                   WYOMING;

                                   A PORTION OF LOT 9 OF THB RIDG:&: ADDITION TO TH:&:
                                   TOWN OF JACKSON, TBTON COtm'I'!', WYOMING,
                                   ACCORDING TO TH:&: PLAT RBCORD:&:D IN THB OFFICB OF
                                   THE TETON COUNTY CLERK ON FEBRUARY 16, 1984 AS
                                   PLAT NO. 562, DESCRIBED AS FOLLOWS:

                                   BBGINNING AT THB SotJ'I'KBAST CORNBR OF SAID LOT
                                   9 I THENCB NO. 0 ° 12 I 14 II w. ' 149 . 91 i':&::&:T TO A
                                   POINT; THENCE N 51° 13 1 19 11 W., 84,46 i'BBT TO A
                                  POINT; THENCE N 66° 53' 11" W. 73.0 FEET TO A
                                  POINT; THENCE S 41° 21' 23" W., 173.01 FEET TO
                                  A POINT; THENCE S 67° 42' 35" E., 267.84 FEET
                                  TO TH:&: POINT OF BEGINNING.

                                   END OF SCH:&:DTJLB A




                                                                                                                 Appellant's Appendix
                                                                                                                    Page 256 of 281
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 257




                                 ECF Doc 9

                                Reply




                                                                     Appellant's Appendix
                                                                        Page 257 of 281
             Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 1 of 9
Appellate Case: 24-8013           Document: 010111048105       Date Filed: 05/13/2024         Page: 258



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  ATTORNEYS FOR DEFENDANT
  WELLS FARGO BANK, N.A.

                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF WYOMING

  CAROL W. GARRETT AND TERRY LEE
  GARRETT,

                    Plaintiffs,
                                                      Civil Action No. 1:24-cv-00007-SWS
            v.

  WELLS FARGO BANK, N.A.,

                    Defendant.

        DEFENDANT WELLS FARGO’S REPLY IN SUPPORT OF MOTION TO DISMISS

           Defendant Wells Fargo Bank, N.A. (Wells Fargo) submits this Reply in support of its

  Motion to Dismiss the Complaint filed by Plaintiffs Carol and Terry Garrett (Plaintiffs) for

  failure to state a claim upon which relief may be granted and states as follows pursuant to

  Federal Rule of Civil Procedure 12(b)(6):

   I.      INTRODUCTION

           In response to Wells Fargo’s Motion to Dismiss, Plaintiffs filed a Response to Motion to

  Dismiss (Response) which sets forth arguments in opposition. ECF No. 8. As set forth below,

  each of these arguments is unavailing, and Wells Fargo’s Motion to Dismiss should be granted.




                                                                                     Appellant's Appendix
                                                                                        Page 258 of 281
              Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 2 of 9
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024         Page: 259



  II.     MEMORANDUM OF LAW

         A.      Plaintiffs Fail to Provide Any Legal Authority in Support of Their
                 Interpretation of W.S. § 34-4-103(a)(iii).

         Plaintiffs’ first count is based on the assertion that “[t]he Garretts entered into a mortgage

  agreement with First Union National Bank of Delaware and not Defendant.”1 Complaint at ¶ 31.

  Based on that assertion, Plaintiffs claim that Wells Fargo could only acquire the Mortgage

  through an assignment from First Union. Id. at ¶ 32 (“The assignment from First Union National

  Bank of Delaware to Defendant is not recorded in the Teton County Records as evidenced by the

  Title Commitment provided by Northern Title.”). As set forth in the Motion to Dismiss, Wells

  Fargo acquired the Mortgage through a merger, which transferred the Mortgage automatically by

  operation of federal law, without the need for assignment.

         In their Response, Plaintiffs attempt to salvage Count One by citing to Delaware state

  courts interpreting Delaware state law. ECF No. 8, Response at 6-11. As set forth in more detail

  below, these cases are irrelevant to the claims before this Court. Moreover, Plaintiffs’ Response

  mischaracterizes the holdings of the Delaware cases.

         In particular, the Delaware courts merely concluded that, under certain circumstances, an

  anti-transfer clause could prevent the transfer of certain property rights:

                 [W]here an antitransfer clause in a contract does not explicitly prohibit a
                 transfer of property rights to a new entity by a merger, and where
                 performance by the original contracting party is not a material condition and
                 the transfer itself creates no unreasonable risks for the other contracting
                 parties, the court should not presume that the parties intended to prohibit
                 the merger.

  MTA Can. Royalty Corp. v. Compania Minera Pangea, S.A. De C.V., No.: N19C-11-228 AML
  CCLD, 2020 Del. Super. LEXIS 2780, at *9 (Super. Ct. Sep. 16, 2020).


  1
   Plaintiffs owned property at 1045 Upper Cache Creek Drive (the “Property”) in Jackson, Teton County,
  Wyoming. Plaintiffs owned the Property subject to a mortgage agreement (the “Mortgage”) with Wells
  Fargo.


                                                    2
                                                                                       Appellant's Appendix
                                                                                          Page 259 of 281
            Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 3 of 9
Appellate Case: 24-8013       Document: 010111048105              Date Filed: 05/13/2024          Page: 260



         More significantly, the cases are irrelevant because the merged entities in those cases

  were not banks. Consequently, the mergers in those cases were not governed by 12 U.S.C. §

  215(a). See ECF No. 8, Response at 6-7.

         This is a critical distinction because federal banking law expressly provides that the

  relevant mergers occurred without any assignment of rights or property contrary to Plaintiffs’

  contention. Other courts ruling on precisely this issue have unequivocally rejected the argument

  urged by Plaintiffs:

         In this case, there is no question that the foreclosing party—PNC Bank—was not
         the original mortgagee. Likewise, it is undisputed that the chain of title did not
         identify PNC Bank as having any interest in the property before the foreclosure.
         However, plaintiffs have failed to rebut that PNC Bank derived its interest in
         the property through a series of mergers involving the original assignee, whose
         interest was duly recorded. This fact is dispositive. Indeed, in finding that Chase
         acquired its interest voluntarily, the Kim Court expressly distinguished the
         acquisition of a mortgage by a Purchase and Assignment Agreement from an
         acquisition by merger because during a merger, the asset transfer "occur[s]
         without any voluntary or affirmative action by defendant . . . .".

         This is exactly what happened here. PNC Bank acquired its interest through a series
         of mergers, and as a result, acquired the mortgage by operation of law in accordance
         with federal statute—specifically, the National Banking Act, 12 USC 1 et seq.
         Indeed, on this very point, 12 USC 215a(e) provides that (subject to certain
         conditions not pertinent here), in the event of a merger, the assets of the old bank
         transfer to the new entity solely by virtue of the merger itself. As § 215a(e) sets
         forth in relevant part:

                 The corporate existence of each of the merging banks or banking
                 associations participating in such merger shall be merged into and
                 continued in the receiving association and such receiving association
                 shall be deemed to be the same corporation as each bank or banking
                 association [*11] participating in the merger. All rights, franchises, and
                 interest of the individual merging banks or banking associations in and
                 to every type or property . . . shall be transferred to and vested in the
                 receiving association by virtue of such merger without any deed or other
                 transfer. The receiving association, upon the merger and without any
                 order or other action on the part of any court or otherwise, shall hold
                 and enjoy all rights of property, franchises, and interests . . . in the same
                 manner and to the same extent as such rights, franchises, and interests
                 were held or enjoyed by any one of the merging banks or banking
                 associations at the time of the merger . . . . [Emphasis added.]


                                                    3
                                                                                         Appellant's Appendix
                                                                                            Page 260 of 281
             Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 4 of 9
Appellate Case: 24-8013         Document: 010111048105             Date Filed: 05/13/2024         Page: 261



           The plain language of this statute could not more clearly provide that a merger
           results in the automatic transfer of assets under the circumstances involved here.

  Angela Sinacola Living Trst. v. PNC Bank, N.A., No. 317481, 2014 Mich. App. LEXIS 2191, at

  *9 (Ct. App. Nov. 13, 2014) (emphasis added) (citing Kim v. JPMorgan Chase Bank, N.A., 493

  Mich. 98, 825 N.W.2d 329 (2012)).

           Other courts have uniformly interpreted 12 U.S.C. § 215(a) and, more generally, bank

  mergers to eliminate the need for assignment of mortgages. See White v. Bank of Am., N.A., 597

  F. App'x 1015, 1019-20 (11th Cir. 2014) (rejecting challenge to assignment of mortgage and

  affirming bank’s right to foreclose). The United State District Court for the District of

  Massachusetts decided a similar claim in merger under 12 U.S.C. § 215a:

           [T]he fact that there is no recorded assignment of Plaintiffs’ mortgage is inapposite.
           As discussed above, Defendant is the successor by merger to World Savings. Under
           federal law, Defendant automatically acquired all World Savings’ assets at the time
           of merger. Pursuant to 12 U.S.C. § 215a, when a National Bank, such as Defendant,
           merges with another banking entity, the “receiving association shall be deemed to
           be the same corporation as each bank or banking association participating in the
           merger.” As a result, “all rights, franchises, and interests . . . in and to every type
           of property . . . shall be transferred to and vested in the receiving association . . .
           without any deed or other transfer.” No court order or other legal action is required.
           Accordingly, Defendant automatically acquired ownership of Plaintiffs’ mortgage
           at the time of the merger, so long as World Savings owned it at that time. The lack
           of any recorded assignment actually undermines Plaintiffs’ claim to the extent that
           it suggests the mortgage was not transferred to anyone other than Defendant.

  Rice v. Wells Fargo Bank, N.A., 2 F. Supp. 3d 25, 35 (D. Mass. 2014) (quoting 12 U.S.C. §

  215a).

           Accordingly, Wells Fargo acquired the Mortgage automatically via merger in 2010,

  without the need for assignment or any other form of transfer. Because the Mortgage was never

  assigned, Plaintiffs cannot allege a violation of the statutory requirement that “if [the Mortgage]

  has been assigned, that all assignments have been recorded.” ECF No. 1, Complaint at ¶ 30

  (quoting W.S. §34-4-103(a)(iii)).



                                                     4
                                                                                         Appellant's Appendix
                                                                                            Page 261 of 281
               Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 5 of 9
Appellate Case: 24-8013          Document: 010111048105                Date Filed: 05/13/2024            Page: 262



          Thus, Plaintiffs’ response is irrelevant to the analysis of whether Wells Fargo violated

  W.S. §34-4-103(a)(iii), and Plaintiffs’ Count One must fail as a matter of law.

          B.       Wells Fargo Satisfied the Requirements of W.S. § 34-4-103(a)(iv).

          Plaintiffs’ second count is based on the assertion that the occupant of the Property “did

  not receive notice of intent to foreclose as required by W.S. § 34-4-103(a)(iv).” ECF No. 1,

  Complaint at ¶ 39. As set forth in the Motion to Dismiss, Wells Fargo satisfied each of the

  prerequisites to foreclosure, including the notice requirements.

          In Plaintiffs’ Response, they argue that Wells Fargo had an obligation to somehow ensure

  that the occupant of the Property actually received and accepted the certified mailing, despite the

  lack of any such requirement in the statute and case law directly to the contrary. See ECF No. 8,

  Response at 12. Plaintiffs conclusorily assert that Wells Fargo should be required “to do more.”

  Id. at 14. However, Plaintiffs do not identify what additional steps Wells Fargo could or should

  have taken. Nor do they identify any legal authority for imposing additional obligations on Wells

  Fargo. Id.

          Plaintiffs further argue that they did not receive notice in Florida, despite the fact that

  Exhibit 3 to the Complaint shows tracking numbers for the mailings and the United States Post

  Office confirms delivery to and signature by a recipient at Plaintiffs’ address. See Exhibit 1,

  Proof of Delivery.2 In light of this, it is clear that Plaintiffs had an opportunity to notify the


  2
    Defendant respectfully requests this Court take judicial notice of the proof of delivery attached hereto as
  Exhibit 1 as an adjudicative fact that “can be accurately and readily determined from sources whose
  accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2). Plaintiffs have placed delivery and
  receipt of notice at issue in their Response, and the court may take judicial note of adjudicative facts that
  “[concern] matters that bear directly upon the disposition of the case at hand.” Griffith v. W. Oilfields Supply
  Co., No. 20-CV-144-F, 2020 U.S. Dist. LEXIS 262227, at *7 (D. Wyo. No. 3, 2020) (quoting United States
  v. Ahidley, 486 F.3d 1184, 1192 n.5 (10th Cir. 2007)). Because Exhibit 1 is publicly available from the
  United States Post Office’s website, it is appropriate for judicial notice as a document “generally considered
  not to be subject to reasonable dispute.” In re Quaker Oats Maple & Brown Sugar Instant Oatmeal Litig.,
  No. CV 16-1442 PSG (MRWx), 2017 U.S. Dist. LEXIS 174394, at *6 (C.D. Cal. Oct. 10, 2017) (quoting
  Gerritsen v. Warner Bros. Entm't Inc., 112 F. Supp. 3d 1011, 1033 (C.D. Cal. 2015)).


                                                         5
                                                                                                Appellant's Appendix
                                                                                                   Page 262 of 281
            Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 6 of 9
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024          Page: 263



  occupant but failed to do so.

          Under W.S. § 34-4-103(a)(iv), Wells Fargo was required to provide notice to Plaintiffs

  and the occupant “by certified mail with return receipt…at least (10) days before commencement

  of publication of notice of sale.” W.S. § 34-4-103(a)(iv). The statute further provides that

  “[p]roof of compliance with this subsection shall be by affidavit.” Id. Wells Fargo did precisely

  that.

          As discussed in the Motion to Dismiss, the Wyoming Supreme Court has explained that

  the statute’s requirements should be applied liberally, particularly when the owner has actual

  notice of the intent to foreclose. ORO Mgmt., LLC v. R.C. Mineral & Rock, LLC, 304 P.3d 925,

  930 (Wyo. 2013) (“Strict compliance with the notice requirement of W.S. 34-4-103 is

  unnecessary when a party has actual notice of intent to foreclose.”) (affirming district court’s

  grant of summary judgment and dismissal of lawsuit to set aside foreclosure sale). As Exhibit 1

  shows, Plaintiffs received notice of Wells Fargo’s intent to foreclose, which is the primary

  purpose of the statutory prerequisites. Id. (“[T]he purpose of providing notice ‘is to afford [the]

  mortgagee an opportunity to bring the indebtedness current or take other appropriate action to

  avoid foreclosure.’”) (quoting Walker v. McAnnany, 802 P.2d 876, 879 (Wyo. 1990)).

          Finally, Plaintiffs fail to even address the issue of standing. The occupant of the Property

  is not a party to this lawsuit, and Plaintiffs lack standing to raise claims on his behalf based on

  lack of notice. See ECF No. 4 at 8-9. Even if Plaintiffs could establish that the occupant of the

  Property was harmed in some manner by the United States Postal Service’s inability to deliver

  the notice, Plaintiffs lack standing to bring such a claim on the occupant’s behalf. Ribbens Int'l,

  S.A. de C.V. v. Transp. Int'l Pool, Inc., 45 F. Supp. 2d 982, 984 (C.D. Cal. 1999) (“[U]nder

  prudential standing guidelines…‘third party’ standing is permissible only where there [exists]




                                                    6
                                                                                        Appellant's Appendix
                                                                                           Page 263 of 281
               Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 7 of 9
Appellate Case: 24-8013        Document: 010111048105            Date Filed: 05/13/2024           Page: 264



  some hindrance to the third party's ability to protect his or her own interests.”) (internal

  quotations omitted); Viceroy Gold Corp. v. Aubry, 75 F.3d 482, 488-9 (9th Cir. 1996) (a party

  lacks standing to assert a third party’s rights unless there exists a “genuine obstacle” to the third

  party asserting its own interests, noting that one purpose of the prudential standing rule barring

  assertion of third party rights is “to avoid adjudicating rights a third-party may not wish to

  assert”).

          Thus, in accordance with Wyoming law and established principles of standing, Plaintiffs’

  Count Two must fail as a matter of law.

          C.      Plaintiffs Fail to Plead a Breach of the Implied Covenant of Good Faith and
                  Fair Dealing.

          In Plaintiffs’ Response, they argue that their claim for breach of the implied covenant of

  good faith and fair dealing is based on the allegation “that Wells Fargo failed to follow statutory

  procedure and foreclosed the mortgage without proper recordation of the assignment and without

  proper notice to the occupant.” ECF No. 8 at 15. In doing so, Plaintiffs continue to rely upon an

  unsupported interpretation of Wyoming law.

          Plaintiffs Response fails to identify any specific standards of decency, fairness, or

  reasonableness that Wells Fargo breached. Although Plaintiffs claim that $2.1 million in equity

  was transferred to the purchaser of the Property at auction, there is no allegation that Wells Fargo

  was enriched by the foreclosure or subsequent sale. Id.

          Instead, Wells Fargo simply exercised the primary option available to a lender when a

  borrower refuses to pay in accordance with the mortgage agreement. See Mortgage at ¶ 15, ECF

  No. 1, Exhibit 1. Wells Fargo’s exercise of this contractual right cannot sustain a claim for

  breach of the implied covenant of good faith and fair dealing. Zahmoul v. NBH Bank, No. 22-

  CV-221-ABJ, 2023 U.S. Dist. LEXIS 164635, at *21 (D. Wyo. June 2, 2023) ("Under Wyoming



                                                    7
                                                                                        Appellant's Appendix
                                                                                           Page 264 of 281
            Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 8 of 9
Appellate Case: 24-8013        Document: 010111048105             Date Filed: 05/13/2024         Page: 265



  law, a claim for breach of the implied covenant of good faith and fair dealing cannot exist where

  a party is simply exercising those rights that they are contractually entitled to exercise.") (citing

  Harper v. Fidelity and Guar. Life Ins. Co., 2010 WY 89, 234 P.3d 1211, 1221 (Wyo. 2010)).

         Ultimately, Plaintiffs’ Response relies on an assertion that claims for breach of the

  implied covenant of good faith and fair dealing typically require determination of factual issues

  and, therefore, should survive a motion to dismiss. ECF No. 8 at 16 (“whether the implied

  covenant of good faith and fair dealing was breached is ordinarily one of fact”). However, “[a]

  claim can be properly dismissed as a matter of law ‘where the actions alleged to have breached

  the covenant were in conformity with the clear contract language.’” Woodie v. Berkshire

  Hathaway Homestate Ins. Co., 806 F. App'x 658, 672 (10th Cir. 2020) (quoting City of Gillette v.

  Hladky Constr., Inc., 2008 WY 134, 196 P.3d 184, 197 (Wyo. 2008)).

         In this case, there is no legitimate question as to whether Wells Fargo’s actions were in

  conformity with the clear language of the Mortgage. Mortgage at ¶ 15, ECF No. 1, Exhibit 1

  (“Lender shall have the right to enter upon and take possession of the property hereby conveyed

  and after or without taking such possession shall have the right to sell the same at public auction

  for cash….”). Wells Fargo simply exercised its contractual right to foreclose on the Property in

  response to Plaintiffs’ nonpayment of the Mortgage.

         Under Wyoming law, this is insufficient to plead a claim for breach of the implied

  covenant of good faith and fair dealing. Consequently, Count Three of Plaintiffs’ Complaint fails

  as a matter of law and must be dismissed.




                                                    8
                                                                                        Appellant's Appendix
                                                                                           Page 265 of 281
                Case 1:24-cv-00007-SWS Document 9 Filed 02/06/24 Page 9 of 9
Appellate Case: 24-8013       Document: 010111048105               Date Filed: 05/13/2024     Page: 266



  III.     CONCLUSION

          Plaintiffs’ Complaint fails to state a claim upon which relief can be granted. Moreover,

  the deficiencies in the claims set forth cannot be cured by amendment of the Complaint.

  Consequently, the Complaint should be dismissed with prejudice.

          DATED this 6th day of February 2024.

                                            /s/ Isaac N. Sutphin
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                                            ATTORNEYS FOR DEFENDANT
                                            WELLS FARGO BANK, N.A.

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                                                   9
                                                                                     Appellant's Appendix
                                                                                        Page 266 of 281
          Case 1:24-cv-00007-SWS Document 9-1 Filed 02/06/24 Page 1 of 2
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 267




                      EXHIBIT 1




                                                                     Appellant's Appendix
                                                                        Page 267 of 281
               Case 1:24-cv-00007-SWS Document 9-1 Filed 02/06/24 Page 2 of 2
Appellate Case: 24-8013               Document: 010111048105                   Date Filed: 05/13/2024               Page: 268

~ UNITED STLJ.TES
/IIiifi, POSTLJ.l SERVICE
December 21, 2023


Dear Heather Dexter:


The following is in response to your request for proof of delivery on your item with the tracking number:
9489 0090 0027 6449 8841 39.

Item Details

Status:                                                 Delivered to Agent for Final Delivery
Status Date I Time:                                     December 12, 2022, 5:10 pm
Location:                                               GAINESVILLE, FL 32605
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 1Ib, 3.7oz
Recipient Signature


                   Signature of Recipient:
                       (Authorized Agent)


                     Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


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Sincerely,
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                                                                                                        Appellant's Appendix
                                                                                                           Page 268 of 281
Appellate Case: 24-8013   Document: 010111048105   Date Filed: 05/13/2024     Page: 269




                                ECF Doc 10

                                 Order




                                                                     Appellant's Appendix
                                                                        Page 269 of 281
           Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 1 of 12
Appellate Case: 24-8013         Document: 010111048105          Date Filed: 05/13/2024                        Page: 270

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                                UNITED STATES DISTIUCT COURT
                                    DISTIUCT OF WYOMING      7r.-:i; r E0 - 7 p~; ~: 00
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                                                                                                           . ...,. v __ ,.., . .
                                                                                        L ,-l..J t' :.C\
   CAROL W. GARRETT and TERRY LEE
   GARRETT,

                  Plaintiffs,
                                                                   Case No. 24-CV-7-SWS
           V.


   WELLS FARGO BANK, N .A.,

                  Defendant.




        ORDER GRANTING DEFENDANT'S RULE 12(b)(6) MOTION TO DISMISS


         This matter comes before the Court on Defendant Wells Fargo's Motion to Dismiss (ECF

  4) and supporting memorandum (ECF 4-1 ), in which Wells Fargo seeks dismissal of Plaintiffs'

  complaint under Federal Rule of Civil Procedure 12(b)(6). Plaintiffs Carol and Ten-y Garrett filed

  an opposition to the motion (ECF 8), and Wells Fargo replied (ECF 9). Having considered the

  parties' arguments, reviewed the record herein, and being otherwise fully advised, the Court

  concludes the motion must be granted and this lawsuit dismissed.

          STANDARD OF ANALYSIS FOR RULE 12(b)(6) MOTIONS TO DISMISS

         Federal Rule of Civil Procedure 12(b)(6) permits a party to move for dismissal of a claim

  or complaint that fails " to state a claim upon which can be granted." The Court's function when

  considering a Rule l 2(b)(6) motion "is not to weigh potential evidence that the parties might

  present at trial." Dubbs v. Head Start, Inc., 336 F.3d 11 94, 1201 (10th Cir. 2003) (quoting Sutton

  v. Utah State Sch.for the Deaf & Blind, 173 F.3d 1226, 1236 (10th Cir. 1999)). To overcome a

  Rule 12(b)(6) motion, a complaint's factual al legations, assumed to be true, must "raise a right to




                                                                                            Appellant's Appendix
                                                                                               Page 270 of 281
           Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 2 of 12
Appellate Case: 24-8013         Document: 010111048105              Date Filed: 05/13/2024           Page: 271



  relief above the speculative level" and must contain "enough facts to state a claim to relief that is

  plausible on its face." Bell Atlantic Corp. v. Twombly , 550 U.S. 544, 555 (2007). "[T]he complaint

  must give the court reason to believe that this plaintiff has a reasonable likelihood of mustering

  factual support for these claims." Ridge at Red Hawk, L. L. C. v. Schneider, 493 F.3 d 11 74, 1177

  (I 0th Cir. 2007) (emphases in original). "Thus, mere 'labels and conclusions,' and ' a formul aic

  recitation of the elements of a cause of action' will not suffice; a plaintiff must offer specific factual

  allegations to support each claim." Kansas Penn Gaming, LLC v. Collins, 65 6 F.3d 12 10, 1214

  (1 0th Cir. 2011) (quoting Twombly, 550 U.S. at 555). The Court accepts the nonmoving party's

  well-pied factual allegations as true, but it is not bound to accept an asserted legal conclusion as

  true. Ashcroft v. Iqbal, 556 U. S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555).

                                  COMPLAINT'S ALLEGATIONS

          Consistent with the applicable standard, the Garretts' complaint sets forth the fo llowing

  relevant allegations:

         The Garretts are currently residents of Florida and previously owned a single-family

  residence in Jackson, Teton County, Wyoming. (Compl. 1 l.) In 200 1, the Garretts built the

  Jackson property, partially financed by a mortgage from First Union National Bank of Delaware.

  (id. 119, 12.) Starting around 2011 , the Garretts rented the Jackson property to a tenant. (See id.

  11 13, 35.) Upon the Gan-etts' infom1ation and belief, Defendant Wells Fargo later acquired the
  mortgage covering the Jackson property. (Id. 13.)

         In July 2023, the tenant' s neighbors informed the tenant that a stranger had been at the

  Jackson property earlier in the day and had told the neighbors that the stranger had recently

  purchased the property through a foreclosure sale. (Id. 11 14, 15.) The neighbors also contacted

  the Garretts directly by phone to share the same information. (Id. 1 16.)



                                                 Page 2 of 12
                                                                                           Appellant's Appendix
                                                                                              Page 271 of 281
            Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 3 of 12
Appellate Case: 24-8013         Document: 010111048105            Date Filed: 05/13/2024          Page: 272



           In late 2022, Wells Fargo had commenced nonjudicial foreclosure proceedings on the

  mortgage. (See ECF 2 pp. 21 -22.) In a December 2022 affidavi t, Wells Fargo's legal counsel

  affirmed that it had sent to the record owner (the Garretts) and the occupant, via certified mai l with

  return receipt, written notice of the intent to foreclose the mortgage and sell the property at public

  auction. (Comp!. ,r,r 19-20; ECF 2 pp. 21-22.) Accordingly, the Teton County Sheriff's Office

  held a public auction on the courthouse steps on March 16, 2023, and sold the Jackson property.

  (Comp!. ,r,r 18, 21 ; ECF 2 p. 28.) The redemption period passed without the Garretts redeeming

  the property, and a Sheriff's Deed issued to the auction winners on July 19, 2023 . (Comp!. ,r 22;

  ECF 2 pp. 37-38.)

           The Garretts assert they owed only about $76,500 on the mortgage, the Jackson property

  sold for $825,000 at public auction, and the property appraised in 2023 for $2.9 million. (Comp!.

  ,r,r 24-26.) Thus, they conclude they have been monetarily damaged in excess of$2. l million. (Id.
  ,r21.)
           The Garretts set forth three causes of action. In Count I, they contend Wells Fargo violated

  Wyoming Statute § 34-4-103(a)(iii) by failing to duly record the assignment of their mortgage

  upon receipt from the original lender. (Comp!. ,ri129-33.) They assert, "Defendant has fai led to

  follow the statutory requirements in W.S. § 34-4-103 and Plaintiffs have suffered substantial

  economic damages as a result." (Id. ii 33.)

           They next contend in Count II that Wells Fargo violated Wyoming Statute § 34-4-

  103(a)(iv) by failing to provide written notice of its intent to foreclose to the occupant/tenant of

  the Jackson property. (Id. ,rir 34-46.) They again assert, "Defendant has failed to follow the

  statutory requirements in W.S. § 34-4-103 and Plaintiffs have suffered substantial economic

  damages as a result." (Id. ,r 46.)



                                                Page 3 of 12
                                                                                        Appellant's Appendix
                                                                                           Page 272 of 281
             Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 4 of 12
Appellate Case: 24-8013              Document: 010111048105                   Date Filed: 05/13/2024              Page: 273



           In Count III, the Garretts say that Wells Fargo's statutory failures recounted in the first tw'O

  claims also amount to breaches of the implied covenant of good faith and fair dealing. (Id. ir,r 47-

  51 .) For their remedy, the Garretts seek to rescind the foreclosure sale or, alternatively, the

  recovery of compensatory and punitive damages. (Id. ,r,r 52-57, ,rirA-F.) 1

                                                       ANALYSIS

           Wells Fargo seeks dismissal of the Ganetts' entire complaint under Rule l 2(b)(6), arguing

  it fails to state any cause of action on which relief can be granted. (ECF 4.) As the parties did, the

  Court will examine each claim separately. Because this lawsuit depends on diversity jurisdiction,

  the Court applies Wyoming substantive law and federal procedural law. Hanna v. Plumer, 380

  U.S . 460, 465 (1965).

  Count I - Failure to Record Mortgage Assignment

           Wyoming Statute § 34-4-103 identifies necessary prerequisites to foreclosure of a

  mortgage by advertisement. Subsection (a)(iii) requires a mortgagee to record any assignments of

  the mortgage before the mortgage may be foreclosed upon. Wyo. Stat. § 34-4-103(a)(iii). The

  Garretts assert the assignment of their mortgage to Wells Fargo was never duly recorded.

           Wells Fargo contends this cause of action must be dismissed because the mortgage was

  never assigned, and thus there was no associated recording fai lure. Instead, asserts Wells Fargo,

  the mortgage was originally issued by First Union National Bank of Delaware, which changed its

  nan1e to Wachovia Bank of Delaware in 2002, and which then merged with and into Wells Fargo

  in 20 10.2 (ECF 4-1 p. 4.) This name change and merger are not alleged in the complaint, but they



  1
    All citations in the forego ing recitation of allegations are to the complaint or to exhibits referenced in and attached
  to the complai nt. (See ECF 2.)
  2
     In the Garretts' opposition to dismissal, they point out Wachovia's merger with and into Wells Fargo may have
  occurred earlier than 20 I0, as early as late 2008. (ECF 8 p. 5 n. I; ECF 8-1.) The Garretts do not dispute that Wachovia
  merged into and with Wells Fargo, and the Court does not consider the dispute over the date of the merger to be
  material to the question of I2(b)(6) dismissal.

                                                        Page 4 of 12
                                                                                                        Appellant's Appendix
                                                                                                           Page 273 of 281
           Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 5 of 12
Appellate Case: 24-8013         Document: 010111048105           Date Filed: 05/13/2024         Page: 274



  will be considered as part of this Rule 12(b)( 6) analysis without converting the motion to one for

  summary judgment because they are matters subject to judicial notice. See Tai v. Hogan, 453 F.3d

  1244, 1265 n.24 (10th Cir. 2006) ("facts subject to judicial notice may be considered in a Rule

  12(b)(6) motion without converting the motion to dismiss into a motion for summa1y judgment").

  Additionally, both parties have supplied the Court with the information necessa1y to take judicial

  notice of the fact that the original mo11gagee subsequently changed its name to Wachovia Bank

  and then later me rged into and with Wells Fargo. (See ECF 4-2, 4-3, 8-1.) See also Fed. R. Evid.

  20 1(b)(2), (c)(2); (ECF 4-1 p. 4 n.l ).

          The real dispute concerning Count I is whether the merger by Wachovia Bank with and

  into Wells Fargo constituted an "assignment" of the mortgage that had to be recorded under

  Wyoming Statute § 34-4-103(a)(iii). Wells Fargo argues it did not take over the mortgage by

  assignment but rather by operation of federal statute, specifically 12 U.S.C. § 2 15a, which states

  in relevant part:

          The corporate existence of each of the merging banks or banking associations
          participating in such merger shall be merged into and continued in the receiving
          association and such receiving association shall be deemed to be the same
          corporation as each bank or banking association participating in the merger. A ll
          rights, franchises, and interests of the individual merging banks or banking
          associations in and to every type of property (real, personal, and mixed) and choses
          in action shall be transferred to and vested in the receiving association by virtue of
          such merger without any deed or other transfer. The receiving association, upon
          the merger and without any order or other action on the part of any court or
          othe1wise, shall hold and enjoy all rights of property, franchises, and interests,
          including appointments, designations, and nominations, and a ll other rights and
          interests as trustee, executor, administrator, registrar of stocks and bonds, guardian
          of estates, assignee, and receiver, and in eve1y other fiduciruy capacity, in the same
          manner and to the same extent as such rights, frru1chises, and interests were held or
          enjoyed by any one of the merging banks or banking associations at the time of the
          merger, subject to the conditions hereinafter provided.

  12 U.S.C. § 215a(e). Based on this federal statute, Wells Fargo asserts it "acquired the Mortgage

  automatically via merger in 20 I 0, without the need for assignment or any other form of h·ansfer.


                                               Page5 ofl 2
                                                                                       Appellant's Appendix
                                                                                          Page 274 of 281
           Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 6 of 12
Appellate Case: 24-8013        Document: 010111048105             Date Filed: 05/13/2024            Page: 275



  Because the Mortgage was never assigned, Plaintiffs cannot allege a violation" of Wyom ing

  Statute§ 34-4-103(a)(iii) fo r failing to record an assignment. (ECF 4-1 p. 5.)

         The Garretts disagree, arguing 12 U.S.C. § 2 15a(e) does not preempt Wyo. Stat. § 34-4-

  103(a)(iii). (ECF 8 pp. 6-8.) The Garretts also rely on some Delaware state court caselaw, which

  interpreted the phrnse "assignment by operation of law" to include mergers. (See ECF 8 pp. 6-7.)

         The Co urt does not find the principle of federal preemption to control this issue. Instead,

  it is simply a question of whether the Wyoming Supreme Court would construe Wyo. Stat. § 34-

  4-103(a)(iii), which expressly requires "that alI assignments [of the mortgage] have been recorded"

  before the mortgage may be foreclosed upon, as applying to acquisition of mortgages by bank

  mergers. Because it appears the Wyoming Supreme Court has not answered this question, the

  Court "must ... attempt to predict how [Wyomi ng's] highest court would interpret [the issue]."

  Cornhusker Cas. Co. v. Skaj, 786 F.3d 842, 852 (10th Cir. 2015) (alterations in original) (quoting

  Squires v. Breckenridge Outdoor Educ. Ctr. , 715 F.3d 867,875 (10th Cir. 2013)).

         For two reasons, this Court predicts the Wyoming Supreme Court would not construe §

  34-4-103(a)(iii) as requ iring the acquisition of a mortgage via bank merger be recorded in the

  county records. First, a different Wyoming Statute, § 13-4-111 , governs the effect of a state bank

  merger and largely tracks 12 U.S.C. § 2 15a(e). That state statute provides in relevant part:

         (a)     A resulting bank shall be considered the same entity as each merging bank
                 or as the converting bank with all the property, rights, powers, duties and
                 obligations of each merging bank or the converting bank, except as provided
                 by state law in the case of a resulting state bank or federal law in the case
                 of a resulting national bank and by the charter and bylaws of the resulting
                 bank.

         (c)     Any reference to a merging or conve1ting bank in writing is a reference to
                 the resulting bank if not inconsistent with the other provisions of the writing.

  Wyo. Stat. § 13-4-111 (a), (c). This statute demonstrates the Wyoming Legislature's intent to



                                               Page 6 of 12
                                                                                        Appellant's Appendix
                                                                                           Page 275 of 281
             Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 7 of 12
Appellate Case: 24-8013              Document: 010111048105                    Date Filed: 05/13/2024              Page: 276



  embody the same principles as 12 U.S .C. § 2 15a(e), specifically the principle that the successor

  bank resulting from a merger automatically assumes the ownership interests, rights, and

  obligations of the merging banks w ithout the need fo r further action, unless other laws or bylaws

  preclude such effect. Here, not only does 12 U.S.C. § 2 1Sa( e) not preclude such effect, it supports

  such a result.

           Second, the Court' s own research on the matter revealed a number of courts around the

  country have held acquisition of a mortgage thro ugh a bank merger does not constitute an

  assignment that needs to be recorded. 3 Moreover, the Court was unable to locate a single holding

  to the contrary. The Court finds the Garretts' reliance on the Delaware state courts' decisions to

  carry li ttle persuasive value because they were interpreting the phrase "assignment by operation

  oflaw" as it was used in an anti-assignm ent contractual provision, which is inapposite to the instant

  Wyoming statutory construction issue. (See ECF 8 pp. 6-7.)

           Considering the language of Wyoming Statute§ 13-4-111 and the decisions of other courts

  that exam ined the issue, this Comt concludes the Wyoming Supreme Court is most likely to concm

  with what is at least the majority view and hold that acquisition of a mortgage through a bank



  3
     As a non-exhausti ve sampling, see, e.g., Arzamendi v. Wells Fargo Bank, NA. , No. I 17CV0I485LJOSKO, 2018
  WL 12 10978, at *5 (E.D. Cal. Mar. 8, 20 18) (where World Saving Bank he ld the mortgage before merging into and
  w ith Wells Fargo, " Wells Fargo assumed the status of beneficiary under the mortgage at issue" upon the merger
  w ithout further need for conveyance or recordi ng); Walker v. NDeX W LLC, No. CV l42940FMOJCGX, 2015 WL
   I2732460, at *3 (C.D. Cal. Feb. 20, 20 15) (statutory requirement that an assignm ent be recorded did not apply where
  the deed of trust was acq uired by the successor bank via merger); Grego,y v. CiliMorlgage, Inc., 890 F. Supp. 2d 79 1,
  799 (E.D. Mich. 20 I 2) (noting that other courts cons idering the matter " have found that where a mortgage is
  transferred through merger, there is no need to record the assignm ent in order for the surv iving entity to have authority
  to foreclose") (co llecting M ichigan cases); Ewo v. Citi Fin. Morlg., No. l 12CV00902 RWSJ FK, 20 12 WL 1306504 1,
  at *9 (N.D. Ga. Sept. 17, 20 12) ("Forma l transfer or ass ignm ent [of the mortgage at issue] upon the merger of Citi
  Financial Mortgage with and into CitiMortgage was not required."), reporl and recommendation adopted, No. I: 12-
  CV-0902-RWS, 201 2 WL 13065074 (N.D. Ga. Oct. 3 1, 20 12); Standard Federal Bank, NA. v. MIY PLEASURES,
  No. 03-60925-C IV., 2003 WL 22722077, at *4 (S.D. Fla. July 24, 2003) (the merging bank's " rights under the du ly
  recorded mortgage automatically vested upon the merger" in to the successor bank w ithout any need to obtain or record
  an assignment); PNC Bank, Nat 'I Ass 'n v. Valdez, No. A- l-CA-35755, 20 18 WL 438 1004, at *3 (N .M. Ct. App. Aug.
  7, 2018) ("no assignmen ts occurred during the name change and merger transactions fro m which PNC emerged");
  Graham v. Na/ 'I City Mortg. Co. , 13 1 Nev. 1285 (Nev. App. 20 15) (no assignment needed where " PNC Bank became
  !he beneficiary of th e deed of trust through a chain of mergers").

                                                         Page 7 of 12
                                                                                                         Appellant's Appendix
                                                                                                            Page 276 of 281
             Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 8 of 12
Appellate Case: 24-8013             Document: 010111048105                   Date Filed: 05/13/2024              Page: 277



  merger does not constitute an assignment that must be recorded under Wyoming Statute § 34-4-

  103(a)(iii). It's not that 12 U.S.C. § 215a(e) necessarily preempts Wyo. Stat. § 34-4-103(a)(iii);

  it's that the successor bank acquires the mortgages of the merging bank via the merger, not via

  assignment. Applied to this case, the Garretts' first cause of action fails to state a plausible claim

  for relief because Wells Fargo was not required to record its acquisition of the subject mortgage

  under § 34-4-103(a)(iii) when the Wachovia Bank of Delaware merged into and with Wel ls Fargo. 4

  Count I must be dismissed without prej udice.

  Count II - Failure to Notify Occupant

           Wells Fargo offers multiple reasons why this claim should be dismissed, but the Court

  focuses on the argument that the Garretts lack standing to assert this claim. (ECF 4-1 pp. 8-9.)

  The Garretts did not respond to this argument in their opposition. (See ECF 8 pp. 11-1 5.)

           "Each plaintiff must have standing to seek each form of relief in each claim." Collins v.

  Daniels, 9 16 F.3d 1302, 13 12 (10th Cir. 20 19) (quoting Am. Humanist Ass 'n, Inc. v. Douglas Cty.

  Sch. Dist. RE-I, 859 F.3d 1243, 1250 (10th Cir. 20 17)). "The standing inquiry ensures that a

  plaintiff has a sufficient personal stake in a dispute to ensure the existence of a live case or

  controversy which renders j udicial resolution appropriate." Tandy v. City of Wichita, 380 F.3d

  1277, 1283 (10th Cir. 2004). That personal stake in the dispute exists where the plaintiff"suffered

  an injury that the defendant caused and the court can remedy." TransUnion LLC v. Ramirez, 594

  U.S. 4 13, 423 (2021) (quoting Casillas v. Madison Avenue Assocs., Inc., 926 F.3d 329, 333 (7th


  4
     The Garretts assert that an earlier mortgage they obtained from First Union National Bank of Delaware, which
  allegedly followed the same path to Wells Fargo, was in fact recorded as an "assignment" by Wells Fargo in December
  2009. (ECF 8 pp. 8-1 1; ECF 2 pp. 74-75.) Assuming for purposes of this motion that this earlier mortgage did follow
  the same path to Wells Fargo via merger, it does not convince the Court that the Wyoming Supreme Court would
  decide the interpretation of Wyo. Stat. § 34-4-1 03(a)(iii) any differently. There is no contention that Wells Fargo is
  or should be precluded from recording its acq uisition through merger of a mortgage. Indeed, the Court would not
  dissuade an entity from giving additional notice to the public of such an acquisition, but Wells Fargo's act of recording
  its acquisition of the earlier mortgage as an assignment does not render such recordation statutorily required fo r every
  other similarly-acq uired mortgage.

                                                        Page 8 of 12
                                                                                                       Appellant's Appendix
                                                                                                          Page 277 of 281
             Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 9 of 12
Appellate Case: 24-8013              Document: 010111048105                   Date Filed: 05/13/2024              Page: 278



  Cir. 2009)).

           In Count II, the Garretts contend Wel ls Fargo fai led to provide adequate notice of

  foreclosure proceedings to the occupant. The Garretts' complaint makes clear that they were not

  the occupants at the time and instead had a long-term tenant living at the Jackson property.

  (Compl. ii~ 13, 35.) The tenant was the "person in possession of the mortgaged premises," Wyo.

  Stat. § 34-4-103(a)(iv), and it was the tenant who suffered any harm from Wells Fargo's alleged

  failure to provide adequate notice to the occupant as required by the statute. In a rather conclusory

  fash ion, the GatTetts assert they "suffered substantial economic damages" from Wells Fargo' s

  failu re to provide notice to the occupant (Compl. ~ 46), but they fail to connect this al leged

  statutory failure to their claimed injury with any supporting factual allegations. When examining

  a complaint under Rule 12(b)(6), courts must "disregard conclusory statements and look only to

  whether the remaining, factual allegations plausibly suggest the defendant is liable." Khalik v.

  United Air Lines, 671 F.3d1188, 1191 (10th Cir. 20 12).

           In disregarding the Garretts' concl uso1y claim of monetruy hru·m and examining only the

  factual allegations, the Court finds the complaint fails to plausibly allege the Garretts suffered a

  concrete and pru·ticularized injury caused by Wells Fargo' s alleged fai lLU·e to provide proper

  statuto1y notice to the occupant of the property. The Garretts lack the necessa1y "personal stake"

  to allege Count II, and they provide no authority or basis for allowing them to assert a cause of

  action belonging to their tenant. Whether more properly dismissed under Ru le 12(b)( l ) fo r lack

  of subject-matter j urisdiction, see Colo. Env 't. Coalition v. Wenker, 353 F.3d 1221, 1227 (10th

  Cir. 2004) (standing is jurisdictional), or under Rule 12(b )(6) for fai lure to state claim on which

  relief can be granted, the Cowt concludes Count II must be dismissed without prejudice. 5


  5
    As the Court is dismissing Count II based solely on the Garretts' lack of standing to asse1t a claim fo r lack of notice
  on their tenant's behalf, the Court declines Wells Fargo' s request to take judicial notice of or consider Exhibit I

                                                        Page 9 of 12
                                                                                                        Appellant's Appendix
                                                                                                           Page 278 of 281
            Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 10 of 12
Appellate Case: 24-8013             Document: 010111048105                   Date Filed: 05/13/2024             Page: 279



  3.       Count III - Breach of the Implied Covenant of Good Faith and Fair Dealing

           In Wyoming, "parties to a commercial contract may bring a claim for breach of the implied

  covenant of good faith and fair dealing." Scherer Const., LLC v. Hedquist Const. , Inc., 18 P.3d

  645, 655 (Wyo. 200 1). Primarily, this implied covenant demands "neither party commit an act

  that would injme the rights of the other party to receive the benefit of their agreement." Id. at 653

  (citations omitted). But a party may not rely on thi s implied duty to "establish new, independent

  rights or duties not agreed upon by the parties." Id. (citations omitted).

           The Garretts' final cause of action alleges Wells Fargo breached the implied covenant of

  good faith and fair dealing based on its "failure to record the assignment of the mortgage and

  failure to notify the current occupant of the intent to foreclose as statutorily required." (Comp!. 1

  50.) Thus, the Garretts ' claim for breach of the implied covenant rests on the statutory violations

  alleged in Counts I and II. As addressed above, though, Wells Fargo did not have a statutory duty

  to record its acquisi tion of the mortgage as an assignment under Wyo. Stat.§ 34-4-1 03(a)(iii), and

  the Garretts have no standing to assert a lack of notice on behalf of the occupant of the Jackson

  property. Consequently, the Garretts have failed to state a claim for breach of the implied covenant

  on which relief can be granted because this claim is dependent on the two other futile claims.

           Additionally, the Garretts' complaint does not otherwise demonstrate how the implied

  obligations underlying this alleged breach arise from the language used in the mortgage or how

  the statutory obligations are indispensable to effectuating the parties' intent. See Skyco Resources,

  LLP v. Family Tree Corp. , 5 12 P .3d 11 , 25 (Wyo. 2022) ("The implied obligation must arise from

  the language used [in the contract] or it must be indispensable to effectuate the intention of the

  parties."). Therefore, whether based solely on Counts I and II (as the complaint appears to do) or


  attached to its reply brief (ECF 9- 1), which concerns Wells Fargo's notice of intent to forec lose that was sent to the
  Garretts in Florida.

                                                       Page 10 of 12
                                                                                                       Appellant's Appendix
                                                                                                          Page 276 of 278
          Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 11 of 12
Appellate Case: 24-8013        Document: 010111048105           Date Filed: 05/13/2024         Page: 280



  independent of those claims, the Garretts have failed to state a plausible claim for relief based on

  the implied covenant of good faith and fair dealing. Count III must be dismissed without prejudice.

  4.     Punitive Damages

          Contrary to Wells Fargo's argmnent, the Court does not understand the Garretts to be

  asserting an independent claim for punitive damages, as demonstrated by the fact that it is not set

  out as a separate count. (See Comp!. 1152-57.) Regardless, a demand for punitive damages is not

  a separate claim and is instead an element of a viable claim. See Cook v. Shoshone First Bank,

  126 P.3d 886, 897 (Wyo. 2006). Dismissal of the underlying claims effectively disposes of

  Plaintiffs' request for punitive (and other) damages. See also Arnoldv. Mountain W. Farm Bureau

  Mut. Ins. Co., 707 P .2d 161 , 164 (Wyo. 1985) ("Punitive damages are generally not recoverable

  in an action upon a contract where the parties have made a written agreement between themselves

  setting their respective rights and obligations.").

  5.     Improper Request to Amend

         The Garretts conclude their opposition to dismissal by alternatively seeking leave to amend

  their complaint: "If this Court were to determine the Complaint is insufficient as plead [sic],

  Plaintiffs would respectfully seek leave of the Court to amend their claims and to further plead

  their claims." (ECF 8 p. 17.) A valid request to amend a pleading must be presented to the Comt

  by separate motion, not within a response brief, and it must include the proposed amended

  complaint and set forth the specific efforts taken to comply with the duty to confer. See Local

  Civil Rules 7.l(b), 15.1 ; Fed. R. Civ. P. 15(a)(2). "It is well-settled under our cases that these

  drive-by requests to amend the complaint do not rise to the status of a motion." Johnson v.

  Spencer, 950 F.3d 680, 72 1 (10th Cir. 2020) (internal quotation omitted). "A district court may

  deny leave to amend when a plaintiff fails to file a written motion and instead merely suggest[s]



                                               Page 11 of 12
                                                                                      Appellant's Appendix
                                                                                         Page 277 of 278
            Case 1:24-cv-00007-SWS Document 10 Filed 02/07/24 Page 12 of 12
Appellate Case: 24-8013       Document: 010111048105             Date Filed: 05/13/2024          Page: 281



  she should be allowed to amend if the court conclude[s] her pleadings [a]re infirm." Id. (alterations

  in original) (i nternal quotation marks omitted) (quoting Wamickv. Cooley, 895 F.3d 746, 755 (10th

  Cir. 2018)). " [A] bare request to amend in response to a motion to dismiss is insufficient to place

  the court and opposing parties on notice of the plaintiff s request to amend and the particular

  grounds upon which such a request would be based." Id. (quoting Albers v. Bd. ofCty. Comm 'rs,

  771 F.3d 697, 706 (10th Cir. 20 14)). Accordingly, the Garretts' improper request to an1end is

  denied.

            IT IS THEREFORE ORDERED that Defendant Well s Fargo's Motion to Dismi ss (ECF

  4) is GRANTED. All causes of action alleged against Wells Fargo in this lawsuit are hereby

  DISMISSED WITHOUT PREJUDICE.                   The Clerk of Court will please issue a general

  judgment in Defendant's favor and close this case.

            ORDERED: February _z?t
                               __ , 2024.


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                                                          "'- . Skavdahl
                                                        United States District Judge




                                              Page 12 of 12
                                                                                       Appellant's Appendix
                                                                                          Page 278 of 278
